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                     Exhibit “L”
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                                            December 14, 2020


Mr. Mark Weisbart
12770 Coit Road
Suite 541
Dallas, Texas 75251


      Re:    In re: Muhammad Siddiqi, case 19-42834


Dear Mark:

      Pursuant to your request, please find the following:

      1.      Tax returns for the Debtor for 2015, 2016 and 2017.

      2.      The tax return for Hiba Entertainment in 2015 and bank statements.

      3.      Amended schedules with additional requested detail.

      4.      Car Titles

      5.      Proof of payments on Ford Vehicles by Debtor's brother. The brothers name is
              Muhammad A. Siddiqi, 3020 Big Town Blvd., Mesquite Texas 75150 Phone
              214-727-7763.

      6.      Final Judgment in the Ropal Lawsuit.

      7.      Debtor's Divorce Decree.
      8.      Debtor cannot access his bank statement because of the freeze on the account,
              but we got as many as we could, and his Wife's statements are enclosed.

      9.      Debtor has no employment agreement with Eagle Protections Group, Inc.

      10.     Copy of Debtor's passport.

      11.     Formation documents for Eagle Protection Group, Inc.
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   12.   Motion and Order for Contempt in Ropal Lawsuit


  13.    Eagle Protective Group Find Report


  14.    Discover Statements


  15.    Texas Franchise Tax


  16.    Cadence Bank 2018 Mortgage Interest Statement


  17.    Hiba 2018 Expenses


  Please let me know if you need any additional information.
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                                1.
       2015, 2016, 2017,
    2018 TAX RETURNS
                       Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                             Desc
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    g 1040 DeptllmentollheTreuLll)'•lnt~Re\lenueSetvice                                           (99)
   11.
   Forlhe
                           U.S. Individ ual Income Tax Return
             Jan. u:>oc.31, 201s. oro!hartax yurl:legi
                                                                                                             2015                                              IRS Uta Only.00 not write ot staple in lhi$ space.
                                                                                                          • 2015. ending                                                Sees        arate
                                                                                                                                                                                    Instructions.
   Y-lilsl name ..S Initial
                                                                                                                                                                        YOW'_._, acwlty numl>er
    MUHAMMAD                                                                 SIDDI I
   Wa Jaint l1IIUm, spouse's 1ilSt neme and lnillaJ                                                                                                                                             -2222
                                                                            Lall-                                                                                      Spouae•• 1aclal lffUfily number

   Homallddrasa (numbw a n d ~
                                                                                                                                                         Apt. no.
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    1109 LAKE STREAM DR                                                                                                                                                  A and on rine 6c are correct
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                                                                                        eomplete spacas below (Set< W9'JCllon$j.
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    PLANO
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                                                                                                                                                                       refund.              You            Spouse
                   1 X Single                                                                                   4        Heall o1 llousellald (with quaftfylng person). (See lnsltuc:ltons,l If
 Filing            2                                                                                                     11111 quallfytng person Is a
                       Married filing joinUy (even If only one had income)                                                                                but not Y0UI' Clependent. enter this
 Status            3                                                                                               dlild'a name hont.
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 box.                                             ►
                           end full
                                                                                                                s
 Exempt ions              6a                    • If someone can claim yoo as a dependent. d
                       _ _;::;.b..L-..i.===;...:.,·.:..·..;.•..:·'--'-·.:..·..:.·..:·~~...;...;...;....._.______ _.....,.__..,..;_,.
                           c Dependents:
                                                                                                                                    .
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                       (11 First name                         Laltname                                                                                                                      • lMC! With you
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 lfmotelllanfour                                                                                                                                                                            you dull lo clivorct
                                                                                                                                                                                            or...,...tiol l
 dependen!S .-                                                                                                                                                                              (see lnalructions)
 iltslnl~ln d                                                                                                                                                                               Deoendents on fc
 c:heck'-    ►□                                                                                                                                                                             not-red above
                                                                                                                                                                                            Addm,mber a
                               d Total number of exemptions claimed                                                                                                                         onllnas
                                                                                                                                                                                            aboY•        ►
                             7   Wages, salaries, tipS. etc. Attach Fonn(s) W
 Income
                             8a Taxable interest Attach ScheduJe. B lf requi
                              b Tu:..xempt Interest Do not lncludtt on line 8a
Attach Form(s)
W-2 here. Also               9a Ordinary dividends. Attach SchedUl!t 8 if required
attach Forms                  b Qualified dividends • . • . • , .
W•2Gand                    10  Taxable refunds. credits. or o
1099-R If tax                                                                                                                                                                10
                           11  Alimony received • . • • .
was withheld.                                                                                                                                                                11
                           12  Business Income or {lo$s).                                           orC-EZ          ....•.•..••..•                                           12
If you did not
getaW-2,
                           13  Capital gain or (loss), A
                           14 01her gains or (losses).
                                                                                             .required. If not required. check here
                                                                                             7                  : .. ,:·· • • . • • . . . . • •
                                                                                                                                                ►                   D        13
                                                                                                                                                                             14
see insltuelions.          15a IRA distributions
                           16a
                                                                                     ~-- ------ -1 b Taxable amount                                        .••.•           15b
                           17
                                                                          ,~~;;-7,;;;;;;;:;;;;;;;;-;-;;;;' b Taxable amount                       . •                      16b
                                                                           ii    ps, S corporations. trusts,                 etc. Attach Schedule E                         17
                           18                                                 Schedule F                                 • , • , . • . . • • . • . .                        18
                           19
                                                                                                                                                                            19
                                                                                     - - ~ · ~ - - - - Ir Taxable amount •..                                               20b
                                                                                                                                                                           21
                                                                 In lhe far right cclumn for lilllt$ 7 lhrough 21. Thb Is your total Income
                                                                                                                                                   ►    22                                        162,19 8
Adjusted                                                   es·      . . . . . . • . . ••...• .•.                           i-.;;;;2 ;;;;.3+ -------- -{
Gross                                                   expenses or reservists, performillg arllsts, and
                                                              officials. Attach Form 2106 or :1106-EZ
rncome
                          25
                          26
                          27
                                      Heallh savings accountdeduclon. Attach.Foon 8889 . .
                                      Moving expenses. Attach Foml 3903 . • .• • • . • . • . .
                                                                                                                           -----------
                                                                                                                                 24
                                                                                                                           r--25 --t--= ------
                                                                                                                            _26~-------
                                                                                                                           1-·
                                      Deductibfe part of self-employment tax. Attach Schedule SE                           ~27-+-------
                          28          Self-employed SEP, SIMPLE, and qualified plans                                       t--28__,,_ _ _ _ _ __
                          29          Self.;employed health lnsurao ce~on                                                  ,_...29 ---1-- --~---
                          30          Penalty on earty withdrawal of savfligs                                              i--30-+-------
                          31a Alimony paid b Recipient's SSN ►.::..:.,;_________                                           1-·_31_•- i-----
                          32      lRA deduction • • . • • • • • • • :. .
                          33      Student loan interest ~uction . • i,; • • , • ,
                         Tuition and fees. Attai.:h Fonn 8917 ,; ·. . . . .
                          34
                    35 Domeslic produclion activities deduction. At\aeh Fonn 8903"-
                                                                                        L...::3 5.::..i- ------- +
                                                                                                                           ----------
                                                                                                                                 32
                                                                                                                           t,-.'-3___
                                                                                                                           1-.•;s,e
                                                                                                                                   3_____ - - - - ,
                                                                                                                                  ...·--+'-'-........,_ _ _- ' - - -
                    36 Add lines 23 through 35 • . • . . • • • .
                    37 Subtract line 36 from llne 22. This is your adjusted ross Income .
For Disclosure. Privacy Act, and Paperwork Reduction Act Notice, see separate                                                                                                                     162,19 8
EEA                                                                               ln.structlon•. ··                                                                                             Form 1040 {2015}
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  Form 1040(2015 )MUHAMM AD                             SIDDI I
  Tax and
  Credits
                              38
                              39a Check {
                                      If:
                                                    8
                                              You were born before January 2. 1951,           Blind. } Total boxes
                                                            SpouN was born before January 2, 1951,
                                                                                                                     8
                                  Amount from line 37 (a«lusted gross income)' . . • . . . • . • . • • • • . • . • • . .
                                                                                                                         •. .

                                                                                                                         Blind.    checked       ►   39a
 ..------.                         b If yout spouse llemlzes on a separate return or YoUwere a dual-status alien. check here • • •
      Stancfatd                                                                                                                    ► 39b
      Deduction               40      Itemized deductions (from Schedule A) or your standard deduction (see left margin)
      for.                    41      Subtract line 40 from fine 38 • . • . • . • • • . • • . • • • . • ·• . • • • . •
                                                                                                                                                                      40                 12 153
                                                                                                                       • • • . • • .                                 41                 150,04 5
      •People who             42      Exemptions.           1111na341t$1 S4,950orlllU, rmAllply $4.000 by.,.runnberc .ri llne6d.Olhetw iff, ,ea lnslNcUonl
      check any                                                                                                                                               ••     42                   4,000
      llOX online             43      Taxable Income. Subtract line 42 from Une 41; lfli1'1e42 is more than line 41, enter-0-
      39aor39bor                                                                                                                                       ..•.          43                 146 045
      who can be
      clelmed8$a
                              44      Tax(seeins truclions).C heckifanyf rom: a                      □Fonll(s)U1-4   b   □Focm ◄972C □---­                           44                  33,964
      dependent,             45       Alternative minimum tax {see instrucllons)_-Attach Fonn 6251 • • • . • • • • • • • • .•.
                                                                                                                                                                     45
      see                    46       Excess advance premium tax credit repayment. Attach Form 8962 • • • • • • • • . • •
      ln$tructlonS.                                                                                                           .                                      48
                             47       Add lines 44, 45, and 46 . . . • • . • .• . • . . . . • • • • . • . . • . . . • • . . . . ►
      •Allolhers:                                                                                                                                                    41                    33,964
                             48
      Single or
      Married filing         49
      sepandely'
      $6,300                 so



   =·
      Married filing         51
                             52
                             53      Residential enecgy credll Attach Fonn 5695                         . . . . •• . . .
   $12,600
   Headof
                             54      Other credits from Form: a        O    3800     II   O   8801      c   O ___
   household,                55      Add lines 48 through 54. These are youftotal credlia . . . · . . .
   $9.250
                             56      Subtract line .55 from line 47. If line 55 is more lhan line 47. enter
                                                                                                                                                                     56                    33,964
                             57      Self-employment tax. Attach Schedule SE • . • • • • • •
                                                                                                                                                                     57
Other                        58      Unreported &OClal security and Medicare tax from Form:
                                                                                                                                                                     58
Taxes                        S9      Additional tax on IRAs, other qualified retirement plar_ls, etc.
                                                                                                                                                                    59
                            60 a Household employment taxes from Schedule
                                                                                                                                                                   60a
                               b First-time homebuyer credit repayment. Atta
                            61
                            62
                                 Health care: individual responst,ility ~ Ins
                                     Taxes from: a          O Form 8959 b LJ F
                                                                                                                                   ;.·oo:::::::                     60b
                                                                                                                                                                     61
                                                                                                                              ;entereod<l(S)
                  63                 Add lines 56 th   h 62. This is our total tax                                                             ......         ►                           33,964
Payment s         64                 Federal income tax withheld from Forms W-2 and 1099                                                        34 011
. . . - - - - - . 65                 2015es1ima tedlaXpaym eraandam
                                                                                                                                                 6,000
 ~~ve 8                     ll6a     Eamed Income credit (EiC) • •
 child, attach  b                    Nontaxable combat pay election • •
 _ _ _EIC_._, 67
~Sdledule                            AddttiOnal child tax credit. A:
                            68       American opportunity
                            69                                                                       .. . . . . . .. -
                            70
                            71
                                                                                                ~




                                                                                                                           ---- ---- -
                                                                                                                          71
                                                                                                                             70

                            72
                                                                                                     136   . . . . . . . 1---'-7" "2-+--- -----
                            73                                                                      0ssas do_.__7 3....__ _ _ __
                                                                                                    ese are our total      nts    . . . . . . .                                          42,149
Refund                                                                                                                Is the amount you overpaid                                          8 185
                                                                                                                                  check: here        • ►                                    8,J.85
Direct deposit?         ►
                                                                                                                                  Checking            vlngs
See
instruellons.          ►

Amount                                        ou owe. Subnet llne 74 from IJne 63. For detals on how lo pay, see instructions
                                                                                                                                                             ►
You Owe                     79      Estimated tax     ty (see instructions   • • • • • . • • • • • 79
                            Do you.want to allow another person lo discuss this return with the IRS (see instruclions)?
                                                                                                                                                                   • 9omp1ete,_bel_,..ow-,-....-"r--.
                                               pe!jury, Ideelale lhat haw IIUffllried l'lis AIIUm                                                                          ►
Sign                       u,ey""' !No. COfflld. and carr,plete. Dec11n1tion 0( p.-parw(-t han ta,cpoyerj la ~ on all tnrormallOnoflO                   my knowlldge 111111 beli ,
                                                                                                                                           hid> ~ has enyl<nowledge.
                            Your $lgnatunl
Here                                                                                             Data                    Your oceupallon                          Daytime phone number
Joint return? See
                            41931                                                                    6-22-2 016 ECURITY SUPERVISOR
                           Spouse's $lgnalure. If a joint ietum, llotll must sign.
~~-for                                                                                                                                                                     ldelllily P!olectio,\ PIN (ne inst.)
 Olll're<:O~.
                            ,.,_..olgm, ""9


Paid                          RS Easle                                                                                         6-22-2 016                                      P00117 468
Preparer                    Pllfll/T)1>e Pl"Plflll'• name   R S Eas 1 e
                        Fiml'sna111e            ►           TAX FILING Servic es
Use Only                                                                                                                                                                        75-191 4530
                        Fhm's e<111n11a         ►           7 3 6 N Main
                                                            Dunca nville TX 75116
EEA
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   SCHEDULE A                                                           Itemized Deductions
   (Form 1040)

   ==-~=-~>
   Nlffl$)lhelwtlOIIFoml 1040
                                  ►   Information about Schedule A and 118 separate instruct ions la
                                                                            ► Attach to Form 1040.
                                                                                                     at www.lr               s.gov/schadulea.
                                                                                                                                                          2015
                                                                                                                                                       Attachment
                                                                                                                                                       Sequence No.    07
   MOHAMMAD SIDDI I
   Medlcal                Caulfon, Do not Include expenses reimbursed or paid by Glhars.
  and                   1 Medical and dental expenses (see lnslrUCllons) . • • • • •
                                                                                     • • • •
  Dental                2 Enter amount tam Form 1040, llne 38 ._2__,__ _ _ _
   Expens es                                                                           __
                        3 ~ Rne 2 by 10% (.10), But If el1her ycu or your spouse was
                          born before.January 2, 1951. rml1lply !tie 2 by 7.5% (.075) Instead
                        4 Sub1ractllne 31i'cm Ina 1. If line 3 ls more than lne 1, enter-0-
                                                                                               • •• . •• • . • . . . • • .
  Taxes You             S Sti.lte and local (check only one box):            ·
  Paid                    a D Income taxes. or          }      . • . . . • . . . • . . . • • . •. i-,.;5-i---:;;;lJ,.,;;a2;.;;:1:..;;;1;;....._r
                          b !XI General sales taxes                          • . - -          ·"
                        8 Real estate taxes (see lnslnlctlons) ••••• .•..• •.•••
                                                                                            .•. •··i--:• -i---41
                        7 Personal p,operty taxes • . • . • . . . • . . }. . • ·. • • . . .
                                                                                               .
                        a   Other taxes. List type and amount ►--------
                                                                        -
                     9 Addline s5         h8 . • • • • • . • • . • • • ' . • . . . • . . • . •
                    10 Home mortgage Interest and points reported to YoU on Form 1098                                                                         6 812
  Interest
  You Paid          11 Home mortgage lnlerest not reported to you
                                                                   on Form 1098. If paid
                       to the pacson from whom you bought lhe home, see inStrucllons
  Note.
 'l'ourmo11gage        and show that person's name. Identifying no•• and address
 lnlerelt
 daducllor\may
 be llmlled (see
 tnstn.lC1lon8).
                    12 Pointe not reported to you on Form 1098. See
                    speclal rules . • • • . • • • • • • . • . . • • •
                                                                                           _12_ _ _ _ _ __
                13 Mortgageiwura,ce premlt.wns (888 inslrucUons) • •
                                                                                           .,__13_ _ _ _ _ __
                14 lnveslmentlntelest. Attach Form 4952 If required. (Bee lnskucllo
                                                                                     ns.) ""-'-14.....__ _ _ _ _-t
                15 Add lines 10             14 • . . . • .       • • • . • • • . • . . . . • . . . . . • . • . . . .
                18 Gifts by cash or check. If you made                                                                                                       5 341
 Gifts to                                                                                   u· ,
                   see lnslruclions • • • • • • • • •
 Charity                                                                                   _1e___ ____
 If you made a  17 Other than by cash 01' check. If                         ...
 gift and got a    lns1nlctlons. You must attach
 benefit  tor.. 18 Canyov er fN>m priory& .••
                                                                             • • . • • • .,__11_ _ _ _ _ __
                                                                                              18
 seelns1NCtl0ns.19 Add llnas
                              18 fll'c>llgh 18
 Casualt y and
 Theft l.oue9 20                                       ____4684
                                                            ___.~See=_lns_truction
                                                                         ___·___.)._
                                                                                  s. _.__•••• ••.•• •.••.
 Job ExpellMS 21                                                - job travel, union dues. job
andc.t aln                                               2106 or 2106-EZ If required. (See Instr.)
Mlscellaneous
Deductions 22
                   D
                                                                                                                                   91


                   24 Add                      h23     •.•.•.••••••...•.....
                   21    enter amountmn Fonn 1040, 1ne 38                                                                          91
                                                               21   162 19 a
                   26 Multiply line 26 by 2% (.02) • • • • • • • • • • • •
                                                                           • , • • • • • •                   26             3 244
                   %1 Subllact line 26 flom line 24. If line 26 i8 more than lne 24,
                                                                                     enter -0-
Other
                                                                                                                                                                   0
                   28 other• from fist In lnslrucUon8. List type and amount              ►-----------
Miscella neous
Deductions
              29 Is Farm 1040, line 38. <Net $154,950?


                                                                                                                      l... ..
Total
Itemized          0 No. Your deduction is not Rmlted. Add the amoums tn 1he far right coum
Oecluottons           for Ines 4 thn)ugh 28. Also. enter 1111a anount on Form 1040,
                                                                                    hne 40.
                  (8l Yes. Yow deducllon may be llmlted. See the Itemized Decluctions
                      Worksheet in the ins1JUctions lo figure the amount to enter.
              3& If you elect to itemize deduetlons even though lhey are less than
                                                                                    your slanderd
                  deducton, check here • • • • • • • • • • • • . • • • • . • • • . • • • •
                                                                                                  . • • • . • .                   ►
For Pa,-wo rtt Reduction Act Notice, ... Form 1040 instruct
                                                                 ions.                                                                       Schedule A (Form 1040) 2015
l!V.
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     SCHEDULEE                                            Supplemental Inco me and Loss                                                              0MB Ne>. 1545-0074
     (Form 1040)                          (From nmtal rut estate, roya!Ues, partners hips. S corpora
                                                                                                       tions, estates, trusts, REM!Cs, etc.)
     Department d Ille T-uty
     lnleM8! RevenueSlll\'tee (99)   ►
                                                            ►   Attach to Fonn 1040, 1040NR, or Fotm 1041,
                                         Information about Schedule E and Its
                                                                                                                                                            2015
                                                                                           te Instructions la at www.irs.gov/schedulea.
     Naml(a) st-,,onl'l l!Uffl                                                                                                                       ~No               13

     ' · · •:. ",    Income or Loss From Rental Real Estate and Re>yaHles                                                                                -222 2
                                                                                        Note: If you are In the business of renting persona l property
                 Schedule C or C-EZ (see ioStructions). If you are an Individual,                                                                        , use
                                                                                  report farm rental income or loss from Form 4835 on page 2, line 40.
     A Old you make any payments In 2015 lhatwouldrequireyou to
                                                                      Ille Form(s)1099? (see instructions)
     B Jf"Yes." did    orwill u file    ired Fonns 1099?
                                                                                                                                    0 Yes f&} No
      1a     Ph sical address of each          street. ci , slate, ZIP code
                                                                                                                                    0  Yes       l&1 No
        B
        C
       1b           Type of Property         2 For each rental real estate property listed
                    (from Dst below            above, report the number of fair rent.al and                                           Personal Ua&
                                               personal use days. Check the QJV box                                                                              QJV
                                                                                                                                          Days
        A                        1             only if you meet the requirements to file as       A
        B                                      a quanfied joint venture. See Instructions.
                                                                                                  B
                                                                                                                                               0                 D
        C
                                                                                                  C
                                                                                                                                                                 D
 Type of Property:
 1 Single Family Residence                      3 VacationlShort•Term Rental . .       5
 2 Mulli-Faml Residence                         4 Commercial
      Income:                                                          p
                                                                                                                                                            C
  4      Ro         sr~              ••• , • • • • . . • . • . . . . . • . . , ••
 Expenses:
  5 Advertising . • • . • • • . • • . • , •               • , • . • • • . • •
  & Auto and travel {see lnslructlons) • . .              • • • . . • • . • .
  7 Cleaning and maintenance • • • • . •                  • • • • • . . • . • •
  8 Commissions . . • . • • . • • . • . •                 • . . . • . . • • . • • .
  8     Insurance . . . . • . . • . . . . • . . • . • . . • • • •
                                                                  .•..•                 l--'9'-t-_ ___.; ;;1;. ,_7'- 7~8 -+-- ----i
 10     Legal and other professional fees . . . • . . . .                                                                           r---- --
                                                                                        _10--+------+-------1--
 11     M.inagementfees . . . . . . . . . . . . . . . .                                                                            -----
                                                                                        _11--+------+--------+--
 12     Mortgage interest paid to banks, etc. (sefs insttuc ·                                                                       -----
                                                                                        i--12;;;...+------+-------+--
 13     Other Interest . . . . . . . . . . . . . . .                                                                                 -----
                                                                                        i--1 ;;..3 -+-- ---~ -+-- ---- --11 ----
 14 Repairs . . . . . . . . . . . . . . . . .                                                                                           ---
                                                                                        i---14 --+--- ---'-9....2..9 - - + - - - - - - - - - - - -
15 Supplies. . • • • • • • . • . . • •
                                                                                        _1s_ _ _ _3... _4_ 5_1 --+ ---- ----                                      ----
16 Taxes . . . . . . . . . . . . . . .
17      Ulillties • . . • . . • • • • • •
                                                                                        _16. ;..._ --=2 ...... ._2_ 7..;; 9--+ ----- ----- --
                                                                                           17
18. Depreciation expens
19 Other (Hst)
                                                                                           18                S 196
                                                                                           19
20 Totaleicpen
                                                                           ...... ......20--
                                                                                        .    +_-- --"1 ...;;3 ~6~3 ~3'-+ ----- -+--
21      Subtract line                                                                                                                                                ----
        result is a (
        fileform 61
                                                                                           21            (12 199
22
                                              • • . . . • . • • • • . • • . • •,_;;;;22;;;._,_(.,__ _ _,---q.
                                                                                                                       .,__ _ _ _ _ _,....ct,
                                     on line 3 for au rental proPer;fies     • • . • • . . . • • . . • . 23a
  b    Total of all amount$ reported on line 4 for aff royalty properties                                                     l , 434
                                                                             • . • . • • . • . • • . • • ,-;2...
                                                                                                               3b;;; ..+..: .----- -
  c    Total of all amounts reported on lini3 12 for all properti es •
                                                                         . . . . . . • . . • . . • . . . '""2....3....
                                                                                                                   c-+-------
  d    Tola! of aN amounts reported on line 18 for all pmper1les
                                                                                 • . . . • • . . • . . • 23d                  5 196
  e    Total of all amounts reported on tine 20 for all properties . . . . .     • . • • . • • • • . • . 23e
24 lncome.AddposltiveamountsshoWnon&ne21. Donoti                                                                    13 , 6 3 3
                                                                    nclude anylos ses : . . • • • . . • • . , , . . . •
25 Losses. Add royatty losses from line 21 and rental real                                                               . 24                   0
                                                                  estate losses from llne.22. Enter total I ~ here.
26 Total rental real estate and royalty Income or (loss). Combin                                                             25                 0
                                                                           e lines 24 and 25. Enter the result h~.
     If Parts II, Ill, IV, and line 40 on page 2 do not apply to you.
                                                                      also enter this amount on Form 1040. fine
     17, or Foml 1040NR, line 18. Olhetw ise, include lhi&
                                                               amount In tho total on llne 41 on     e2      .••...••• ,
For Paperwork Reduction Act Notice, sea the separat                                                                         2f                  0
                                                              e Instructions.
EEA                                                                                                                     Schedule E (Fonn 1040) 2015
                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                Desc
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     Form    4562                                        Depreciation and Amortization                                                            OMS No. 1545-0172
                                                     (Including Information on Usted Property)
     Daparlml nldllla T ~                                                ►   Altach to you, tax return.                                                    2015
     1n1em11 AMn11a semca (991    ►   Information about Form l'562 and b •                                                                         Attachment
                                                                                       ate lnltruet lona Is at www.lrs. ovlfonn4562.                    enceNo .        179
                                                                                     llulilms ortctMtyt owhlch lhlsfonn . -                     ldlllllfyl ng.......,
  MUHAMMAD SIDDr I                                                                       RENTAL HOUSE
                     Election To Expen se Certain Property Under Sectio n 179                                                                                     -222 2
                     Note: If         have       Isled              le Part V before                      Part I.
     1      Maximum amount (see lnalructons) . • • • • • • . • • , • • .•
                                                                                 • • • • . • . • • • • . • . • . • • • • • •                1
     2      Total costof aecllon 179 property placed In Hl\llce( see lnstndo ns)
                                                                                          .•...•.•..•...•.••                                2
     3      Threshold coat of aeclion 179 properl)r before reduction In lmitalfon (see inatructi
                                                                                                      ons)      • • • . • . . • • •         3
     4      Reduction In Imitation. SUblract lne 3 from h 2. If zen:, or 1tts11, enter
                                                                                       -0-         •• • •• • . • . • • •. . .               4
     6      Dollar linllalion for tax year. SublracUne 4 from lne 1. lfzero or'less, enter-0-
                                                                                                  . If married filing
                        , see Instructions • • • • • • • • • • • • • • • • • • • • • •· • •
                                                                                                  • • • • : • . • • • • • • • •
     6                            (a) Delcnpllon of                                  J Ccst (buslnes~ 111e onry)


     7    lilted property. Enter the amount from line 29         • • • • • . •. . • • • • • • • •
     8    Totalelecled costof sec:llon 179prop erty. Add emouma in column(
                                                                          c). llnes 6and 7
  9       Tenlallve deduc1ion. Enter Ille smaller of lne s or line 8 • • • •
                                                                             • • . • • . . • • •
 10       Cerryover of clsallowed deduction from line 13 of your 2014 Form
                                                                             4562
 11       Business Income Imitation. Enter !he smaDar of business income (not I
 12       Seclion 179 expense deduction. Add IN& 9 and 10, butdono tenlar
 13       ca        of disallowed deducllOn to 2016                   10, less


 14      Special depreciation allowance for quaUlled property (
         dcmg the tax year (see inSll'uctions) . • • • • • • •
 15      Properly                                                                                                                          14
                                                  •     • . • •
                                                                                                                                           15
                                                                                                                                           18


 17      MACRS deduction& far aase1s
                                                                                                  115    ••.•• •••• .•
 18      If you are electing to group M'/
                                                                                                    e or more general
         asset accounts. check here •




 19•
   b
     C




                                                                                                25                               SIL
                                                                             149 100                             MM              S4.                          5 196
                                                                                                                 MM              S4.
                                                                                                                 MM              S4.
                                                                                                                 MM              SJL
                                                                              2015 Tax Year Ualn                                      on
20a
                                                                                                                                 Sil
     b
                                                                                                12                               SIL
     C
                                                                                                40               MM              SIL
21    l.lstedpropeny. Enteramountfromllne28 • • • • • • . • • • . • • • . . •
                                                                                      • • • • • • . ·••• • • • •                      _21_ _ _ _ _ _ __
22   Total Add amounts from line 12, lines 141hrough 17, linas 19 and
                                                                       20 in column (g). end Hne 21. Enter
     here and an lhe appropriate ..,_. of your retum. Par1nenlhlpa and
                                                                       S co,porallons • see lns1Nclions                                22                     5,19 6
23 For assets &tlOWII above and placed In servlee during the current
                                                                      year, enter the
              of lhe basis altrbbb le lo secllon 263A costs • • , • • • • •
                                                                              • • • • •     23
For Paperw ork Redu<:tlon Ac:t Not~ ... aepal'llle lmltruct                                                                                                              •ti
                                                             lona.                                                                                   Form 4562 (2015)
EEA
                    Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                                               Desc
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     Form           8582                                   Pass ive Activ ity Loss Limit ation s                                                                                                            0MB No. 1545-1008
                                                                                       ► Sae
                                                                              Mparate lftstr\lctloM.
     Oepartment tJI INI Treasury                                  ► Attach to Form 1040 or Form 1041.                                                                                                            2015
     lnlor!lll Rewenue88Nle:e (99)   ►   Information about Form 8582 and lta instructl ona la available at-.lrs.g                                                                                            Altachment
     Name(s) shcMn on retuM
                                                                                                                  ov/form 8582.                                                                              Sequence No.   88
    MOHAMMAD SIDDIQI
                       2015 Passive Activity Loss
                  Caution:          e Worksheets 1, 2, and 3 before          tin Part I.
    Rental Real Estate Activities With Aetlve PartfcJpatlon (For the definition
                                                                                 of active participation, see
    Special Allow ~ for Rental Real Estate Activities In the instruction
                                                                          &.)
     1a Activities with net income (enter the amount from Worksheet 1,
         column (a))      . . . . . • . . • . . . , . . . . . . , .• •. • . . . . . . 1-1.:.
                                                                                                     :•:..... .i----- ---
      b Ac1Mlles with net loss (enter the amount from Workshe et 1, <lOlumn
             (b))     ....••••...•.•.•.•.•.•...•.•...•.
                                                                                                                                    •    i--:;.= _µ.--= +-==- --!
        c Prior years unallowed losses (enter the amount from Worksheet 1,
          column (c)> . • • • • . • • • • • • • . • • • • . • • . • . • • • .
                                                                               ••..                                                      a....;.::...J.,_ __ __
      d Combine fines 1a, 1b, and 1c
    Commer cial Ravftallzatlon Deductio ns From Rental Rul Estate Activitie
                                                                                s
     2a Commerolat revitalization deductions from Wortshe et 2, counn
                                                                         (a)
      b Prior year unallowed commercial revitalization deductions from
          Worksheet 2. column (b)       ....•.•••.••.....••..••.
      c Add lines 2a and 2b        • . • • . • • • . • • • • . • • . • • • . • • • • .
    All Other Passive Activities
     3a Activities with net income (enter 1he amount from Worksheet 3,
          column (a})      • • • • . • • • • • . • . • . . • • . • . • •
      b Activities with net loss (enter the amount from Worksheet 3,
             (b)}    .•...•••••••••••••••••••••
        c   Prior years unallowed losses (enter the amount from WO!ksh
            column (c))        • • • . . • . • . . . • . • . • • • . • . • . • .
        d   Combine lines 3a, 3b, and 3c
                                                                                                                                                                                                    3d
    4       Combine lines 1d, 2c, and 3d. If this line is zero or
            your return; all losses are allowed, Including any
            2b. or 3c. Report the losses on the fonns and
                                                                                                                                    . . . . • . . . • . . . . • . . •,_;..4_. __                         __,{~1~2;.L...:::1~9~9~)
            If One 4 is a loss and:
                                                                                            or more), skip Part II and go to Part Ill.
                                          • Line                                      and 2c are zero or more), skip Parts II and Ill and go to line 15.
Caution: If your ffllng s                                                         ou fived wlth your spouse at any lime during the y911r, do not complete

                                                                      Real Estate Activiti es With Active Partici pation
                                                                      ltiVe amounts. See instruc!IOns for an exam .
    s                                                      the loss on line 4
    6                                                        , see instructions     • • . . • • .                                    i-.;=--i.- --=-=~t. ....=..;:; .;::__
    7                                                  • but not less than zero (see Inst.}
                                                   ual to line 6, skip lineS 8 and 9,
                                                   to fine 8.
    8
    9                                    . Do not enter more than $25,000. If marrted filing separately, see
                                                                                                             instructio ns
10          Enter the arnalJer of line 5 or lloe 9  . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . .
            lfline 2cls a loss, to Part Ill. Olhefwise, to line 15.                                                                                                                                                         0
                      Special Allowa nce for Comm ercial Revitalization Deductions From
                                                                                        Rental Real Estate Activities
                     Note: Enter all numbers in Part Ill as oosltive amounts. See lhe examt>le
                                                                                                for Part II in the instructions.
11          Enter $25,000 reduced by lhe amount. If any, on line 10. If married filng separatel
                                                                                               y, see instructions         ...
12          Enter lhe loss from line 4      ... .. .                                       .
                                                      . ., . ' . . " - . - - . . . . . . . . . . . .                                 . ..                                  ..... . -
                                                                                                                                                                                                    11
                                                                                                                                                                                                    12
13          Reduce line 12 by lhe amount on line 10
14
                                                              •   •   t   •   •   •   ..   '   •   •   •   •   ..       •   •   •    •   •   '..... ..... ...                                       13
            Enter the smaltest of line 2c <lrealed as a positive amount), fine 11, or
                                                                                      line 13                                                ...... .... - .....                                    14
-                    Total Losses Allowed
15          Add lhelncome, if any, on lines 1a and 3a and enterlhe tolal                               •   4   ..   '       •   •    •   •   •   •   ,.   •   ,.   •   •   •   ~   •    ~   •   •   15
16   Total IO$$es allowed from all passive activitie s for 2015. Add line$
                                                                           10, 14, and 15. See
     Instructions to find out how to report the losses on vour tax return
                                                                               ' t a . • • • 4 ta                                                                  ••      ••      ..   I•••        16                      0
For Paperwork Reduction Act Notice, ... Jnstructl OM,
                                                                                                                                                                                                          Fom, 8582 (2015)
ee,.
                  Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                         Desc
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   Fo,m    8879                                                 IRS e-flle Signature Authorization
                                                                                                                                                                     OMll No. 1545-0074
                                                                 ►
                                                      Do not send to lhe (RS. This Is not a tax return.
   Oe""1fflMI 01 h T1811ury
                                                          ► Keep !his form for your records.
   1n1em,1 Ae- S..-vlC»          ► Information about Form 8879 and Its instruct
                                                                               ions Is at www.lrs.gov/form8B79.                                                           2015
   Submission ldenlffication Number (SID) ►

                                                                                                                                  Social aecurhy ftUfflbu
                      MUHAMMAD SIDD I I·
  Spouse's name                                                                                                                                       2222
                                                                                                                                  SpollH'f aoclal MCllflly number

   ffl ·. · .\I       Tax Return Information - Tax       Year Endin December 31, 2015
      1                                                                                                   Whole Dollars On
            Adjusted gross income (Form 1040, line 38; Form 1040A, line
                                                                         22; Form 1040EZ. line 4)      . . . . . . . . . . . .
      2     Total tax (Form 1040, line 63; Fonn 1040A. line 39; Form 1040EZ                                                                                  1         162 198
                                                                             , line 12) • • • • . • • . . . . . . . . . . . .
      3     Federal tneome tax Wilhheld (Form 1040, line 64; Fotm 1040A.                                                                                     2          33 964
                                                                          line 40; Form 1040EZ, lne 7) • • • . . . . . . .
            Refund (Form 1040, line 76a; Form 1040A, llne 48a; Form 1040EZ                                                                                   3          34 011
                                                                               , line 13a; Form 1040-SS, Part I, fine 13a)
            Amount u owe Form 1040, line 78; Form 1040A, line 50; Form 1040EZ                                                                                4           8 185
                                                                                       ,              line 14                                                5
  Under penallles of peijiay, I declare that I have examined a copy                                                                                         our return
                                                                           of my electtonlc i'ldMdual lnCome tax reti.rn and
  for the tax year ending December 31, 20115, and 10 the best                                                                                             statements
                                                                    of my knowledge end belief, It Is true, c:orrect. and
 In Part I above are !he amounts from my e!ectronlc n:orne                                                                                             theamounls
                                                                   tax. relum. I consent to alow my ~
 originator (ERO} to send my rel\lm to lhe IRS end to receive                                                                                                retum
                                                                     from lhe IRS (a) an aduloWledgement of~
 reason ror any delay In processing the return or relmd, and                                                                                       transmission. {b) the
                                                                    (c) the date of arry rel'und. If applicable, J a
 Agent lo Initiate an ACH e1eetron1c funds wllhdrawal (direct                                                                                      eslgnated F'inanclal
                                                                   debit) entry to the financial lnStilullao .
 cf my federal taxes owed on this rewm and/or a payment or estlmale                                                                              software for payment
 remain In full force and effect unlll I notll'y the U.S. Treasury Financia d laX, and Che financlal tnatllullon to                            . This aulhorizaUon 1$ to
 TreasU!)' F11111nclal Agent at 1-888-353--4537. Paymen
                                                                              l Agent to terminate 1he a            .                              I must «ll11aet lhe U.S.
 date. I also 8Ulhorize lhe linallClal lns1iull0n$ Involved tIncancellat fon requests must be receiWld
                                                                the proe;essl                                                                the paymen t (settlement)
 anawer inquiries and resolve Issues related to the payment. Ifurther ng of lhe eledronic pa                                                     lion nete$$8ry to
                                                                              acknowledge lhat the per
 eledronlc Income laX return and, If epp!lcable. my Electronl
                                                                  c Funds Wlhdrawal                                                           Is my signature for my



 T~er 's PIN: check one box only                          RTN =lll 00 0 6                                    1596 9217 73
      l2£I I authorize TAX FILIN G Serv ices                                                               generate my PIN
                                                   ERO firm nanw
                                                                                                                                  419 31
          as my signature on my tax year 2015 eleclronically                                                                    Enm five dlgllS, but do
                                                                                                                                not enter all zeros
      0   I will enter my PIN as my signalure on my tax year                         onically filed income tax return. Check this box only
                                                                                                                                        if you are
          entering your own PIN and your return is filed us
                                                                                            PIN method. The ERO must complete Part Ill below.

 Y01r$1gnature    ►   --- --- --- -ill l                                                                                       Date ►     06-2 2-20 16
Spouse's PIN: check one box only
      0I aulhori2.e_ _ _ _--=,--..,,,                                ,......_ _ _ _ _loentw orgene rate my PIN - - - - - .
                                                                                                                           ..-,-
                                                                                                                               Enterflve digits, but do
                                                                                                                               not enter all 1:eros
                                                             tax year 2015 electronically filed income tax retum. Check
                                                                                                                        lhls box only if you are
                                                            filed using the Practitioner PIN method. The ERO must c.omple
                                                                                                                            te Part Ill below.
Spouse's Slgflall.lre   ►
                                                                                                                               Date   ►   ------------
                                               ctitioner PIN Method Returns Only - continue below


ERO'a EFINIPIN. Enter your slx-<liglt EFIN fullowed by your
                                                                        five-digit self-selected PIN.                            7533 03-0 0002
                                                                                                                               Do not enter all zeros
I certify that the aboVe numertc entry is my PIN, which Is my
                                                              slgna\ure for the tax year 2015 electron icaly filed Income
the taxpayer(s) indicated above. I oontiml that I am submitti                                                             tax return for
                                                             ng lhis relUm In accordance Wflh the requiremenls of the Practitio
method and Publ!catlon 1345, Handbook for Authorized IRS                                                                         ner PIN
                                                               &-fife Providers of lndillklual Income Tax Returns.

ERO's slgnatu'e ►           R s Basl ey                                                                                        0ate ►     06-2 2-20 16
                                                     ERO Must Retain This Form - See.Instructions
                                      Do Not Submit This Form to the IRS Unless Requested
For Papelwork Reduction Act Notice, see your tax return Instruct                          To Do So
                                                                ions.
eEA                                                                                                                                                              Form 8879 (2015)
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            1040
                                        Overflow Statement
       Name(s)es • ' - ' on tetum
                                                                            Your Social Se<:urily Number
       MUHAMMAD SIDD I I
                                                                                                           2222

                                    SCHEDULE Bi LINE J.4 -   REPAIRS
      Desc riptio n
      PAINT                                                                              Amount
      CLEANING AND MAINT                                                         $                         500
                                                                                                           429
                                                                  Tota l:        $                         929




OIIERFLOW..W
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                                        W-2 Detail Usting                                     2015
RiimeGS• aiiiiimanAIUII
                                                                                          Sadii Sefui1yNo.
MUHAMMAD SIDDIQI
                                                                                                       -2222
                                                          FEDERAL                 STATE
                                               Gr08S          WJH    State Code   Gross                  W/H
T         LE PRO              GRP INC         127,7 15      28,3 52'
T         PING RESTORE ABILITY                 3-4,4 83      5,65 9

                                              162 198       34 Oll




                          ♦

                          :§
                 CJ
                  Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                             Desc
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                                                     Excess Social Security- Nonrallroad
                                                                                         Employees
                                                              Worksheet -1040, Line 71
                                                                          Keep for your records                                         2015
      Name
        MUHAMMAD SIDDIQI                                                                                                  SSN
      If you are filing a joint retum, you must                                                                                               -22 22
                                                  figure any excess tax withheld sepa ,itely
      spouse. DO NOT combine amount of bolh                                                    fur each
                                            husband            and wife. .

 1.      Add all social security tax withheld {but not
                                                       more lhan $7,347.00
         for each employer). This tax should be
                                                   shown In box 4 of your
         FormsW-2. Enterthetotalhere              .....•..•.....•......•
                                                                                                 ..•....•.......•.•.•.
                                                                                                                                       1. _ _ _ _9__,_,4_8_5
2.      Enter any uncolleeted social security tax
                                                     on lips or group-term
        life insurance included in the total on Fonn
                                                       1040, line 62 • • . . . . . . • • . .
                                                                                              • • • . , •• • . •       ' . . . . . . . 2. _ _ _ _ _
                                                                                                                                                    __
3.      Add lines 1 and 2. If $7,347.00 or less,
                                                   stop here. You <:annol claim
        the credit . . • . • • • • • . . • •
                                                • . • . . • . • . . • . ' ' . . . . •
                                                                                       . . . . • • . . • . • • •                      3. _ _ _ _9_.,_4_8_5
4.      Social security llmlt • . . • • • . .
                                                . . . . . • • • • ., • • . . . . • •
                                                                                     . • • . . • •


5.      Excess. Subtract line 4 from line 3
                                                                                                                   . . . . . . . . . . s. __ __2_._,_1_3..;..8
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                           Estimated Tax Worksheet for Next Year           2015
NilM!t)•- -QIIIWlff l
   MUHAMMAD SIDDI I




Estim ates wil                    n $3,34 9. This is line 26.
Use scree n ETA               e accur ate estim ates of next year' s income,
deduc tions,                   If scree n ETA is used, lines l-24a of
this works                   autof illed.
                                       Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                         Desc
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• Item was disposed                                             Depreciation Detail Listing                                                                                                 2015
of during current year.                                                                        RENTAL HOUSE                                                                                 PAGE 1
N«me(s) u slloolnon 11111m
                                                                                                                                                           Socia! ffCUflly IIUfflberll!IN
      MUHAMMAD SIDDIQI                                                                                                                                            ---2222
                                                               Business     Sedlon   Depmcla1lon                              Current   Accmiulated     Prior
No.            De:scripti«o    DIiie       Cost                                                    Life     Method    Rate                                                    Bonus                AMT
                                                    Salvage   'percentage     179       Bests                                  depr.    Oepr8Ciltlon   upenH              ~on                   Cumlrlt
 1      114 CARSON CT ROWI.ET,01012015     149,100         100.00                        149, 100,27.SISL        MM   3.485     5,196        5,196                                                   5,196
 2      114 CARSON CT LOT    01012015       30,000 30,0001 100.00                               00                    0




      iTotals                             179, 1001 30,000                              149,100                               5.196        5,196                                                     5~ 196
      land Amount                                                                                                                                                       ST ADJ:
      Net Depreciable Cost                179,100
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                                                        TAX RETURN COMPARISON                                                      2015
                                                              2013 / 201412015
   Name(s) as shown on return
                                                                                                                          Identifying number
 MUHAMMAD SIDDI QI
                                                                                                                                            2222
                                                         2013.                   2014                     2015
  Filing Status • • . . • . . . • • . . . •
                                                                                          1                        1
  Number of Ex      lions . . . . • • • • •
                                                                                          1                        1
  Income
    Wages, salaries, lips. etc. • . . . . . . 1-------- -+----9_ 4_,,...;2 ;...0_6--
                                                                                     -i--=l..a .6.;;2'"" ""'1=9-' 8-+---~6 .;..7.,_,.::..9.;;;.9.;;;2-i
    Taxable interest and dMdeods . . . .
                                            ----  ---- ---- ---- ---- 1-- ---- ---- i
                                            t--- ---- -+--
    Taxable state and local refunds . • . .                ---- -+-- ---- -1-- ---- ---- -l
    Alimony . . . . . . . . • • • . . • • , 1--- ---- -+-- ----
    Business Income (Joss) . . • ••..•
                                                                 -1-- ---- -1-- ---- ---- i
                                                 1---------+-------1---------'1---------
                                                                                             1
    Gains(losses} • • • • • • . • • • • •     1--- ---- --+- ---- --1- ---- --1- ---- ---- --1
    Pensions and IRA dislrlbUttons    • • . . t---- ----- +--- ----+ ----- 'il
    Rent and royalty income (loss)    .•.• i---- ---- -+-- ---- -+-- -
    Part. S-corps, 1rusts income (loss} . • .    t----·---+-
                                                           ------+-~
   Farm income (loss) • . • • . • • • . .       1-- ---- ---- ----
   Unamployment compensation , .••.             1-- ---- --+ ---- --
  Total SS benefits received . . . . . . .      1--- ---- +--- ---a
  Taxable SS benefits • • • • • • . • . •       1--- ---- -+- ----
  0ther income(loss) . • • • . . . • . •
  Total Income . . . . . . . . . . . • .
                                                1--- ---- -+-- --
 Adjusted Gross Income
                                                                                                                                           67,992
  Half of self-employment tax • • • . . •       i--- --~ -
  IRA deduction. . . . . . • • .      • • . •   t--------,
  Other adjustments . . . • . .
  Total A uated Gron Income
                                      . • . •   1---- ------ '
                                      . . . .                                                           162,1 98
 Deductions
                                                                                                                                          67 992
  Medical deductions . . . . . .
  State and local laxes . . . • •
                                      • . . .
                                                ---- .:--- ::--- +---
                                      . • • • 1---~               6 2 9 0---- ---- ---- ---- ----
                                                                                6 812          5221
   Interest. . . . . . . . · .... · .•..        1---~                             5 956                     5,341                                (615}
   Contributions . • • • • . . • . . . . •                                        l ; 000
   Employee business expenses . . . . .                                                                                                   (1 000)
                                                                                  3 , 70 5                                                (3 705)
   Standard or other deductions • . • . .
   Total ltemtzed or Standard Ded . . .                                         16 951                   12 153                            (4,798 }
 Exem        Amount . . . . . • . . .
 Tax and Credits
                                                                                  3 950                    4 000                                      so
   Taxable Income . . . • ♦
   Tax • . . . . • . . . •
                                     ..                                         73 305                 146,0 45                          72 740
                                                                                14,18 8                 33 964                           19 776
   Credits • ' •.•••. '
   Self-employment
   Other taxes • •
   Total Tax .•                                                                 14 188                   33 964                          19,77 6
 Payments
  Wrtlnoldings • .
                                                                                15 999                   36 149                          20 150
  Estimated taJt paymen
                                                                                                          6,000                             6,000
   Eamedlncomecre<flt . • . . • • • .      ·1-- ---- --+- ---- --+- ---- ---l- ---- ---- 1
   Other payments and credits ••.•..• ,_______
 Overpayment
                                                            .__,, ;-"-- -¥--- ----1 ----- --1-- ----- ---i
                     . . . . . . . . . . . . 1------- -+---... c:l'-'-'8 _1;;..;l ;;;....i_ _ _
                                                                                               --'8_.,_l;;;;..8;:_5.;;c_.,____ _   _ _6c:..L..;.;.3..;.7--'4--i
   Overpayment Applied • • • • . ' • ' •
 Refund    ............ , ...
                                                ------ -~--- ---,-- ----~ ---,-- -,,.... ,...--- ;1--- ------ -1
                                                1------- ---1---- 1....__8 _1...;l~ ------8. .__l..,; ;,8_5_ _ _ _ _6_._3"--7.;;;.4
                                                                                                                                   -1
         0
: : : : . s~~ ..... ..... ...
  Taxablelncome • • . . . • . . • • . .
                                                t=======~=~==t====TXr~======1============j~~]~21!1~TI:ff~]TI~m~
                                                1--- ----- -+-- ----- -+-- ----- ..;1- ----- ----1
  fax • . . . . . . . . . . . . . . . . . .     i----- ----,-; ,------ +~--- -.;.-'- ---+-' --"--- -----,1 ------ ---i
 Refund . . . • . . . . . . . . . . . .
 Balance Due . • . . . . . . . , . . . .        t--- '---- ---- ---, ---- ---- ---- ---- ---- -1
Marg1na1 tax rate • . . • • • • • . • . • . _____ _____ _____ _2_5___. _.0_0~
Effective tax rate • • . • • • • • . • . • • '---'--_ _ _ _...._______ _
                                                                                    _____2_a_.                   _o_o____ ___3_._o_o_
                                                                       1_9_._0_0___.__________""'"2""3_._2"""6__._      _ _ _ _.....;c.4..;..""2..;.6__,
               Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                              Desc
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                                                      ·Modifi ed AGI Worksheets for Form 8ff2
                                                                 K     for your records
                                                                                                                                                    2015
   KlmeN.- Cln191U ffl
                                                                                                                                          Soefalht:ulllvNunlller
  MUHAMMAD SIDDI I
                                                                                                                                                            2222
                                                  Taxpayer's Modified AGI Worksheet • Line 2a
                           1, Enter your a4J$1ed gross income (AGtr from Form 1040,
                              lkle 38: Farm 1040A, line 22: or Fonn 1040NR,
                             lne37 . • • • • • . • . . . . • . • . • . • . • • • . • . . • •
                                                                                             • • 1. _._..;;;l;.;;;6.;;:;2.,_,.;;:;l.::;.9~8-
                          2. Enter any tax-e,cempt interest frorn Form
                             1040, line 8b; Form 1040A. lne 8b; or
                              Form1040NR,Nne9b •.•.. •...• .•• 2. _ _ _ _ __
                          3. Enter einy amounts from Form 2555, lines
                             45 and 50, and Form 2655-EZ. .
                             line 18 . • • • • . . • . . . • . • • . . . 3.
                          4. Enter the excess, If any, of Form 1040,
                             lines 20a ov• 20b; or Form 1040A. lines
                             14a over 14b ••••• •• -. • • . • • • • 4. _ _ _ _
                                                                                              _
                          S. Add lines 1 through 4. Enter here and on Form 8962,
                             llne2a • . . . . • . • . . . . . . . . . . . • • . • . . . . . .

                                             Dependents• Combined Modified A
                          1. Enter the AGr for your dependents from Form 1040.
                             line 38; Form 1040A. line 22; Fonn 1             n    ·
                             Fonn 1040NR. line 37 • . • . • • • .                                       • . 1. _ _ __
                          2. Enter any tax-exempt interest for
                             depende nts ffom Form 1040, line 8b;
                            1040A. line 8b; Form 1040EZ. the
                            wrfflen to the left of the lne 2 entry apace;
                            and Fonn 1040NR, lne 9b • . • . • • • . . 2. _ _ _ _ _
                                                                                   _
                         3. Enter any amounts for your
                            from Fonn 2655, Ines 4S and

                         4. Enter for each of your d
                            excess, If any, of Form        •I
                            over 20b; and Foml 1                14a over
                            14b ......                  ..           . .... · · - - - - - -
                         s. Add Ines 1            4              and on Form 8962,




                                                     line 3 of Form
                                    . . •       . • . • . . . . • . . . . . • . . . . . . • . . . • . • 1.
                                                                                                                         l.62, 198
                          • Enter               from line 4 of Fonn
                            8962 •          • • . • . • • • • • • . . • . . . • 2.        11.6 70
                                                                                                               3.. _ __,:4::.;6:;.,,i:_6;;.8~0-
                         4. Is    amount on line 1 more lhan the amount on
                            line3?
                            • Yes. The amount on llne 1 above is more
                            than 400% of the Federal poverty line. Enter 401
                            here and on llne 5 of Forni 8962.
                            • No. DiVfde the amount on lne 1 by the
                            amount on line 2. If 1he result Is not a whole
                            percenta ge. do not round. use only the ht two
                            numbers after the decimal point EnlBr lhe-fllSult
                            here and on lne 5 of Form 8982. For example,
                           for 0.9984, enter the result as 99; for 1.8565,
                           enter the result as 185; for 3,997, enter the
                           result as 399 • • • • • • • • • • • • • • • . • • • • . • • • • • . •
                                                                                                 • 4. _ _ _..;:;4...,0_1_


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EEA
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                                     Federal Su                           2015
         Hame(s) as shown on retum                                                      PGO l
                                                                         Your Social S-.illy Number
         MOHAMMAD SIDDI I
                                                                                                  -222 2
                                     All Sou rce Gro ss Income                   WK TTLGI
         Des crip tion
         Wages and tips                                                              Amount
         Sch edul e E ren t                                                        162, 198
                                                                                     1,43 4
         Tot al
                                                                                   163, 632




STM.lO
                   Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                         Desc
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      €
      ~
           1040                  Oeparlment al Ille Treas"'}' - lnlemal Re-Jenue SeMce
                                 U.S. Indiv idua l Income Tax Retu{99)
                                                                   rn                                         2016
     ForlheyeatJIJl1.1-Dec. 31, 2016, or other tax yeorbeg                                                                                                    IRS Uae Only-<lo not- orataple tn lhls space.
                                                                    inning
                                                                                                            , 2016, endi                        ,20
     Your first ntme anc! initial                                                                                                                                     See s          e Instructions.
                                                                                                                                                                      Your aodal MCUrit)' 8l.lfflbar
      MUHAMMAD                                                                    SIDD I I
     If a Joint IIIIUm, spc,use·s fin,t ,u,me and Initial
                                                                                 t.estname                                                                                                  -222 2
     Hotne •ddre$s (number and street).

      6701 HAVENHURST CT                                                                                                                                               -'- Make sure the SSN(s) above
    City, town or posl office, $191e. and ZIP code. r you hava
                                                               e l()N!;gn ad~. also complete al)IC<!:S below
                                                                                                                                                                      a     and on line 6c are correct
                                                                                                                  (see insllUctlons).
   -.,.......-ALLE
          --,....,..     , N ,_..-_8----- ----- ----- -.~- ----- -----TX
               , ., , ,.--·-,
                         _-,,....,-n                                                      7500 2
                                                                      .-... .;.-, ----- ---1
                                                                                                                                                                     Pl'Nld _.. Ele.:llon Oampaton
                                                                                                                                                                Chec:kherellyou,oryourSl)OUSelffiling
                                                                                             Join lly,w
                                                                                             Fc118ign ~nce/$l alelcou nty                               llll$ 3tog olc, llus fun~ .~
                                                                                                                                            Fc:n!gnJ>OS131 code a box belOwwitl notCha!1Q6 your tax or
                                                                                                                                                                      Nlfuncl.           You                 use
   Filing               21   X Single                                                                            4         Head of houHhold (with qualifying 1)81SOn). (See llls!Mlio
  Status                                                                                                                                                                             ns ,) If
                                 Mamed filing jointly (even If only one had income)                                        the qualifying person Is a · but nol '(O<lf dependen~
                                                                                                                                                                                  enter lhlS
                                                                                                                           ~d'snam ehere.
  Chlldt   oruv one     3
  box.
                                 Manied filing sepltllle fy. Enter si,wse's SSN above
                                                                                                                ►..,..,,,,_   ___ ___
                                 end full n        here.   ►
                                                                                                   5
                                     6a           Yourself. If someone can claim you as a dependent,
  Exem ption s                                                                                       d~· n
                                                                                                                                                                                        ::.:~                1
                                       c       Dependents:                                                                                                                              No. of chllcnn
                                                                                                                                                                               . u      on le vd!O:
                             (tt Firsl name                         1.a&lname                                                                                                          • llffdwithyou
                                                                                                                                                                                       • Clld not live with -
  tr more than lour                                                                                                                                                                     ,OU due to cllvM:e
  depentlents, see                                                                                                                                                                     (or MPlft donl
  lnsl/UetiOlls 81141                                                                                                                                                                   -    lnstnlll1ians
 clleCl;be le   ►□                                                                                                                                                        D
                                       d       Total number of exemptions claimed                                                                                         D
                                   7           Wages, salaries, lips, etc. Attach Form(s) W
 Income
                                   ea          Taxable interest Attach Schedule B If requlrs
 Attach Form{s)                    b Tax-exempt interest. Do not include on One Ba
                                                                                                        8b
 W-2 here. Also                  9a Ordinary dividends. Attach Schedule B if required
 attach Forms                      b Qualified dividends . . . . • •
 W-2Gand                                                                                                9b
                                10 Taxable refunds, credits, or offs
 1099-R If tax                                                                                                                                                           10
                                11   Alimony received • • • • .
 was withheld.                                                                                                                                                           11
                                12 Business income or {loss).
 If you r.ftd not
 getaW-2.
                                13 Capital gain or (loss). Atta_
                                14 Other gains OI' (losses).
                                                                              required. H not require d, check here
                                                                             7 ' . • • . • . . . . • . ' , .• '
                                                                                                                           ►                                    d        12        l 976
                                                                                                                                                                      1--13_ _ _ _ _ _ __
 see instruclions.              15a IRA distributions                                                                                                                    14
                                16a
                                                                                        --- --- --- -1
                                                                    ~.__ _ _ _ _ _ ___, b             b Taxable amount                                                  1Sb
                                                                                                         Ta,cable amount
                                17                                                                                                                                      16b
                                                                         ips, S corporations, trusts, etc. Attach Schedule E
                                18                                                                                                                                        17
                                                                        uleF                      ...•.• , •..• ,
                                19                                                                                                                                        18
                                                                                                                                                                         19
                                                                                                                                                                        20b
                                                                                                                                                                         21
                                                                  's In the far right column for lines 7 lhrough 21. This IS
Adjus ted
Gros s
                                                                       . .. ''............
                                                              e~penses of reservists, performing llrlists. and
                                                                                                                                    lotaf Income
                                                                                                                              ~""-1----------
                                                                                                                                                      •          ►       22                 151 076

                                           f               ernment officials. Al1ach Form 2106 or 2106-EZ •
Income                                                                                     24
                                25
                         Health savings account deduction. Attach Form 8889
                                                                                           25
                                26
                         Moving expenses. Attach Form 3903 . • .
                                                                                           26
                    27   Deductible part of self-employment lax. Attach Schedu
                                                                                le SE      27                  27
                    28 Self-employed SEP. SIMPLE, and qualified plans
                    29   Self-employed heallh insurance deduction
                                                                                           as
                                                                                           29
                    30   Penalty on early wilhdrawal of savings
                                                                                          ·30
                    31a Alimony paid b Recipient's SSN
                                                            ►________ _3_ 1a- i---
                    32   1RA deduction . . . • • . • . . •                                                 ---- ---
                                                                                           S2
                    33   Student loan interest deduction . .
                                                                                          ·33
                    34   Tuition and fees. Attach Form 8917
                                                                                          34
                    3$   Domestic productiOn activities deduction. Attach Fonn
                                                                                8903    ~35 ___....__ _ _ _ _ _ _-t
                    36   Add finet- 23 through 35 . • . . . . • . . , . •
                                                                             . . . • .                             ,.._36--;,..__ _ _ _ _ _2_7_
                    37   Subtract line 36 from Rne 22. This Is your ad·usted
                                                                               oss income .                      ►
For Disclosure, Privacy Act, and Paperw ork Reduc
                                                     tion Act Notice, see separate Instructions.
                                                                                                                       37           151 0 4 9
EEA
                                                                                                                                   FO!Tll 1040 (2016)
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      Form 1040 201s)M UHAM MAD SIDD IQI
                                                                                                                                                                                                              -222 2
      Tax and
    Credi ts
                    38
                       39a Check {
                            If:
                                                 8
                         Amount from lne 37 (adjusted gross Income)
                                             You were born before January 2, 1952,
                                             Spouse was born before January 2, 1952,
                                                                                                                    B
                                                                                          • . . . . . • . • • • • • . • . . • • . •
                                                                                                             BUnd.} Total boxes
                                                                                                             Blind. checked ► 39a
                                                                                                                                                                 151 049
                                                                                                                                                                                                                                       l'age2



   ....-- ----- , b If your spouse itemizes on a separate
       Standard                                                        reb.Jm or you were a dual,slatus a&en, check here • . . ►
       Deduction                                                                                                                            39b
                      40   Itemize d deduct ions (from Schedu le A) or your standa
                                                                                                     rd deduct ion (see left margin)                 40            40 258
      tor -           41    Subtract &ne 40 from line 38 . • . • • . • . • • • .
                                                                                                    , • . . . . . . . • • • . . . . • .
       •People who    42   Exemp     tions,   If line 38" $155.650 orress, mullit)ly $4,050 by lhe number en line
                                                                                                                                                     41          110, 791
       check any                                                                                                  ea. O\t1elwiSe. see ln$1ni -
      box on line     43 Taxable Income. Subtractllne42from Hne 41.                                                                                  42             4,05 0
      39aor39bor                                                                          lfRne42 is more than line 41, enter-0- •
                                                                                                                                                     43          106, 741
      who can be
      claimed asa
      dependent.
                      44 Tax (see instructions). Check if any from: a OFCllll(s)&B14
                      45   Alternative minimu m tax (see insl/Uctions). Attach Form
                                                                                                           b 0Fonn4972                        cO __ __
                                                                                                                                                     44           22,9 24
                                                                                                       6251               •..•....•                  45
      see             46   Excess a<lvance premium lax credit repayment Attach Form
      instruc\ions.                                                                                       8962 • .                                   46
                     47 Add fines 44, 45, anct 46 • • . • • . . . . . . . . .
      •AU others:                                                                                   . • . .                                          47
                     48 Foreign tax credit. Attacil Form 1116 if                                                                               .►                 22 924
      Single or                                                             required . . . . . • . . i---: -48 ~--- ----
     Married filing  49 Credit for chikl and dependent care expenses. Attach Form 2441
      separately,                                                                                                  49
     $6.300          50 Education credits from Form 8863, line 19 . • • . . .
                                                                                                    • .            50
     Mamed filing    51    Retirement savings contributions credit. Attach Form 8880
     jointly or
     QualifyinlJ     52    Child tax credit. Attach SCheclule 8812, if required . •
     widow(er},      53    Residential energy credit. Attach Form 5695
     $12,800
     Headof
     housellold,
                     54   Other   credits from Form: a        ~ b   o
                     55 Add lines 48 through 54. These are your total credits
                                                                                        c
                                                                                         • • • .. . .
                                                                                    Oaao, O -- -
                                                                                                   . . . . .
     $9,300
                     56   Subtract Rne 55 from line 47. If line 55 is more lhan line 47, enter
                    57    Self-employment tax. Attach Schedule SE • . . • . •
                                                                                                                                                    56            22 924
                                                                                                      • ..
  Other             58 Unreported social secooty and Medicare tax from
                                                                                                                                                    57                 53
                                                                                           Form:                                                    58
 Tues               59 Additional tax on IRAs, othef qualified retirement plar)s,
                                                                                                  etc.                                              59
                    60 a Household employment taxes from Schedu le
                                                                                                                                                   60a
                        b First-lime homebuyer Cfedit repayment.
                                                                                                                                     . . . . . .. ~60-=b,..__ _ _ _ _ __
                    61    Health care: Individual respon sibility ~ Ins
                    62 Taxes from: a
                    63
                                                        O
                                                      Form 8959 b
                          Add lines 56 throu 62. This is your total tax
                                                                              F     LJ
                                                                                                                                        .. , . . . 61

                                                                                                                                                ►
                                                                                                                                                    62
                                                                                                                                                    63      .... 22,9 77
                                                                                                                                                                                   --- --- --- -
 Payments           64    Federal income tax wilhhekl from Fom,s W-2 and 1090
 . - . - - - - . 65 2016 estimated taJC paymen ts and
                                                                                                                  64                 30    101
  If youhavita                                                                                                    65

                       r:b
  qua&fying         66a Earned Income credit (EiC) •
                                                                                                                 66a
  chlld. attach
 l_:~hedule EiC.
                                                                                                                              61
                           68     American oppoitunity er
                                                                                                                              68
                           69
                                                                                                                              69
                           TO
                                                                                                                              70
                           71
                                                                                                                              71                           1,89 8
                           72
                                                                                               136     . . . . . . . i-,..; ;72~ ----- --J
                           73
                           74
                                                                                                                                   ts     ..• ' ...                        ►                                        31 999
Refun d
                                                                                                                                    ount you overpaid                                                                9,02 2
Direct deposll?        ►
                                                                                                                                   check here  . ►                      D                                            9 022
See                                                                                                                                Checking □ Savings
Instructions.

Amou nt                                    · ou owe. Subtract line 74 from Mne 63. For details on hoW to pay,
                                                                                                                                       see instructions                   ►
You Owe                    79    Estimated 1ax                 (see instruclions}           . • • . • . • . • . .            79



Sign
                         Umtl""" "1!1No lperjv,Y ,l-lhllll- ..oninodlhlt
                         -1t11r 11a1o 11_an c1_or_ , ....ivod$n,g ..... _ _ _
                                                                                _     _,_~-ond•----ltle-ol,,,,~•andbtliol.lhoy-..,_,_..,.
H                        Your sign-                                                                     ~ - 1 .. -""' .. -°'- -"" llll'
                                                                                                         ., _ _ {olllof ... ...
                                                                                                                                                                                                             ~·
                                                                                             Date

~tlu!;"=:
                                                                                                                        Yourom, palion
  ere                    1111 1                                                                                        4-11 -201 7 ECUl UTY SUPE RVIS OR
                                                                                                                                                                                                Da),lim&pt,orn,number
                Seea-$;;;pouse=.::;;.;;,s;;;.;sc.c,gnature--.-.f-4l-joinl_re_tum_,_bolh_m_U$_l_slgn-,
                                                                                                     ---+'Da~le-"'..;;;_..c::c.;;..;;;'-'-i.;;..S;;;;PQl;...alS;..e;..•s..;°
                                                                                                                                   ""P~;;..alf.;.oo.....;;-'--';;.,;;;;;;;;.;.;;..a...c....;.__..t,klentl--ly-~--.--,,p.,,.1N,-(see---
KeeoaCODYlor                                                                                                                                                                                                                          ,ins,--I.)
yovt recori:fs.
                         Preparer'sslgnalU/e
                                                                                                                                                                                                PTIN
Paid
Prepa rer                Print/Type preparer'• name    R S Eas le
Use Only                Arm'sname           ►          Tax Fili n                    Serv ices
                        F,m,'s acldteSI     ►          7 3 6 N Main
                                                      Dun canv ille, TX 7511 6
EEA
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       SCHEDULEA                                                            Itemized Deductions
       (Form 1040)
       P.P..M1eA1<lfflM TiM""'Y....
       ~R-.~lfil
                                        ► mfwm atlon about Sohef.fUta A and Its •par.i lW
                                                                                          ~ctl oM               la al lllf WW .in. ~
                                                                                                                                                             2016
                                                                                ►   A.UachtoFomUMO.                                                       Attachment
       Hme(s ) sh(iwn OIi l'ctrn 1'40                                                                                                                     ~No.          07
       MUHAMMAD SIODI I
                              Caution: Oo not include expeoses ~ or pakl
                                                                                by otiers.
                            1 Medka and dental expenses (see lnstnlc lwnl)
                                                                           • . • . • • . . . •
                            2 enter fll'l'ICUlt from Fann 1040.lill'le 311 ......,_2.......
                                                                                           _ _ _ _ __
                            3 Multiply Uoe 2 by 10% (0.10). 8ut I ellher you ot
                                                                                          your SJXIU5& wa,
                              bom belore J111uary 2, 1952, multlply lfne 2 by 7.5%



                                 :~ ==::. } ................ .
                                                                                              (0.075) Instead
                            4 SUbtrect line 3 lrom lne 1. If line 3 ls more ttan
                                                                                         lloe 1. emer -o,.    • • • . • • • . • • • • • . •
   Tax.Y ou                 $ Sfaw and local (check only OM box):
   Paid
                                                                                                                 5            1,20 4
                            e  Real ea1&1e    ax•(&ett iMt.Nclion$} • • • • , • • • • • • . • •
                                                                                                • •
                            '1 Personal property 1axea • • . . . . . . . •
                                                                              . •• . . . . , , ••
                            8 Otier taxes. List typeandlld'IIOUllt ►
                                                                          -- -- -- -- -
                                                 8 ••.....•...••..•...•...
                                                                                                 .                                                              7 591
   lntarest              10 Home moctgage imefestand points reportacl lo
                                                                             you on Form 1008
   You Paid              11 Home ~eio ters tF!Q t~to youo oFO
                                                                              fll'I 109a. lfpald
   Note:                    mIIO peraon fti:)cn whom )fO'.I bought the nome. see insttuellom
  Vou r~•                   and show Uiat person's name, idflntfying no., and eicldte
                                                                                              ss
  tnllrest
  dedui:IIM may
  lleJ!mlt.ed(&ee
  ~}.
                        12 Polntll nol reported to you on Fomi 1098.. SM
                                Special rule$ • • • • • • • • • • • • • • • • • •
                                                                                                                .,_12-
                                                                                                                  +------
                        13 ~ rnsuranoe premium$ ( s e e ~ )
                        14 lnireslment inlefeSt. Attach Form 49$2 If requir     •                   -13        --+ ---- ---
                                                                            ed (See lntfluctions,.} ,.,_14....,_ _ _ _
                                                                                                                        _---f
                        15 Md hr. 10             14 • . . . . .          . . . . • • . . . . . •. . • • • . . • • . . . . .
  Gifts to              16
                    Gills by <:11,'Sh. ot check.. If you made                                                                                                32 667
  Charit y                      $99 lnstruetions
                                            • • . • • . . • •
                                                                                                                16
  If you mactu, 11 ~ than by casn or cMck. If
 Qlftandgota       ins!.nJCtions. You m
 benel'ltlofll. 18 C8l'l')'OVef frOm                                                                            17
 •ee~ li.ol\$ . 19 Addln tll 16                                                                                 18
 Cana ltyan d
 Thef tloan 20
 Joa ~2 -.                                                         -Job travel, union dues, Job
 an4Cartaln                                                  ?106or2106-EZifrequlred. tSeeinslr.)
 M~ eou s
 DedU{:llo..,. 22
                       21


                       2A                      23 . • . • • . . . • . . • . . • • " •..•
                      25 Enter amount from Fonn 1040, line 38
                      2G Wtipt y &mt 25 by 2% {0.0?) • • . • • .
                                                                       2&  t I                _,_,.F "~'X•"i
                                                                        • • . • • • . • . • • • .      26
                      Z1 Smlracit line 26 from line 24. l(l!ne 2.6 is mo.-e
                                                                            lhlln line 24,      c,nter- -o,.
Other-                D Otier~ from list in inatnlclons. list type and amoun
~ous                                                                        t               ►-----------
Deduc tioM

Tot.al                29 Is Form 1040, line 38. over $155,eso?
lteml nd                    ml No. Yoor dedu cbl Is not limited. Add lhe amounts in the far right column
Dedu clion.

                                                                                                                      }
                                 for lfnlf!S 4 lhrougtl 28. Also. enter lt1I$ MlOUl'lt on
                                                                                          Form 1040, fine 40.
                            0    vu. Your deduetioo may be limlted. See Ille llemized ~
                     Womt'leel in !he lnsbU::lions loiigu r9 the amount
                                                                             to enter.
             30 If YQ1.i elect t o ~ dedUclk>trl: even thougl
                                                                 l tillJY 8!'e less lhan )IOIK s.t.anclatd
                  dedtlciion, ehecl< here • • • • • • , • • • • •
                                                                        . • . • • • • • • . • . • • • • • • • • •                ►
For Paperwork fteduction Aot NOiin, ue fomt
                                                1040 llt&1rucC!ons.
!:EA                                                                                                                                          Schel:ful& A (Fwm 1040) 2016
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      SCHE DULE C-EZ                                                   Net Prof it From Business
      (Form 1040)                                                                                                                                            0MB No. 1545-0074
                                                                                         (Sole Proprietorship)
      Oapartm entotfle Treuu,y
      ll'lletTlal Rewef1ue Service
                                                   ►   Partnerships. Joint ventures, ate•• generally must file
                                                                                                               Form 1065 or 1065-B.                             201 6
                                     {99)                  ► Attach to Form 1040, 1040NR, or 1041.                                                          Alblchment     ,A
      Nameo f~tar                                                                                         ► See Instruc tions.                                      eNo. 09,..,,
     MUHAMMAD SIDD I I
     UFMt-z~               General Inform ation



     YouMayUse
     Schedule C-EZ
     Instead of
                            j               • Had business expenses of $5,000 or
                                              less,
                                            • Use the cash method of accounting,
                                                                                                                             • Had no employees during the year.
                                                                                                                             • Do not deduct expenses for busines s
                                                                                                                               use of your home,
                                            • Did not have an inventory at any time                                          • Do not have prior year uoallowed
     Schedu leC                               during the year,                                                                 passive activity losses from this
     Only If You:                                                                                    And You:                 bu   ess, and
                                            • Did not have a net loss from your
                                              business,                                                                              required lo Ille Form 4562,
                                            • Had only one business as either a sole                                                  lion and Amortization, for
                                              propriet or, qualified joint venture, or                                                   s. See the lnslruclions for
                                             statutory employee,                                                                         , line 13. to find out if you


     A Principal business or profession. incrudng product or service
  SECURITY
     C Business name. If no separate business name, leave blank.
                                                                                                                                          0   Enter your &IN ( - ,.._ 2)

     E    Business address (including suite Of room no.). Address
                                                                  not
            670_1 HAVENHURST CT
          City, town or past ofliee, state. and ZIP code
           ALLEN              TX 7500 2
     F    Did you make any payments In 2016 lhat would require
                                                               you kl file
          ScheduleC . . . • . . . . . . • • . . • . • . • • • •
  G If "Yes." did                                                                                                                                              Yes          No
                                                                                                                                                               Yea          No
                         Figure Your Net Profit
  1        Gross raeelpts. Cautio n: If this Income was
                                                                                           Form W-2 and the "Statutory
           employee" box on thal form was checked ,
                                                                                     loyHs in the instructions for
           Sehedule C, Kne 1, and check here
                                                                                    ···· ·· .... ···········► □                                   1                  5,45 0
  2        Total expenses (see insb'uelions)
                                                                                                                                                  2                  3,47 4
  3        Net profit. Subtract I
                                            ♦
                                                                         zero, you must use Schedule C. Enter on both
                                                                 e 2. or on Form 1040NR. line 13, and Schedu le SE,
                                                                 ees do not report this amount on Schedule SE, line 2.)
                                                           1,line3        . . . . . . . . . , .. , .. ·. · · · · · ·                             3                  1 976
                                                      Your Vehicle. Complete this part only if you are claiming car
                                                                                                                    or truck expens                         es on line 2.
 4                                                le ln service for business pu,poses? {month, day, year)
                                                                                                                         ►     01-0 1-20 16
 S        Of the totai number of mRes you drove your vehicle during
                                                                                 2016, enter lhe number of miles you used your vehicle ror:

     a Business _ _ _ _3_.,._2_0_0__ b Commuting (see instructions) _ _
                                                                        _ _ _ _ __                                                   () Other                9 000
 6        Was your vehicle available fur personal use during off-duty
                                                                      hours?
                                                                                                                                                         [&}ves
 7       Do you {or your spouse) have anolher vehicle avaUable
                                                                              for personal use?
                                                                                                                                                         IB] Yes
 8a      Do you have evidence to support your deduction?
                                                                                                                                                         00 Yes
  b if 'Yes," ls the evidence written?                 . • . . . . . .
For P■plllWOlk Reducti on Act Notice, see the &11parat
                                                                  e Instruct ions for Schedu le C (Form 1040).
                                                                                                                                                         [xj Yes
EM                                                                                                                                            Schedule C-EZ (Form 1040) ZCtl
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  SCHEDULEE                                                  Supplemental Income and Loss                                                                0MB No. 154lHl074
  (Fonn 1040)                              (From rental real estate. royaltles, partnership s, S corporations, 111$tatff, trusts,
                                                                                                                                  REMICs, etc.)
  Oepa,tmelll ol the Treasu,y                                  ►   Attach to Form 1040, 104DNR, or Form 1041.                                                 2016
  Internal Revenue SeMC• (99)        ►    Informati on about Schedule E and its separate Instructions la at www.lrs.
                                                                                                                                     v/schedu/ee.        ='No.          13
  MUHAMMAD SIDDI QI
   •· ~,j ·. 1 ··\i\
                  Income or Loss From Rental Real Estate and Royalties Note: If you are in the
                                                                                                      business of renting personal property, use
                  Schedule C or C-EZ (see instructions). If you are an indvk:lual, ~ fann rental
                                                                                                    income or loss from Fann 4835_on f?!S8 2. line 40.
      A Did you make any payments in 2016 that would require you to file F01111(s) 1099?
      B lf"Yes." did   or will u file required Forms 1099?
                                                                                         (see Instructions)                          0 Yes          No             O
       1a     Ph lea! address of each
                                                                                                                                     0  Yea         No
                                                 street, city, slate, ZIP code)
       A
        B
        C
       1b              Type of Property         2 For each rental real estate property listed                       Fair Rental           Personal Use
                       from ffst below            above, report Iha number of fair rental and                                                                    QJV
                                                  personal use day$. Check the QJV box
        A                     1                   only if you meet the requirements to file as          A
        B                                         a qualified joint venture. See il1SfnJctions.                                                                    D
                                                                                                        B
        C
                                                                                                        C                                                          D
 Type of Property:
 1 Single Famlly Residence                        3 Vacallon!Short-Term Rental              5
 2 Mul!i-Fam· Residence                           4 Commercial
      Income:
                                                                                                                                          B                    C
  3      Rents received . . . . •
  4         allies receiVed
 Expenses:
  5      Advertising . . . .
  6      Al.Ito and travel (see Instructions)
  7      Cleaning and maintenance
  8Commis$loos .. • . . . . .. •
  9Insurance . . . . • • • • . • • .
                                                                                                 9              1,778
10 Legal and other professional fees
                                                                                                10
11 Management fees • . . . . • . .
                                                                                                11
12 Mortgage Interest paid to banks, etc. (see instruc                                           12
13 Other Interest . . • • . . . . • • . • . • •
                                                                                                13
14 Repalrs . . . . . . . . . . . . . . . .
                                                                                                14              3,695
 15     Supp8es . . • • . • • . . . . . • . .
                                                                                                15
 16 Taxes . • . . • . • • . . . . .
                                                                                                16              5 197
17      Utilities . • . . . . . . • . . •
                                            >
                                                                                                17
18
                                                                      . . . . . . • . . . l--'-18.c..+--.....:.5~,...;4~2-l"-f_ _ _ _ _-+- ----
19                                                                                                                                              -
                                                                                                19
20                                                                                              20            16 091
21
        result is a (
        lileForm61                                                                              21              5 293
.22     Deductible
                                                     .................                          22              5,293
23a Total of au amounts                on llne 3 for an rental properties     . • • • • . • • .              1--23a....;..;;;;-+-_ _..;;2_1;;;;.i.....
                                                                                                                                                   3...8...;4'--
  b Total of aH amounts reported on line 4 for all royalty properties         . . . . • . • • . • . . • • t-23_b_ _ _ _ _ _0_
  c Total of all amounts reported on line 12 for au properties . • . . • . . • .
                                                                                          . . • . • • • ....2...3_c-+ ------'O _
  d Total of all amounts reported on line 18 for an properties . . . . . • • .
                                                                                        • . • . . . . . . i-.;23d'---+------,...;S",-'--..;;4_,2_lc....t:
  e Total of all amounts reported on Nne 20 for all properties          . . • . . . . . . . . • . • , . • ...23e_....__ _1_6....__,_0.,..9_1__
24 Income. Add positive amounts shown on line 21. Do not include any losses
                                                                                               . • , • • , . • , • . . • . . , • i--24-+- ---'--<-- "-"---
25 Losses. Add royalty losses from fine 21 and rental real estate losses from line
                                                                                           22. Enter total losses here                                __ 25_ _ _ _...__ ___,
26 Total rental real estate and royalty income or (!oh), Combine lines 24 and
                                                                                          25. Enter the result here,
     If Parts II. II!, IV. and Hne 40 on page 2 do not apply to you, also enter this amount
                                                                                               on Form 1040, line
     17, or Form 1040NR, line 18. Otherwise, Include lhis amount in the total on line
                                                                                            41 on pa 2                                                   26              0
For Paperwork Reduetion Act Notice, see the separate lnstructlons.
                                                                                                                                                 Schedule E (Form 1040) 2016
Eu.
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      ScheduleSE Form 1040)2018
                                                                                                              Attachment &lguenc e No. 17                                              p        2
      N,me of peqonwilh 81ff-emplOJIMIU Income (as shown on
                                                                     Fonn 10<IO or Farm 1040NR)           Social security number of pet'80n
      MUHAMMAD SIDDI I                                                                                    With Ulf-4mP
      Section B-Lon g Schedule SE                                                                                               income ►                                   -2222
      l!Jl1tjJjSelf-Employment Tax
      Note. If your only income subject to self-employment tax Is church
                                                                               employee Income, see lns1ructions. Also see lnstNcllons forlhe
      definition of chi.Keh employee income.
       A If you are a minister, member of a religious order, or Christian
                                                                               Science practllanar and you lled Form 4361, but you
            had $400 or more of other net earnings from self-emp loyment . checlc hwe

                                                                                                                                                                                        •□
                                                                                              and c:onlinue with Part I        . • • • . • • • • • . . . • .
       1 a Net farm profit or (loss) from Schedule F. line 34, and farm
                                                                          pannershlps, Sdledule K-1 (Form 1065),
            box 14, code A. Note. Skip lines 1a and 1b if you use the farm
                                                                                oplionsl method (see instructtona)                          111
         b If you received social security re11rement or dlsabity benefits,
                                                                               enter the amount of Cons81V811on Reserve
            Program payments included on Schedule F, line 4b, or listed on Schedul
                                                                                           e K-1 (Form 1065), box 20, code Z               1b
       a Net profit or (loss) from Schedule C, line 31: Schedule c-ez, line 3; Schedule         K-1 (Form 1065),
           box 14, code A {other than farming); and Schedule K-1 (Form 1065-B)
           Ministers and members of rellglous ORlers, see lnstruclons for types
                                                                                       , box 9, code J1.          ~
                                                                                      of Income to report on
           this line. See Instructions for o1her Income to report. Note. Skip tis
                                                                                    line if you use Che nonfarm
           optional method (see lnS1rUCtiOnS) • • • • • • • • • • •
                                                                          • • • • • • • • • • , • • • • • • • • •                . •       2
      3 Combine lines 1a, 1b, and 2                                                                                                                      1 976
                                              • • • . . • • • • • • • • • • .. • • • • .. • • • •
                                                                                                                      • • • •      •       3             l          97 6
      4a If lne 3 ls more than zero, multiply Hne 3 by 92.35% (0.9235}. Othawls
                                                                                         e, enter amou          II        . • • ·. . ...,_<le;;;..+_ _ _.;;;;l;.i...;;8;..;;2_5=--
           Note. If Bne 4a Is less than $400 due to Conservation Reserve Program
                                                                                          payments on
        b If you elect one or bolh of the optional melhods, anter the l0tal
                                                                              of lines 15 and 17                                          4b
        c Combine lines 4a and 4b. If less than $400, stop; you do not owe
                                                                                  self-em
           Excepti on. If less than $400 and you had church employe e
      5 a Enter your church employee Income from Form W-2. See
                                                                            II\GOIIMI enter                                     ..... .
                                                                                                                                     ►                   l 825
          lnnuctions ror definition of church erf¥1loyee Income
       b Multiply Nne 6a by 92.35% (0.92315). If less than $100, enter
  6      Add lines 4c and 5b     . . . . . . . . . . . . . . . . . . . .
  7      Maximum 8lll0Ullt of ecmblned wages and self-employment                                                                                                              1 825
           tax or the 6.2% portion of the 7.65% rallroed retirement (lier 1} tax
                                                                                 for 2016                                                                                       118,500.00
  8a       Tolal soclalSecurily wages and lips (total of boxes           on
           Fonn(s) W-2) and ranroad retirement (lier 1)
           lf$118,500 or more, skip lines Sb through 10,and to
                                                                                  •••.•..                                    149 100
       b   Unrepor ted lips subject to soclal security
                                                                            • ne 10)      • . •                lb
       c   Wages subject lo social security tax (
                                                                                  • • • • • • .                8c
       d   Add lines ea. 8b, and 8c
                                                                                                                                                           8d
  9
 10 Multiply the smaller of line 6 or line
                                                                                                                             ..... ..             ►    .......9___ ___ _0_
 11 Multiply Hne 6 by 2.9% (0.                                                                                                                             10
 12 Self-employment tax.                                                                                                                                   11                          53
                                                                    here and on Form 1040, line 51, or Form 1040NR, llne 5$
 13                                                          tax.
                                                          ult here and on
                                                      llne27          . . . . . . • . . . . . •               13                          27
                                              e this melhOd only If (a) yr»: gross farm lncome1 was not more
                                            2 were less than $5,457.
14 Maximumlncamefor                   mellods      . • . • . • . . • • . . • . • . • • • • • • • . . • . • • .
                                                                                                                    . • . .                                                          5,040.00
15 Enter lhe smaller of: two-lhlrds (2/3) of gross farm income1 (not
                                                                          less lhan zero) or $5,040. Also
      Include this amount on line 4b above          • . • • • . . • • • . • . • . • . . • . . . • . • • • . , • •
                                                                                                                      • . .
Nonfarm Optlonal Method. You may use this melhod only if (a)
                                                                      your net nonfarrn protits3 were less 1ftan $5,457
and also less than 72.189% of your gross nonfarm Income~ and
                                                                     (b) you had net earnings from self-employment
of at least $400 in 2 of the prior 3 years. Caution. You may use this
                                                                        method no more than five times.
18 Sub1ractllne15fromfine14                      • • . • . • • • • • • • • • . • • . • • • . • . . . . • . •
17 Enter lhe smaller of: two-thirds (2/3) of gross nonfarm Income4
                                                                              (not len than zero) or lhe
                                                                                                             . • • • • • • . •                              •-+ ---- ---
                                                                                                                                                      '--'1.....
    amount en line 18, Aleo include this amount on lne 4b above                  • . • • • . • . . . • • • • . . . • . . . . •                        ......,;..17__.__ _ _ _ _ __

                                          =·
1Fiom Sch. F. Hna 9, ■nd Sctt, 1(-1
                                    (Fann 10651, box 14, COIie 8.                           3
2FI        ....._
          •••.,       ....., K 1 (Foi, Ma•                                                         FIOIII SCI\. C. line 31: Sch. C-EZ. line 3; Sell. K•1 (Fonn 1005), bOx
                                                                                                                                                                          14. code
 IDM-• F........ • nd ....... • . : " 1                                                            A; 111d Sch. k-1 (f'on;> 1065-8). box 9, code J1.
                                            bait 14• codeA•lll inul Ille                         4 Frm Sdl. C. Jin■ 1; SCh. c.EZ. llne 1: Sch. K-1 (Fonn 11165),00II
 = · y o u ~ ...... 8ll11nd on        lb   you nat used~ op1ia1111                                                                                                      14,cade
                                                                                                   C; and Sch. K•l (Fonn 106$-8). box •• cod■ J2.
EEA
                                                                                                                                                   Sehedule SE (Form 1040) 2016
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      Fenn        8582                                 Passive Act ivity Loss Limitations
                                                                       ► S.. sepa ,_ lnatru ctions .
      Deo~ cllhe t-..y
      lr!lema! ~s.M ce(t tl
                                                                   ►
                                                                   Awtch to Fonn 1NO or Form 11141.
                                   ► lnfonn ation llbollt form 8582 ltl'ld till\
                                                                                                                                                       2016
                                                                                                                                                     ~
                                                                                 malnl Ction l II avallllbt. at www.
      Nam. i•}~      jjn-                                                                                                                                  !,b.   88
      MUHAMMAD SIDDI I
          H{l t       2016 Passive Activity Loss
      ___ _           CM.ltlon~ Qomplete ~ah eea 1,          and 3 bffotw               Part t.
     Ret'dal RMI Estate A~Mt les With ActM Partklpatlon
                                                        {For tne-definlton of 8Cllve perlclpalion, see
     SPIJOiaf Aloww,ce for Rental Reef ENte ActMdla In tie
                                                           Instruc            tions.)
      1a ActlvltieS wiUl netiocome (enter the llll'l'IOUntfrom
                                                               Workliheet    1,
             column {a)}      ••••••••.•.• , ••..••..•.
                                                        •••••••
       b AeliYiliff w!lh nel.105$. (enter the amount fmm Workllheet
                                                                                                  J:-,1_•_,._ _ _ _ __
                                                                    1.       column
       (b))     •..••.••...•..••..•. , ••.
       c
       Prior years unallowed lo,ses {enter !he amount tom
                                                                  •.• • .•••••                    I--" ''--+ "--- -.-- -.......
                                                             Worksheet 1.
       01l4umn (c)) • • • • • . . • • . • • • • • • • •
     d Comblneli'nes 1a, 1b, and 1e
                                                           • • . , • • • • • • • ••               i...;..;;....,.~_,~
  Commm:llt Rewlal!Qtlon DedllCUons From ReAta
                                                      l Rwf Esl!M ~
   :la COmflU!fdad nwitalzati00 deductions from Worka
                                                       hell't 2. 01l4umn (a)
     b Prlar ye« unallowed ~ rtMIBIIHlon deCluclions
                                                                  fn:)m
       Wod\s neet2, ~ (b)          . • • . • • . . • . . • • • • • , • . · • · • ·
    C Addllnes2eand2b          ..•• ••• " ' . . • • • • . • • • • • • • . • .
  M Otbiet Paeslve ActMtle1,
  k kfMlle s. with net ~ (enter the amount from
                                                       Wo!ts heet 3-.
        column {a.))   . . . • . . . . •. . •. . • •. • • . . • .
      b Acii~ es With Mt loss (enter the amount from Worka
                                                          heet          3.
            <on
      C     Prio r~ iiRalb wed lones (enter' !he amount mlffl Woirta
                                                                     l'ie
            column (c))
 -d-~
  4
     -·--·~~~~~
            ~
                  ---~M_d~·
            llnes 1d, 2e,
                             ~---·-·-·~·-·-·-·~·-·.... . ' .... .... .... .... .... ..
                          3d If this lne is zero or
                                  etld                                                                                            H
            :y<>ur retum; alt losses are ellowed, i n ~ any
            2b. or Se. Repor t tie la&sescm tie b'rnll .-id
            If line 4 i$ a IO$s and;

                                                                             or mere}, skip Part II MO go to Part       m.
                                                                        and 2c arazwo er more), skip Parts II and !ti and
                                                                                                                             90 to b9 15.
                                                                       llv8d wlrh you r-~ at any tme during the Yfff, do
                                                                                                                                 not complele

                                                              Real Estate Actlvflles With Active Participation
                                                                   emt'IINltS. Seem a!n.le fionsfa rm
  5
  6                                                    , ne~c :tlon s         . . • . • . . 1--'c .+--- =~"- "-..., .;;;,-
                                                   but not lfts than ZG«l (s• lnGt)
                                           equal tab 6, ~ lint,$ 8 and 9,
           enifN- 0.on                           tolirle8..
 i
 9
           Slbtrac;;tlifl& 7
           Multiply line 8 by
                                             ••..•.•••••••••••.•••••
                                          Do not ~ more _,, $25,000. If married filin
                                                                                             --- --- --- -1
                                                                                               g~ . see instruci.ions
1O         Enler tie small..- of line ti cdne 9        • . . • • • • • • • . . . . . • . . . • . • . •
                                                                                                       • • . . . . • . . . •     1o              .
           lfline ~ is a IOU, go to Part Ill. Olherwi&e. go to
                                                                line 15.                                                                                      0
11:@l!l             Special Allowance for Commercial Revitaltzation
                                                                                            Deducticuw    From Rental Real Estate Activffles
11
                       Nolr. Enter a l l ~ IA Pa:1   mas
          Enter $%5,000 reduced by the amount. if any, on
                                                                tlfflOf.lflts. Sff fM e      for Pat fl in t h e ~
                                                          Rne to. If marled f i l i n g ~ . "'8 ln&truclion$
12        Enll!I' ti-e lo$$ from li!'le, 4                                                                                 _11_ _ _ _ _ _ __
                                           •.......... , • , ..........
13        Reduc eli.ne 12byl heamo unton line10                                         • • . .  . • •  •  • . . . . . • . i --12-+-------
                                                       , •.....•..•.•....•.....••
14        Eliw Ille sm.1Je                                                                                 • • . • . • • i--1_3_ _ _ _ _ __
                           $t oUne 2c (treated asa         • amount ht u. or h 13
......._ ......._T__o'""tal                                                                        . . . . . •. . . . • . . .    14
                        .......~oss Q Allowed
ff        lv:!dU .inclo me,ifa ny,on llnes1 Und3e anden ler1he
                                                                  tollil      . • • . . . . . . . • , .••• • , • . . . i--1_5
1&        Total kme9 allow$(! ff-om •II passiv e dvfll ll•
                                                             b- 2018. Add line$ 10. 14, and 15.. $81.t                               S..,.,...2_9,.;;;3.,_
                                                                                                                             _ _ _ _...
          lm.wcllons to find out how lo rmiort the tosses on
                                                             YOUr tsii return         . . . . • • . • . . , • . . • . . • 16
                                                                                                                                    5,29 3
                                                                                                                                                Form 8582 {21:U&)
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        Form    4562                                     Depreciation and Amortization
                                                          (Including Infor mati on on Usted Property)
                                                                                                                                               ore No. 1545-0172
                                                                      ► --to,ourtaxntuM.                                                             2016
                                    ►   lnfonnatlcln about Form .,.. act Ila•                                                                   Mschment
                                                                                      linltlU otlons f• at www..
                                                                                  ..... .......,.- "'dll labm .....                                    No. 179

                         lecti on o xpenae
                                                                                     RENTAL           HOUSE                                                -22 22
                                                             In Property Under lec1 fon 179
                      NOit: If Yo! ha11tt any lsted pn:iearty. comp1!!!
                                                                        Pct VWo nt you OClffll!!!!:! Part I.
        'I     Maximun'I amount   (SN lnstru dlans ) • • • • • • • • • • • • •
                                                                               • • • • . •  • • . • • • • • •   • • • • , • •
        2     Total cost ofseclion 179 property placed In eenric                                                                       1
                                                                e (Me lnsltul::lans} • • • . • • • • • • •      • • • • • • •
        3     Threshold cost of saclioo 'r19 ~ Wore                                                                                    2
                                                            nsdUclan In hllatlon ( $ B i t ~ ) . • .            . . . . • • •
        4     Radl.lClcin in llmila b. SUblract h 3 tonJ h 2. If                                                                       3
                                                                  a.a or 11111, emar-0-       . . . ••• • .     ••.• .••
        I     Dollat fmllalon b'1ax yeer. Subtal:t llne 4 hrn Irle                                                                     4
                                                                   t. If zero «1-- . er\9- 0-. lfmamed 1mg




        T Liaildf)'cptrty,Entertheamountfrolllline29
                                                           •.• ••• ••• ••• ••• •
        I Total eledecl cost of sacilon 179property. A d
                                                           d ~ In cabnn (C), ltnes 6 end 1
    t TMa11rte deduction. Enter the.. ....,. of mes or li1e
   10 Ca,ryov« of dlsalowed deduction ha\ line 13
                                                                a . •.. ••. ••••.,                  •
                                                        of ya,,dD15 Fonn 4'562          , • . . •
   11 B1111lleu!ncomeliml1alion. Entet lhetm alero
                                                        flMN l&ftC ClrQ (nollN s ll#lz. ero
   12 Sediort 179 expel'INdeduellioft. Mcf liMB ~and
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   1S               of dsaMcwed decb:tan to 2017. Add lines Qmd
                                                                       10, Jeal h 12
   Not.: Doa't IJi9e Pa,t II ot Part Ill belo wb llnld'
      .·.         s                                         • lnlitillad ute Part V•
                                        rectatfon
   14        Special dep,ec:iaion alowa oce for
             duffng fhe tax y.- (Ne instuc:tioAS)    •
             ~            .                                                                                                           14
                                                                                                                                      11
                                                                                                                                  18

  11         MACRS deductions for asseta
  18         ff you_ . elettlng to group any
             asset accowu     ~ hers           •
                              Secti onB• A

                                                                                                        ..) ~          I) Millhllrl        fl) ~Cll illllC lilll'




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21          Usted
             Pf(Jpllty. En1eamounttomlne28 . • . . .
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:zz   TOUII. Add amounts from IPe 12, llnaJ t4 l1raugtl 17,
                                                            lints ,e end 20 In column (g), and 1M 21. Enter
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     here and en Clltappt0pri81e lines ofyo1 rt-..n
                                                    . Parhl rlhfps 8ndScarporatfons • see natrucUrlna
23 Forasaets shown above and placed
                                          h MC'tricedunng lbe cuttent yeer, t!fller -lle
         . of the basis ~ to teeGon 263A CDIIS
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For Papa,workR        educ:lfott Act NGetce.... Hpan lit lntlrU
                                                                 CtlonL
Ell,\                                                                                                                                          F<lffll4112(2018)
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                                                                   Worksheet4
                                      Use thfs works h•t if an amount i. shown on Form 8582.
                                                                                               line 10 or 14
                                                                    See ineln.lctions.                                      2016
   MUHAMMAD SIDDI I
                                                Form or schedule                                                                       2222
                   Name of activity              and line number                                                                  (d) Subtract
                                                                           (a} LOB&                            (c}Speclal
                                                to be repoded on                           (b) Ratio                               colurnn(c)
                                                           clions                                              allowance
                TAL HOUSE                                                       6,906 1
                                                                                                                                from column a
                                                                                                                            0           6,906




       Total . • . . • . • · , • , · • · · · · • · • • · • • • ►             6,906
W~ll5824 .LD
                                                                                           1.00                         0            6 906
        Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                        Desc
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                                                               Worksheets
                                                  Alloca tion of Unallowed Losses
Name(•J• shown on Nll\>m                                       See instructions.
MUHAMMAD SIDD I I
                                                                                                                   -2222
                                                                 Form or schedule
                           Name of activity                       and line number                               {c) Unallowed
                                                                 to be reported on    {a) Loss      (b) Ratio
                                                                    a Instructi ons                                  loss
        ENTAL HOUSE                                              LN 22                    6,906 l                      6,906




   Total • . . . • . • . . • • . . • . • . • . . . . . . . . . . . •
                                                                     . • . . . . ►     6,906        1.00            6 906
                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                      Desc
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                                                Worksh eet&
                                              Allowed Losses
                                              ~ for     records)                              2016
                                                                                              Tax IO Number
   MUHAMMAD SIDDI I
                                                                                                              -2222
                                                   Form or schedule
                           Name of actlVlty         and line number                (b) Unallowecl      (c) Allowed
                                                   to be reported on    (a) Losa
                                                    see Instruction s
                                                                                       loss                Ion
             ENTAL HOUSE                              LN 22              12,199          6,906                 5,293




          Total    ...................................         ►        12 199         6 906                  5,293
WK,..85112&.LO
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   r:-      8879                                                  IRS e-ff/e Signature Autho rizati on
                                                                                                                                                                            0MB No. 154S-OD74
                                                                     ►
                                                                Don't send to the IRS. This Isn't a 1aX return.
                                                                   ► Keep lhls form for your recordll.
                                          ► lnfonnation about Form 8879 and Ila Instructions
                                                                                             Is at www.Jrs. vlfonn8879.                                                           2016
  Submission ldentilicaUon Number {SID)
  T_.,.ye(a name

      MUHAMMAD SIDDIQI
                                                                                                                                                             2222


      1      Adjusled gross income (Form 1040, lne 38; Fonn 1040A. lne
                                                                                           22; Form 1040EZ. hne 4; Form 1040NR.
             Bne 37) . . . . • . . • • . . . • . . • . • • • . . . . • · •
                                                                           , • , · • •· , •· • · • · • • · · • • • · · · ·                                                       151 049
      2      Total lax (Fonn 1040, tine63;Form 1040A, line39; Fonn 1040EZ. llne
                                                                                 12; Form 1040NR, llne61)    •.•..•.                                                 2            22 977
      3      Federal income lax withheld from Forms W-2 and 1099 (Form 1040, line
                                                                                   64; Fonn 1040A, line 40:
             Form 1040EZ, line 7: Form 1040NR, line 628) . . . • . • . • • . •
                                                                                 • . . .                      . . • •. • . . . •                                     3             30 101
      4      Refund (Fann 1040, tine 76a; Form 1040A, line 48a; Form 1040EZ, line
                                                                                                       13a; Form 1040-SS, Part I,
             Form 1040NR. Una 73a)      • • • • • • • • • • • • • • • • • • • • • • . • • • • • • • •
                                                                                                      •                                                              4                  9 022
      5      Amount         owe (Form 1040, line 78; Form 1040A. line 50; Form 1040EZ line
                                                                                           14· Form 1
                    Tax        er Declaration and Si                     tlM"8 Authorization Be sure
  Under penalliel of perjl#y, I ded8re lhllt I have examined a COflt of 111Y
  far 1he tax ~rendin g December 31, 2016. and to lhe best
                                                                                eleClnlnlc Individual income tax                                     schec:IIJes and Slatemen1s
                                                                   of mr k.-ledg e and llillllf, I ls true,
  I receiVed duMO the laX y,ear. 11\fther declare that Ille lmounfa In Patt                                                                     al llfflllUl1IS and SOU!Cel Of lnCOme
 inllrmadlate service ptOllidet, nnsmllle r, or elllctronlc ret&m
                                                                                I above     ere U.  alllWIIS  from my                       !alt rewm. I consent lo alow 1111
                                                                     Ollglnlllor (ERO) to send my return
  of receipt or reason for rejeellon of the transmilalOn. (11) 1he                                                                         from !tie IRS (1) 1111 acknowledgement
                                                                   . . - i for any delay In processing
 aulhorize 1h11 U.S. Treallll)' and Ill deltJnatecl flnanc:tal Agent lo lnlliat1I                                                       c)   the dale of_,, refund. If IPSJljclblt, I
 ac:count lndicaled in the tax preparalic)n software far payment of my
                                                                                  an ACH eleclnlnlc                                     ) ll'IIIY to lhe financial lnatilu1lon
                                                                            federal taxes               this                           of alimalec l tax, Ind lhe flnanGial
 inSUtutl0n to debl\ 1he entry lo 1his aeeount. This authorization II to 1'
 aulholl2:8tion. To nNOke ( ~ ) 1 payment. I mustc:onlset 1he U.S.1111111'
 received no later than 2 business day• prior to Iha payment (setlleme
                                                                           1      1 In fl.I
                                                                             Treasury
                                                                                                                               U.S. Treasury Flnanclal Agent    lo_..,.
                                                                                                                               :r. Paymert cancellallan requests must be lie
                                                                             nt) elate.                                 lnslilulions invoMld In t h e ~ of Ille efectranlc
 payment of tax• IO NlC4IMI conflclenUel lnformaUon necesnr y
                                                                      t o - lnq                                    related ID the payment I Juru. acknowledge lhat the
 PIQOll81 ldel1Cllicallon number {PIN) below Is my signature
                                                                 for my actranic                                  app&cable, my Bec1rcnlc Funds Wllhdrawal Consent
 Ta~ s PIN: check one box only                             RTN= 1110 0 061
      Ll9   laulhorize Tax Filin                      Serv ices                                    to enter or generate my PIN 1111 1
                                                   EROflrmname                                                                         Enterflf f dlghS, but
            as my signature on my tax year 2016 electron
                                                                                                                                       don't enter lfl aeroa
      0     I wi11 enter my PIN as my signature on my tax
                                                                                                  ly filed Income tax return. Check this box only If you ere
            entellng your own PIN and your retum Is filed
                                                                                               er PIN method. The ERO must complete Part Ill below.

                                                                                                                                      Date ►     05-23 -2017
Spouse's PIN: check one box only
      0     I authorize                     ·                      ,...._ _ _ _ _ _to enter or generate my PIN _ _
                                                                                                                   _ _ _ __
                                                                                                                                      Enterftv e cllgltl, but
                                                                                                                                      don't enter all ze,oa
                                                               tax year 2016 eleclronically tiled income tax retJJm. Check this box only
                                                                                                                                         if you ere
                                                           Is filed using the Practlioner PIN method. The ERO must complet
                                                                                                                                                e Part HI below.
Spouse's signalure ►                                                                                                                 Date   ►    ___ ___ ___ __

                                                   thentication - Practitioner PIN
ERO's ERN/PIN. Enter your six-digit EFIN folowed by your llve-d'igt
                                                                   t self-selected PIN.                                                 7570 76-00 003
                                                                                                                                                          Don't enter Ill zeros
I certify that the above numeric ent,y is my PIN, which is my slgnalul
                                                                        'efor the tax year 2016 electronically filed Income tax return
the laxpayet(s) indicated above. I confirm lhat I am submlffinO this                                                                   for
                                                                     return In accordance with the requlremenls of the Practitioner
melhod and Pub.1345, Handbook for Aulhollzed IRS e-fi/e Provider                                                                       PIN
                                                                      s oflndvidual lrn:omeTax Returns.

ERO'sslgnature     ►      L E Easl ey                                                                                                Date ►     05-23 -2017
                                                       ERO Must Retain This Form - See Instructions
                                       Don't Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice. aee your tax retum lnslruclo
                                                                                   ns.
EEA                                                                                                                                                                       Form 8879 (2016)
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              104 0
       Name(s) as lhown on RIIUm
                                                Ove rflow Statement
                                                                                YOAJr Social Securil)I Humber
       MUHAMMAD SIDDIQI
                                                                                                            -222 2

                                   SCHEDULE A, LINB 6 - REAL ESTATE TAXE
                                                                        S
       DES CRIP TION
       BANK OF AMERICA 1098                                                                  AMOUNT
                                                                                      $          6,38 7
                                                                       TOTAL:         $          6,38 7




OVERFLOW.LO
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              1040
                                       Overflow Statement
                                                                         Your 80<:lel Secull!y Number
        MUHAMMAD SIDDI I
                                                                                                    -222 2
                  SCHEDULE A, LINE 10 - HOME MTG :INTERE
                                                        ST AND POINTS ON FORM l
       DESCRIPTION
       BANK OF AMERICA 109 8                                                         AMOUNT
       CADENCE BANK 109 8                                                     $          4,37 9
       AFFILIATED BANK 109 8                                                            12,8 91
                                                                                        15,3 97
                                                                TOTAL:        $         32,6 67




OVERFLOW.LO
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                  Exhibit L Defendants Document Production Page 34 of 333


                                    W-2 Detail Listing
Hatne(s) as s"-1 m
                                                 records
                     ,etum
 MUHAMMAD SIDDI
                                                     FEDERAL
TIS
                                         Grass           WIH         Slate Code
      EAGLE PROTECTIVE GRP INC         108,8 00            23,19 2
      HELPING RESTORE ABILITY           40,30 0             6,90 9
      Tota ls                          149 100             30 101
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                                                     Modified AGI Work shee ts for Form 8962
                                                                           Keep for        ur records
   Name<•) as shoWn M return                                                                                                               2016
   MUHAMMAD SIDD IQI
                                                     Taxpayer's Modified AGI Worksheet • Line 2a
                                 1. Enter your adjusted gross income (AGI)' from Form 1040,
                                     line 38; Form 1040A, llne 22: or Form 1040NR.
                                     line 37 . . . . . . . . . . • . . • . • . . • . . . .
                                                                                           . . . . . . . . 1. _ _ _1_5'-'l__._,_0_4_9
                                 2. Enter any tax-exempt interest from Form
                                     1040, tine Sb; Form 1040A, &ne 8b; or
                                    Form 1O4OfllR, line 9b . • . . • . . . • • • 2. _ _
                                                                                           _ _ _ __
                                3. Enter any amounts from Form 2555, lines
                                    45 and 50, and Form 2555-EZ.
                                    fine 18 • . . • . . . . . . . . . • . .
                                4. Enter the excess. if any, of Form 1040,
                                                                                   3.
                                                                                            --- --- -
                                    tines 20a over 20b; or Form 1040A. lines
                                    14aover14b . . . • . • • . . . . • • . • 4. _ _
                                                                                           _ _ __
                                5. Add tines 1 through 4. Enter here and on Form 8962,
                                   Une2a • • • • • • • . • . . • . . • • . • . . . .
                                                                                                                       1           049
                                                Dependents' Combined Modified A
                               1. Enter the AG!' for your dependents from Form 1040,
                                  line 38; Form 1040A, One 22; Form 1040EZ, line 4' d
                                  Form 104ONR. line 37 . . . . . • . • • •
                               2. Enter any tax-exempt Interest for your
                                                                                                                  1.
                                                                                                                       --- --- -
                                  dependents from Form 1040, line 8b; F
                                  1040A, tine 8b; Form 1040EZ, the amount
                                  written to the left of the line 2 entry space;
                                  and Form 1040NR, line 9b • . • • . • • • . 2.
                                                                                 _ _ _ _ _ __




                               4. Enter for each of your d
                                                                                      3.
                                                                                           --- --- -
                                  excess,Kany,olForm
                                  over 20b; and Form 1
                                   14b . . . . . •
                               5. AddHnes
                                  Ii                                                            .... .... . s. ___ ____
                                                             old Incom e as a Percentage of the Federal Pover ty
                                                                                                                 Line

                                                                                                        . . . . . . 1. _ _1_5_1.._,_04_9

                                                                                           2.           11,7 70
                                                                                           . • • • • • . . . . • • 3. _ _ _
                                                                                                                          4_7..._,_o__
                                                                                                                                    a_o
                                          ount on line 1 more than the amount on

                                 • Yes. The amount on line 1 above Is more
                                 than 400% of the Federal poverty Une. Enter 401
                                 here and on line 5 of Fonn 8962.
                                 • No. Divide the amount on line 1 abOve by
                                the amount on fine 2 above. Do not round;
                                Instead multiply this number by 100 (lo express
                                it as a percentage) and then drop any numbers
                                after the decimal point Enll!r the res~t here and
                                on Nne 5 of Form 8962. For example, for 0.9984,
                                enter the result as 99; for 1.8565, enter the
                                result as 185; for 3.997, enter lhe result as
                                399•      .....•... , . . • . • . . . . . . . . . . . . .
                                                                                          . . . . 4. _ _ _ _4"-0_l.


WK_89621.U)
            Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                 Desc
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                                          Exce ss Social Security • Nonrailroad Employe
                                                                                        es
                                                  Worksheet - Form 1040, Line 71
                                                                     (Keep for your records
   Name(s)as shown on lllWffl                                                                                                        2016
   MUHAMMAD SIDDIQI
                                                                                                                                                  -222 2
     If you are filing a joint return, you must figure any excess
                                                       tax withheld separately for each
     spouse. DO NOT combine amount of both husband and
                                                       Wife.

      1. Add au social security tax withheld (bllt not more
                                                            than $7,347
         for each employer). This tax should be shown in box
                                                                 4 of your
         Forms W-2. Enter the total here . . • . • • • .
                                                               . . . . • • . . .              . . . . . . . . . . . . . . . . 1. _ _ __,;;,.9...,,_
                                                                                                                                                   2__4...;;;.5
     2. Enter any uncollected social security tax on Ups or
                                                            group-term life insurance
        on Form 1040, line 62, identified by "UT" . . . • .
                                                             . • . • • . • • .          . . . . . . . • . . • • . • • • • . • 2. _ _ _
                                                                                                                                       _ _ __
     3. Add lines 1 and 2. If $7,347 or less, stop here. You
                                                             cannot claim
         the credit . . . . • • . . • . . • . . . . • . . • . . •
                                                                  ..•.     •.••                                                  3. _ _ _ _9__,_,.;..2_4__
                                                                                                                                                        5
     4. Social security limit . • .
                                                                                                                                 4. _ _ _ _$7;.._.,34_7_
     5. Excess. Subtract line 4 from line 3
                                                                                                                                 5. _ _ _ _1~,....
                                                                                                                                              8.;;.9__
                                                                                                                                                    8




WK_EX_SS.LD
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                                                          Auto Expense Worksheet
                                                                                                                               2016
                                 I
    Profession/Business                                                                                                                 2222
    ECURITY                                 \



      Number of Miles yoor \l'ehicte was U$ed for.
        Total Business mies driven di.iring th• year .   . . . . , . . . . . . . . . . . . . . . . . . . . • . .
        Total Comffiu!ing miles driven ~ lie ,ear
                                                                                                                    3,200
                                                         . . . . . • . . , • . . . . . . . . . . . . . . . .
        Total 01her mile$ driven during the year . . .   . . . . . . . . , . . . . . . . . . . . . . . . . .
        Total Miles driven during the YtW • . • . . •
                                                                                                                    9,00Q .
                                                         . . . • • . . • . • . • . . , • • . • • . • • • • •
                                                                                                                   12,20. .Q
        &Jsltiess Use p e r ~        . . . . . . . . . . . . . . . . . . . . . . . . . . . , . . . .


    Expenses:
                                                                                  Total
      Seetlori179
      Bonus DepreclaliOn . • . • • • • • . • . • . • • - . • . • • • • • • • .
                                                                               • ·
      Depreciation • • • , . . . . . • • . • , • . • , • • • . • . •
                                                                     .
      Garage Rem . . . . . . • . • • • • • . • • • • • . • • • . •
                                                                     ,
     Gas . - ..... ' . . . . . . . . . . . . . . . . • ' •. ' '
     lnsutarn.:e • . • . • • . • • . • . • • • • • • • • • • • • • •
     Uconses . • . • . • . • • . • • • . • . • . • . •. . • • • . . •
     01! • . . . • . • . . . . • . • . • • • . • . • . • .
     Parking Fees   ............ - , • • • • • · · • • · · · · · • · · · · · · · · · · · · · •
     Rents! Fees , , .. , . . . . . . . . . • . . . . .                                        · · · · · · · · · · -------
                                                       . ...••.                   . . . . • . . . . . . . • . . . . . . . • . • _ _ _ _ _ __
     Interest. . . . • . . . • . . • . . • . , . . . . . . .
     Personal Property Tax . . • . , • . . . . . • . •
     Repa irs··· ······· ·••<
     rlf&f ..... ..... ..... .... .
     Tolls •.••. • , .••• ,
     Qt.E.:,;;ienses:




                                                               3 1 200      X0.54 _ _1'-', 728                                         l,728
       Toms ......                        ···· ···· ···· ···· ···· ···· ···· ···· ···· ···· ··-- ----
                                         . • . . . • . . • • . • , .•.• , . . • . . . • • . • • . , • . • . . .
                                                                                                                . . • , •. _ _ _ _ __
       tntete&l . . . . • • • . • • . • • • . . • . • . . • . . • • • , • _ _
                                                                              _ _ __
      Personal Property Tax • • • • . • . • . • • ,
      Totail Standard Mlle Rate deduction
                                                                                                                                       1,728
    How It 1$ reported:
    DepreciatiOn ~t/on . • . • . . • • • . • . . • . • • • . . • •
                                                                   . . • • • • . • • • • • • • • • , • • • • • • ••• _ _ _ _ _
    AuloExpense • • • . . . . . . . . . . • . . • • : • . • . • • • . • •                                                      __
                                                                          . . • • , ••.•• •.•.• , ••.•• .. _ _ _ 1i 728
    Personal Property Taxes. Schedule A, L!n,c 7    • . . . . . • . . . . , . • . . . . . . . . . • . . . . • . . • . • ___
                                                                                                                            _ _ __




WK_AIJTO.Ltl
                                      Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                      Desc
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• Item was crrsposed                                                                    Depreciation Detail Listing
of during current year,
                                                                                                       RENTAL HOUSE
                                                                                                                                                                                                     2016
                                                                                                                                                                                                     PAGE 1
                                                                                                 For your records onl
Neffle{s)M SI-, GIi return
                                                                                                                                                                     Sodal 1l4ICUflly nu111ber/EIN
      NUIWIIAD SIDDIQI
                                                                                                                                                                                      ·2222
No.           Oescnpllon       Date
                                                                    Business     SeetiOn   Oeprecill(lon
                                           COSI                    l,,.,_!lt l                               ure                      Cumin!    Acculllutlled     Prior

 1      114 CARSON CT ROWLETI01012015      149,   1001
                                                         Selvage

                                                                   1100.00
                                                                                  179         118111
                                                                                                149,100127:.SISL
                                                                                                                   Melhod

                                                                                                                        114
                                                                                                                              Rate
                                                                                                                                       depr.    ~               .........               Bonus
                                                                                                                                                                                    depnmlio lt
                                                                                                                                                                                                            AMT
                                                                                                                                                                                                         Culler,(
                                                                                                                              3.636     5,421       10,617
 2      114 CARSON CT LOT   01012015        30,000 30,000 100.00                                                                                                                                              5,421
                                                                                                           0 0                0




   ~                                     179, 1001 30,000                                    149,100                                  5,421     10,617
  Land Alnolrtt                                                                                                                                                                                               5,421
  Net Depreciable Cost                  179,100                                                                                                                                 ST ADJ:
          Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                             Desc
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                                                                       TAX RETURN COMPARISON                                                                    2016
                                                                            2014 / 2015 /2016
    Name(s) as shown on return
 MUHAMMAD SIDD IQI                                                                                                                                    Identifying number
                                                                                                                                                                        2222
                                                                         2014                       2015                          2016                   Difference 201~2016
    Flling Status • . . . . • . . . • . . . .                                      1                           1                              1
    Number of Exemptions • • . . • • . • •                                         1                           1                              1
    Income
      wages, salaries, tips. etc. . • . • . • .                       94,20..z...;;;;.
                                                              1----~~~~1---== 6            162.......i1--
                                                                                      :..::...:::. 198 -==-=-.t....=.-=
                                                                                                               149,1    00 ~=-.J...:::...=;....
                                                                                                                                       (13 ;::...<-i
                                                                                                                                                098)
      Taxable Interest and dividends           • . • .
                                                                                                                       -='--4---
                                                             1--- ---- -1-- ---- ---1 1--- ---- ---+ ---- ---- -1
      Taxable state and local refunds •..•                   1--------1---------11---------+
      Alimony . • . . . . . . . . . • • . . •                                                                        --------1
                                                             1---- ----1 ------ ---11 ------ ,---,.- :-c-,, .......___ ___ _--1
     Business income (loss) . • . . • . , •                  1----
                                                     ----1 ----- ----1 1---. ...;l= ..!..,.::.9...:.7....;;6'--l-_ _ _ _....;l=:..L.::.9...:.7.
     Gains (losses) • . • . . . • . • . • . 1--- ---- -1--
                                                                                                                                               ..:6:........i
                                                                   ---- --11 ---- --,.- ---- +--- ---- --1
     Pensions and IRA distnbulions . . • . 1 - - - - - - - 1 -
                                                                   -------if--4'
     Rent and royally inc:ome (loSs) .•••                    1-- ---- --1 ---- ---- l'--- -
     Part. S-corps, trusts income (loss) . . . 1 - - - - - - - 1 - - - -
                                                                         - - - - ~........~~
     Farm income (loss) • • . • • . . • . .
     Unemployment compensation . • . • . 1 - - - - - - - -
                                                             1-- ---- --1 ---- ----
                                                                 1------
     To!al SS benefits received . • . • • • . 1 - - - - - - - 1 -
                                                                  ----~
     TaxableSS benefits . . • . . . • . . • 1 - - - - - - - - 1
                                                                  ----                                      --
     0ther income (loss) . • . . • , . . • •
    Total Income . . . . . . . . . . . . .
                                                             1--- ---- -1-- ---
                                                                         94,20 6                                                          076                       (11,1 22
   Adjusted Gross Income
     Half of self-employment tax . • . . • .                 1--- ---- -                                                                    27                                     27
     iRA deductlon . . . . . • . . • • . .·1- --- --
     Other edJustmenls . • . . . . . . • • 1-- ---- -
     Total Ad usted Gross Income              . . . .                                                                           151,0 49                              11 149)
  Deductions
     Medical deductions • • . . . • . . . .                 1--- --.,- --,,, --1- ----- -:-,1 ----- --,-- +--- -----
     State and local taxes . . . . . • • • • ~ - - - j j
                                                                                                      6 812
                                                                                                                                                                                    -1
                                                                                                                                     7 , S 91                                  779
     Interest . . • • . . . . . . . . . . • . - - - - -
                                                                                                      5,341                       32 667                              27,32 6
    Conlribulions . . . • • . . . . .           .   .   •
    Employee business expenses . •              .   •   .
    Standard or other deductions . •            .   .   .
    Total Itemized or Standard Oed              .   .   .                                           12,15 3                       40,25 8                            28 105
  Exem on Amount . • . • . . •                  .   •                                                 4 000                        4 050                                 50
  Tax and Credits
    Taxable Income . . . .
    Tax . . . . . . . . • • ·
                                      ~f:i·                                                      146 045                       106 741                             (39,3 04)
                                                                                                  33,96 4                       22 924                             (11,0 40)
    Oedlls . . .

    Other taxes . .
                                                                                                                                            53                                   53
    TotalTax ..                                                         14 188                     33 964                        22 977                            (10,98 7}
  Payments
   Withholdings . .                                                    15,99 9    31 999           36 149
                                                                                              (4 150)
                                                                          6,000               ( 6 000}
    Eamed income credit • , • . . . . . .                   1--------+-------1---------1----
                                                                                             -----1
    Other payments and credits . • • • . .
 Overpayment
                                                            1--- ---- --"l ---- ---- -1-- ---- ---+                                                ---- ---- -1
                . . . . . . . . . • . .                     1------1..__8-=1:..cc1--+---...::8_.,...::l'--8'--5"--li----...::9'--','-0""'2
                                                                                                                                         ...2___t--_ _ _ __...::.8.;:.3...::7-1
  OverpaymentApplied . • . . . . • . .                      1-------1---------1-------+--------
 Refund . . . . . . . . . . . . . . • .                     1-----"' l..,__8- 'l=l-+_ _ _8""','-l--8"--S"--+_ _ _9;:;....t....;;;..02=2-+-_ _ _                                      1
 Balance Due . . . . . . . . . . . , . .                                                                                                                            __..;;;8.;:;.3....;.7-i
 Resident State                                                   TX   TX
    Taxable income . . . . . . . . . . . •              1--- ---- 1--- ---- --tf ---- ---- -+- ---- ---1
  Tax . • . . . . . . • • . . . . . . . · 1 - - - - - - - 1
                                                            --------lf--------t--------
 Refund . . . . . . . . . . . . . . . . 1--- ---- -1--                                            l
 Balance Due . . . . . . . . . . . . . .
                                                            ---- ---1 ,-... ---- ---- +--- ---- --!
Marginal tax rate • . . • • . . • . . • . •             1----...::2;
                                        ...;5;;;..;....0;::...0;;;......,1-----=2;...;8;....;...0;._0~_ _ _.;::2..:c8...;;•...;;0...::0c....+_ _ _ _..,.__- -i
Effective tax rate ••.•• ••..• •.• .___ _...;;1::.::9;._:_.0;;._0.;_Ji.__ _..;;2;..;;3;..;•:....:0
                                                                                                  :..;0:......i_ _ _=2.=l;.;;.•....;;4:..::8:......1._ _ _ _...l,.(.:.1..:..=-5=2.J.J)
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                                      Tax Filing Services
                                                   736 N Main
                                              Duncanville, TX 75116

                                   Phone: (972)298 -2161 i Fax: (972)298-.536.5



 Muhammad Sidd iqi                                                          Invoi ce Date: 05/23 /2017
 6701 Have nhurs t Ct
 Allen , TX 75002



         Por profes sional servic es render ed in connec tion with
                                                                   the prepar ation
                               of your 2016 indivi dual tax return .

Desc riptio n
                                                                                                 Fee
Fede ral and Supp lemen tal Forms
Form 1040                   - U.S. Indivi dual Income Tax Return
  1040 Line Item Fee
  Form 1095-A                  - Health Insura nce Marke tplace Statem ent
  Health Care                  - ACA Minimum Essen tial Covera ge Verifi cation
Schedu le A                  - Itemiz ed Deduc tions
Schedu le C-EZ               - Net Profit from Busine ss
Schedu le E pg l            - Supple mental Income and Loss Pagel
Schedu le SE                - Self Employment Tax
Form 4562                   - Depre ciation and Amort ization
Form 4868                   - Applic ation for Autom atic Extens ion
Form 8582                   - Passiv e Activi ty Loss Limita tions
Form 8879                   - E-File Signat ure Autho rizatio n
Wks 85821                   - Form 8582 Wksht - Line la, lb, and le
Wks 85824                   - Form 8582 Wksht - Lines 10 and 14
Wks 85825                   - Form 8582 Wksht - tJnallo wed Losses
Wks 85826                   - Form 8582 Wksht - Allowe d Losses
Wksht 89621                - 8962 Modifi ed AGI Worksh eet line 2a
Wks Auto                   - Autom obile Expens e Worksh eet
Wks EIC B                   - EIC worksh eet Page 2
Wks EXcess ss              - Excess Social Securi ty Worksh eet
Wks MAGI                   - Form 8582 Worksh eet - Line 7 MAGI
Wks PAL                    - Passiv e Activi ty Carryo v~r Worksh eet
Wks STAX                   - State/L ocal Sales Tax Deduc tion Worksh eet
Compa rison                - Tax Year Compa rison Sheet
Fed Withho ldings          - Form 1040 - Federa l Withho lding From All Source s
FED DEPR Schedu le         - Federa l Depre ciation Schedu le
Next Year Depr             - Next Year Depre ciation Schedu le
overflo w                  - Itemiz ed Listin g Attach ment
Form W-2                   - Wage and Tax Statem ent
Form w-2                   - Wage and Tax Statem ent
W-2 Listin g               - Listin g of All Forms W-2
Total Form s: 29                                                  Forms Subt otal          $   195.0 0

                                                                  Tota l Balan ce Due      $   195.0 0
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                                      ETD ELECTRONIC FILING MESSAGES
                               MUST be corrected before electronic filing of exten
                                                                                  sions is allowed.
    Name(s) as Shewn on Ntum                                                                          2016
                                                                                                      TulONu mber
    MUHAMMAD SIDD IQI
                                                                                                                    2222

    5465 NO EXTENSION AFTER DUE DATE: Form
                                                 4868 mus t be file d befo re the
         fili ng dea dlin e unle ss it is for a U.S.
         of the cou ntry or for Form l040NR whe re citi zen or resi den t who is out
         inco me tax. Retu rn to scre en EXT and mark  no wag es were sub ject to U.S.
         eith er of thes e situ atio ns app ly. Then ,    the app ropr iate box if
                                                       on
         app ropr iate sele ctio n from the "Ex tend ing  scre en MISC, make the
                                                         due date drop list .




ETD_"4SG.t.l)
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                                                               ,.-...

                                                                                                     I~@17 I
                       Oepallmentof lhe T ~ R,
 !10 40                U.S. Indi vidu al Inco me Tax Return
                                                                    ~SIINiee              (99)
                                                                                                                             OMBNo.1545-00741         fftSUs aOnl)'- DonotM ileor_. .inlhlss paca
 FOf the year Jan, 1-Dec. 31, 2017, or otner tax year
                                                      beglnnil!Q                                            ,ending
 Ycu first name                                              M.I. Last name                                                                              See seoarate instruc:tions.
                                                                                                                                            Suffix       Your social securfty number
MUHAMMAD                                                                SIDDIOI
 If a joint retum, spouse's first name                                                                                                                                     2222
                                                                   M.1, Last name
                                                                                                                                           Suffix        Spouse's social security number
 Home addreD (number and Slreet). If you have a
                                                      P.O. box, see instrucllons.

                                                                                                                                       I
                                                                                                                                           Apt. no.
p70l HAVENHURST CT
 Cily, town or post office, state, and ZIP code. If you                                                                                                     A        Make sure the SSN(s) above
                                                                                                                                                                      and on line 6c are correct
                                                          nave a foreilln addtesa. also complete spaces below
                                                                                                                 (see inllrUctlOna).
"-LLEN TX 7500 2-
Foreign COUn11Y name
                                                                          I    Foteign provlncellltat&'county
                                                                                                                             I Foreign postal code
                                                                                                                                                              Presidential Etec:tlon Campaign
                                                                                                                                                        Clieci hel'eif you. OTYCMJf spGUS8iffifng
                                                                                                                                                        joinlly. want S3 to go lo !bis Ullt. Checkilg
                                                                                                                                                        a box below wilt not change  CJ      tat or
=iltngStatus              1    @      Single
                                                                                                                                                        terund.      D        You              Spous e
                                                                                                                 4 □ Head of household (Wilh qualifying person), (See
                          2    DMarried filing jointly (even if only one had incom
                                                                                  e)
                                                                                                                                                                          IIISIM:liolls.) If
                                                                                                                     the qualrl'ying person i& e child but not your del)end
                                                                                                                                                                            ent. enter lhis
                          3    DMarried filing separately. Enter spouse's SSN above                                        Child's name l\ele.
                                and full name here.
!heck only one                ►---------------                                                                        ►
                                                                              ---
ox.                               rirst name                       La&t name                                     5    0
                                                                                                                          --F:::11"$-t'.""'name----~Las-t_na_me  _____
                                                                                                                           Qualifying wic:k>w(er) (see instructions)
                                                                                                                                                                                         SSN=--
:xemptlons



                       (1 Fntna me
more than four
!!pendents. see                                                                                                                                                                              __Q _
structions and
iec:khere ►D                                                                                                                                □
                       d Total number of exemptions claime d • . .
                                                                           • .
                                                                                                                     D
,come                 7 Wage s, salaries, tips. etc. Attach Fonn(
                                                                   s) W-2 •
taeh Fonn( s)
                      8a Taxable intefest. Attach Seheatlle B if require
                                                                          d . .                                                                                                 139 668
                                                                                       . . • • . . . . . • . . . . .
                       b Tax,exempt interest. Do not include on line
·2 here. Also                                                            8a .           . . . • . .        8
tachForms             9a Ordinary dividends. Attach SChedule B if require
                                                                              d . . • . . . . .
-2Gand                 b Qualified ~ividends . . . . . . . . . . .
                                                                             . . . . . . . . .              b
99-R if tax         10 Taxable refunds, aedits , or ofl'sets of state and
                                                                            local income taxes . .
IS withheld.        11 Alimony received . . . . . . . . . .
                                                                       . . . . . . . . . . . . . . .
                    12 Business ln<:eme or (loss). Attach Schedule C
                                                                           or C-EZ . . . . . . . •
                    13 capital gain or (loss). Attach Sched ule D
'OU did not                                                         if required. If not required, check here
:aW-2,              14 Other gains or (losse s). Attach Form 4797
t lnstructions.     15a IRAdlstn"butions • . • • • . • . .,
                    16a Pensions and annuitles . • • . . . 16a
                                                                       , . • . .
                                                                                   15al                         II
                                                                                           . . . • . . . . . . . •
                                                                                                   b Taxable amount. . . . ,
                                                                                                  b Taxable amount • . . . .
                    17 Rental real estate. royalties, partnerships, S
                                                                        corporations, trusts, etc. Attach Schedule E . .
                    18 Farm Income or (IOss). Attach Schedule F •                                                           . .                                                  -3 650
                                                                          •                     . . . . . . . . . .
                    19 Unemployment compensation . . .             . . . • . . . . . . . . . . . . • . .
                                                                                                                        . • . .
                    20a Social security benefits • . . . . . 20a
                   21 Other income. List type and amount ______
                                                                                 I I                             I
                                                                                                  b Taxable amount . . . . •
                                                                       •••••• _________ ••••• ••••• • __ • ____ ._ ••••
                   22 C       i et                                                                                       _••••• _
                                          un i the far ·          umn r Ii        7 th     h 2 . is is
                   23 Educator expenses .                                                                        incom   e . . ►
!justed                                                                                                                                                                       13,6 016
                   24 Certain business expenses of reselVists, perfor
·oss                    fee.basis government officials. Attach Form 2106
                                                                          ming artists, and
~ome                                                                         or 2106-EZ.
                   25 Health savings account deduction. Attach
                                                                   Form 8889 . . . • .
                   26 Moving expenses. Attach Form 3903 .            . • . . . . • . .
                   27 Deduc:tlble part of self-employment tax. Attach
                                                                         Schedule SE . . • .
                  28 Seit-employed SEP, SIMPLE, and qualified
                                                                     plans •
                  29 Self-employed health insurance deduction
                                                                    . . . .
                  30 Penalty on early withdrawal of savings . . •
                  31a Alimony paid         b Recipient's SSN
                  32 IRA deductlOn • . • . • • • • •
                                                                    ►                  __ __ __ __
                  33 Student loan interest deduction . . , .
                                                                     .
                  34 Tuition and fees . Attach Fonn 8917.
                  35 Domestic prodl.lQion activities deduction Attach                                    34
                                                                           Form 8903 .                   35
                  36 Add fines 23 through 35 • , . • . .
                                                                    . . , . . . . .
                  37 Subtract line 36 from fine 22. This is      r ad            ross incom e
 :>isclosure, Privacy Act, and Paperwork Redu
                                                  ction Act Notice, see separate Instructions.                                  ►
                                                                                                                                                                           Form   1040 (2017)
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                               MUHAMM
  Fonn 1040 {2017)                                   AD ~~D~I~O_I_ _ _ _ _ _ _ _ _ _
                                                                                     _ _ _r--,.._                                             .- -
                       38     Amount from line 37 (adlL 'gross income).                                                                                                                             2
                                                                                   . . . .         . • . . •
   Tax and.            39a    Check    {D    You were born before January 2, 1953,
                                                                                                            D
                                                                                                        Blind. } Totlltboxft
   Credlls                    if:       0    Spou se was bom before January 2. 1953
                                                                                            ,      □ BHnd.           chlclced ► 39a
 ...,..._ _ _ ____,b          If your spouse ilemlzes on a eeparate tetum
 ~•
I-fol'-
                       40    ..mlZed deduction• (from Schedule A)
                                                                               or you were a dual-status alien, chec k here. • •
                                                                          or your standard deduction (see left marg
                                                                                                                                    ► 39b                      D
                       41    SUbtract line 40 from line 38 . . . . .                                                      in)  • • . . . •                               40              62,7 44
                                                                             . . . . .
 • , . . w11o
 dlldlany              42    Eamptfons. If line 38 ls $156,900 or Jess. roolliply $4,05 . . . . . . . . . . . . . . . . . . .                                            41              73,2 74
 bmO flh                                                                                0 by the number on Una 6d. Otherwise. see instructions
                       43    Taxa llleln com e.Su btrac :llin e42f roml                                                                                                  42               4,05 0
 aa.« a •                                                                 ine4 1.lfl ine4 21sm oreth anlin e41, enle
 wllOO llll,e
                       '4    Tax (seelnstftdonll). Cbec:kifen, riom:   a      O Faml(a) 8814 b             O
                                                                                                      Ferm 4972 c
                                                                                                                        r-O. . . . . . . . , ,
                                                                                                                                       O __ __                           43              69,2 24


-
 Clllmld • •           45    Altematlve minimum tax (see instruction                                                                                                     4f              13,0 45
 ___ .,                                                                    s). Attach Form 6251 . . • • . . .
                      48     Excess advance premium tax credit repayment                                                 • . • •                                         45                 642
                                                                                . Attach Form 8962 . . . . . . .
 t'ISlnJCllion&.      47 Add lines 44, 45, and4 8. • . .                                                                 . . . .                                         41
                                                             . . • . . . . . • . . . . . . .
•All ._               48 Foreign tax credit. Attach Fonn 1116                                   .                                                               ►        47              13,6 87
                                                              if NqUir9d • • . . . • . . . • .
=:c,crllling                                                                                                                           48

=~
                      49 Ciedit for Child and dependent case
                                                             expenses. Attach Form 2441 . • • .
..,... iy.            SO Education credils from Form 8863, line                                                                        '9
                                                                   19 . . . . . . . . . . . . .
                      11 Retirement savin gs contributions aedi                                                                    so
                                                                t. Attach Form 8880 . . • . • .                                    51
=:.
~•                    52 Child tax credit. Attach Schedule 8812
                      53 Res iden tial ~ c:ntdlts. AUach Fom
                                                               ,If~. . . . • . . . . .
                                                                 , 5695 . . . . • . . . . . . •
                                                                                                                                   52
                                                                                                                                   53
s12.100
-teed of
IOUUhold.
                      14     Olhet credits from Form:a     O3800 b          O 8801 c            D                           54
19.3!()
                 I&     Add   fines 48 throu gh 54.  Thes e me Your total credlfs . . . . . . . .
                 118 SUblracl line 55 from line 47. If line 55                                                    . .              . . . . . . .
                                                                   is fflOl9 than line 47, enter-0- . . .
                 S1                                                                                                 • . • • . . . . . • ►
lthe r                 Self-e mplO  yment tax. AltaCh Schedule SE . . .                                                                                        13,6 87
                                                                                      . . .       . . . . . . . . . . . • . . . .
                18 Urnp oned SOClal security and Medi
·axes           19 Additional tax on IRAs, other qualified
                                                                care tax from Form:             a       D
                                                                                                        4137
                                                                  retltement p!ans. etc. Attaeh Fonn 5329 If requi
                                                                                                                  b           O8919 . . . . . .
                808 Household employment taxes tom                                                                               red . . • • •
                                                               Sdledule H . . . . . . . . . . . .
                   b Fifst-llme hornebuyer c:redlt nipayment. Altac:                                                 . . . . . . . . . .
                                                                            h Form 5405 if required • • . • . • • •
                81 Health cate: Individual respollllbili                                                                               • . • • . .
                                                             ty     caee
                                                                      instructions)              Full-year cioverage @. . . . .
                82 Taxes from: a
                83
                                              DFonn8959 b               O
                                                                        Form8960 c                 O
                                                                                                   lnstruc!ions; entercode(s)_ _ _ _ l-"
                                                                                                                                                 ..
                                      thf                       r                        .....                                                          "'- -+ --- -+ --
'ayments 84 Federal inCome taxwllhheld from Form                                                                                                               13,6 87
                                                                   s W-2 and 1099 . . . . . . . .
_ _ _ _...,es__ 2017 estimated
                                         tax payments and amount applied from 2016
                                                                                               retum •
~~~--:
hild.alladl
c:heduleEIC.
                     Earned Income cNCllt (EiC) . . • •
                     Nontaxable combat pay fllection . . . •
               17 Additional chtld tax credi
                                                                       • . • . . .
                                                                        .
                                                 t. Attach Schedule 8812 . • .
                                                                               ....,.Nb=-,___ _ _ __.,__,
               l8 Amer
                            iean c,ppottunlty etedlt fi'om Fonn 8863,
                                                                           line 8 , . . • . • • . . .
               19 Net premium tax credit. A1lac:h Fonn
                                                               8962
               70 Amount paid with request for extension . • . . . . . . . • . . . .
                                                                  to file • . • . . • . . . . . . ,__10
                                                                                                                           _ _ _ _ _ __
                     Excess IIOCial security and lier 1 RRTA tax
                     Credltforfede,al tax on fuels. Attadl Form withh         eld . . . • • . . . .
                                                                       4136 . • . . . . • . . . .
                                                                                                                    i-,:-7....
                                                                                                                           1-+------7...;7;..;;3'-+-_
                    CladbflonlFonn: aO ms b ■---                                                                    _12_ _ _ _ _ __
                                                                            c08 885 d o _ _ _ .__,.,73.....,__ _
                                              and 7                                                                                          _ __
                                                                73,                      r total     me
                    If line 74 is more than line 63, subtract line                                                                   •   . . . . .►           28,9 40
dund                                                                   63 from line 74. This is the amount you over
                                                                                                                                    paid . . . •
              76a Amount of line 75 you want refunded to                                                                                                      15,2 53
             ► b Routing number
                                                                    you. If Form 8888 is a ~check here.
                                                - - . . : . . . . _ _ .. c Type
                                                                                                                                . . . . ►               0     15,2 53
             ► d AccOuntnumber
                                               -._ 17_ 7_3_ _ _ _ _ _ _ _ _
                                                                                                      : L!J Checking                □ Saving$
                                                                                                      _ _ _ _ _ _ _ __

10Unt
              17 Amount ot line 75 you went
              78 Amo unt you owe. Subtract line 74
                                                         led      to,~   2018 estlmalad tax . . . ►                    17
                                                             from line 63. For details on how to pay. see
              19                                                                                                   instn.    tetlons •
                                                                   •..•.••..
trd Palty        Do you want to allow another pal1IOII
                                                           to discuss this 18tum with the IRS (see insln.
signee           Oelignea's                                                                                       tctlons)?             □ YH. Complete below.
                                                                          Phone
                 name       ►                                             no.       ►
                                                                                                                               Personal ldenllticatlon
1n                                 O(peljury, lcled alelb ltli-u anne dllill ltum
                                                                                  a
                                                                                                                               numb          er (AN)           ►     j
re                                                                                    d ~ SCllldlllesadllallmlnla. and-, lhebes
                                    ~ and1DU11118Solincollle IIIIICIN                                                            lofmytrnollladge and belier, theyn lrllll. C011eCt, and
                                                                     9dduriagthetall '/Uf-Declarallll of pNpaler{olher
                     YOL1rlkla1dt'.                                                                                    lltan 18icp8J
                                                                                                                        8I) Is based OIi all illblmalion of which prapin
 return?See                                                                                                                                                             rtiaa anyl!IIGwiedge.
                                                                                         \t        Youroccupallon
ICtionS.                                                                                                                                              Dayli meph Onen           umbe r
,a copy for                                                                                       ~         ECURITY OFFICER MNGR 972 -l43
l'ICOl'lls.                                    ntretum, boll! muatsign.                                                                   -95 S0

d                                                                                                                                Dale
parer
                   CGRIFFIN                                      GRI FFIN                                                                                      !Kl
                                                                                                                                                        Chec:lc.    If         PTIN
                     Flnn'aname    ► LG4 CON SUL TING                                                                                                   aelf.emplo¥ed         P01 913 484
10n ly               Fitm'laddlel$ ► 5001 SOUTH                                                                                             Finn'aEIN    ►
                                                 COOPER STREET SUITE 210
                                      ARLINGTON TX 760 17                                                                                   PhOneno.         817 -333 -412 7
                                                                                                                                                                              Form         {2017)
                       Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                         Desc
                                Exhibit L Defendants Document Production Page 44 of 333
       SCHEOULEA
   , (Form 1040)                                                      Itemized Deductions                                                                    0MB No. 1545-0074
                                           ►    Go to wwwJrs.s,ov/ScheduleA for Instructions
       ~ollheT,-.Y
       IO!am elR- 8enlice
                                                                           ►
                                                                                             and the latest Information.
                                                                                Attach to Form 1040.                                                           ~@17
                                     Cauti on: If                           lilied disaster loss on Form 4684 see the instructions for                        Attachment
       Name($} sl10Wn on Form 1040                                                                                                     line 28.                        No,   07
       MUHAMMAD SIDDI I
       Medlcal      Caution: Do not include expenses reimbursed or paid
                                                                        by others.
       and        1 Medical and dental expenses (see instructions . .
                                                                       . . . . .
       Dental            2 Enter amount from    Form 1040.
                         3 Multiply line 2 by 7.5% (0.07 5). . . •
                                                                   rine
                                                                   38 . . 2          13 6 o18
       Expenses                                                         . . . . . . . . • .                                         10,2 01
                         4 u      ct Ii e 3 from ine 1. If line 3 is more than line 1
   Taxes You                                                                          enter -
                         5 State and local (check only one box):
   Paid                     a D Income taxes, or                  {
                            b (!] General sales taxes                 . .                                            5              11,0 96
                        6 Real estate taxes (see instructions) • .
                        7 Personal property taxes . . . . . . .                                                                     15,5 37
                                                                                                                                     7,03 5
                        8 Othertaxes. Usttypeandamount_ ~--· ······
                                                                    -··-- -·--· --·-· --·

  Interest            10 Home mortgage interest and points reported                                                                                               33,6 68
                                                                      to you on Form 1098                                           12,2 63
 You Paid             11 Home mortgage interest not reported to you
                                                                     on Form 1098. If paid
                         to the person from whom you bought the home.
                                                                         see instructionS
                         and show that person's name, identifying no.• and
                                                                           address ►
             Name_ MUHAMMAD_ SIDDIQI ..... ..... ..... .....
 Note.     Address __ 67 Ol _HAV ENHU RST _CT •••••
                                                                  ..... ..... .. ·--- .•
                                                    ••••• ••••• ••••• ••••• ••••• •••• _
Yourmoitgage TIN 2105                 3434 0
 interest          12 Points ~ot reported to you on Form 1098. See                                     11               16,8 13
 deduction may                                                             instructions for
                        special rules • . . . . . . . . . . . . .
 be limited (see 13 M-_.                                                         . • . • . . . ....,1_2_ _ _ _ _ __
 instruc tions),          ut,gage .insurance prem1.Ums (see .in stru....:-   )
                                                                     W!Uns . . . • . •                13
                   14 Investment lnter8Sl Attach Form 4952 if iequired.                            i-=           +-- --- -+- -
                                                                         See Instructions.         ""'1_4....__ _ _ __,__
                   1 Add lines 10             14 . . . . . . . . . . . . . . .
 Gifts to          16 Gifts by cash or check. If you made any gift
                                                                        of $250 or more.
                                                                                                                 . ... . . . .  .      ~
                                                                                                                                                                 29,0 76
Charity                see instructions . . • . . . . . . . • • .
                                                                              • . . . . .             16
If you made a      17 Other than·by cash or check. If any gift of
                                                                    $250 or more, see
gift and got a         instructions. You must attach Fonn 8283 if over $500
benefit for It.                                                                       . • . .     ....1:..;.7...__ _ _ _-'-_
see inalnlctlons. 18   Carry over from prior year . . . . . . . . . .
                  19 Add Ii                                                        . .  .  . •    ""1:          .:8" '---- ---J --
                                  16       h 1 . . . . .. . . . . . . . . . . .
                  20 Casually or theft loss(es) other than net qualif                           .               . . . . . . . .
                                                                         ied disas ter losses. Attach Form -4684 and
                       enter the arno    from ine 18 that form.             in tructions .
Job Expenses 21 Unreimbursed employee expe nses -job
                                                                  travel, union dues,
1nd Certain           job education, etc. Attach Form 2106 or 2106-EZ
                                                                              if required.
lllscellaneous
>eductions
                      Seeinstruc::tions. ►          .......... ··---·-·-·· ,-------------····
                  22 Tax preparation fees . . . . • . . . . . • .                                 i-::. ::+- ---- -1- -
                                                                                   . . . . . .
                  23 Other expenses-investment, safe deposit box,
                                                                            etc. Ust type
                      and amount ►             ............................................ _.
                    24 Add lines 21 through 23 . . . . . . . .
                                                                         . . . . . . . .
                    25 Enter amount from Form 1040, line 38 . . 25
                                                                                 ll6 O1.8
                    26 Multiply line 25 by 2% (0.02) . . . .
                                                                    • • • • . . . . . .        i.::26~_ _.....;2=-i,.....;7.::2..::.0J.-..
                    27 Su     ct lln 26 from line 24. If line 26 is more than line
                                                                                   24 enter -0- • .
mter
llscellaneous
                    28 Other-from list in instructions. List type and
                                                                       amount      ►            ..   u . --· _ . . . . _ •••• _ .
                                                                                                                                  ... u.   •   H,

ieductions
'otal         29 Is Form 1040. line 38. over $156,900?
:emized                 [fil No. Your deduction is not limited. Add the amounts in the
leducttona                                                                           far right column  }
                         for lines 4 through 28. Also. enter this amount on
                                                                            Form 1040, line 40.
                        DYes. Your deduction may be limited. See the Itemiz
                                                                              ed Deductions
                         Worksheet in the Instructions to figure the amount
                                                                             to enter.
                  30 If you elect to Itemize deductions even thoug
                                                                    h they are less than your standard
                     deduction, check here . • • . . • . . . .
                                                                        • . . . . • • . . . . . .
,rA.   Pape,work Reduc:tion Act Notice, see the lnstruc
                                                       :tion& for         Fonn 1040.
                                                                                                                                                    ScheduleA(Form 1040)2017
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      SCHEDULE E                                                Supplemental Income and Loss
      (Foml'1040}                                                                                                                                           0MB No. 1545-0074

      Dtpan ,ntnt~ lh9T~
                                           (From rental real estate, royllltlel, paltllenlllips, S corpora
                                                             ► Attach to Fonn 1040, 1040NR, or Fonn 1041.
                                                                                                          tions, estates, trusts, REMICs, etc.)               c;)@17
                                                                                                                                                              C£:J Q
      lnUll'nlllRevenue ~      e          ► Go to www.l ls.                                                                                                   Attachment
                                                                     &hed uleE for instructions and the latest             infonnation.
      Name(&) shOwn on re1um                                                                                                                                     uenc:e No.   13
      MUHAMMAD SIDOI I                                                                                                                                            umber
                 Incom e or Loss From Renta l Real Estate and                                                                   ...._2_2_2;...._ _ _ __
                                                                        Royalties Note: If you are in the busine n of renting
                 Schedule C or C-EZ (see instructions). If you are an                                                         person  al property, use
                                                                      individual, report farm nmtal income or IOsS from Fonn
      A Did you make any paym~nts in 2017 that would                                                                         4835   on page 2, line 40
                                                             require you to file Form(s) 1099? {see instructions) .
      B If "Yes: did you or will you file
                                     required Forms 1099? . . . • • . . . . . . .
                                                                                                                                      Yes       [ID No  D
       1a Phvsical address of each orooertv , street citv. state ZIP
                                                                                  . . . . . . . . .                                                     D Yes O No
                                                                     codel
       A   8114 CARSON CT ROWLETT TX 7508 8-
       B
      C
      1b        Type of Property            2    For each rental real estate property listed
                                                 above , report the number of fair rental and                        Fair Rental            Personal Use
                (from list belOw)                                                                                                                                      QJV
                                                 personal use days. Check the QJV box                                   Days                      Days
 ....A_ A•••••• •••••• •••••                     only if you meet the requirements to file as             A
                                                                                                                                                                       □
                                                                                                                                 365
 _JL                                             a qualified joint venture. See instructions.
    C
            ·---~
             ----·----------                                                                              B
                                                                                                                                                                       □
                                                                                                          C
  Type of Prope rty.                                                                                                                                                   D
  1 Single Family Residence                 3 Vacation/Short-Term Rental                5 Land                  7 Self-Rental
  2 Multi-Famllv Resiclenc:e                4   Commercial                              6 Rovaltles             8 Other {descr ibe)
   Incom e:                           I                                Prooe rties:                  A
  3 Rents received .                                                                                                                  B                            C
                                                                                 3                  ?,60 0
  4 R01n11t1es received .
                                                                                 4
 Expenses:
  5   Advertising .
                                                                                    5
  6  Auto and travel (see instructions) •
                                                                                    6
 7 Cleaning and maintenance .
                                                                                    7                   563
 8   CommiSslons .
                                                                                    8
 9   Insurance.                                                                     9               1.68 1
10 Legal and other professional fees .
                                                                                   10
11   Management fees .
                                                                                   11
12   Mortgage interest paid to banks, etc. (see instructions)
                                                              .                    12
13 Other Interest .
                                                                                   13
14   Repairs.
                                                                                   14                  ?00
15   Supplies.
                                                                                   15
16 Taxes.
                                                                                   16              6,48 9
17   Ut1rit1es.
                                                                                   17
18         Depreciation expense or depletion .
                                                                                   18
19         Other(list) ► MICS _ EXPE NSES •••.•• •.••••
                                                                       •••••       19             1,81 7
20         Total expenses. Add lines 5 through 19 .
                                                                                  20             11,2 50
21         Subtract line 20 from line 3 (rents) and/or 4 (royalti
                                                                   es). If
           result is a (loss), see Instructions to find out if you must
         file Form 6198    .                                                      21             -3,65 0
22       Deductl)le rental real estata loss after limitation, if any,
       on Fonn 8582 (see instructions) .
                                                                               22 (           3,65 0         1 (
23a Total of an amounts reported on line 3 for aJI rental proper                                                                                    '
                                                                       ties •                          23a               7,60 0
   b Total of all amounts reported on line 4 for all royalty proper
                                                                         ties .                        23b
   C Total of all amounts reported on line 12 for all proper
                                                                ties .                                 23c
   d Total of all amounts reported on line 18 for all properties .
   e Total of all amounts reported on line 20 for all properties .                                     23d
24 Income. Add positive amounts shown on line 21. Do not include any                                   23e              11,25 0
                                                                                       losses .                                               24
25 Losses. Add royalty loSS8fl from line 21 and rental real estate losses
                                                                                      from line 22. Enter total losses here .                 25        (
26 Total rental real estate and royalty income or (loss). Combi                                                                                                3,65 0         }
                                                                                ne nnes 24 and 25. Enter the result here.
      If Parts II, Ill, IV, and line 40 on page 2 do not apply 1o
                                                                  you, also enler this amount on Form 1040, line
      17 or Form 1040NR line 18. OtherwiAA include this
                                                                 amount in lhA total on line 41 on nAnA 2 .
:or Paperwork Reduction Act Notice, see the separata instruc                                                                                  26             -3,65 0
                                                                         tions.
JCA                                                                                                                                                Schedu le E (Form 1040) 2017
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      Form   6251                                 Alternative Minimum Tax -Ind ivid ual s                                                       0MB No. 1545-0074

      0epar1menl of the Treauy
                                          ►   Go to wwwJrs.gov/Fonn6251 for Instructions and
                                                               ►
                                                                                             the latest Information.
                                                                   AttaGh to Fonn 1040 or Fonn 1040NR.
                                                                                                                                                 ~®17
                                                                                                                                               Attachment
                                 oor Form 1040NR                                                                                                         No. 32
                                 I
                                 tlve Mini mum Taxable Inco me See instructio
        1    If filing Schedule A {Form 1040), enter the amoun t frOm        ns for how to com
                                                                       Form 1040, line 41, and go to line 2. Othelw ise,
         enter the amount from F~ 1040, line 38, and go
                                                                to line 7, Of less than zero, enter as a negative amou nl)
      2 Reservedfotfutureuse •• , . . • . •                                                                                       .
                                                        ...••••••.....•..•.
      3 Taxes from Schedule A (Form 1040), line 9 .                                                              ........
                                                           . . . . . • . . . . . . . . . . . . . .
      4 Enter the home mortg age Interest adjustment.                                                                    . . • . .
                                                          if any, from line 6 of the worlc$heet In the instruc
      5 Miscelfaneous deductions from Schedule A (Fom,                                                           tions for this line.
                                                               1040), line 27 . . . . , . • . . . . . .
      6 If Form 1040. line 38, is $156,900 or less. enter                                                                 . . . . .
                                                            -0-. Otherwise, see instructions. . . . . . . . .
      7 Tax refund from Form 1040, line 10 or line                                                                            . . • .
                                                    21 . . . . . . . . . . . . . . . . .
     8 Investment interest expense (difference betwe                                                        . . . . . . . .
                                                         en regular tax and AMT) . . . . . . . .
     9 Depletion (difference between regular tax and                                                           • • . . . . . .
                                                         AMT) . • • . • • • • • . . . . . . • •
    10 Net operating loss deduction from Fonn 1040,                                                                . • • • . . .
                                                         line 21. Enter as a positive amount. . . . .
    11 Alternative tax net operating loss deduction . .                                                          • • . . . . .
                                                             . . . . . . . . . . . . . . . . . . • . .
   12 Interest from specified private activity bonds                                                                         . . . .
                                                      exempt from the regular tax • . . . . . • .
   13 Qualified smau business stock, see instructlOns.                                                         . . . • • . • .
                                                              . . . . . . . . • • . . . . . . . . . .
   14 Exetc:ise of incentive stock options (excess of AMr
                                                               income over regular tax lncome) . . . .              • . . . . .
   15 Estates and tn.l$t$ (amount from Schedule K-1                                                                                      14
                                                         (Form 1041 ). box 12, code A) . . . . . . . .
   16 Electing large partnerships (amount from Sched                                                                .                   15
                                                          ule K-1 (Form 1065-B), box 6). . . . • . . •
   17 Disposition of property (difference between                                                                      • • . .          16
                                                    AMr and regular tax gain or loss). . . . . . . .
   18 Depreciation on assets ptaced in service after                                                                 . . . .
                                                        1986 (difference between regular tax and AMr) . .
   19 Paulv e activities (difference betwe en AMr                                                                      . . • .
                                                    and regular tax income or lo&S) . • . • •
  20 Loss !Imitations (difference betwe en AMT                                                         . .   •   •   •    • • • .
                                                  and regular tax income or loss) • • . . . . .
  21 Circulation costs (difference betwe en regula                                                         . . . . . . . •
                                                    r tax and AMT) . . . . • • . • . . .
  22 Long-term contracts (difference betweenAM                                                        . • • • • • . . • .               21
                                                    T and regular tax income). • .
  23 Mining costs (difference between regular tax                                                                                       22
                                                     and AMT) • . • • • • . . • . . . . . .
  24 Research and experimental costs (difference                                                              . . • . . . .             23
                                                      betwe en regular tax and AMr) . . . . . .
  25 Income from certain installment sales before                                                          .  . . . . . . .             24
                                                     January 1, 1987 . . . . . . . . . . • . .
  28 Intangible drilling costs pieference . . .                                                                 . • • . . • .           25
                                                     . . . . . .
  xr Other adjustments, including inc:ome-oased related adjust . . . . . . . . . . . . . . . . . . . .                                  26
                                                                       ments . . . . • . . • . . . . . .
  28 Altamative minim um taxable Income.                                                                                . •             X1
                                                 Comb ine lines 1 throug h 27. (If married fillng
       28 is more than $249,450, see insttuctions.) . . . . .                                        separately and line
                                                                      . . • . . . . .
                  Altemat"           Mini um Tax A                                                                                      28      106, 942
 29     Exemption. (If you were underage 24 at the end of
                                                                    2017, see instructions..).
        IF your filing status is • . •                     AND line 28 Is not OY8r. • . THEN enter on line
        Single or head of household. . . . .                                                                          29 ••.
                                                           $120, 700. . . . . . . .                 $54,30 0
        Manied filiog jointly or quafifylng widow(er)                                                                        }
                                                             160,900 . .        . . , . •            84,500
        Married filing separately • . • • • .                80.450 . . . . • • • .
        If line 28 is ewer the amount $hown ab<>ve for your                                          42,250
                                                                  filing status, see Instructions.
                                                                                                                                                 54 300
 30     Subtract line 29 from line 28. If more than zero, go
                                                                  to line 31. If zero or less. enter--0- here and on lines 31,
        33, and 35, and go to line 34 . . . • • . • •
                                                                 . . . • • . . . . . . . . . • . . . .
 31      • If you are filing Form 2555 or 2555-EZ. see instruc                                                           •                       ~2 642
                                                                       tions for the amount to enter.
         • ff you reported capital gain dislributioos directly on Form
                                                                         1040, line 13; you repocted qualified dividends
           on Form 1040, line 9b;oryou had again on bolh lines 15
                                                                        and 16of Schedule D(Form 1040l(as
           refigured for the AMT, If necessary), romplete Part Ill on lhe back
                                                                                and enter the amount from tine 64 here.
         • Afl others: If line 30 is $187,800 or less ($93,900                                                                                   13, 687
                                                                     or less if married fifing separately).
                                                                                                   multiply line
             30 by 26% (0.26). Otherwise, multiply line 30 by
                                                              28" (0.28) and subtract $3,756 ($1,878 if marrie
             filing separately) from the result.                                                              d
32      Allemati\le minimum tax foreign tax Cl8dit(see Instructions) • . . . . . . . . . . .
33    Tentative minimum tax. Subtract line 32 from line                                                . . • . .
                                                           31 . . . . . . . . . . . . . . . . . .
 34 Add Form 1040. line 44 (minus any tax from                                                                • • , .                           13,6 87
                                                      Form 4972), and Form 1040, line 46. Subtract from
      foreign tax credit from Form 1040, line -48. If you                                                  the result any
                                                          used Schedule J to figure your tax on Form 1040,
      refigure that tax without using Schedule J before                                                       line 44,
                                                          completing this line (see instructions) . . . .
 35 A T. btract fin 34 from line 33. If z                                                                   . . .
                                                  or less enter --0-. E ter here and on Form 1                                                  13 045
:or Paperwonc Reduction Act Notice, see your                                                         line 45 . . . . . •                           642
                                                    tax return lns~ ona .
:CA                                                                                                                                           Form   6251 (2017)
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NVISIONIT FINANCIAL SOLUTIONS, LLC
3010 LBJ FREEWAY, SUITE 1200
DALLAS, TX 75234
Phone: 972-919-6151
Fax: (972) 739-0474
JW@NVISIONIT.BIZ

October 30, 2019

MUHAMMAD SIDDIQI
6701 HAVEN HURST CT
PARKER, TX 75002



Dear MUHAMMAD,

I have prepared your 2018 federal income tax return based on the information you provided. The return has been
successfully e-filed and a copy is enclosed for your records.

You will receive a federal refund check in the amount of $536 in the mail.

You can check the status of your federal tax refund by using "Where's My Refund?", an interactive tool available on
www.lRS.gov or by using the "IRS2Go" smartphone application. You can also call the IRS TeleTax System at (800)
829-4477 or the IRS Refund Hotline at (800) 829-1954. When using any of these options, you will need the following
information:

      The first social security number shown on the federal return
      Your filing status (Single)
      The exact amount of the refund shown on your federal return ($536)

If you have any questions about your return(s) or about your tax situation during the year, please do not hesitate to call me
at 972-919-6151. I appreciate this opportunity to serve you.

Sincerely,



JUAN J WILLIAMS
NVISIONIT FINANCIAL SOLUTIONS, LLC

Your marginal federal tax rate ('tax bracket') for 2018 was 24%.
Your average federal tax rate for 2018 was 19%.

Privacy Notice
As a tax practitioner, I receive and collect nonpublic personal information from various forms and statements that you
provide. I do not disclose such information unless you instruct me to do so. I maintain physical, electronic, and procedural
safeguards that comply with federal regulations to guard your nonpublic personal information.
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                               Federal
                              Tax Return
                             MUHAMMAD SIDDIQI


                                  2018



                     NVISIONIT FINANCIAL SOLUTIONS, LLC
                        3010 LBJ FREEWAY, SUITE 1200
                               DALLAS, TX 75234
                             Phone: 972-919-6151
                              Fax: (972) 739-0474
                              JW@NVISIONIT.BIZ
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Fonn   8879                                               IRS e-file Signature Authorization                                                                         0MB No. 1545-0074



Department of the Treasury
Internal Revenue Service
                                                ►    Return completed Form 8879 to your ERO. (Don't send to the IRS.)
                                                       ► Go to www.irs. ov/Form8879 for the latest information.
                                                                                                                                                                         ~®18
Submission Identification Number (SID)                       ►    7528672019105s4rsk1n
Taxpayer's name                                                                                                                           Social security number
MUHAMMAD SIDDIQI                                                                                                                                                     2222
Spouse"s name                                                                                                                             Spouse"s social security number


                   Tax Return Information - Tax Year Endin December 31
   1    Adjusted gross income (Form 1040, line 7; Form 1040NR, line 35). . . . .                                                                                     1            124,920
   2    Total tax (Form 1040, line 15; Form 1040NR, line 61). . . . . . . . . .                                                                                     2              19,823
   3    Federal income tax withheld from Forms W-2 and 1099 (Form 1040, line 16; Form 1040NR                                                                        3              20,359
        Refund (Form 1040, line 20a; Form 1040-SS, Part I, line 13a; Form 1040NR, line 73a).                                                                                          536
        Amount ou owe Form 1040, line 22· Form 1040NR, line 75 . . . . . . . . . .                                                                                                         0
                   Tax a er Declaration and Si nature Authorization Be sure
Under penalties of perjury, I declare that I have examined a copy of my electronic individual income tax return and                               les and statements
for the tax year ending December 31, 2018, and to the best of my knowledge and belief, they are true, correct,                                       re that the amounts
in Part I above are the amounts from my electronic income tax return. I consent to allow my intermediate serv                                    electronic return
originator (ERO) to send my return to the IRS and to receive from the IRS (a) an acknowledgement of recei                                   of the transmission, (b) the
reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I author                            d its designated Financial
Agent to initiate an ACH electronic funds withdrawal (direct debit) entry to the financial institution account ind                        ration software for payment
of my federal taxes owed on this return and/or a payment of estimated tax, and the financial institution        ebit                       uni. This authorization is to
remain in fuN force and effect until I notify the U.S. Treasury Financial Agent to tenninate the auth                               a payment, I must contact the U.S.
Treasury Financial Agent at 1-888-353-4537. Payment cancellation requests must be received n                    n 2 business ays prior to the payment (settlement)
date. I also authorize the financial institutions involved in the processing of the electronic paym                        confidential infonnetlon necessary to
answer inquiries and resolve issues related to the payment. I further acknowledge that the pers                            ber (PIN) below is my signature for my
electronic income tax return and, if applicable, my Electronic Funds Withdrawal Consent.

Taxpayer's PIN: check one box only
   □      I authorize       NVISIONIT FINANCIAL SOLUTIONS, L                               , - - - - - - - to enter or generate my PIN                               22222
                                                              ERO firm name                                                                                   Enter five digits, but
          as my signature on my tax year 2018 electronically                                                                                                  don't enter all zeros

   ~      I will enter my PIN as my signature on my tax y                              electro      y filed income tax return. Check this box only if you are
          entering your own PIN and your return is filed                                  ctitioner PIN method. The ERO must complete Part Ill below.
Your signature         ►   __________. . ;:                                                                                     Date ►-------------
Spouse's PIN: check one box only
   D      I authorize
                                                                                 ~--------                         to enter or generate my PIN
                                                                                                                                                              Enter five digits, but
         as my signature on my tax ye                                              d income tax return.                                                       don't enter all zeros

   D      I will enter my PIN as my signa                                  ar 2018 electronically filed income tax return. Check this box only if you are
          entering your own PIN and your re                              using the Practitioner PIN method. The ERO must complete Part Ill below.

                                                                                                                                Date ►
                                                                                                                                            --------------
ERO's EFIN/PIN. En                                  EFIN followed by your five-digit self-selected PIN.                                175286701234
                                                                                                                                                      Don't enter all zeros
I certify that the above numeric entry is my PIN, which is my signature for the tax year 2018 electronically filed income tax return for
the taxpayer(s) indicated above. I confirm that I am submitting this return in accordance with the requirements of the Practitioner PIN
method and Pub. 1345, Handbook for Authorized IRS e-fi/e Providers of Individual Income Tax Returns.
ERO's signature ► ...:aJ..;;.U.;_A""N;..;;J'-Wl;,,;,;,;;L;;;;L""IA..;;.M;.a.S;;,,__ _ _ _ _ _ _ _ _ _ _ _ _ _ __                Date ►
                                                                                                                                            --------------
                                                                                                                                                 10/15/2019

                                                        ERO Must Retain This Form -                        See Instructions
                                           Don't Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see your tax return instructions.                                                                                                    Form   8879   (2018)
HTA
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                                              c Here and Mail With Your Payment and Return   T



   •   Use this vouch                 with Form 1040                            Amount you are paying       Dollars
   •   Do not staple this        yment to Form 1040                             by check or money order ►
   •   Make your check or     ayable to the "United States Treasury''
   •   WriteyourSocialSecu   r (SSN) on your check or money order
                                                                                                  1833


MUHAMMAD SIDDIQI                                                        Internal Revenue Service
b7 □ 1 HAVEN HURST CT                                                   Austin, TX 733 □ 1- □□□ 2
PARKER, TX 75 □□ 2
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MUHAMMAD SIDDIQI
6701 HAVEN HURST CT
PARKER, TX 75002




   Internal Revenue Service
   Austin, TX 73301-0002


   II, .. I,, II III II, II,,,,,, IIll,,, IIIII II, 11,, I,I, I, ,I I




                                                                        Cut along solid line




                                                                        Cut along solid line




MUHAMMAD SIDDI
6701 HAVEN HURS
PARKER, TX 75002




   Internal Revenue Service
   Austin, TX 73301-0002


   II,,, I,, II,,, II, II,,,,,, III I,, ,II .. ,II,,, .. I,I, 1.. 1I
                                                                                               Federal Payment Voucher Mailing Slip
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                                          T   DETACH HERE     T
                                                                                                               1833
Form4868                           tion for Automatic Extension of Time
Department of the Treasury
lntemal Revenue Se!Vice (
                                 ile U.S. Individual Income Tax Return
                                                              , 2018, and ending
                                                                                                            ~@18
                                                    Line 4 - Estimate of total tax liability for year   $
MUHAMMAD S:IDDI                                     Line 5 - Total payments                                           o
6701 HAVEN HURST CT
                                                    Line 6 - Balance due. Subtract line 5 from line 4                 o
PARKER, TX 75002                                    Line 7 - Amount you're paying (see inst)          ►               o
                                                    Line 8 - Check here if you're "out of the country" and a
                                                    U.S. citizen or resident
                                                    Line 9 - Check here if you file Form 1040NR or 1040NR-EZ
                                                                                                                ►
                                                    and didn't receive wages as an employee subject to U.S.
                                                    income tax withholding                                      ►
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E     1040                DepartmentoftheTreasury-lntemalRevenueService                          (99)
                                                                                                                    ~@18
&                         U.S. Individual Income Tax Return                                                                                     0MB No. 1545-0074                   IRS Use Only-Do not write or staple in this space.

 Filing status:     00 Single D          Married filing jointly     D     Married filing separately       D       Head of household                D        Qualifying widow(er)
Your first name and initial                                                    Last name
MUHAMMAD                                                                      SIDDIQI                                                                                                                         2222
Your standard deduction:          D      Someone can claim you as a dependent                   D       You were born before January 2, 1954                                     D You are blind
If joint return, spouse's first name and initial                               Last name                                                                                                        Spouse's social security number


Spouse standard deduction:        D      Someone can claim your spouse as a dependent                     D       Spouse was born before January 2, 1954                                        00 Full-year health care coverage
D     Spouse is blind             D      Spouse itemizes on a separate return or you were dual-status alien                                                                                              or exempt (see inst.)

Home address (number and street). If you have a P.O. box, see instructions.

6701 HAVEN HURST CT
City, town or post office, state, and ZIP code. If you have a foreign address, attach Schedule 6.                                                                                                       e than four dependents,
PARKER                                                                                                                       TX                                                                             and ../ here ► D

 Dependents (see instructions):                                                 (2) Social security number
(1) First name                                   Last name                                                                                                                                                         Credit for other dependents


                                                                                                                                                                                                                               □
                                                                                                                                                                                                                               □
                                                                                                                                                                                                                               □
                                                                                                                                                                                                                               □
Sign                correct, and complete. Declaration of preparer (other than taxpayer) is based on all i
Here                    Your signature                                                           Date                                                                                          If the IRS sent you an Identity Protection
                                                                                                                                                                                               PIN, enter it


                    ►
                                                                                                                                                                                               here (see inst)
Joint return?
See instructions.       Spouse's signature. If a joint return, both must sign.                                                                                                                 If the IRS sent you an Identity Protection
Keep a copy for                                                                                                                                                                                PIN, enter it
your records.                                                                                                                                                                                  here (see inst)
                        Prepare~s name                                                                                                         PTIN                                Firm's EIN                             Check if:
Paid                    JUAN J WILLIAMS                                                                   ;;..-------i-:P...:0::.;:0;..:.7.=;56.::.1.:.;7c..:8:....__..1.:::82=--4...:..:.14..:.;5::.:2:.:7...:4'-----I   D    3rd Party Designee
Preparer                Firm's name ►       NVISIONIT FINANCIAL SOLU                                                                           Phone no.                                                                  00
                                                                                                                                                                      972-919-6151                                             Self-<>mployed
Use Only                Firm's address      ► 3010 LBJ FREEWAY S
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, s                                                                                                                                                            Form   1040 (2018)
HTA
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                                 giz:·7·:~,I:                                                                                                                                                     e2
Fenn 1040 (2018)                          MUHAMMAD SIDDIQI                                                                                                                                   Pa
                                                                                                                                                                                124,920
Attach Form(s)
W-2. Also attach
                        2a                                                                                                     b    Taxable interest .                 2b
Form(s) W-2G and        3a
                                                                                         1 · · · · · · ·                       b    Ordinary dividends .               3b
1099-R if tax was
withheld.               4a                                                                                                     b    Taxable amount . .                 4b
                        Sa       Social security benefits . . . .                 ~-_s_a_·--------~-~               I      I   b    Taxable amount.                    Sb                0
                         6       Total income. Add lines 1 through 5. Add any amourll from Schedule 1, line 22                                                         6        124,920
                         7       Adjusted gross income. If you have no adjustments lo income, enter the amount from line 6; otherwise,
Standard
                                 subtract Schedule 1, line 36, from line 6 . . . . . . . . . . .                                                                       7        124,920
Deduction for-
                         8       Standard deduction or Itemized deductions (from Schedule A)                                                                            8        18,529
• Single or married
  filing separately,
                         9       Qualified business income deduction (see instructions) . . . . .                                                                       9
  $12,000
• Married filing
 joinUy or Qualifying
  widow(er),
                        10
                        11
                                 Taxable income. Subtract lines 8 and 9 from line 7. If zero or less, enter -0- .
                                 aTax(seeinst)       19,823        (checkifanyfrom:        1   □ Fonn(s)8814        .2   ·o·   F~~49;2
                                                                                                                                                                                106,391


  $24,000                        b Add any amount from Schedule 2 and check here .                                                                                                  19,823
• Head of               12       a Child tax credit/credit for other dependents _ _ _ _ _ b Add any amount from Schedule 3 an
  household,
  $18,000               13       Subtract line 12 from line 11. If zero or less, enter -0- .                                                                                        19,823
• If you checked
  any box under
                        14       Other taxes. Attach Schedule 4 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  14
  Standard              15       Total tax. Add lines 13 and 14 . . . . . . . . . . .                                                                                  15           19,823
  deduction,
  see instructions.     16       Federal income tax withheld from Fonns W-2 and 1099 .                                                                                 16           20,359
                        17       Refundable credits:   a EiC (see inst.)                        b Sch 8812
                                 Add any amount from Schedule 5                                                                                                        17                0
                        18       Add lines 16 and 17. These are our total           ents . .                                                                           18           20,359
                        19       lfline 18 is more than line 15, subtract line 15from line 18. This is the amo                                                         19              536
Refund                                                                                                                                        ·_·_·_·_-►- □
                        20a      Amount of line 19 you want refunded to you. If Form 8888 is attached,                                                                 20a             536
Direct deposit?
See instructions.   ►        b   Routing number          _______________~
                                                       .,.XXXXXXXXX                                                                             D        Savings

                    ►    d       Account number
                        21       Amount of line 19
Amount You Owe          22       Amount you owe. Subtract line 18 from line 15. For details                                                                        ►
                        23       Estimated tax            see instructions . . .                                               23
Go to www.i,s.gov/Form1040for instructions and the latest information.                                                                                                          Form   1040 (2018)
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SCHEDULE 1                                                                                                                    0MB No. 1545-0074
(Form 1040)                            Additional Income and Adjustments to Income
                                                                 ► Attach to Form 1040.
Department of the Treasury                                                                                                    Attachment
Internal Revenue Service                ►   Go to www.irs. ov/Form1040for instructions and the latest information.            Se uence No.   01
Name(s) shown on Fonn 1040

MUHAMMAD SIDDIQI
Additional 1-9b              Reserved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Income      10               Taxable refunds, credits, or offsets of state and local income taxes . . . . . . . . . . . i--,;;1.;;;.0-+-------+-
            11               Alimony received . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   i--,;;1..;;.1-+-------+-
            12               Business income or (loss). Attach Schedule C or C-EZ . . . . . . . . . . . . .             .....,a1""2-+-------+-
            13               Capital gain or (loss). Attach Schedule D if required. If not required, check here ►       .....,a1""'3-+-------+-
            14               0ther gains or (losses). Attach Form 4797 .                    . . . . .
           15a               Reserved . . . . . . . . . . . . . . . . . . . . . . . . . .
           16a               Reserved . . . . . . . . . . . . . . . . . . . . . . . . . .
            17               Rental real estate, royalties, partnerships, S corporations, trusts, etc. Atta
            18               Farm income or (loss). Attach Schedule F . . . . . . . . . . .
            19               Unemployment compensation . . .
           20a               Reserved . . . . . . . . . . . . . . . . . . . . . .
            21               Other income. List type and amount ►     _______________________ _
            22               Combine the amounts in the far right column. If you don't have
                             income, enter here and include on Form 1040, line 6. Otherwis                                                    0
Adjustments          23      Educator expenses . . . . . . . . . . . . . . . . . .
to Income            24      Certain business expenses of reservists, performing art·
                             and fee-basis government officials. Attach Form 2106
                     25      Health savings account deduction. Attach Form 8889
                     26      Moving expenses for members of the Armed Forces.
                             Attach Form 3903 . . . . . . . . . . .
                     27      Deductible part of self-employment tax. Att
                     28      Self-employed SEP, SIMPLE, and qualifi
                     29      Self-employed health insurance dedu
                     30      Penalty on early withdrawal of savin
                    31a      Alimony paid       b Recipient's S
                     32      IRA deduction . . . . . .
                     33
                     34
                     35
                     36
For Paperwork Reduction Act Notice, see y                                                                                Schedule 1 (Fonn 1040) 2018
HTA
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SCHEDULE2                                                                                                       0MB No. 1545-0074
(Form 1040)                                                      Tax
Department of the Treasury
                                                       ►Attach to Form 1040.
                                                                                                                 ~®18
                                                                                                                Attachment
Internal Revenue Service     ►   Go to www.irs. ov/Form1040for instructions and the latest information.         Se uence No.   02
Name(s) shown on Form 1040
MUHAMMAD SIDDIQI
Tax           3M4   Reserved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 45 Alternative minimum tax. Attach Form 6251 . . . . . . . . . . . . . . .               45
              46    Excess advance premium tax credit repayment. Attach Form 8962 . . . . . .             46
              47    Add the amounts in the far right column. Enter here and include on Form 1040,
                    line 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     47                    0
For Paperwork Reduction Act Notice, see your tax return instructions.                                      Schedule 2 (Form 1040) 2018
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SCHEDULE3                                                                                                                         0MB No. 1545-0074
                                                          Nonrefundable Credits
(Form 1040)

Department of the Treasury
                                                                 ►Attach
                                                                      to Form 1040.
                                                                                                                                   ~®18
                                                                                                                                  Attachment
Internal Revenue Service             ► Go to www.irs.gov/Form1040 for instructions and the latest information.                    S uence No.    03
Name(s) shown on Form 1040
MUHAMMAD SIDDIQI
Nonrefundable           48   Foreign tax credit. Attach Form 1116 if required . . . . . . . .
Credits                 49   Credit for child and dependent care expenses. Attach Form 2441 .
                        50   Education credits from Form 8863, line 19 . . . . . . . . . .
                        51   Retirement savings contributions credit. Attach Form 8880 . . . . . . . . . .
                        52   Reserved . . . . . . . . . . . . . . . . . . .
                        53   Residential energy credit. Attach Form 5695 . . . . . . . . . . . . . . . .
                        54   Other credits from Form      a  D   3800     b   D  8801    c     D ___.    111
                        55   Add the amounts in the far ri ht column. Enter here and include on Form 1040...,li_n......,__                        0
For Paperwork Reduction Act Notice, see your tax return instructions.                                                        Schedule 3 (Form 1040) 2018
HTA
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SCHEDULE4                                                                                                       0MB No. 1545-0074
(Form 1040)                                                   Other Taxes
Department of the Treasury
                                                            ► Attachto Form 1040.
                                                                                                                 ~®18
                                                                                                                Attachment
Internal Revenue Service         ►   Go to www.irs. ov/Form1040 for instructions and the latest information.    Se uence No.   04
Name(s) shown on Fonn 1040

MUHAMMAD SIDDIQI
Other               57Self-employment tax. Attach Schedule SE .            . . . . . . . . . . . . . . . .
Taxes               58Unreported social security and Medicare tax from: Form        aD     4137 b D   8919
               59     Additional tax on IRAs, other qualified retirement plans, and other tax-favored
                      accounts. Attach Form 5329 if required . . . . . . . . . . . . . . . . .
               60a    Household employment taxes. Attach Schedule H . . . . . . . . . . . . .
                  b   Repayment of first-time homebuyer credit from Form 5405. Attach Form 5405 if
                      required. . . . . . . . . . . . . . . . . . . .
               61     Health care: individual responsibility (see instructions).
               62     Taxes from:      a D    Form 8959       bD     Form 8960
                       c     D
                             Instructions; enter code(s)
               63     Section 965 net tax liability installment from Form
                      965-A . . . . . . . . . . . . . . . . . . ........a6"""3.....__ _
               64     Add the amounts in the far right column. These are your total o
                      here and on Form 1040 line 14. . . . . .
For Paperwork Reduction Act Notice, see your tax return instructions.
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SCHEDULES                                                                                                                0MB No. 1545-0074
(Form 1040)                          Other Payments and Refundable Credits
                                                          ► Attach to Form 1040.
Department of the Treasury
Internal Revenue Service        ►   Go to www.irs. ov/Form104() for instructions and the latest information.
Name(s) shown on Form 1040

MUHAMMAD SIDDIQI
Other     65            Reserved . . . . . . . . . . . . . . . . . . . . . . . .
Payments 66             2018 estimated tax payments and amount applied from 2017 return.
and       67a           Reserved.
Refundable b            Reserved . . . . . . . . . . . . . .
Credits   68-69         Reserved . . . . . . . . . . . . . .
               70       Net premium tax credit. Attach Form 8962 .
               71       Amount paid with request for extension to file (see instructions). . . . .
               72       Excess social security and tier 1 RRTA tax withheld. . . . . . . .
               73       Credit for federal tax on fuels. Attach Form 4136 . . . . . . . .
               74       Credits from Form:      D
                                                a      2439 bIll   Reserved c    D     1885
               75       Add the amounts in the far right column. These are your total other
                        and refundable credits. Enter here and include on Form 1040 line                       75                       0
For Paperwork Reduction Act Notice, see your tax return instructions.                                               Schedule 5 (Fonn 1040) 2018
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SCHEDULE&                                                                                                                                    0MB No. 1545-0074
(Form 1040)                                        Foreign Address and Third Party Designee
Department of the Treasury
                                                                     ►Attach to Form 1040.
                                                                                                                                             ~®18
                                                                                                                                             Attachment
Internal Revenue Service                ►      Go to www.irs.gov/Form1040 for instructions and the latest information.                       S uence No.   05A
Name(s) shown on Form 1040
MUHAMMAD SIDDIQI
Foreign                 Foreign country name                                    Foreign province/county
Address
                        Do you want to allow another person to discuss this return with the IRS (see instructions)?      D   Yes. Complete below.      [Kl No
Third Party
                        Designee's                                                         Phone                               Personal identification number
Designee
                        name ►                                                             no. ►                                PIN      ►
For Paperwork Reduction Act Notice, see your tax return instructions.                                                                 Schedule 6 (Fonn 1040) 2018
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                                                                                                                                     0MB No. 1545-0074

Fonn   2210                                      Underpayment of Estimated Tax by
                                                  Individuals, Estates, and Trusts                                                      ~@18
                                    ► Go   to www.irs.gov/Form2210for instructions and the latest information.                        Attachment
Departmeni of the Treasury
Internal Revenue Service                        ►Attach to Form 1040 1040NR 1040NR-EZ or 1041.                                        Sequence No.       06
Name(s) shown on tax return                                                                                               Identifying number
MUHAMMAD SIDDIQI                                                                                                                  222

                                               Do You Have To File Form 2210?
                                                                          Yes
  Complete lines 1 through 7 below. Is line 7 less than $1,000?

                   No
                                                                                      You don't owe a penalty. Do
  Complete lines 8 and 9 below. Is line 6 equal to or more                Yes         if box E in Part II appl"
  than line 9?                                                                        of Form 2210).
                   No

  You may owe a penalty. Does any box in Part II below apply?            Yes


                   No
                                                                                                                    I   You must figure your penalty.

  Don't file Form 2210. You aren't required to figure
                                                                             You                              ur penalty because the IRS
  your penalty because the IRS will figure it and send
                                                                             will                          II for any unpaid amount. If
  you a bill for any unpaid amount. If you want to figure
                                                                             yo                             use Part Ill or Part IV as a
  it, you may use Part Ill or Part IV as a worksheet and
                                                                                                         enalty amount on your tax return,
  enter your penalty amount on your tax return, but
                                                                                                      Form 2210.
  don't file Form 2210.


 1     Enter your 2018 tax after credits from Form 1040, line 13 (see instructi                                           1                    19,823
 2     Other taxes, including self-employment tax and, if applica        ditional Me
       Investment Income Tax (see instructions) . . . . . . . .
 3     Refundable credits, including the premium tax credit (s
 4     Current year tax. Combine lines 1, 2, and 3. If less t
       Don't file Form 2210 . . . . . . . . . . . . . . . .                                                                                    19,823
 5     Multiply line 4 by 90% (0.90) . . . . . . . . . .                             5                 17,841
 6     Withholding taxes. Don't include estimated t                    · structions) . . . . . . . . . . . . . .          6                    20,359
 7     Subtract line 6 from line 4. If less than $1,00 ,                  ea penalty. Don't file Form 2210                7                      -536
 8     Maximum required annual payment bas               pn          (see instructions).                                  8
 9     Required annual payment. Enter the             ler. Ii     ine8 . . . . . . . . . . . . . . . . . . .              9                        0
       Next: Is line 9 more than line 6?
       D    No. You don't owe a penalty Do                        unless box E below applies.
       D     Yes. You may owe a penal                           2210 unless one or more boxes in Part II below applies.
            • If box B, C, or D applies, yo                  ur penalty and file Form 2210.
            • If box A or E applies (but not B,           lie only page 1 of Form 2210. You aren't required to figure your penalty; the
           IRS will figure it and   d you a bill for     unpaid amount. If you want to figure your penalty, you may use Part Ill or IV as a
           worksheet and enter          enalty o     ur tax return, but file only page 1 of Form 2210.
              Reasons fo
 A □                                             ions) of your entire penalty due to tax reform or other reasons. You must check this box
                                           , b t you aren't required to figure your penalty.
 eD                                        structions) of part of your penalty. You must figure your penalty and waiver


 c □        Your income var       g the year and your penalty is reduced or eliminated when figured using the annualized
            income installment method. You must figure the penalty using Schedule Al and file Form 2210.
 DD         Your penalty is lower when figured by treating the federal income tax withheld from your income as paid on the dates it was
            actually withheld, instead of in equal amounts on the payment due dates. You must figure your penalty and file Form 2210.
 E     D    You filed or are filing a joint return for either 2017 or 2018, but not for both years, and line 8 above is smaller than line 5
            above. You must file page 1 of Form 2210, but you aren't required to figure your penalty (unless box B, C, or D applies).
For Paperwork Reduction Act Notice, see separate instructions.                                                                          Fonn   2210     (2018)
HTA
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Fonn 2210 (2018)           MUHAMMAD SIDDIQI                                                                                                  Page 2
              Short Method
       Can You Use the                         You can use the short method if:
       Short Method?                           • You made no estimated tax payments (or your only payments were withheld
                                               federal income tax), or
                                               • You paid the same amount of estimated tax on each of the four payment
                                               due dates.

       Must You Use the                        You must use the regular method (Part IV) instead of the short method if:
       Regular Method?                         • You made any estimated tax payments late,
                                               • You checked boxC or Din Part II, or
                                               • You are filing Form 1040NR or 1040NR-EZ and you didn't
                                               an employee subject to U.S. income tax withholding.
Note: If any payment was made earlier than the due date, you can use the short method, but usin                                pay a
larger penalty than the regular method. If the payment was only a few days early, the difference·



10     Enter the amountfrom Form 2210, line 9 . . . . . . . . . . . . . . . .

11     Enter the amount, if any, from Form 2210, line 6 . . . . . . . . . . . .

12     Enter the total amount, if any, of estimated tax payments you made.

13     Add lines 11 and 12 . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     0

14     Total underpaymentforyear.Subtract line 13 from line 10. If zero
       owe a penalty. Don't file Form 2210 unless you checked box E in Pa                                                 14                     0

15     Multiply line 14 by 0.03603 . . . . . . . . . . . . . .                                                                                   0

16     •   If the amount on line 14 was paid on or after 4/
       • If the amount on line 14 was paid before 4/15                            1ng computation to find the
       amount to enter on line 16.
                     Amount on
                      line 14      X                                          X     0.00016 . . . . .                     16                     0

17     Penalty. Subtract line 16 from line 1                         e and on Form 1040, line 23;
       Form 1040NR, line 76; Form 1040                            orm 1041, line 27.
       Don't file Form 2210 unless                               Partll . . . . . . . . . . . . . . . . . . . . . . . ►   17                     0
                                                                                                                                   Fonn   2210   (2018)
              Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                              Desc
                       Exhibit L Defendants Document Production Page 63 of 333
Form 2210 (2018)                                                                                                                              Pagel
                             MUHAMMAD SIDDIQI                                                                      2222
                    ular Method See the instructions if
                                                                                               Pa ment Due Dates
Section A-Figure Your Underpayment                                            (a)              (b)           (c)                        (d)
                                                                           4/15/18            6/15/18            9/15/18               1/15/19
18    Required installments. If box C in Part II applies,
      enter the amounts from Schedule Al, line 27.
      Otherwise, enter 25% (0.25) of line 9, Form 2210, in
      each column . . . . . . . . . . . . . . . . . .               18

19    Estimated tax paid and tax withheld (see the
      instructions). For column (a) only, also enter the
      amount from line 19 on line 23. If line 19 is equal to
      or more than line 18 for all payment periods, stop
      here; you don't owe a penalty. Don't file Form
      2210 unless you checked a box in Part II . . . .                                                                  5,090                 5,089
      Complete lines 20 through 26 of one column
      before going to line 20 of the next column.
20    Enter the amount, if any, from line 26 in the previous
      column . . . . . . . . . . . . . . . . . . . . . . . . .                                                         10,180              15,270
21    Add lines 19 and 20 . . . . . . . . . . . . . . . . . . . .                                                      15,270              20,359
22    Add the amounts on lines 24 and 25 in the previous
      column . . . . . . . . . . . . . . . . . . . . . . . .
23    Subtract line 22 from line 21. If zero or less, enter
      -0-. For column (a) only, enter the amount from line
      19 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     10,180              15,270              20,359
24    If line 23 is zero, subtract line 21 from line 22.
      Otherwise, enter -0- . . . . . . . . . . . . . . . . . .                                           0                  0
25    Underpayment. If line 18 is equal to or more than
      line 23, subtract line 23 from line 18. Then go to line
      20 of the next column. Otherwise, go to line 26 . . .                            0                 0
26    Overpayment. If line 23 is more than line 18,
      subtract line 18 from line 23. Then go to line 20 of
      the next column . . . . . . . . . . . . . . . .                               5 090          10 180              15 270
Section B-Figure the Penalty (Use the W                                  2210, Part IV, Section B-Figure the Penalty in the
instructions.
27    Penalty. Enter the total penalty from lin                    tfor Form 2210, Part IV, Section 8-Figure
      the Penalty. Also include this amount                      3; Form 1040NR, line 76; Form 1040NR-EZ,
      line 26· or Form 1041 line 27. Don'                      ess ou checked a box in Part II . . . . . . . . . . ►       27                     0
                                                                                                                                Fonn   2210   (2018)
                Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                   Desc
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Fonn 2210 (2018)                   MUHAMMAD SIDDIQI                                                                             --2222                                            Page4
Schedule Al-Annualized Income Installment Method See the instructions.
Estates and trusts, don't use the period ending dates shown to the                                (a)                      (b)                      (c)                   (d)
right. Instead, use the following: 2/28/18, 4/30/18, 7/31/18, and 11/30/18.                 1/1/18-3/31/18           1/1/18-5/31/18           1/1/18-8/31/18        1/1/18-12/31/18
                 Annualized Income Installments
  1      Enter your adjusted gross income for each period (see
         instructions). (Estates and trusts, enter your taxable
         income without your exemption for each period.) . . .                                                                                                                         0
 2       Annualization amounts. (Estates and trusts, see instructions.)            2              4                       2.4                      1.5
 3       Annualized income. Multiply line 1 by line 2 . . . . . . .                3                         0                                                 0                       0
 4       If you itemize, enter itemized deductions for the period shown in
         each column. All others enter-0-, and skip to line 7. Exception:
         Estates and trusts, skip to line 11 and enter amount from line 3          4                                                                                                   0
 5       Annualization amounts . . . . . . . . . . . . . . . . .                   5              4
 6       Multiply line 4 by line 5 . . . . . . . . . . . . . . . . .               6                         0                                                 0                      0
 7       In each column, enter the full amount of your standard
         deduction from Form 1040, line 8. (Form 1040NR or
         1040NR-EZ filers, enter -0-. Exception: Indian students
         and business apprentices, see instructions.)                              7
 8       Enter the larger of line 6 or line 7 . . . . . . . . . . . . .             8                                                                          0                      0
 9       Deduction for qualified business income .                                  9                                                                                                  0
10       Add lines 8 and 9 . . . . . . . . . . . . . . . . . . .                   10                                                                          0                      0
11       Subtract line 1O from line 3 . . . . . . . . . . . . . .                  11                                                 0                        0                      0
12       Form 1040, 1040NR, or 1040NR-EZ filers, enter -0-
         in each column. (Estates and trusts, see instructions.) . . .             12
13       Subtract line 12 from line 11. If zero or less, enter -0- . . . .         13                                                 0                        0                      0
14       Figure your tax on the amount on line 13 (see instructions) . . . . . .   14                                                 0                        0                      0
15       Self-employment tax from line 36 (complete Part II below) . . . . . . .
16      Enter other taxes for each payment period
        including, if applicable, Additional Medicare Tax
        and/or Net Investment Income Tax (see instructions) .
17      Total tax. Add lines 14, 15, and 16 . . . . . . . . . . .                                            0                        0                        0                      0
18      For each period, enter the same type of credits as all
        on Form 2210, Part I, lines 1 and 3 (see instructions) .
19      Subtract line 18 from line 17. If zero or less, en1f;lf:-                                            0                        0                        0                      0
20      Applicable percentage . . . . . . . . . . .                                                                      45%                     67.5%                    90%
21      Multiply line 19 by line 20 . . . . . . . .                                                                                   0                        0                      0
        Complete lines 22-27 of one column
        to line 22 of the next column.
22      Enter the total of the amounts in all previ
23      Subtract line 22 from line 21. If z                                                                                           0                        0                      0
24      Enter 25% (0.25) of line 9 on page 1                                                                                          0                        0                      0
25      Subtract line 27 of the
        of that column . . . .                                                                                                        0                        0                      0
26      Add lines 24 and 25 .                                                                                                         0                        0                      0
27      Enter the s
                                                                    .► 27              0                                              0                        0                      0
                                                         ment Tax Form 1040 and Form 1040NR filers onl

                                                 ............                      28
29                                              .............                      29   $       32,100           $       53,500           $       85,600           $      128,400
30      Enter actual wages for the period subject to social security tax or
        the 6.2% portion of the 7.65% railroad retirement (tier 1) tax.
        Exception: If you filed Form 4137 or Fonn 8919, see instructions           30
31      Subtract line 30 from line 29. If zero or less, enter -0- .                31
32      Annualization amounts . . . . . . . . . . . . . . . . . .                  32          0.496                   0.2976                    0.186                    0.124
33      Multiply line 32 by the smaller of line 28 or line 31 . . .                33
34      Annualization amounts . . . . . . . . . . . . . . . . .                    34          0.116                   0.0696                   0.0435                    0.029
35      Multiply line 28 by line 34 . . . . . . . . . . . . . . . . . .            35                        0                        0                        0
36      Add lines 33 and 35. Enter here and on line 15 above . ►                   36                        0                        0                        0
                                                                                                                                                                   Fonn   2210    (2018)
                    Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                 Desc
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SCHEDULE A                                                                                                                                            0MB No. 1545-0074
                                                                      Itemized Deductions
(Form 1040)
Department of the Treasury
                                           ►      Go to www.irs.gov/ScheduleA for instructions and the latest information.
                                                                        ► Attach to Form 1040.
                                                                                                                                                      ~®18
                                                                                                                                                      Attachment
Internal Revenue Service 99                                             ualified disaster loss on Form 4684 see the instructions for line 16.         Se uence No.   07
Name(s) shown on Fonn 1040

MUHAMMAD SIDDIQI
                                 Caution: Do not include expenses reimbursed or paid by others.
Medical
                       1         Medical and dental expenses (see instructions)
and
                       2         Enter amount from Form 1040, line 7. . 2                     124,920
Dental
                       3         Multiply line 2 by 7.5% (0.075) . . . . . . .
Expenses
                       4         Subtract line 3 from line 1. If line 3 is more than line 1, enter -0-                                                               0
Taxes You              5         State and local
Paid                         a   State and local income taxes or general sales taxes. You may
                                 include either income taxes or general sales taxes on line Sa,
                                 but not both. If you elect to include general sales taxes instead
                                 of income taxes, check this box . . . . . . . . . . . ►              [Kl
                             b   State and local real estate taxes (see instructions) . . . . . .
                             c   State and local personal property taxes . . . . . . . . . .
                             d   Add lines Sa through Sc . . . . . . . . . . . . . . . .
                             e   Enter the smaller of line 5d or $10,000 ($5,000 if married filing
                                 separately). . . . . . . . . . . . . . . . . . . . .
                       6         Other taxes. List type and amount ►      _________________________ _
                       7 Add lines Se and 6 . . . . . . . . . . . . . .                                                                                        10,000
Interest               8 Home mortgage interest and points. If you didn't use
You Paid                 home mortgage loan(s) to buy, build, or improve yo
Caution: Your            see instructions and check this box . . . . . . . .
mortgage interest
deduction may be      a Home mortgage interest and points reported to you on
0mlted (see              1098 . . . . . . . . . . . . . . .
instructions).
                      b Home mortgage interest not reported to
                         paid to the person from whom you bou
                         instructions and show that person's n
                         address ►
                  Name
               Address
                        -------------------------------
                    TIN
                      c Points not reported to yo
                         special rules . . . .
                      d Reserved . . . . .


                                 instructions .
                     10          Add Ii                                                                                                                         8,029
Gifts to             11          Gifts
Charity                                                                                                        11
                     12                                        k. If any gift of $250 or more, see
If you made a
gift and got a                                                ach Form 8283 if over $500 . . .                12                   500
benefli for It,      13                                        • • • • • • •      ■   • • • • • •             13
see instructions.
                     14                              u        . . . . .. . . . . . . . . . . . .                    . .....                                       500
Casualty and 15                                       ft loss(es) from a federally declared disaster (other than net qualified
Theft Losses                                        . Attach Form 4684 and enter the amount from line 18 of that form. See

Other                16          Other-from list in instructions. List type and amount         ►
Itemized
Deductions
Total      11                    Add the amounts in the far right column for lines 4 through 16. Also, enter this amount on
Itemized                         Form 1040, line 8. . . . . . . . . . . . . . . . . . . . . . . . .
Deductions 18                    If you elect to itemize deductions even though they are less than your standard
                                 deduction, check here . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1040.                                                                         Schedule A (Form 1040) 2018
HTA
                    Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                            Desc
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SCHEDULE A                                                                                                                                       0MB No. 1545-0074
                                                                 Itemized Deductions
(Form 1040)
Department of the Treasury
                                             Go to www.lrs.gov/ScheduleA for instructions and the latest information.
                                                                     Attach to Form 1040.
                                                                                                                                                 ~®18
                                                                                                                                                 Attachment
Internal Revenue Service 99                                        ualified disaster loss on Form 4684 see the instructions for line 16.         Se uence No.   07
Name(s) shown on Form 1040

MUHAMMAD SIDDIQI
                            Caution: Do not include expenses reimbursed or paid by others.
Medical
                      1     Medical and dental expenses (see instructions)
and                   2     Enter amount from Form 1040, line 7. . L..=2_.__ _ _ _ ___........_
Dental
                      3     Multiply line 2 by 7.5% (0.075) . . . . . . .
Expenses
                      4     Subtract line 3 from line 1. If line 3 is more than line 1 enter -0-                                                                0
Taxes You             5     State and local
Paid                      a State and local income taxes or general sales taxes. You may
                            include either income taxes or general sales taxes on line 5a,
                            but not both. If you elect to include general sales taxes instead
                            of income taxes, check this box . . . . . . . . . . . ►              D
                          b State and local real estate taxes (see instructions) . . . . . . .
                          c State and local personal property taxes . . . . . . . . .
                          d Add lines 5a through 5c . . . . . . . . . . . . . . .
                          e Enter the smaller of line 5d and $10,000 ($5,000 if married
                            filing separately) . . . . . . . . . . . . . . . . . .
                      6     Other taxes. List type and amount ~---------------------------

                      7 Add lines Se and 6 . . . . . . . . . . . . . .                                                                                          0
Interest              8 Home mortgage interest and points. If you didn't use
You Paid                home mortgage loan(s) to buy, build, or improve you
Caution: Your           see instructions and check this box . . . . . . . .
mortgage interest
deduction may be     a Home mortgage interest and points reported to you on
limited (see            1098 . . . . . . . . . . . . . . .
instructions).
                     b Home mortgage interest not reported to Y.
                        paid to the person from whom you bou
                        instructions and show that person's n
                        address ►
                  Name
               Address ______________________________ _
                      TIN
                        c Points not reported to yo
                          special rules . . . .
                        d Reserved . . . . .


                            instructions .
                     10     Add Ii                                                                                                                              0
Gifts to             11     Gifts
Charity                                                                                                   11
                     12                                   k. If any gift of $250 or more, see
If you made a
gill and got a                                         ttach Form 8283 if over $500 . . .                 12
benefit for it,
see instructions.
                     13                                   ..............                                  13
                     14                          u         . . . . . . . . . . . . . . . . .                . .....                                             0
Casualty and         15                          ft loss(es) from a federally declared disaster (other than net qualified
Theft Losses                                   . Attach Form 4684 and enter the amount from line 18 of that form. See

Other      16               Other-from list in instructions. List type and amount         ►
Itemized
Deductions
Total      11               Add the amounts in the far right column for lines 4 through 16. Also, enter this amount on
Itemized                    Form 1040, line 8. . . . . . . . . . . . . . . . . . . . . . . . .
Deductions 18               If you elect to itemize deductions even though they are less than your standard
                            deduction, check here . . . . . . . . . . . . . . . . . . . . . . .
For Paperwork Reduction Act Notice, see the Instructions for Form 1040.                                                                    Schedule A (Form 1040) 2018
HTA
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SCHEDULEC                                                     Profit or Loss From Business                                                         0MB No. 154!Hl074
(Form 1040)
Department of the Treasury
                                                                                 (Sole Proprietorship)
                                       ► Go to www.lrs.gov/ScheduleC for instructions and the latest information.
                                                                                                                                                     ~@18
                                                                                                                                                    Attachment
Internal Revenue Service 99         ► Attach to Form 1040, 1040NR, or 1041; rtnarshl    anerally must file Form 1065.                               Se uence No.      09
Name of proprietor                                                                                                          Soclal security number (SSN)
MUHAMMAD SIDDIQI                                                                                                                                   2222
A        Principal business or profession, including product or service (see instructions)                                  B Enter code from Instructions
LAW ENFORCEMENT                                                                                                                   ►               561600
C        Business name. If no separate business name, leave blank.                                                          D Employer ID number (EIN) (see instr.)


E        Business address (including suite or room no.)           ►    -----------------------------------------------------
         Ci town or ost office, state, and ZIP code
F        Accounting method:              (1) X Cash              (2)   D Accrual              (3)
G        Did you "materially participate" in the operation of this business during 2018? If "No,' see instructions for Ii                       IX]ves        0No
H
I
         If you started or acquired this business during 2018, check here . . . . . . . . . . . .
         Did you make any payments in 2018 that would require you to file Form(s) 1099? (see instru
                                                                                                                                              ►□
                                                                                                                                                Oves
J        lf"Yes," did you or will you file required Forms 1099? . . . . . . . . . . . .                                                         Oves
                 Income
     1   Gross receipts or sales. See instructions for line 1 and check the box if this income
         on Form W-2 and the "Statutory employee" box on that form was checked                                                        1
     2   Returns and allowances . . . .                                                                                               2
     3   Subtract line 2 from line 1 . . . . . .                                                                                      3                         0
     4   Cost of goods sold (from line 42) . . • . . . . . . . . . . . . .                                                            4
     5   Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . •                                                            5                         0
     6   Other income, including federal and state gasoline or fuel tax credit                                                        6
                      me. Add lines 5 and 6 . . . . . . . . . .                                                             ►         7                         0
                       enses. Enter ex enses for busines
     8   Advertising . . . . . . .           .,_8__________
     9   Car and truck expenses (see                                                        Pension and profit-sharing plans
         instructions) . . . . . .               9                                          Rent or lease (see instructions):
    10   Commissions and fees . .               10                                          Vehicles, machinery, and equipment.    20a
    11   Contract labor (see instructions)      11                                          Other business property . . .          20b
    12   Depletion . . . . . .                  12                                          Repairs and maintenance . .             21
    13   Depreciation and section 179                                                       Supplies (not included in Part Ill)     22
         expense deduction {not
         included in Part Ill) {see                                                         Taxes and licenses                      23
         instructions) . . . . . . . .                                                      Travel and meals:
     Employee benefit programs
    14                                                                                    a Travel . . . . .                       24a
     (other than on line 19). . .                                                         b Deductible meals (see
 15 Insurance (other than health) .                                                         instructions) . . . . .                24b
 16 Interest (see instructions):                                                        25  Utilities . . . . . . . . . .           25
   a Mortgage (paid to banks, etc.)                                                     26 Wages (less employment credits) . .
   b Other .                                                                            27a Other expenses (from line 48) .
17   L al and rofessional se ·                                                         b Reserved for future use .
 28 Total expenses before e                            ess use of home. Add lines 8 through 27a . . . . . . . . ►
 29 Tentative profit                                 from line 7 . . . . . . . . . . . . . . . . . . . .                            29                          0
 30 Expenses for                            r me. Do not report these expenses elsewhere. Attach Form 8829
     unless using t                         d (see instructions).
     Simplified me                           nter the total square footage of: (a) your home:
     and (b) the part o                                        _ _ _ _ _ _ _ _ _ _ _ . Use the Simplified
     Method Worksheet in           instructions to figure the amount to enter on line 30. . .                                       30
 31 Net profit or (loss). Subtract line 30 from line 29.
     • If a profit, enter on both Schedule 1 (Form 1040), line 12 (or Form 1040NR, line 13) and on Schedule SE,
     line 2. (If you checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.
     • If a loss, you must go to line 32.
                                                                                                                            }       31


    32   If you have a loss, check the box that describes your investment in this activity (see instructions).
         • If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 12 (or Form 1040NR,
         line 13) and on Schedule SE, line 2. (If you checked the box on line 1, see the line 31 instructions).
         Estates and trusts, enter on Form 1041, line 3.
         • If you checked 32b, you must attach Form 6198. Your loss may be limited.
                                                                                                                            }      32a D All investment is at risk.
                                                                                                                                   32b D Some investment is
                                                                                                                                              not at risk.

For Paperwork Reduction Act Notice, see the separate instructions.                                                                        Schedule C (Form 1040) 2018
HTA
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Schedule c (Form 1040) 201s                 MUHAMMAD SIDDIQI                                                                                     Page2
               Cost of Goods Sold see instructions

 33    Method(s) used to
       value closing inventory:         a   D    Cost              b   D    Lower of cost or market           c    D Other (attach explanation)
 34    Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
       If "Yes," attach explanation . . . . . • . . • . . . . . . . . . . . . . . . . . . . . .                              Dves
 35    Inventory at beginning of year. If different from last year's closing inventory, attach explanation

 36    Purchases less cost of items withdrawn for personal use . . . . . . . . . . . . . . .

 37    Cost of labor. Do not include any amounts paid to yourself .

 38    Materials and supplies . . . . . • . • . . . . . . .

 39    Other costs . . . . .

 40    Add lines 35 through 39                                                                                                                  0

41     Inventory at end of year

       Cost of oods sold. Subtract line 41 from line 40. Enter the result here a                                    42                          0
              Information on Your Vehicle. Complete this part o                                          ing car or truck expenses on
              line 9 and are not required to file Form 4562 for thi                                e the instructions for line 13 to find
              out if ou must file Form 4562.

43     When did you place your vehicle in service for business purp                                   ►

44     Of the total number of miles you drove your vehicle duri            enter the number of miles you used your vehicle for:

   a Business ________________________ b Commuting                                                                c Other

45
                                                                                                                    □             Yes
                                                                                                                                              □     No

46
                                                                                                                    □             Yes
                                                                                                                                              □     No

47a
                                                                                                                    □             Yes
                                                                                                                                              □     No

   b   lf"Yes," is thee ·
              Other                                                    enses not included on lines 8-26 or line 30.
                                                                                                                    □             Yes
                                                                                                                                              □     No




48     Total other expenses. Enter here and on line 27a . . . . . . . . . . . . . . . . . . .                       48                         0
                                                                                                                            Schedule C (Form 1040) 2018
                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                    Desc
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Fonn       6251                                 Alternative Minimum Tax-Individuals                                                 0MB No. 1545-0074



Department of the Treasury
                                  ► Go to          www.lrs.gov/Form6251 for instructions and the latest information.                ~©18
Internal Revenue Service 99)                                ►   Attach to Form 1040 or Form 1040NR.                                               32
Name(s) shown on Fonn 1040 or Fonn 1040NR

                AD SIDDIQI
                   Alternative Minimum Taxable Income See instructions for how to com
  1        Enter the amount from Form 1040, line 10, if more than zero. If Form 1040, line 10, is zero, subtract lines 8
           and 9 of Form 1040 from line 7 of Form 1040 and enter the result here. (If less than zero, enter as a
           negative amount.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         106,391
  2a       If filing Schedule A (Form 1040), enter the taxes from Schedule A, line 7; otherwise, enter the amount from
           Form 1040, line 8 . . . . . . . . . . . . . . . . . . . . . .                                                                      10,000
      b    Tax refund from Schedule 1 (Form 1040), line 10 or line 21 .
      c    Investment interest expense (difference between regular tax and AMT) . . . • . • . . . .
      d    Depletion (difference between regular tax and AMT) . . . . . . . . . . . . • . . . . .
      e    Net operating loss deduction from Schedule 1 (Form 1040). line 21. Enter as a positive amoun
       f   Alternative tax net operating loss deduction . • . . . . . . . . . . . . . . . . . .
      g    Interest from specified private activity bonds exempt from the regular tax . . . . .
      h    Qualified small business stock, see instructions . • . . . . . . . . . . . . .
           Exercise of incentive stock options (excess of AMT income over regular tax income)
      J    Estates and trusts (amount from Schedule K-1 (Form 1041), box 12, code A). . .
      k    Disposition of property (difference between AMT and regular tax gain or loss) . . .
           Depreciation on assets placed in service after 1986 (difference between reg
  m        Passive activities (difference between AMT and regular tax income or los       . . . . • .                          2m
   n       Loss limitations (difference between AMT and regular tax income or loss)        . . . .       .
   o       Circulation costs (difference between regular tax and AMT) . . . . . .           . . •          .
   p       Long-term contracts (difference between AMT and regular tax income) . . .                 . .
   q       Mining costs (difference between regular tax and AMT) .              . . . . . . . . . .
   r       Research and experimental costs (difference between regul
   s       Income from certain installment sales before January 1, 1
   t       Intangible drilling costs preference . . . . • . . .                                                                2t
 3         Other adjustments. including income-based related a                                                                 3
 4         Alternative minimum taxable income. Combine lin
           4 is more than $718,800, see instructions.). .                                                                      4             116,391
                   Alternative Minimum Tax
 5         Exemption. (If you were under age 24 at t                           instructions.) . . . . . . . . . . .
           IF your filing status is ...                                                       THEN enter on line 5 •••
           Single or head of household . . . .                                                     $70,300
           Married filing jointly or qualifying widow(er                                            109,400
           Married filing separately . . . .                                                         54,700                                  70,300
           If line 4 is over the amount shown a                        status, see instructions.
 6         Subtract line 5 from line 4. If more than            o line 7. If zero or less, enter -0- here and on lines 7, 9,
                                                                                                                                             46,091
 7         •   If you are filing Fo                          e instructions for the amount to enter.
           •   If you reported                           s directly on Schedule 1 (Form 1040), line 13; you
               reported qu                              1040, line 3a; or you had a gain on both lines 15 and
               16of Sche                       ) (as refigured for the AMT, if necessary), complete Part Ill on                               11,984
               the back a
                                           00 or less ($95,550 or less if married filing separately), multiply
          line 6 by 26% (0.               ·se, multiply line 6 by 28% (0.28) and subtract $3,822 ($1,911
          if married filing separately) from the result.
 8   Alternative  minimum tax foreign tax credit (see instructions) . . . . . . . . . . . . . .
 9   Tentative minimum tax. Subtract line 8 from line 7. . . . . . . . . . . . . . . . . . . . . . .                                          11 984
10 Add Form 1040, line 11 a (minus any tax from Form 4972), and Schedule 2 (Form 1040), line 46. Subtract
     from the result any foreign tax credit from Schedule 3 (Form 1040), line 48. If you used Schedule J to
     figure your tax on Form 1040, line 11a, refigure that tax without using Schedule J before completing this
     line (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             19 823
11 AMT. Subtract line 10 from line 9. If zero or less enter -0-. Enter here and on Schedule 2 Form 1040 line 45 .                                   0
For Paperwork Reduction Act Notice, see your tax return instructions.                                                                 Fonn   6251   (2018)
HTA
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Form 6251 (2018)                  MUHAMMAD SIDDIQI                                                            -2222                               Pa e   2
               Tax Computation Using Maximum Capital Gains Rates
               Complete Part Ill only if you are required to do so by line 7 or by the Foreign Earned Income Tax Worksheet in the instructions.
12   Enter the amount from Form 6251, line 6. If you are filing Form 2555 or 2555-EZ, enter the amount from
     line 3 of the worksheet in the instructions for line 7 . . . . . . . . . . . . . . . . . . . . . . .                     12
13   Enter the amount from line 6 of the Qualified Dividends and Capital Gain Tax Worksheet in the instructions
     for Form 1040, line 11 a, or the amount from line 13 of the Schedule D Tax Worksheet in the instructions
     for Schedule D (Form 1040), whichever applies (as refigured for the AMT, if necessary} (see instructions). If
     you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter. . . . . . . . . .                         13
14   Enter the amount from Schedule D (Form 1040), line 19 (as refigured for the AMT, if necessary) (see
     instructions). If you are filing Form 2555 or 2555-EZ, see instructions for the amount to enter . . . .
15   If you did not complete a Schedule D Tax Worksheet for the regular tax or the AMT, enter the amount
     from line 13. Otherwise, add lines 13 and 14, and enter the smaller of that result or the amount from
     10 of the Schedule D Tax Worksheet (as refigured for the AMT, if necessary). If you are filing Form 2
     2555-EZ, see instructions for the amount to enter .
16   Enter the smaller ofline 12 or line 15 . . . . . . . . . . . . . . . . . . . . .                                                               0
17   Subtract line 16 from line 12 . . . . . . . . . . . . . . . . . . . . . . . . .                                         17                     0
18   If line 17 is $191,100 or less ($95,550 or less if married filing separately), multiply line 17 b
     multiply line 17 by 28% (0.28) and subtract $3,822 ($1,911 if married filing separately)                                 18                    0
19   Enter:
     • $77,200 if married filing jointly or qualifying widow(er),
     • $38,600 if single or married filing separately, or                                                                    19                     0
     • $51,700 if head of household.
20   Enter the amount from line 7 of the Qualified Dividends and Capital Gain
     for Form 1040, line 11a, or the amount from line 14 of the Schedule D Ta
     for Schedule D (Form 1040), whichever applies (as figured for the regular
     either worksheet for the regular tax, enter the amount from Form 1040, line 1
     you are filing Form 2555 or 2555-EZ, see instructions for the a~~t to enter .                                           20           106,391
21   Subtract line 20 from line 19. If zero or less, enter -0- . . .                                                         21                     0
22   Enter the smaller of line 12 or line 13 . . . . . . .                                                                   22                     0
23   Enter the smaller of line 21 or line 22. This amount is                                                                 23                     0
24   Subtract line 23 from line 22 .                                                                                         24                     0
25   Enter:
     • $425,800 if single
     • $239,500 if married filing separately                                                                                 25           425,800

     • $452,400 if head of household
26   Enter the amount from line 21 .                                                                                         26                     0
27   Enter the amount from line 7 of t                              d Capital Gain Tax Worksheet in the instructions
     for Form 1040, line 11 a, or the am
     (as figured for the regular tax). If you            plete either worksheet for the regular tax, enter the
                                                         nter -0-. If you are filing Form 2555 or Form 2555-EZ,
                                                                                                                             27           106,391
28                                                                                                                           28           106,391
29                                                                                                                           29           319,409
30   Enter the smal                                                                                                          30                 0
31   Multiply line 30                                                                                                  ►     31                 0
32   Add lines 23 an                                                                                                         32                 0
                                      e, skip lines 33 through 37 and go to line 38. Otherwise, go to line 33.
33   Subtract line 32 from line 22 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           33                     0
34   Multiply line 33 by 20% (0.20) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          ►     34                     0
     If line 14 is zero or blank, skip lines 35 through 37 and go to line 38. Otherwise, go to line 35.
35   Add lines 17, 32, and 33 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  35                     0
36   Subtract line 35 from line 12. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        36                     0
37   Multiply line 36 by 25% (0.25) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ►                        37                     0
38   Add lines 18, 31, 34, and 37 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        38                     0
39   If line 12 is $191,100 or less ($95,550 or less if married filing separately), multiply line 12 by 26% (0.26).
     Otherwise, multiply line 12 by 28% (0.28} and subtract $3,822 ($1,911 if married filing separately) from the result     39                     0
40   Enter the smaller of line 38 or line 39 here and on line 7. If you are filing Form 2555 or 2555-EZ, do not
     enter this amount on line 7. Instead. enter it on line 4 of the worksheet in the instructions for line 7. . . . . . .   40                     0
                                                                                                                                      Form   6251   (2018)
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                                                                                                                                     0MB No. 1545-1008
                                               Passive Activity Loss Limitations
Fonn      8582                                             ► See separate Instructions.                                               ~®18
Department of the Treasury                               ►
                                                         Attach to Form 1040 or Form 1041.                                             Attachment
Internal Revenue Service 99         ►   Go to www.irs. ov/Form8582 for instructions and the latest information.                        S uence No.       88
Name(s) shown on return                                                                                                 Identifying number
MUHAMMAD SIDDIQI                                                                                                                        -2222
                  2018 Passive Activity Loss
            Caution: Com lete Worksheets 1
Rental Real Estate Activities With Active Participation (For the definition of active participation, see
Special Allowance for Rental Real Estate Activities in the instructions.)
  1a Activities with net income (enter the amount from Worksheet 1,
     column (a)) . . . . . . . . . . . . . . . . . . . . . . .                           1a
   b Activities with net loss (enter the amount from Worksheet 1, column
          (b)). . . . . . . . . . . . . . . . . . . . . . . . . .
      c Prior years' unallowed losses (enter the amount from Worksheet 1,
        column (c)) . . . . . . . . . . . . . . . . . . . . . . .
    d Combine lines 1a, 1b, and 1c. . . . . . . . . . . . . . . .
Commercial Revitalization Deductions From Rental Real Estate Activities
  2a Commercial revitalization deductions from Worksheet 2, column (a)
    b Prior year unallowed commercial revitalization deductions from
        Worksheet 2, column (b).
    c Add lines 2a and 2b . . . . . . . . . . . . . . . . . .
All Other Passive Activities
  3a Activities with net income (enter the amount from Worksheet 3,
        column (a)) . . . . . . . . . . . . . . . . . . . . .
    b Activities with net loss (enter the amount from Worksheet 3, column
        (b)). . . . . . . . . . . . . . . . . . . . . .
    c Prior years' unallowed losses (enter the amount from W
        column (c)) . . . . . . . . . . . . . . . .
   d Combine lines 3a, 3b, and 3c. . . . . . . . .                                                                   3d                              0
 4      Combine lines 1d, 2c, and 3d. If this line is zero o                 d include this form with
        your return; all losses are allowed, including any                   losses entered on line 1c,
        2b, or 3c. Report the losses on the forms an                                   •••     ■   ••   ■   • • •     4                              0
        If line 4 is a loss and:         Line 1d is a I
                                                                d is zero or more), skip Part II and go to Part Ill.
                                                                1d and 2c are zero or more), skip Parts II and Ill and go to line 15.
Caution: If your filing st       ·     ·                       lived with your spouse at any time during the year, do not complete
Part II or Part Ill. lnstea
                 Special                                         ate Activities With Active Participation
                 Note: Ent                                      amounts. See instructions for an exam le.
 5        Enter the smalle
 6        Enter $150,000.                                 e instructions . . .
 7        Enter modified a ·                          than zero (see instructions)
          Note: If line 7                          line 6, skip lines 8 and 9,
          enter -0- on line                     ine8.
 8        Subtract line 7                      . . . . . . . . . . . . .                  8                         0
 9        Multiply line 8 b                ot enter more than $25,000. If married filing separately, see instructions
10        Enter the small                ne 9 . . . . . . . . . . . . . . . . . . . . . . . . . .
          If line 2c is a loss,    Ill. Otherwise, go to line 15.
                 Special Allowance for Commercial Revitalization Deductions From Rental Real Estate Activities
                   t EnteraII numbers .m Pa rt Ill as posI·rIve amoun ts. See th e exampe
                 Noe:                                                                   I f or Part II m
                                                                                                       . th ems
                                                                                                             . t ru ct·ions.
11        Enter $25,000 reduced by the amount, if any, on line 10. If married filing separately, see instructions         11                         0
12        Enter the loss from line 4 .                                                                                    12                         0
13        Reduce line 12 by the amount on line 10.                                                                        13                         0

..
14        Enter the smallest of line 2c (treated as a positive amount), line 11, or line 13 .
                 Total Losses Allowed
                                                                                                                          14                         0

15    Add the income, if any, on lines 1a and 3a and enter the total .                                                    15                         0
16    Total losses allowed from all passive activities for 2018.Add lines 10, 14, and 15. See
      instructions to find out how to report the losses on your tax return .                                              16                         0
For Paperwork Reduction Act Notice, see instructions.                                                                                  Fonn   8582 (2018)
HTA
             Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                             Desc
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Form 8582 (2018)       MUHAMMAD SIDDIQI                                                             _ _ _2_2_22
                                                                                                              _______
                                                                                                                    Pa_ge_2_
Caution: The worksheets must be filed with your tax return. Keep a copy for your records.
Worksheet 1-For Form 8582 Lines 1a 1b and 1c See instructions.
                                                     Current year                    Prior years             Overall gain or loss
              Name of activity
                                           (a) Net income        (b) Net loss       (c) Unallowed
                                                                                                         (d) Gain             {e) Loss
                                                line 1a             line 1b          loss line 1c




Total. Enter on Form 8582, lines 1a, 1b,
and 1c . . . . . . . . . . . . . ►                          O                   0
Worksheet 2-For Form 8582, Lines 2a and 2b See instructions.
                                                (a) Current year
              Name of activity                                                                                      (c) Overall loss
                                              deductions line 2a)




Total. Enter on Form 8582, lines 2a and
2b . . . . . . . . . . . . . . ►
Worksheet 3-For Form 8582 Lines 3a 3b and 3c
                                                                                                             Overall gain or loss
              Name of activity
                                           (a) Net income
                                                                                                         (d) Gain             (e) Loss
                                               line 3a




Total. Enter on Form 8582, lines 3a, 3b,
and 3c . . . . . . . . . . . . ►
Worksheet 4-Use this worksheet if

                                                                                                       (c) Special          (d) Subtract
              Name of activity                                    (a) Loss              (b) Ratio                         column (c) from
                                                                                                       allowance
                                                                                                                             column (a)




Total . . . . . .                  ........          ►                          0         1.00                        0                    0
Worksheet 5-AII                     allowed Losses See instructions.
                                            Form or schedule
                                             and line number
              Name of activity                                               (a) Loss               (b) Ratio         (c) Unallowed loss
                                            to be reported on
                                            (see instructions)




Total . . . . . . . . . . . . . . . . . . . . . . . . ►                                       0       1.00                                 0
                                                                                                                           Form   8582 (2018)
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                           M_U_HAM
                      >_____
_F_orm_e_ss_2_(2_0_1s...       __=M;.;.A_D_S_I_D_D_IO__,I________________________22_2._2_______P_a_ge_3
Worksheet 6-Allowed Losses See instructions.
                                                 Form or schedule
                 Name of activity               and line number to
                                                be reported on (see   (a) Loss          (b) Unallowed loss       (c) Allowed loss
                                                   instructions)




Total . . . . . . . . . . . . . . . . . . . . . . . . . . ►                                                                         0

Name ofactivity:


Form or schedule and line number
to be reported on (see
instructions): ____________________________ _
1a   Net loss plus prior year unallowed
     loss from form or schedule .       ►
 b   Net income from form or
     schedule . . . . . . . . . . ►



Form or schedule and line number
to be reported on (see
instructions): ____________________________ _
1a   Net loss plus prior year unallowed
     loss from form or schedule .       ►
 b   Net income from form or
     schedule . . . . . . . . . . ►



Form or schedule and line number
to be reported on (see
instructions): __________________________ _
1a Net loss plus prior year unallowed
   loss from form or schedule .
 b Net income from form or
   schedule . . . . . .

                                                        ►

Total . . . . . .                                       ►             0          1.00                        0                      0
                                                                                                                   Form   8582 (2018)
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                                      Electronic Filing Information (1040)
   Si nature Method              (Note:   wiiioliling staiultiitiFJ,' botbfilel'$ must use PINs.)
  [Kl Practitioner PIN. Use only Section (A) below.
  Oself-Select PIN. Use Sections (A) and (B) below.

      PIN Information            (Enter information below and then confirm the information on the 'PIN' tab)

                          IA) Practitioner and Self-Select PIN
                                                                                           r.============= =========;i
                                                                                                         B Self-Select PIN On/
                         PIN (5 Diaits)      TIS entered         ERO entered                Prior Year PIN                              Date of Birth

       Taxpayer PIN:          22222                [Kl
                                                                        □
       Spouse PIN:
                                                   □                    □
       Date signed:       10/15/2019       ~                     1//    7/20'/00½
        ERO PIN:            01234          V///h           ,,,,, -1////////.1//////////.

  D Power of Attorney.
  D Personal Representative.
  □ signer for minor child.


   EFIN
   Enter your 6-digit EFIN number.
     EFIN: 752867
   Submiss,c,n ID
   The Submission ID for this e-File will be computed automatically                                                    nly be
   regenerated if a 'Rejected by EFC' or 'Rejected by Agency' ac                                        and the e-File is recreated.
    Submission ID      7528672019105s4rsk1n
   Tax a er Information
Filer's first name                                                                                                                         Filer's suffix
MUHAMMAD
Spouse's first name                                                                                                                        Spouse's suffix

Street address                                                                                                                  Spouse's SSN
6701 HAVEN HURST CT
Address continuation                                                                        POA, personal rep or c/o addressee name

City                                                                                        State       ZIP code                Daytime phone number
PARKER                                                                                      TX          75002                   214 837-5055
Foreign country                                                                             Foreign postal code                 Foreign phone number

Email address                                                                               IRS identity protection PIN         Cell phone number
HIBAENTERTAINMENT
   ERO
ERO's name                                                                                                     Check if self- ERO's SSN or PTI N
JUAN J WILLIAMS                                                                                                employed     X P00756178
Firm's name                                                                                                                   ERO's EIN
NVISIONIT FINANCIAL                                                                                                           XX-XXXXXXX
Address
3010 LBJ FREEWAY SUITE 1200
City                                                                                        State
DALLAS                                                                                      TX
  Pre arer
Preparers name                                                                                                                  Preparer's PTIN
JUAN J WILLIAMS                                                                                                                 P00756178
Firm's name                                                                                                                     EIN
NVISIONIT FINANCIAL SOLUTIONS, LLC                                                                                              XX-XXXXXXX
Address                                                                                                                         Phone
3010 LBJ FREEWAY, SUITE 1200                                                                                                    972-919-6151
City                                                                                        State       ZIP code                Foreign phone number
DALLAS                                                                                      TX          75234
Foreign country                               Foreign province/county                       Foreign postal code
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      2.
2015 tax return
   and Ban k
 Statments for
     Hiba
Entertainment
                     Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                               Desc
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                                                        U.S. Return of Partnership Income
Form       1065
Department of the Treasury
                                   For calendar year 2015, or tax year beginning ______   _Q}_L9} __ , 2015, ending ---~-~j}_]:, 20___ }_~---
                                                                                                                                                               oMs No. 1545-0123
                                                                                                                                                                   if))   ((5\ 15
Internal Revenue Service            ► Information about Form 1065 and its separate instructions is at www.irs.gov/form1065.                                        b \:::!J
A Principal business activity                 Name of partnership                                                                                        D Employer identification number
PROMOTERS OF                                 HIBA ENTERTAINMENT                                                                                             XX-XXXXXXX
B Principal product or service     Type       Number, street, and room or suite no. If a P.O. box, see the instructions.                                 E Date business started
CONCERT AND G                       or       3020 BIG TOWN BLVD                                                                                             01/21/2000
C Business code number             Print      City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                         F Total assets (see the
 711300                                      MESQUITE, TX 75150                                                                                            instructions)

                                                                                                                                                           $                        18000

 G         Check applicable boxes:          (1)      Initial return (2)    D   Final return (3)    D    Name change (4)          D     Address change (5)          D      Amended return
                                            (6)   D Technical termination also check (1) or (2)
 H         Check accounting method: (1)           Ix] Cash       (2) D Accrual      (3) D Other (specify) ►
  I        Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year ►---------------------------------------------
 J         Check if Schedules C and M-3 are attached                                                                                                   _ D
Caution. Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.

             1a      Gross receipts or sales .                                         I 1a I            35000 ,.·•·--··
              b      Returns and allowances                                            I 1b I                                                   '~~;.t
                 C   Balance. Subtract line 1b from line 1a .                                                    1c                                                              35000
             2       Cost of goods sold (attach Form 1125-A)                                                       2
             3       Gross profit. Subtract line 2 from line 1c                                                    3                                                             35000
  (I,)       4       Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)       4
  E          5       Net farm profit (loss) (attach Schedule F (Form 1040))                                       5
  0
  0          6       Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797)                          6
 .5          7       Other income (loss) (attach statement)                                                        7
             8       Total income (loss). Combine lines 3 through 7                                                8                                                             35000
             9       Salaries and wages (other than to partners) (less employment credits)
  "~
   C:
   0
            10       Guaranteed payments to partners                                                             10
                                                                                                                   9

  I         11       Repairs and maintenance .                                                                   11
  ..9       12       Bad debts .                                                                                 12
   "'0C:
  :g        13       Rent.                                                                                       13
  2         14       Taxes and licenses                                                                          14
  ui
  _f;
            15       Interest .                                                                                  15
                                                                                         ~e~
   (1)

  £
   (1)
   (1)
            16a      Depreciation (if required, attach Form 4562) .                                      I      I
                                                                                                               tt;t
  .!!!,        b     Less depreciation reported on Form 1125-A and elsewhere on return I16b I                  16c
  1/)
  C:
            17       Depletion (Do not deduct oil and gas depletion.)                                            17
  0         18       Retirement plans, etc.                                                                      18
 :;;
  0         19       Employee benefit programs                                                                   19
  :::,
 "C
  (I,)
            20       Other deductions (attach statement)                                                         20                                                             73191
 C          21       Total deductions. Add the amounts shown in the far right column for lines 9 through 20.     21                                                             73191
            22       Ordinary business income (loss). Subtract line 21 from line 8                               22                                                            -38191
                       Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my
                       knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than general partner or limited liability company member manager)
Sign
Here
                       is based on all information of which preparer has any knowledge.
                                                                                                                                                   IMay the IRS discuss this return with the
                                                                                                                                                    preparer shown below (see
                                                                                                                                                                                    O
                                                                                                                                                                                               I
                         ►
                                                                                                                           06/14/2016                                         Yes       No

                                                                                                                    ► I
                                                                                                                                                    instruct1onsl?[X)
                             Signature of general partner or limited liability company member manager                    Date

Paid
                       Print/Type preparer's name                      I  Preparer's signature                                  Date            Check Oil                 I
                                                                                                                                                                          PTIN
                                                                                                                                06/14/2016      self-employed
Preparer
                       Firm's name     ►                                                                                                        Firm's EIN     ►          -
Use Only                                                     -
                       Firm's   address ►                                                                                                       Phone no.          - -
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form    1065 (2015)
QNA
                Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                              Desc
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            HIBA ENTERTAINMENT                                                                                                            XX-XXXXXXX
Form 1065 (2015)                                                                                                                                                     Page             2
IIIIL~.,. ,mtoJ11:11111   Other Information
   1       What type of entity is filing this return? Check the applicable box:                                                                             Yes               No




   2
       a
       C
       e
           D Domestic general partnership
           Ix] Domestic limited liability company
           D Foreign partnership
                                                               b D Domestic limited partnership
                                                               d D Domestic limited liability partnership
                                                               f D Other ►
           At any time during the tax year, was any partner in the partnership a disregarded entity, a partnership (including
           an entity treated as a partnership), a trust, an S corporation, an estate (other than an estate of a deceased partner),
                                                                                                                                                        f~1 :)>       I:;'

           or a nominee or similar person?                                                                                                                                    X
   3       At the end of the tax year:                                                                                                                  :,,:,;., I "i>
                                                                                                                                                                                  '
       a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-                              >"(? >> ..
           exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
           loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
           B-1, Information on Partners Owning 50% or More of the Partnership                                                                                                 X
       b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
           the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
           on Partners Owning 50% or More of the Partnership                                                                                                                  X
   4       At the end of the tax year, did the partnership:
                                                                                                                                                         i!';>\'. ,;>
       a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
           stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see
           instructions. If "Yes," complete (i) through (iv) below .
                                                                                                                                                       ":~,r~         I?
                                                                                                                                                                      1;;
                                                                                                                                                                              X
                             (i) Name of Corporation                            (ii) Employer Identification       (iii) Country of          (iv) Percentage
                                                                                      Number (if any)               Incorporation         Owned in Voting Stock




       b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
           or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
           interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below .
                                                                                                                                                       ~lili I~\'<>''
                                                                                                                                                                              X
                                                                          (ii) Employer                                                          (v) Maximum
                                                                          Identification
                                                                                                   (iii) Type of        (iv) Country of
                            (i) Name of Entity                                                                                              Percentage Owned in
                                                                         Number (if any)                Entity           Organization       Profit, Loss, or Capital




                                                                                                                                                         Yes              No
   5       Did the partnership file Form 8893, Election of Partnership Level Tax Treatment, or an election statement under                                            I ;;     <;
           section 6231(a)(1)(B)(ii) for partnership-level tax treatment, that is in effect for this tax year? See Form 8893 for
           more details
                                                                                                                                                       Ii}i l:,t-·•
                                                                                                                                                                              X
   6   Does the partnership satisfy all four of the following conditions?                                                                              \?::,:I 0:i>

                                                                                                                                                       tJj I}F't
     a The partnership's total receipts for the tax year were less than $250,000.
     b The partnership's total assets at the end of the tax year were less than $1 million.
     C Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
       extensions) for the partnership return,
    d The partnership is not filing and is not required to file Schedule M-3                                                                                 X
       If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; Item F on page 1 of Form 1065;                                 ?i) 1>, .
       or Item L on Schedule K-1 .                                                                                                                     i': ....... ·'·....· •..
   7   Is this partnership a publicly traded partnership as defined in section 469(k)(2)? .                                                                                   X
   8   During the tax year, did the partnership have any debt that was cancelled, was forgiven, or had the terms
       modified so as to reduce the principal amount of the debt?                                                                                                             X
   9   Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
       information on any reportable transaction? .                                                                                                                           X
 10                                                                                                                                                         ',           ...
           At any time during calendar year 2015, did the partnership have an interest in or a signature or other authority over a financial                           ·•··
                                                                                                                                                       I·        /
           account in a foreign country (such as a bank account, securities account, or other financial account)? See the instructions for
           exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR). If "Yes,"                     I•
                                                                                                                                                                  <
                                                                                                                                                                 .·
                                                                                                                                                                      }
           enter the name of the foreign country. ►                                                                                                                           X
QNA                                                                                                                                             Form   1065 (2015)
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           HIBA ENTERTAINMENT                                                                                                XX-XXXXXXX
Form 1065 (2015)                                                                                                                            Page   3
                         Other Information (continued)

 11       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . .
 12a      Is the partnership making, or had it previously made (and not revoked), a section 754 election?
          See instructions for details regarding a section 754 election.
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions
      c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions
 13       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
          like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
          owned by the partnership throughout the tax year) . . .                                  . . . . . . . ► □
 14       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property? .                                                 . . . . . .
 15       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities, enter the number of Forms 8858 attached. See instructions ►         o
 16       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
          Information Statement of Section 1446 Withholding Tax, filed for this partnership. ►
 17       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return. ►     o
 18a      Did you make any payments in 2015 that would require you to file Form(s) 1099? See instructions . . . .
   b      If "Yes," did you or will you file required Form(s) 1099? . .
 19       Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
          Corporations, attached to this return. ►           o
 20       Enter the number of partners that are foreign governments under section 892.         ►          0
Designation of Tax Matters Partner (see instructions)
Enter below the general partner or member-manager designated as the tax matters partner (TMP) for the tax year of this return:


 Name of      ►

                                                                                                              ►
 designated                                                                               Identifying
 TMP                                                                                      number of TMP

 If the TMP is an


                                                                                                              ►
 entity, name                                                                             Phone number
 of TMP representative                                                                    ofTMP


 Address of   ►
 designated
 TMP               -~------------------------------------------

QNA                                                                                                                              Form   1065 (2015)
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           HIBA ENTERTAINMENT                                                                                                              XX-XXXXXXX
Form 1065 (2015)                                                                                                                                          Page   4
 Schei:Jule lK.          Partners' Distributive Share Items                                                                                Total amount
             1       Ordinary business income (loss) (page 1, line 22)                                                                              -38191
             2       Net rental real estate income (loss) (attach Form 8825)                                                         2
             3a      Other gross rental income (loss)                              1--3_a-+---------i.
                 b   Expenses from other rental activities (attach statement)      .__3_b---'----------1
                 c   Other net rental income (loss). Subtract line 3b from line 3a
   'iii      4       Guaranteed payments
    Ill
    0        5       Interest income . .
   d.        6       Dividends:    a Ordinary dividends .
    Cl)
    E                               b Qualified dividends                           6b
    0        7       Royalties .
    (.)
   .5        8       Net short-term capital gain (loss) (attach Schedule D (Form 1065))
             9a      Net long-term capital gain (loss) (attach Schedule D (Form 1065))
                 b   Collectibles (28%) gain (loss)                                        t--9b--t--------J.,."::::c
                 c   Unrecaptured section 1250 gain (attach statement)                     .__9_c---'----------1
            10       Net section 1231 gain (loss) (attach Form 4797)                                                                10
            11       Other income (loss) (see instructions) Type ►                                                                  11
    Ill     12       Section 179 deduction (attach Form 4562)                                                                       12
    C:
    0       13a      Contributions                                                                                                 13a
   ti
    ::;          b   Investment interest expense                                                                                   13b
                                                        (1) Type ►----------------------------------- (2) Amount ►
   "O                                                                                                                              13c(2
    Cl)          c   Section 59(e)(2) expenditures:
   C             d   Other deductions (see instructions) T pe ►                                                                    13d
            14a      Net earnings (loss) from self-employment                                                                      14a              -38191
                 b   Gross farming or fishing income                                                                               14b
                 c   Gross nonfarm income                                                                                          14c
            15a      Low-income housing credit (section 420)(5))                                                                   15a
              b      Low-income housing credit (other)                                                                             15b
                 c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)                  15c
                 d   Other rental real estate credits (see instructions)         Type ►   --------------------------------------   15d
                 e   Other rental credits (see instructions)                     Type ►   --------------------------------------   15e
              f      Other credits (see instructions)                            T pe ►                                            15f
            16a      Name of country or U.S. possession ►----------------------------------------------------------------­
              b      Gross income from all sources .
    Ill
    C:        c      Gross income sourced at partner level
    0
                     Foreign gross income sourced at partnership level
   tiIt!      d      Passive category ►                  e General category ►              ____________________
                                                                                                            f Other ►
    Ill
    C:               Deductions allocated and apportioned at partner level
    E                Interest expense ►     _______________________________
   I-            g                                                 h Other                                      . . ►
    C:               Deductions allocated and apportioned at partnership level to foreign source income
    C)
   -~                Passive category ►                  j General category ►                                k Other ►
    0                Total foreign taxes (check one): ► Paid D Accrued                 --------------------
   LL
              m Reduction in taxes available for credit (attach statement)
              n Other foreign tax information (attach statement)
            17a Post-1986 depreciation adjustment                                                                                  17a
              b Adjusted gain or loss . .                                                                                          17b
              c Depletion (other than oil and gas) .                                                                               17c
              d Oil, gas, and geothermal properties-gross income                                                                   17d
              e Oil, gas, and geothermal properties-deductions .                                                                   17e
              f Other AMT items (attach statement)                                                                                 17f
    C:      18a Tax-exempt interest income.                                                                                        18a
    0
   +:l        b Other tax-exempt income                                                                                            18b
    It!
              c Nondeductible expenses .                                                                                           18c
    §       19a Distributions of cash and marketable securities                                                                    19a
   ,2
   .5         b Distributions of other property                                                                                    19b
    ...
    Cl)     20a Investment income .                                                                                                20a
   .c         b Investment expenses . .
   0          c Other items and amounts (attach statement)
ONA
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                   HIBA ENTERTAINMENT                                                                                                                                        XX-XXXXXXX
Form 1065 (2015)                                                                                                                                                                                    Page    5
Analysis of Net Income (Loss)
     1           Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
                 Schedule K, lines 12 through 13d, and 161 . . .                               . . . .                                                                                        -38191
     2          Analysis by
                                                  (i) Corporate
                                                                            (ii) Individual            (iii) Individual
                                                                                                                                (iv) Partnership
                                                                                                                                                              M  Exempt                    (vi)
                partner type:                                                    (active)                  (passive)                                         Organization             Nominee/Other

         a      General partners i - - - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - + - - - - - - - - 1
         b      Limited part_n--:e,,...r__,s~----c::--,-----....,.....--,----,---~--:c------,----,----,----'------..--~-----=,------,---'--------'
                            Balance Sheets per Books                      Beginning of tax year                       End of tax year
                                    Assets
     1          Cash
     2a         Trade notes and accounts receivable .
         b      Less allowance for bad debts
     3          Inventories
     4          U.S. government obligations
     5          Tax-exempt securities
     6          Other current assets (attach statement)
     7a         Loans to partners (or persons related to partners)
         b      Mortgage and real estate loans
     8          Other investments (attach statement) .
     9a         Buildings and other depreciable assets
         b      Less accumulated depreciation
  10a           Depletable assets . .
     b          Less accumulated depletion
  11            Land (net of any amortization)
  12a           Intangible assets (amortizable only)
         b      Less accumulated amortization
  13            Other assets (attach statement)
  i4            Total assets .
                          Liabilities and Capital
  15            Accounts payable . . .
  16            Mortgages, notes, bonds payable in less than 1 year
  17            Other current liabilities (attach statement)
  18            All nonrecourse loans . .
  19a           Loans from partners (or persons related to partners)
         b      Mortgages, notes, bonds payable in 1 year or more
  20            Other liabilities (attach statement)
  21            Partners' capital accounts
  22            Total liabilit;....ie:..;s;....a;....n;....d=c.:.cap~i~ta::;.l_.:.._.:..__;__.:.._.:.._.:..__-'----'.:.._.:.._.:.._.:.._.:.._.:.._.J.__ _ _ _ _ _....ll;.:.._.:.._.:.._.:.._.:.._.:.._~-------
                                             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                  Note. The partnership may be required to file Schedule M-3 (see instructions).
     1          Net income (loss) per books .                                   6   Income recorded on books this year not included
                Income included on Schedule K, lines 1, 2, 3c,                      on Schedule K, lines 1 through 11 (itemize):
     2
                5, 6a, 7, 8, 9a, 10, and 11, not recorded on                      a Tax-exempt interest$
                                                                                                                                                  --------------------------
                books this year (itemize):
                                           -------------------------                                                -------------------------------------------------------·
     3          Guaranteed payments (other than                                                             7       Deductions included on Schedule K, lines
                health insurance)                                                                                   1 through 13d, and 161, not charged
     4          Expenses recorded on books this year                                                                against book income this year (itemize):
                not included on Schedule K, lines 1                                                             a   Depreciation $
                through 13d, and 161 (itemize):
                                                                                                                                        ------------------------------------
                                                                                                                    -------------------------------------------------------·
         a      Depreciation $                                                                              8       Add lines 6 and 7
         b      Travel and entertainment$                                                                   9       Income (loss) (Analysis of Net Income
                                                        -----------------
     5          Add lines 1 through 4                                                                               (Loss), line 1). Subtract line 8 from line 5
1111,."'fil IT:l'c I llf-'llli!.T, ,..,._.   Analysis of Partners' Capital Accounts
     1          Balance at beginning of year                                                                6       Distributions: a Cash
     2          Capital contributed: a Cash                                                                                        b Property
                                     b Property                                                             7       Other decreases (itemize):
                                                                                                                                                        --------------------
     3          Net income (loss) per books .
                                                                                                                    --------------------------------------------------------
     4          Other increases (itemize):                                                                  8       Add lines 6 and 7
                                                      -------------------
     5          Add lines 1 throuQh 4                                                                       9       Balance at end of year. Subtract line 8 from line 5
ONA                                                                                                                                                                                    Form   1065 (2015)
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Form       1125-A                                               Cost of Goods Sold
(Rev. December 2012)                                                                                                                         0MB No. 1545-2225
                                               ► Attach to Form 1120, 1120-C, 1120-F, 1120S, 1065, or 1065-B.
Department of the Treasury
Internal Revenue Service             ► Information about Form 1125-A and its instructions is at www.irs.gov/fonn1125a.

Name                                                                                                                              Employer identification number
   HIBA ENTERTAINMENT                                                                                                             XX-XXXXXXX
   1       Inventory at beginning of year                                                                                 1
   2       Purchases                                                                                                      2
   3       Cost of labor                                                                                                  3
   4       Additional section 263A costs (attach schedule)                                                                4
   5       Other costs (attach schedule)                                                                                  5
   6       Total. Add lines 1 through 5 .                                                                                 6
   7       Inventory at end of year                                                                                       7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return (see instructions)                                                         8
   9a      Check all methods used for valuing closing inventory:
            (i) □ Cost
           (ii)   Lower of cost or market
           (iii)    Other (Specify method used and attach explanation.)   ►
       b   Check if there was a writedown of subnormal goods                                                                                         ►□
       c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                                  ►□
       d   ~nt~:r   ~if~   i~ve~to~ ~et~od. w~s u_se~ fo~ th'.s t~x ~ea~, e~te~ a~ou~t ~f c'.osi~g '.nv~nt~ry ~o~pu~ed ~I_S_d~j_ _ _ _ _ _ _ _ _ __

       e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity (see instructions)?             D Yes      Ix!   No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
           attach explanation                                                                                                               D Yes




For Paperwork Reduction Act Notice, see instructions.                                                                                Form   1125-A (Rev. 12-2012)
 QNA
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         HIBA ENTERTAINMENT                                                                                                                     XX-XXXXXXX

                          Worksheet for Figuring Net Earnings (Loss) From Self-Employment

 1a      Ordinary business income (loss) (Schedule K, line 1) • • • • • • • • • • • •                                ..   1a      -38191

     b    Net income (loss) from certain rental real estate activities (see instructions).                           ..   1b

     C   Other net rental income (loss) (Schedule K, line 3c) • • • • • • • • • • • • • •                                 1c

     d   Net loss from Form 4797, Part II, line 17, included on line 1a above.          Enter as a positive amount        1d

     e   Combine lines 1a through 1d • • • • • • • • • • • • • • • • • • •                            ......              1e      -38191

 2       Net gain from Form 4797, Part 11, line 17, included on line 1a above • • • • •                                   2

 3a      Subtract line 2 from line 1e.   lfline 1e is a loss, increase the loss on line 1e by the amount on line 2        3a      -38191

     b   Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
         organizations, and IRAs • • • • • • • • • • • • • • • • • • • • • • • •                         .....            3b

     C   Subtract line 3b from line 3a. If line 3a is a loss, reduce the loss on line 3a by the amount on line 3b. Include
         each individual general partner's share in box 14 of Schedule K-1, using code A •                                .............    3c         -38191

 4a      Guaranteed payments to partners (Schedule K, line 4) derived from a trade
         or business as defined in section 1402(c) (see instructions) • • • • • • • • •                                   4a

     b   Part of line 4a allocated to individual limited partners for other than services
         and to estates, trusts, corporations, exempt organizations, and IRAs • • • •                                ..   4b

     C   Subtract line 4b from line 4a. Include each individual general partner's share and each individual limited
         partner's share in box 14 of Schedule K-1, using code A • • • • • • • • • • • • • • • • • • • • • • • •                     ..    4c

 5       Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a                         5          -38191
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  1065 SUPPORTING STATEMENTS FOR XX-XXXXXXX

****   SCHEDULE of Deductions - Other:

_D_e_s_c_r_i~p_t_i_o_n_ _ _ _ _ _ _ _ _ _ Amount
MEALS AND ENTERTAINMENT                           2250
SECURITY                                          6349
ORGANIZATION EXPENSES                             9920
CONTRACT LABOR                                    6875
TRAVEL                                           11400
LEASE OF CONCERT HALL                            33897
AUTO EXPENSE                                      2500

                                               73191
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               CHA SE                                                                      Decembe r 30, 2017through January 31, 2018
                                                                                           Account Number: - 0 2 9 0



      IDEPOSITS AND ADDITIONS!
       DATE         DESCRIPTION
                                                                                                                                AMOUNT
       01/08        Deposn        938595795
                                                                                                                              $6,600.00
       Total Deposit s and Additions
                                                                                                                              $6,600.00

      !CHE CKS PAID!
      CHECK NO.            DESCRIPTION                                                                       DATE
      1118 A
                                                                                                             PAID               AMOUNT
                                                                                                             01/08          $30,000.00
      1120 • A
                                                                                                             01/17            1,050.00
       Total Checks Paid
                                                                                                                            $31,050.00
      If you see a description in the Checks Paid section, it means that we received
                                                                                        only electronic information about the check,
      not the original or an image of the check. As a result, we're not able to
                                                                                return the check to you or show you an image.
      • All of your recent checks may not be on this statement. either because
                                                                                  they haven't cleared yet or they were listed on
        one of your previous statements.
      "An image of this check may be available for you to view on Chase.co
                                                                                m.


      IATM & DEBIT CARD WITHDRAWALS!
       DATE      DESCRIPTION
                                                                                                                               AMOUNT
      01102     Card Purchase        12/28 Ame Stonebri ar 24 #0260 Frisco TX Card 4378
                                                                                                                                $34.08
       01/02    Card Purchase        12/30 Apl* !tunes.Com/Bill 866-712-7753 CA Card 4378
                                                                                                                                  0.99
       01/02    Card Purchase With Pin 12/31 Racetrac 99 Plano TX Card 4378
                                                                                                                                 21.97
       01/04    Card Purchase With Pin 01/04 Shell Service Statio Farmers Branc TX
                                                                                   Card 4378                                     27.86
       01/09    Recurring Card Purchase 01/09 Facebk 5P6E~dss42 650-5434800 CA
                                                                                    Card 4378                                     2.82✓
      01/09     Recurring Card Purchase 01/09 Facebk 4P6Egds s42 650-5434800 CA
       01/10
                                                                                    Card 4378                                     1.os ✓
                Card Purchase       01/09 Dallas CO Motorvehicle Dallas TX Card 4378
       01/10
                                                                                                                                 74.75V
                Card Purchase        01/09 JP Morgan Ch•Aset Fee Dallas TX Card 4378
                                                                                                                                  3.sov
      01/11    Card Purchase        01/09 Collin CO TX Clerk P LA Carrollton TX Card 4378
                                                                                                                                  1.86 •
      01/11    Card Purchase        01/09 Collin CO TX Clerk P LA Mckinne t TX Card 4378
                                                                                                                                 81.00
      01/11    Card Purchase With Pin 01/11 Wal-Mart Sueer Center Lucas TX Card
                                                                                   4378                                          46.86\ /
      01/16    Card Purchase        01/13 Racetrac616 0000616 3 Plano TX Card 4378
      01/16    Card Purchase With Pin 01113 Kroger So 2608 W Fm 54 W):lie TX Card
                                                                                                                                 20.oov
                                                                                     4378                                        41.98 V
      01/16    Card Purchase With Pin 01/13 Kroier So 2608 W Fm 54 Wylie TX Card
                                                                                     4378                                         4.32·✓
      01/17    A TM Withdrawal       01/17 161 W Sprins Creek Pk~ Plano TX Card 4378
                                                                                                                                500.00
      01/17    Card Purchase With Pin 01/17 Murphy Express 8722 Allen TX Card 4378
      01/18                                                                                                                       8.08 'ill'
               Card Purchase        01/17 Starbucks Store 24470 Lucas TX Card 4378
                                                                                                                                  3.95 ✓
      01/18    Card Purchase        01/17 Wendy's #11493 Lucas TX Card 4378
                                                                                                                                  3.55 ✓
      01118    Card Purchase With Pin 01118 Quiktrip Dallas TX Card 4378
l'J   01/19    Card Purchase
                                                                                                                                 14.42(./ '
                                    01/18 Br Factory US 4126 Fort Worth TX Card 4378
      01/22    Card Purchase        01/18 National Wireless Dallas TX Card 4378                                                  33.12 ✓
                                                                                                                                 35.00
      01/22    Card Purchase        01/20 Chuck E Cheese 597 Allen TX Card 4378
                                                                                                                                 12.00·
      01/22    Card Purchase        01/21 Yummy Burgers & Bbg Allen TX Card 4378
      01/22
                                                                                                                                25.H\ /
               Card Purchase With Pin 01/21 Kroger So 536 Centenni Richardson TX
                                                                                    Card 4378                                   59.57 V
      01/22    Non-Chase ATM Withdraw 01/22 10084 CR 448 Princeton TX Card 4378
                                                                                                                               103.00
      01/25    Card Purchase       01123 Too Thai Street Eats Carrollton TX Card 4378
                                                                                                                                9o.os/
      01/29    Card Purchase       01/27 Bjs Restauta nts 439 Plano TX Card 4378
      01/29    Card Purchase With Pin 01/27 7-Eleven Murphy TX Card 4378
                                                                                                                                80.33✓
                                                                                                                                  5.69'V /
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        CHASE                                                               December 30, 2017throughJa11uary 31, 2018
                                                                            Account Number.   ■-••a290

!ATM & DEBIT CARD WITHDRAWALSj.<~~~!~.n=u_ed_~_ _ _ _ _ _ _ _ _ __
 DATE    DESCRIPTION                                                                                               AMOUNT
01/29    Card Purchase With Pin 01/27 7-Eleven Murphy TX Card 4378                                                   4.99

                                                                                                                                --=
01129    Card Purchase With Pin 01/27 7-Eleven 33654 Murphy TX Card 4378                                            39.99
01/31    Card Purchase       01/30 Agl* ltunes.Corn/Bill 866-712-7753 CA Card 4378                                   0.99
Total ATM & Debit Card Withdrawals                                                                            $1,382.98         -
                                                                                                                                ---"



                                                                                                                                ===
IATM & DEBIT CARD SUMMARY l1------ ---------
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits
                          Total Card Purchases
                                                                                                                  $603.00
                                                                                                                  $779.98
                                                                                                                                -!!!!!!!!!!!!!!!
                                                                                                                                =
                          Total Card Deposits & Credits                                                             $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawafs & Debits                                                          $603.00
                          Total Card Purchases                                                                    $779.98
                          Total Card Deposits & Credits                                                             $0.00

!ELECTRONIC WITHDRAWALS!
 DATE   DESCRIPTION                                                                                               AMOUNT
01/02   Quickpay With Zelle Payment To Millan 6787217588                                                     $1,000.00 ✓
01/02   01/01 Payment To Chase Card Ending IN 3191                                                                 500.00 i/
01109   Quickpay With Zelle Payment To Millan 6809627283                                                           600.00   v
01/12   01/12 Payment To Chase Card Ending IN 3191                                                                 soo.oo ✓
01/16   Quickpay With Zelle Payment To Guy Cannon 6826156673                                                       soo.ooV
01/16   Quickpay With Zelle Payment To Laura Moonan 6828861242                                                       1.00 ✓
01/22   Farmers Ins    EFT Pymt             PPD ID: 1952575893                                                     765.49   J
01/23   U.S. Bank NA Payment 000000515313653 Tel ID: 5551540853                                                    560.24 ✓
01/25   Stream Energy Utility 2125379         Web ID: 0000007041                                                    27.24 V
01/25   Kubra Stream Web Utility 2141053        Web ID: 0000007041                                                   2.95
01/29   Quickpay With Zelle Payment To MiUan 6857015588                                                            300.00
Total Electronic Withdrawals                                                                                 $4,756.92

IOTHER WITHDRAWALSt-1_ _ _ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                               AMOUNT
01/22   01/22 Withdrawal                                                                                          $900.00
Total Other Withdrawals                                                                                           $900.00


I FEES I
DATE    DESCRIPTION                                                                                               AMOUNT
01/22   Non-Chase ATM Fee-With                                                                                      $2.50
Total Fees                                                                                                          $2.50




                                                                                                              4
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        CHA SEO                                                                                     December 30, 2017throughJaouary 31, 2018
                                                                                                    Account Number:      ■■■■■10290


IDAILy ENDING BALANCE I
 DATE                          . l•~OUNT                 DATE                            AMOUNT                  DATE                           AMOUNT
01/02                        $30,234.01                 01/12                           5,494.27                01/22                           1,411.12
01/04                         30,206.15                01/16                            4,926.97               01/23                             850.88
01/08                           6,806.15               01/17                            3,368.89               01/25                              730.64
01/09                           6,202.24               01/18                            3,346.97               01/29                              299.64
01/10                           6,123.99               01119                            3,313.85               01/31                             298.65
01/11                           5,994.27

ISERVICE CHARGE SUMMARY I
You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                to be waived in five
different ways during any state~nt period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $10,675.00.
•
                                                                                                         OR
          Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship
                                                                                                               balance
          was $11,629.00. OR
•         Link a qualifying personal checking account to your Chase BusinessSe lect Checking account.
                                                                                                        Your Premier
          Plus personal checking account is linked. OR
•         Spend at feast $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
•         Pay at least $50.00 in qualifying checking-related serv·ces or fees. You paid $2.50.

See your Account Rules and Regulations or stop in to see a banker today to find out more.

TRANSACTIONS FOR SERVICE FEE CALCULATIO N
                                                                                                                       NUMBER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                                                 38
Deposits / Credits
                                                                                                                                                  1
Deposited Items
                                                                                                                                                  1
Transaction Total
                                                                                                                                                 40
SERVICE FEE CALCULATIO N
                                                                                                                                           AMOUNT
Service Fee
                                                                                                                                           $15.00
Service Fee Credit
                                                                                                                                          -$15.00
Net Service Fee
                                                                                                                                            $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                            $0.00
Total Service Fees
                                                                                                                                             $0.00




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us
                                                                                                                at 1-866-564-2262 or write us at Iha
address on the front of thts statement (non-personal accounts contact Customer Servtce) immediately
                                                                                                             if you think your statement or receipl is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement
                                                                                                                           on which the problem or error
appeared. Be prepared to give us the folowing information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of. why you believe ii is an error, or why you need
We will investigate your complaint and will correct any error promptly. If we take                                           more information.
                                                                                     more than 1O business days /or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error
us to complete our investigation                                                       so that  you will have  use  o  the  money  during the time it takes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the
incorrect or ifsou need more information about any non-electronic transactions (checks                  bank immediately if your statement is
                                                                                        or deposits) on this statement If any such error appears.
you must notity the bank in writing no later than 30 days after the statement was made available
Account Rules and Regulations or other appl!cable account agreement that governs your account    to you. For more complete details, see the
JPMorgan Chase Bani<, NA Member FDlC                                                                Deposit products and services are offered by


                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC
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        CHASE                                                                      February 01, 2018through February 28, 2018
        JPMorgan Chase Bank, NA
        P O Box 659754                                                             Account Number:   ■■■■■0290
        San Antonio, TX 78265-9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Web site:                         Chase.com
                                                                                Service Center:               1-800-242-7338
     0003094& DRE 201 142 06018 NNNNNNNNNNN T 1 000000000 60 0000
     HIBA ENTERTAINMENT INC
     3020 BIG TOWN BLVD
     MESQUITE TX 75150-2412
                                                                                Deaf and Hard of Hearing:
                                                                                Para Espanol:
                                                                                International Calls:
                                                                                                              1-800-242-7383
                                                                                                              1-888-622-4273
                                                                                                              1-713-262-1679      -==
                                                                                                                                  ~

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                                                                                                                                  ---
We clarified when we charge the Returned Item fee for Overdraft in our Additional Banking
Services and Fees disclosure
                                                                                                                                  -
                                                                                                                                  ~




               We won't charge a Returned Item fee for Overdraft for any item that is $5 or less, even if your account
               balance at the end of the business day is overdrawn
               We will charge a Returned Item fee for Overdraft for any item that is more than $5, even if your account
               balance at the end of the business day is overdrawn

You can see these updates in the Additional Banking Services and Fees by signing in to chase.com. You can also call us or
visit a branch with any questions.


ICHECKING SUMMARY I                        Chase BusinessSelect Checking

                                               INSTANCES                       AMOUNT
 Beginning Balance                                                            $298.65
 Deposits and Additions                                 6                   21,502.00
 ATM & Debit Card Withdrawals                          23                    -1,073.59
 Electronic Withdrawals                                 4                   -16,851.00
 Fees                                                   2                       -53.75
 Ending Balance                                        35                    $3,822.31


The monthly service fee for this account was waived because you used at least $50.00 in other checking services during
the statement period.


IDEPOSITS AND ADDITIONSII------ -------- --
DATE          DESCRIPTION                                                                                               AMOUNT
02/02         Quickpay With Zelle Payment From Muhammad N Siddiqi 6873727863                                             $1.00
02/09         ATM Cash Deposit      02/09 i6i W Spring Creek Pkwy Plano TX Card 4378                                    500.00
02/14         Paymentech     Deposit 6241464        CCD ID: 1020401225                                                    1.00
02/20         Remote Online Deposit                                                                                   4,000.00
02/20         Deposit   929602617                                                                                     2,000.00
02/23         Deposit   853410632                                                                                    15,000.00
Total Deposits and Additions                                                                                        $21,502.00
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        CHASE                                                                  February 01, 2018through February 28. 2018
                                                                               Account Number:   ~290


IATM & DEBIT CARD WITHDRAWALS!
 DATE    DESCRIPTION                                                                                                   AMOUNT
02/01    Card   Purchase    01/31 Ace Parking 3713 DaHas TX Card 4378                                                    $5.00V
02/01    Card   Purchase With
                           Pin 02/01 Racetrac526 Plano TX Card 4378                                                      17.861/
02/05    Card   Purchase    02/02 Tuscany Pizza Grand Prarie TX Card 4378                                                37.01 ✓
02/05    Card   Purchase With
                           Pin 02/02 Kroger #0 2608 W Fm 54 Wylie TX Card 4378                                           59.92\/
02/05    Card   Purchase    02/03 Target      00025502 Wylie TX Card 4378
                                                                                                                        105.78 ✓.-/
02/06   Card Purchase With Pin 02/05 Wal-Mart Wal-Mart Sup Wylie TX Card 4378
                                                                                                                          6.68 •Ji
02/07   Card Purchase With Pin 02/06 Kroger 11565A State Hw Sugar Land TX Card 4378                                      55.07   v
02/08   Card Purchase       02/07 91272 Dallas On Street Dallas TX Card 4378
02/12   Card Purchase       02/10 Starbucks Store 06421 Conroe TX Card 4378
02/12   Card Purchase       02/10 Starbucks Store 06421 Conroe TX Card 4378                                               2.98 ../
02/12   Card Purchase With Pin 02/11 Kroger 2222 1-45 Conroe TX Card 4378                                                40_44../
02/12   Card Purchase With Pin 02/11 Wal-Mart #5672 Lucas TX Card 4378                                                   23.40/
02/12   Card Purchase With Pin 02/12 Racetrac 93 Allen TX Card 4378                                                      11.92
02115   Card Purchase       02/13 Mcdonald's M7273 of TX Murphy TX Card 4378                                              2.58·
02/15   Card Purchase       02114 Tmobile"'Postpaid Tel 800-937-8997 WA Card 4378                                       103.44 . /
02/20   Card Purchase       02/16 Tuscany Pizza Grand Prarie TX Card 4378                                                75.62 ,
02/20   Card Purchase With Pin 02/17 Racetrac 99 Plano TX Card 4378                                                       7.77 ✓
02/20
02/21
        Card Purchase
        Card Purchase
                            02/20 Tmobile*Postpaid Fdp 800-937-8997 WA Card 4378
                            02/21 Subway       00102194 Addison TX Card 4378
                                                                                                                       413.75    0
                                                                                                                          7.57r--1
                                                                                                                         56.28 ~
02/21   Card Purchase With Pin 02/21 Quiktrip Corp Wylie TX Card 4378
02/26   Card Purchase       02/23 Starbucks Store 11296 Dallas TX Card 4378                                               4.22 ✓
02/26   Card Purchase With Pin 02/24 Racetrac 93 Allen TX Card 4378                                                       9.99 ✓
02/26   Card Purchase With Pin 02/25 Shel! Service S Allen TX Card 4378                                                  17.30
Total ATM & Debit Card Withdrawals                                                                                $1,073.59


IATM & DEBIT CARD SUMMARY!                           t--- - - - - - - - - - - -

Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                             $0.00
                          Total Card Purchases                                                                   $1,073.59
                          Total Card Deposits & Credits                                                            $500.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                                $0.00
                          Total Card Purchases                                                                   $1,073.59
                          Total Card Deposits & Credits                                                               $500.00

!ELECTRONIC WITHDRAWALS!
DATE    DESCRIPTION                                                                                                   AMOUNT
02/21    Quickpay With Zelle Payment To Bito Bhai 6921044682                                                           $1.00
02/21    Quickpay With Zelle Payment To Sito Bhai 6921217766                                                          500.00
02/23    Paymentech       Fin ADJ 6241464        CCD ID: 1020401225                                                 100.00
02/26    02/26 Domestic Wire Transfer Via: Tib Dallas/11101017 0 NC: Grand Ridge National Bank Ref:              16,250.00
         Further Credit Vibrant Media Group LLC 1069 W Golf Rd Hoffman Estates, IL 60169Acct
         0020008413 lmad: 0226B1Qgc08C0 02132 Tm: 5797800054Es
Total Electronic Withdrawals                                                                                   $16,851.00




                                                                                                               ol 4
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            CHAS EO                                                         February 01, 20181hrough February 28, 2018
                                                                            Account Number:    ~90



I    FEES        1 - - - I-   -   -        -   -   -   -   -   -   -        -    -      -      -       -     -      -


    DATE    DESCRfPTION
                                                                                                                 AMOUNT
    02/26   Domestic Wire Fee
                                                                                                                 $35.00
    02128   Cash Deposit Immediate                                                                                18.75      ~
                                                                                                                             ~
    Total Fees                                                                                                               ~
                                                                                                                  $53.75     ~
                                                                                                                             ~
IDAILY ENDING BALANCE I - - - - - - - - - - - - - -                                                                          ~
    DATE                      ~OUNT_           DATE            AMOUNT                 DATE                                   ~
                                                                                     ------·-,--   --~·--------- --·AMOUNT   iiiiiiiil!i
02/01                         $275.79          02/08                11.33            02/20
                                                                                                                             ~
                                                                                                                 5,822.42    ~
02/02                             276.79       02/09               511.33            02121                                   ~
                                                                                                                 5,257.57
                                                                                                                             ~
02/05                              74.08       02/12               424.58            02123                      20,157.57
02/06                              67.40       02/14               425.58            02/26                       3,841.06
02/07                              12.33       02/15               319.56            02/28                       3,822.31

ISERVICE CHARGE SUMMARY I___ ___ ___ ___ __
TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                             NUMBER OF TRANSACTIONS
Checks Paid/ Debits
                                                                                                                   25
Deposits / Credits
                                                                                                                    3
Deposited Items
                                                                                                                    3
Transaction Total
                                                                                                                   31
SERVICE FEE CALCULATION
                                                                                                              AMOUNT
Service Fee
                                                                                                                $0.00
Service Fee Credit
                                                                                                                $0.00
Net Service Fee
                                                                                                                $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                $0.00
Total Service Fees
                                                                                                               $0.00
CASH PROCESSING
                                                                                                              AMOUNT
Cash Deposits Immediate Verification
                                                                                                          $15,000.00
Cash Deposits Post Verification/Night Drop
                                                                                                               $0.00
Cash Deposits Total                                                                                       $15,000.00
Cash Deposits Allowed
                                                                                                           $7,500.00
Excess Cash Deposits
                                                                                                           $7,500.00
Excess Immediate ($7,500 At $2.50/$1,000)
                                                                                                              $18.75
Total Cash Deposit And Change Order Fees
                                                                                                              $18.75
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      CHASEO                                                                                  February 01. 201 Blhrough February 28, 2018
                                                                                              Account Number.      ■■■■■-290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         "     A description of the error or transfer you are unsure of. why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use ofthe money during the time ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about a_ny. non-electronic transactions (checks or deposits) on this statement. If any such error appears.
you must no!iry the bank in writing no later than 30 davs after the statement was made available to you. For more complete details. see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDlC

                                                                                                    JPMorgan Chase Bank, N.A. Member FDIC
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           CHAS E                                                                             March 01. 2018through March 30, 2018
          JPMorgan Chase Bank. NA
          PO Box 182051                                                                   Account Number:                       0290
          Columbus, OH 43218-2051

                                                                                       CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                             Chase.com
                                                                                      Service Center:                 1-800-242-7338
         00030641 DRE 201 142 09018 NNNNNNNNNNN T 1 000000000 60 0000                 Deaf and Hard of Hearing:       1-800-242-7383
         HIBA ENTERTAI NMENT INC                                                      Para Espanol:                   1-888-622-4273
         3020 BIG TOWN BLVD                                                                                                                 -==-
         MESQUITE TX 75150-2412
                                                                                      International Calls:            1-713-262-1679
                                                                                                                                            -
                                                                                                                                            ~




                                                                                                                                            -


    We updated our Deposit Account Agreement
    The following changes were made March 11, 2018:

    We published an updated version of our Deposit Account Agreement. You can get the latest
                                                                                             agreement at a branch or by
    request when you call us. Here's what you should know:

                 We clarified that if the amount written on your deposit ticket is different from the total deposit you
                                                                                                                        present, we
                 can adjust your account for the difference. (General Account Terms, Section A, Deposit records
                                                                                                                       and receipts)

                 You can now request a stop payment on a check through the Chase Mobile ® app. You can
                                                                                                        also still do this on
                 chase.com, over the phone or in a branch. (General Account Terms, Section B, Stop payments)

                We're starting to use a new payment network that allows businesses lo send you real-time payments
                                                                                                                     when you
                provide your account and routing numbers. When you accept a real-time payment, you confirm
                                                                                                               that you're not
                acting on the behalf of someone who is not a U.S. citizen or resident. (General Account Terms.
                                                                                                               Section I,
                Rules governing your account)

                We updated the language to clarify how to place a stop payment on electronic funds transfers.
                                                                                                              (Electronic
                Funds Transfer Service Terms. Section G, Preauthorized (recurring) transfers and stop payments)

Please call us at the number on this statement if you have any questions.


I   CHECKING SUMMARY                           _c_ha_s_e_Bu_s_in_es_ss_e_le_ct_C_h_ec_k_ing_ _ _ _ _ _ _ _ _ _ _ _ __
                                            1--1




                                                   INSTANCES                        AMOUNT
    Beginning Balance                                                             $3,822.31
    Deposits and Additions                                  8                     40,564.94
    Checks Paid                                             2                     -2,092.61
    ATM & Debit Card Withdrawals                            9                       -560.54
    Electronic Withdrawals                                  5                     -4,201.93
    Fees                                                    2                       -20.00
    Ending Balance                                        26                    $37,512.17




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         CHA SE
                                                                                         March 01, 2018through March 30, 2018
                                                                                      Account Number:   .-U 290
IDEPOSITS AND ADDITIONS I
  DATE         DESCRIPTION
                                                                                                                             AMOUNT
 03/02         Paymentech       Deposit 6241464        CCD ID: 1020401 225                                                $2,500.00
 03/02         Quickpay With Zelle Payment From Guy G Cannon 6946341 364
                                                                                                                             500.00
 03/13         Deposit     9581138 39
                                                                                                                           5,000.00
 03/15         Deposit     9439611 05
                                                                                                                           8,000.00
 03/16         Card Purchase Return 03/15 Sally Beauty #3891 Wylie TX Card 4378
                                                                                                                              64.94
 03/26         Remote Online Deposit           1                                                                          10,000.00
 03/28         Deposit    9684821 80
                                                                                                                           4,500.00
 03/29         Fedwire Credit Via: Wells Fargo Bank/121000248 B/O: Amin Dhanani
                                                                                 US Ref: Chase                            10,000.00
               Nyc/Ctr/Bnf=Hiba Entertain ment Inc Mesquite. TX 751502412/Ac-OOO
                                                                                 000031438
               Rfb=Ow0 0000238 198474 Obi= Oabangg Tour Vip Tickets For Amin
                                                                               D Hanani lmad:
               032911B7032R027596 Tm: 9098709088Ff
 Total Deposits and Addition s
                                                                                                                      $40,564.94

JCHECKS PAID j
CHECK NO.            DESCRIPTION                                                                        DATE
                                                                                                        PAID                AMOUNT
1133 ,.
                                                                                                        03/27             $1,060.61
1135 •,.
                                                                                                        03/26              1,032.00
 Total Checks Paid
                                                                                                                          $2,092.61
 If you see a description in the Checks Paid section, it means that we received only
                                                                                       electronic information about the check,
not the original or an image of the check. As a result, we're not able to
                                                                          return the check to you or show you an image.
• All of your recent checks may not be on this statement, either because
                                                                            they haven't cleared yet or they were fisted on
   one of your previous statements.
,. An image of this check may be available for you to view on Chase.co
                                                                          m.


!ATM & DEBIT CARD WITHDRAWALS!
 DATE      DESCRIPTION
                                                                                                                            AMOUNT
03/01      Card Purchase       02/28 Apl* ltunes.Com/Bill 866-712- 7753 CA Card 4378
                                                                                                                             $0.99
03/01      Card Purchase With Pin 03/01 Sally Beauty #38 3400 Wylie TX Card
                                                                             4378                                           132.59
03/05      Card Purchase       03/02 145 Quick Stop Street.man TX Card 4378
                                                                                                                             64.07 ✓
03/05      Card Purchase With Pin 03/04 7-Eleven Richardson TX Card 4378
03/07
03/09
                                                                    c-- ---- ---- ---
           Card Purchase With Pin 03/07 Shell Service Station Addison TX Card
           Card Purchase With Pin 03109 Racetrac 93 Allen TX Card 4378
                                                                              4378
                                                                                                                              3.59
                                                                                                                             13.85
                                                                                                                                      J
                                                                                                                                      J
                                                                                                                             17.86Y
03/16      Card Purchase       03115 Royal Sweets & Fast Foo Plano TX Card 4378
03/19      Card Purchase With Pin 03/17 Wm Superc Wal-Mart Sup Lucas TX Card
                                                                                                                             60,94\, /'
                                                                                 4378                                       226.03" ",/
03/23      Card Purchase       03/22 Mattito's - Irving Irving TX Card 4378
                                                                                                                             40.62
Total ATM & Debit Card Withdrawals
                                                                                                                           $560.54

IATM & DEBIT CARD SUMMARY,..__ _ _ _ _ _ _ _ _ _ __
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits
                                                                                                                            $0.00
                          Total Card Purchase s
                                                                                                                          $560.54
                          Total Card Deposits & Credits
                                                                                                                           $64.94
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits
                                                                                                                            $0.00
                          Total Card Purchases
                                                                                                                          $560.54
                          Total Card Deposits & Credits
                                                                                                                           $64.94

                                                                                                                Page2d4
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         CHAS E                                                                                     March 01. 20181hrough March 30, 2018
                                                                                                  Account Number:      ■■■■b290


!ELECTRONIC WITHDRAWALSj
  DATE    DESCRIPTION
                                                                                                                                        AMOUNT
 03/02    Paymentec h     Fee     6241464       CCD 10: 1020401225                                                                       $34.95
 03/19    Quickpay With Zelle Payment To Millan 699030669 2
                                                                                                                                         200.00    ............,
                                                                                                                                                   ~
 03/20    Simmons Bank- L Tel Pmts Zy67           Tel ID: 171016230 0                                                                  2,406.74
 03/23    03/23 Payment To Chase Card Ending IN 3191
                                                                                                                                       1,000.00
 03/26    U.S. Bank NA Payment 000000515 313653 Tel ID: 555154085 3
 Total Electronic Withdrawa ls
                                                                                                                                         560.24    -
                                                                                                                                    $4,201.93
                                                                                                                                                   ~

IFEESj_ - - - - - - - - - - - - - - - - -                                                                                                          ===
                                                                                                                                                   =
 DATE    DESCRIPTION
                                                                                                                                        AMOUNT
 03i29   Domestic Incoming Wire Fee
                                                                                                                                        $15.00
 03/30   Cash Deposit Immediate
                                                                                                                                           5.00
 Total Fees
                                                                                                                                        $20.00

IDAILy ENDING BALANCE I
DATE                        AMOUNT            DATE                     -- ...AMOUNT
                                                                             , - ~--···--------
                                                                                                           DATE                          AMOUNT
03/01                     $3,688.73          03/15                     19,554.41                          03126                        24,092.78
03/02                      6,653.78          03/16                     19,558.41                          03/27                        23,032.17
03/05                      6,586.12          03/19                     19,132.38                          03/28                        27,532.17
03/07                      6,572,27          03120                     16,725.64                          03/29                        37,517.17
03/09                      6,554,41          03/23                     15,685.02                          03/30                        37,512.17
03/13                     11,554.41

ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ _ __
You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                 to be waived in five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $14,785.00
                                                                                                       . OR
"         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship
                                                                                                               balance
          was $13,662.00. OR
..        Link a qualifying personal checking account to your Chase BusinessSe lect Checking account.
                                                                                                         Your Premier
          Plus personal checking account is linked. OR
"         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
"         Pay at least $50.00 in qualifying checking-re lated services or fees. You paid $20.00.

See your Account Rules and Regulations or stop in to see a banker today to find out more.

TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                                  NUMBER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                                         14
Deposits t Credits
                                                                                                                                           5
Deposited Items
                                                                                                                                           2
Transactio n Total
                                                                                                                                         21
SERVICE FEE CALCULATION
                                                                                                                                   AMOUNT
Service Fee
                                                                                                                                    $15.00
Service Fee Credit
                                                                                                                                   -$15.00
Net Service Fee
                                                                                                                                     $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                     $0.00
Total Service Fees
                                                                                                                                     $0.00



                                                                                                                               3   4
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      CHASE                                                                                          March 01. 2018through March 30. 2018
                                                                                                Accoont Number:      ■■■■■RJ~,90


ISERVICE CHARGE SUMMARY,                                     _(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __

CASH PROCESSING                                                                                                                     AMOUNT
Cash Deposits Immediate Verification                                                                                              $9,500.00
Cash Deposits Post Verification/Night Drop                                                                                            $0.00
Cash Deposits Total                                                                                                               $9,500.00
Cash Deposits Allowed                                                                                                             $7,500.00
Excess Cash Deposits                                                                                                              $2,000.00

Excess Immediate ($2,000 At $2.50/$1,000)                                                                                              $5.00
Total Cash Deposit And Change Order Fees                                                                                               $5.00



IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt Is
incorrect or :! you need more information about a transfer listed on the statement or receipt
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information
         "     Your name and account number
        •      The dollar amount of the suspected error
         e                                                            wh'/
               A descripti-On of the error or transfer you are unsure of,   you believe it is an error. or why you need more information.
We will investigate your complaint and wiN correct any error promptly. I we take more than 10 business days {or 20 business days for new
accounts} to do this, we will credit your account for the amount you think is in error so that you will have use ofthe money during the time it takes
us to complete our investigation
IN CASE Of ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact lhe bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement ff any such error appears.
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details. see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani(, N.A. Member FDlC

                                                                                            @            JPMorgan Chase Bank, N.A. Member FDIC
                                                                                            l!'N'lrri/
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                  CHAS EO                                                                       March 31, 2018throughApril 30, 2018
                  JPMorgan Chase Bank, N.A.
                  PO Box 182051                                                              Account Number:
                  Columbus, OH 43218-2051

                                                                                          CUSTOMER SERVICE INFORMATION
                                                                                         Web site:                         Chase.com
                                                                                         Service Center:               1-800-242-7338
                 00030230 ORE 20114212118 YNNNNNNNNNNT 1 000000000600000                 Deaf and Hard of Hearing:     1-800-242-73 83
                 HIBA ENTERTAINMENT INC                                                  Para Espanol:
                 3020 BIG TOWN BLVD                                                      International Calls:
                                                                                                                       1-888-622-4273        -=
                                                                                                                                             ~
                                                                                                                       1-713-262-1679        ~
                 MESQUITE TX 75150-2412                                                                                                      ~
                                                                                                                                             ~
                                                                                                                                             ~
                                                                                                                                             ~
                                                                                                                                             ~




          ICHECKING SUMMARY I                       Chase BusinessSelect Checking
                                                                                                                                             -
                                                                                                                                             !!!!!!!!!!==:

                                                                                                                                             ~



                                                        INSTANCES                       AMOUNT
          Beginning Balance                                                         $37,512.17
          Deposits and Additions                                6                    58,095.50
          Checks Paid                                           1                     -2,000.00
          ATM & Debit Card Withdrawals                         23                   -11,899.12
          Electronic Withdrawals                                8                    -4,645.88
          Ending Balance                                       38                   $77,062.67


         IDEPOSITS AND ADDITIONSI
          DATE         DESCRIPTION
                                                                                                                                AMOUNT
          04/03     JPMorgan Chase Auth Crdt                  PPDID:9200 502233                                                   $0.44
         04/03      JPMorgan Chase Auth Crdt                  PPDID:9200502233                                                     0.06
         04/05      Deposit    969777787                                                                                       1,000.00
         04/06      Deposit    905330787                                                                                       6,495.00
         04/19      Paymentech      Deposit 6241464             cco 10: 1020401225                                               600.00
         04/25      Deposit                                                                                                   50,000.00
         Total Deposits and Additions                                                                                       $58,095.50

         ICHECKS PAIDj
                                                                                                             DATE
/)       CHECK NO.            DESCRIPTION
 L•      .....,,.___ _ _ _ _ _ _ _ _ _ _ _ _
                                                                                                             PAID               AMOUNT
 ,       1119     A
                                             __                 _ _ _ _ _ _ _ _ _ _ _ _ _...,;;__,;..;;..._
                                                                                                           _ _, _ . ; . _ _ , _ _ ,......
                                                                                                             04/3Q            $2,000.00
     '   Totar Checks Paid                                                                                                    $2,000.00
         If you see a description in the Checks Paid section. it means that we received only electronic information about the check,
         not the original or an image of the check. As a result, we're not able to retum the check to you or show you an image.
         " An image of this check may be available for you to view on Chase.com.
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         CHASE                                                                March 31, 2018through April 30, 2018
                                                                           Account Number:   ~290



IATM & DEBIT CARD WITHDRAWALS!
 DATE     OESCRIPTION                                                                                           AMOUNT
 04/02  Card Purchase        03/30 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378                                 $0.99
 04/09  Card Purchase        04/06 Movenpick Hotel Kara Karachi Card 4378                                      2,032.84       t,..,.-"
        Pk Rupee
        234914.59 X 0.008653528 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/06 Movenpick Hotel Kara Karachi Card 4378                                      60.98 ✓
04/09   Card Purchase       04/06 lslamabd Marriott Hote Islamabad Card 4378                                     475.94 V
        Pk Rupee
        55000.00 X 0.008653455 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/06 lslamabd Marriott Hote Islamabad Card 4378                                     14.27........
04/09   Card Purchase       04/07 Brinkster 480-388-3777 AZ Card 4378                                                3o.os v
04/09   Card Purchase       04/08 Talha Jewellers Rawalpindi Card 4378                                         6,922.81
        Pk Rupee
        800000.00 X 0.008653513 (Exchg Rte)
04/09   Foreign Exch Rt ADJ Fee 04/08 Talha Jewellers Rawalpindi Card 4378                                       207.68'
04/13   Card Purchase       04/12 Fsi*Frontier 800-921-8101 CT Card 4378                                         210.52 ✓
04/16   Card Purchase       04/14 Mcdonald's F20727 Dfw Airport TX Card 4378                                      10.77 V
04/16   Card Purchase With Pin 04/14 Foxnewsst2513 Dallas TX Card 4378                                                3.99 ·
04/16   Card Purchase       04/15 Au Bon Pain A-34 Dallas TX Card 4378                                               11.13 ✓
04/16   Card Purchase       04/15 Dfw Airport Parking Dfw Airport TX Card 4378                                       33.00V
04/16   Card Purchase With Pin 04/16 Wal-Mart #5672 Lucas TX Card 4378                                               51.53 V
04/17   Card Purchase       04/16 Emirates Ghilw/16 Www.Emirates. NY Card 4378                                   900.00 ✓
04/17   Card Purchase       04/17 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378                                      5.40V
04119   Card Purchase       04/18 Kabob Cowboy Richardson TX Card 4378                                               16.76 I
04119 Card Purchase         04/18 Texaco 0303909 Richardson TX Card 4378                                             49.99 ✓
04/23   Card Purchase       04122 Kfc J625020 Plano TX Card 4378                                                     15.56 /
04/27   Card Purchase       04/27 Apl* ftunes.Com/Bill 866-712-7753 CA Card 4378                                      2.15
04/30   Card Purchase With Pin 04/28 Murphy Express Allen TX Card 4378                                               4.89 ,./
04/30   ATM Wlthdrawal       04/28 1204 Angel Pkwy Allen TX Card 4378                                           800.00       .I
04/30   Card Purchase With Pin 04/29 Racetrac 198 Dallas TX Card 4378                                                31.sev
Total ATM & Debit Card Withdrawals                                                                          $11,899.12


IATM & DEBIT CARD S U M M A R Y _ , - - - - - - - - - - - -
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                      $800.00
                          Total Card Purchases                                                             $11,099.12
                          Total Card Deposits & Credits                                                          $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                      $800.00
                          Total Card Purchases                                                             $11,099.12
                          Total Card Deposits & Credits                                                         $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION
                                                                                                               AMOUNT
04/02    Paymentech      Fee     6241464       CCD ID: 1020401225                                               $77.40
04/03    JPMorgan Chase Auth Debit 7024830799         Web 10: 9200502233                                          0.50
04/18    Quickpay With Zelle Payment To Millan 7074198864                                                       400.00
04/18    04/18 Payment To Chase Card Ending IN 3191                                                           1,000.00
04/18    Simmons Bank - L Tel Pmts Lq97          Tel ID: 1710162300                                           2,406.74.
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         CHAS E                                                                        March 31, 20181hroughApril 30, 2018
                                                                                    Account Number:    •••••i0290
!ELECTRONIC WITHDRAWALSj_(co_n_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
  DATE    DESCRIPTION
                                                                                                                          AMOUNT
 04/23    Quickpay With Zelle Payment To Lois Martin 708760701 0
                                                                                                                            1.00
 04/23
 04/24
          Quickpay With Zelle Payment To Lois Martin 708760894 1
          U.S. Bank NA Payment 000000515 313653 Tel ID: 555154085 3
 Total Electronic Withdrawa ls
                                                                                                                          200.00
                                                                                                                          560.24
                                                                                                                      $4,645.88
                                                                                                                                     ----
                                                                                                                                     ~


                                                                                                                                     ~
                                                                                                                                     ~


IDAILy ENDING BALANCE I
 DATE                       AMOUNT            DATE                        AMOUNT             DATE                         AMOUNT
04/02                   $37,433.78            04/13                     34,973.68                                                    ~
                                                                                             04/23                     30.467.81
04/03                     37,433.78           04/16                     34,863.26            04/24                     29,907.57
04/05                     38,433.78           04117                     33,957.86            04/25                     79,907.57
04/06                     44,928.78           04/18                    30,151.12            04/27                      79,905.42
04/09                     35,184.20          04/19                      30,684.37           04/30                      77,062.67

ISERVICE CHARGE SUMMARY I
You were not charged a monthly service fee this month. Your monthly service fee can continue
                                                                                                  to be waived in five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $44,028.00
                                                                                                        . OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship
                                                                                                                balance
          was $42,752.00 . OR
•         Link a qualifying personal checking account to your Chase BusinessSetect Checking account.
                                                                                                         Your Premier
          Plus personal checking account is linked. OR
•         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
•         Pay at least $50.00 in qualifying checking-re lated services or fees. You paid $282.93.

See your Account Rules and Regulations or stop in to see a banker today to find out more.

TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                     NUMBER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                             25
Deposits / Credits
                                                                                                                              6
Deposited Items
                                                                                                                              2
TransacUo n Total
                                                                                                                             33
SERVICE FEE CALCULATION
                                                                                                                     AMOUNT
Service Fee
                                                                                                                     $15.00
Service Fee Credit
                                                                                                                    -$15.00
Net Service Fee
                                                                                                                      $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                      $0.00
Total Service Fees
                                                                                                                      $0.00
CASH PAOCESSINO
                                                                                                                    AMOUNT
Cash Deposits Immediate Verification
                                                                                                                  $1,000.00
Cash Deposits Post Verification/Night Drop
                                                                                                                      $0.00
Cash Deposits Total
                                                                                                                  $1,000.00
Cash Deposits Allowed
                                                                                                                  $7,500.00
Excess Cash Deposits
                                                                                                                      $0.00
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       CHA SE
                                                                                                    March 31, 2018IhroughApril 30, 2018
                                                                                                Account Number:                           290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTR
                                                                 ONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write
address on the front of this statement (non-personal accounts contact                                                             us al the
                                                                      Customer Service) immediately 1f you think your statement or receipt
incorrect or if youneed more informaUon about a transfer listed on lhe statement or                                                        is
For personal accounts only: We must hear from you no later than                           receipt.
                                                                     60 days after we sent you the FIRST statement on which the problem
appeared. Be prepared to give us the following information:                                                                                   or error
         •   Your name and account number
         •   The dollar amount of the suspected error
         •   A description of the error or transfer you
We will investigate your complaint and wm correct anyare     unsure of. why you believe it is an error, or why you need more informati
                                                          error prompllv. If we take more than 10 business days (or                     on.
accounts) to do this, we will credit your account for the amount                                                        20 business days for new
vs to complete our investigation                                   you fhink is in error so that you will have use oflhe money dunng
                                                                                                                                      the time it takes
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRON
incorrect or if you need more information about any non-elec            IC TRANSACTIONS: Contact the bank immediately if your statemen
                                                                                                                                              t is
you must notity the bank in writing no later than 30 days aftertronic
                                                                 the
                                                                      transactions (checks or deposits) on this statement. If any such error appears,
Account Rules and R~ulatio ns or other aPP11cable account agreeme    statemen  t was made  available to you. For more complete details. see the
JPMorgan Chase Bank, NA Membar FO'IC                                     nt that governs your account Deposit products and services  are offered by


                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC
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       CHAS E                                                                            May 01, 2018through May 31, 2018
       JPMorgan Chase Bank, NA
       P O Box 182051                                                                Account Number:   ~90
       Columbus, OH 43218-2051

                                                                                  CUSTOME R SERVICE INFORMATION
                                                                                  Web site:                        Chase.com
                                                                                  Service Center:              1-800-242-7338
      00029988 DRE 201 142 15218 NNNNNNNNN NN T 1 000000000 60 0000
                                                                                  Deaf and Hard of Hearing:    1-800-242-7383
      HIBA ENTERTAINMENT INC                                                      Para Espanol:                1-888-622-4273        ~
      3020 BIG TOWN BLVD                                                          International Calls:         1-713-262-1679
      MESQUITE TX 75150-2412                                                                                                         -   iii


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                                                                                                                                     ~
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                                                                                                                                     ~
                                                                                                                                     ;;:;;

We updated our Deposit Account & Wire Agreements
The following changes were made May 20, 2018:

              We published an updated version of our Deposit Account Agreement. You can get the latest agreement
                                                                                                                 at a
              branch or by request when you call us. Here are some important changes:

                        Effective August 1, we will notify you in advance of any changes to the Deposit Account Agreement
                        that would adversely affect you, unless the change is necessary to comply with a legal requiremen
                                                                                                                         t
                        (General Account Terms, Section I, Changes lo the agreement)

                        We clarified the language that explains when we may charge a Non-Chase ATM fee for balance
                        inquiries and transfers when you use a non-Chase ATM. (Electronic Funds Transfer Service Terms,
                        Section A, Types of EFT Services)

         •   We consolidated all of our Chase wire agreements, except for the Online Wire Agreement. In
                                                                                                        addition to
             making sure the terms and definitions of the Wire Transfer Agreement are consistent. we made the
                                                                                                               following
             changes:

                        When we amend the agreement, we will send you notice of the change and may refer you to a branch
                        or your banker for the updated agreement.

                        When you send a wire, we will send you an email notification on the status of your wire if you have
                        provided your email address.

Please call us at the number on this statement if you have any questions.

ICHECKING SUMMARY                        I_c_ha_s_e_B_us_in_es_s_s_e1ec_tc_h_e_ck_in_g_ _ _ _ _ _ _ _ _ _ _ _ __
                                               INSTANCES                        AMOUNT
Beginning Balance                                                           $77,062.67
Deposits and Additions                                 13                    35,435.00
ATM & Debit Card Withdrawals                           21                    -3,276.05
Electronic Withdrawals                                  5                   -6,001.93
Fees                                                    1                       -2.50
Ending Balance                                         40                 $103,217.19
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             CHASE                                                                       May 01, 2018th~0 18
                                                                                  Account Number:   ~290


     IDEPOSITS AND ADDITIONS I
      DATE       DESCRIPTION
/2  05/04
' : 05114
                Transfer From Chk Xxxxxx8277
                Paymentech
                                                                                                                       AMOUNT
                                                                                                                   $1,000.00
                                Deposit 6241464        CCD ID: 1020401225                                           1,495.00
     05/15      Remote Online Deposit         1                                                                    10,000.00
     05116      Deposit     972720965                                                                               5,000.00
     05/16      Paymentech      Deposit 6241464        CCD ID: 1020401225                                             897.00
     05117      Paymentech      Deposit 6241464        CCD ID: 1020401225                                             600.00
     05/18      Paymentech      Deposit 6241464        CCD fD: 1020401225                                           1,210.00
     05/21      Paymentech      Deposit 6241464        CCD ID: 1020401225                                           1,200.00
     05/23      Deposit     968561194                                                                               5,000.00
     05125      Quickpay With Zelle Payment From Staffing International Inc 7174085222                              1,197.00
     05/25      Paymentech      Deposit 6241464        CCD ID: 1020401225                                             560.00
     05/25      Quickpay With Zelle Payment From Guy G Cannon 7177356682                                              276.00
     05/29      Paymentech      Deposit 6241464        CCD ID: 1020401225                                           7,000.00
     Total Deposits and Additions                                                                                $35,435.00


     IATM & DEBIT CARD WITHDRAWALS!
     DATE     DESCRIPTION
                                                                                                                       AMOUNT
     05/01    Card Purchase      04/30 Apl* !tunes.Com/Bill 866-712-7753 CA Card 4378                                   $0.99\../
     05/07   Card Purchase       05/06 Brinkster Brinkster 480-388-3777 AZ Card 4378
     05101 Non-Chase Al'M Withdraw 05/06 18599 Marsh Lane Dallas TX Card 4378
                                                                                         lbK,t:b.~,4-                   30.06~
                                                                                                                       302.50
     05/08   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378                                       551.93 ✓
     05108   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378
                                                                                                                       129.46 ✓
     05108   Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378
                                                                                                                       216.49 ✓
     05/10   Card Purchase With Pin 05/10 Racetrac 93 Allen TX Card 4378
                                                                                                                        23.12 ✓
     05/11   Card Purchase       05/09 Racetrac 93 00000935 Allen TX Card 4378                                          12.58
     05/11   Card Purchase Wrth Pin 05111 Wm Superc Wal-Ma rt Sup Lucas TX Card 4378                                    70.831
     05/14   Card Purchase       05/13 Racetrac 93 00000935 Allen TX Card 4378                                          27.86 ✓
     05114   Card Purchase With Pin 05/13 Wal-Mart #5672 Lucas TX Card 4378                                             15.56
     05/15   Card Purchase       05/14 Starbucks Store 24470 Lucas TX Card 4378                                          3.95
     05/17   Card Purchase       05/17 Aet* ltunes.Com/Bill 866-712-7753 CA Card 4378                                    5.40
     05/21   Card Purchase With Pin 05120 Quiktne Corp W~lie TX Card 4378                                               39.99
     05/23   Card Purchase       05122 Hctra Ez Tag Online 281-8753279 TX Card 4378                                     10.25
     05/29   Card Purchase       05127 Apl* ltunes.Com/Bill 866-712-7753 CA Card 4378                                    2.15
     05/29   Card Purchase       05127 Sprint Store #770 Plano TX Card 4378                                            199.86
     05/30   Card Purchase       05/30 Cheaetix*73556619701 Www.Cfix.lnfo WA Card 4378                                  44.94
     05/31   Card Purchase       05/30 Spirit Airl 48701777779 Miramar FL Card 4378                                    787.14
     05/31   Card Purchase       05/30 Apl• Uunes.Com/Bill 866-712-7753 CA Card 4378                                     0.99
     05/31   ATM Withdrawal       05/31 3047 Old Denton Rd Carrollton TX Card 4378                                     800.00
     Total ATM & Debit Card Withdrawals                                                                           $3,276.05


  IA TM & DEBIT CARD SUMMARY I
     Muhammad Siddiqi Card 4378
                               Total ATM Withdrawals & Debits                                                    $1,102.50
                               Total Card Purchases                                                              $2,173.55
                               Total Card Deposits & Credits                                                         $0.00
     ATM & Debit Card Totals
                               Total ATM Withdrawals & Debits                                                    $1,102.50

                                                                                                        Page 2 ,if 4
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              CHA SE                                                                        May 01, 2018through May 31, 2018
                                                                                        Account Number:                       290

                               Total Card Purchases
                                                                                                                         $2,173.55
                               Total Card Deposits & Credits
                                                                                                                             $0.00

    !ELECTRONIC WITHDRAWALS!
      DATE     DESCRIPTION                                                                                                              =
      05/02
      05/04
      05/16
              Paymente ch    Fee     6241464      CCD ID: 10204012 25
              05103 Payment To Chase Card Ending IN 3191
              Simmons Bank- l Tel Pmts 5Fd7         Tel ID: 17101623 00
                                                                                                                              AMOUNT
                                                                                                                            $34.95
                                                                                                                          1,000.00
                                                                                                                                        =
                                                                                                                                        ==
                                                                                                                                        -=
                                                                                                                                        :
                                                                                                                          2,406.74
,-., 05/25    U.S. Bank N.A. Payment 000000515313653 Tel ID: 55515408 53                                                                ~
                                                                                                                               560.24
  ' \ 05/29   05/26 Payment To Chase Card Ending IN 3191
     Total Electroni c Withdraw als
                                                                                                                          2,000.00      -
                                                                                                                                        ~

                                                                                                                                        ~
                                                                                                                         $6,001.93      =
                                                                                                                                        ~

   IFEES j                                                                                                                              ~

     DA TE    DESCRIPTION
                                                                                                                              AMOUNT
    05/07     Non-Chas e ATM Fee-With
                                                                                                                               $2.50
    Total Fees
                                                                                                                               $2.50

   IDAILY ENDING BALANCEj _ _ _ _ _ _ _ _ _ _ _ _ __
    DATE                        AMOUNT            DATE                       AMOU~               DATE                          AMOUNT
   05/01                     $77,061.6 8         05/11                     75,687.26            05/21                     93,589.76
   05/02                      77,026.73          05/14                     77,138.84            05/23                     98,579.51
   05/04                      77,026.73          05/15                     87,134.89            05/25                    100,052.27
   05/07                      76,691.67          05/16                     90,625.15            05/29                    104,850.26
   05/08                      75,793.79          05117                     91,219.75            05/30                    104,805.32
   05/10                      75,770.67          05/18                     92.429.75            05/31                    103,217.19

  ISERVICE CHARGE SUMMARY! _ _ _ _ _ _ _ _ _ _ _ __
   You were not charged a monthly service fee this month. Your monthly service
                                                                                    fee can continue to be waived in five
   different ways during any statement period:
   •         Maintain an average daily balance of $7,500.00. Your average daily balance was
                                                                                                $87,552.00. OR
   •         Maintain a refatiooship balance of $25,000.00 or more during the statement period.
                                                                                                  Your relationship balance
             was $86,709.00. OR
   •         link a qualifying personal checking account to your Chase BusinessS elect Checking
                                                                                                   account. Your Premier
             Plus personal checking account is linked. OR
   •         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent
                                                                                             $0.00. OR
   •         Pay at least $50.00 in qualifying checking-related services or fees. You paid $2.50.

   See your Account Rules and Regulations or stop in to see a banker today to find
                                                                                   out more.

   TRANSACTIONS FOR SERVICE FEE CALCULI\ TION
                                                                                                        NUMBER OF TRANSACTIONS
   Checks Paid I Debits
                                                                                                                               24
   Deposits Credits
                                                                                                                                9
   Deposited Items
                                                                                                                                3
   Transaction Total
                                                                                                                               36
   SERVICE FEE CALCULATI ON
                                                                                                                       AMOUNT
   Service Fee
                                                                                                                        $15.00
   Service Fee Credit
                                                                                                                       -$15.00
   Net Service Fee
                                                                                                                         $0.00
   Excessive Transaction Fees (Above 200)
                                                                                                                         $0.00
   Total Service Fees
                                                                                                                         $0.00
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      CHAS EO                                                                                        May 01, 2018throughMay 31, 2018
                                                                                                Account Number:     ~290




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                or write us at the
address on the front of this statement {non~personal accounts contact Customer Service) immediately If you think your statement
                                                                                                                                       or receipt is
incorrect or if you need more information abOut a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which
                                                                                                                                the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •                                                             whr
               A description of the error or transfer you are unsure of,    you believe it is an error. or why you need more information
We will investigate your complaint and will correct any error promptly. I we take more than     10 business days (or 20 business days for new
accounts) to do this. we will credit your account for the amount you think Is in error so that you will have use of the money during ·1he tfme ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately If your
incorrect or if_you need more inlormatlon about any non-electronic transactions (checks or deposits) on this statement. If         statement is
you must notity the bank in writing no later than 30 days after the statement was made available to ~u. For more complete  any such error appears.
Account Rules and Regulations or other applicable account agreement that govems your account. ueposit products and services  i:letails, see the
JPMorgan Chase Bani<, N.A. Member FDlC                                                                                               are offered by


                                                                                             ~       JPMorgan Chase Bank, N.A. Member FDIC
                                                                                             ~
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         CHAS E                                                                       June 01, 2018through June 29, 2018
         JPMorgan Chase Bank, N.A.
         PO Box 182051                                                          Account Number:     ~90
         Columbus, OH 43218-2051

                                                                              CUSTOMER SERVJCE INFORMATION
                                                                             Web site:                           Chase.com
                                                                             Service Center:                 1-800-242-7338
        00041799 DRE 201 142 18118 NNNNNNNNNNN T 10000000006 0 0000


                                                                                                                                  ,_
                                                                             Deaf and Hard of Hearing:       1-800-242-7383
       HfBA ENTERTAINMENT INC                                                Para Espanol:                   1-888-622-4273       ~
       3020 BIG TOWN BLVD                                                    International Calls:                                 ~
                                                                                                             1-713-262-1679
       MESQUITE TX 75150-2412
                                                                                                                                  ~
                                                                                                                                  ~
                                                                                                                                  ~
                                                                                                                                  iiii
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                                                                                                                                  """""""'
                                                                                                                                  =-=
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lCHECKING SUMMARY I                          Chase BusinessSelect Checking

                                                 INSTANCES                   AMOUNT
 Beginning Balance                                                      $103,217.19
 Deposits and Additions                                 18                52,315.00
 ATM & Debit Card Withdrawals                           28                -2,881.70
 Electronic Withdrawals                                  8              -109,544.71
 Other Withdrawals                                       1                -5,429.00
 Fees                                                    2                   -47.00
 Ending Balance                                         57               $37,629.78


IDEPOSITS AND ADDITIONS I
DATE           DESCRIPTION
                                                                                                                      MJIOUNT
06106         Pa~mentech      Deposit 6241464   CCD ID: 1020401225                                                $4,500.00
06107         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                    500.00
06/11         Paymentech      Deposit 6241464   CCD ID: 102040122 5                                                  400.00
06/15         Paymentech      Deposit 6241464   CCD ID: 102040122 5                                                5,540.00
06/18         Palmentec h     Dee2sit 6241464   CCD ID: 102040122 5                                                  650.00
06119         Santosh Naik Sender H1ba Entertainm CIE ID: T94168766 5
                                                                                                                   1,000.00
06/19         Paymentech      Deposit 6241464   CCD ID: 1020401225                                                   236.00
06/20         Remote Online Deposit       1                                                                       10,000.00
06/20         Deposit     957112146                                                                                5,429.00
06/20         Pa~mentech      Deposit 6241464   CCD ID: 102040122 5                                                  300.00
06/21         Remote Online Deposit       1                                                                        1,800.00
06/22         Pai'.mentech    Deposit 6241464   CCD ID: 102040122 5                                                2,650.00
06/25         Remote Online Deposit       1                                                                       10,000.00
06/25         Deposit     967009164                                                                                5,429.00
06127         Pa~mentech      Deeosit 6241464   CCD ID: 102040122 5                                                1,321.00
06128         Deposit     962788171                                                                                1,500.00
06/28         Paymentech      Deposit 6241464   CCD ID: 102040122 5                                                  660.00
06/29         Paymentech      Deposit 6241464   CCO ID: 102040122 5                                                  400.00
Total Deposits and Additions
                                                                                                                 $52,315.00
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         CHAS EO                                                             June 01, 2018through June 29, 2018
                                                                          Account Number: ~ 9 0



IATM & DEBIT CARD WITHDRAWALS!
 DATE     DESCRIPTION
                                                                                                                   AMOUNT
 06/04  Card Purchase         06/02 Expedia 7356420265741 Expedia.Com WA Card 4378                                $377.98
 06/04 Card Purchase With Pin 06/03 Pilot #1028 Buffalo TX card 4378                                                57.03
 06/05  Card Purchase         06/01 Hilton Media Grill Bar Dallas TX Card 4378                                      69.48
 06/07  Card Purchase         06/05 Autozone #3106 Carrollton TX Card 4378                                         179.97
 06/07  Card Purchase         06/06 IN *Stolz Telecom Inc 405-6322262 OK Card 4378                                 355.31
06/07   Card Purchase         06/06 Brinkster Brinkster B 480-388-3777 AZ Card 4378                                 30.06
06/08   Card Purchase With Pin 06/08 7-Eleven 33621 Wylie TX Card 4378                                               9.99
06/11   Card Purchase        06/08 Spirit Airl 48701785926 Miramar FL Card 4378                                      52.00
06/11   Card Purchase        06/10 Alamo Rent-A-Car Orlando FL Card 4378                                            95.50
06/11   Card Purchase        06/10 Doubletree Orlando Down Orlando FL Card 4378                                    148.43
06/11   Carel Purchase With Pin 06/10 Wawa Store 5153 Orlando FL Card 4378
                                                                                                                     4.56
06/11   Carel Purchase       06/1 a Dunkin #350220 Orlando FL Carel 4378                                             8.75
06/11   Card Purchase        06/10 Magic of Disney Orlando FL Card 4378                                             17.02
06/12   Carel Purchase       06/10 Spirit Airl 48701787258 Miramar FL Card 4378                                     52.00
06/13   Carel Purchase       06/12 Chevron 0210336 Carrollton TX Card 4378                                           7.18
06/13   Card Purchase With Pin 06/13 Quiktrip Richardson TX Card 4378
                                                                                                                    27.87
06/14   Card Purchase        06/13 Starbucks Store 22380 Dallas TX Card 4378                                        28.74
06/14   Card Purchase        06/13 Starbucks Store 20225 Conroe TX Carel 4378                                        6.75
06/14   Card Purchase With Pin 06/13 Buc-Ee's #26 205 lh-4 Madisonville TX Card 4378
                                                                                                                    47.32
06/15   Card Purchase        06/13 7-Eleven 33116 Dallas TX Carel 4378                                              58.93
06/15   Card Purchase        06114 Sq "Kabobi Fresh Medite Richardson TX Carel 4378                                 35.96
06/18   Carel Purchase       06/15 Waterfalls Lube An Allen TX Card 4378                                            10.00
06/18   Carel Purchase With Pin 06/16 Racetrac 93 Allen TX Card 4378
                                                                                                                    37.86
06/18   Card Purchase        06/17 Apl* ltunes.Com/BiH 866-712-TT53 CA Card 4378                                     5.40
06/25   Card Purchase        06/21 Spirit Airl 4870179648 800-7727117 FL Card 4378                               1,100.76
06/25   Card Purchase        06/22 Westin Atlanta Perimete Atlanta GA Card 4378                                     32.71
06/25   Card Purchase With Pin 06/24 Amk Field Museum Airpo Chicago IL Card 4378                                    21.99
06/27   Card Purchase        06/27 Apt* ltunes.Com/Bill 866-712-7753 CA Card 4378                                    2.15
Total ATM & Debit Card Withdrawals
                                                                                                             $2,881.70


IATM & DEBIT CARD S U M M A R Y _ ! - - - - - - - - - - - -
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                        $0.00
                          Total Card Purchases                                                              $2,881.70
                          Total Card Deposits & Credits                                                         $0.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                       $0.00
                          Total Carel Purchases                                                            $2,881.70
                          Total Card Deposits & Credits                                                        $0.00

!ELECTRONIC WITHDRAWALS!
DATE     DESCRIPTION
                                                                                                              AMOUNT
06/01    Fanners Ins    EFT Pymt           PPD 10: 1952575893                                               $2,737.00
         Ouickpay With Zelle Payment To Aaam 7197335277                                                        905.00
         Paymentech      Fee     6241464     CCO ID: 1020401225                                                   455.29
         06/18 Payment To Chase Card Ending IN 3191                                                              1,000.00
06/18    Simmons Bank· L Tel Pmts N5H7          Tel ID: 1710162300                                               2,647.42


                                                                                                 Page   2 of 4
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                       CHAS EO                                                                             June 01, 2018throughJune 29, 2018
                                                                                                        Account Number.            ~


    IELECTRONIC WITHDRAWALSl_(con_tin_ued_~_ _ _ _ _ _ _ _ _ _ __
      DATE                        DESCRIPTION                                                                                                               AMOUNT
     06/21                        06/21 Payment To Chase Card Ending IN 3191                                                                          1,500.00
     06126
     06/29
                                  Quickpay With Zelle Payment To Guy G Cannon 7262947096
                                  06/29 Domestic Wire Transfer AIC: Sahil Promotions, Inc. Chicago IL 60659-1803 Ref: For
                                                                                                                                                        300.00           ...........
                                                                                                                                                                         iiiiailE
                                                                                                                                                    100,000.00           ~
                                  Da-Bangg Concert Tm: 7224700180Es                                                                                                      iiiiiiiii
     Total Electronic Withdrawals                                                                                                                 $109,544.71            -
                                                                                                                                                                         ~
                                                                                                                                                                         ~
!OTHER WITHDRAWALSj                                                                                                                                                      ~
      DATE
     06122
                                  DESCRIPTION
                                  Deposited Item Returned
                                  ltems00001Ck#:0000009742
                                                           Altered/Fictiti099002857

                                  Date062018Ck Amt0000542900
                                                                                    Dep Amt00005429 00
                                                                                                            #of
                                                                                                             Dep
                                                                                                                                                           AMOUNT
                                                                                                                                                     $5,429.00
                                                                                                                                                                         -
                                                                                                                                                                         i iiiii
                                                                                                                                                                         -
                                                                                                                                                                         ~
                                                                                                                                                                            =
                                                                                                                Svc
                                  Fee001200
     Total Other Withdrawals                                                                                                                         $5,429.00

I     FEES                          1 - - - I-     -         -       -   -   -   -   -   -     -        -   -        -               -    -        -             -

     DATE                         DESCRIPTION                                                                                                              AMOUNT
    06/22                         Deposit Item Returned Fee: 01 Altered/Fictiti099002857                      #of                                           $12.00
                                  ltems00001Ck#:0000009742                             Dep Amt0000542900     Dep
                                  Oate062018Ck Amt0000001200                                                   Svc
                                  Fee001200
    06/29                         Domestic Wire Fee                                                                                                             35.00
    Total Fees                                                                                                                                              $47.00

IDAILY ENDING B A L A N C E I - - - - - - - - - - - - - -
    ....• __
    DATE,_,,   ,,   ________ ,_
                                     ,a•-·--··--·---·-· -   AMOUNT       DATE                 AMOUNT              DATE                                          AMOUNT
                                                                                                                ••-••-<   ••••-H,,H~'-~
                                                                                                                                          ------------   ···•
06/01                                               $100,480.19          06/12             103,061.82           06/21                                122,603.39
06/04                                                   98,684.89        06/13             103,026.77           06/22                                119,812.39
06/05                                                   98,615.41        06/14             102,943.96           06/25                                134,085.93
06/06                                                 103,115.41         06/15             108,389.07           06/26                                133,785.93
06/07                                                 103,050.07         06/18             105,338.39           06/27                                135,104.78
06/08                                                 103,040.08         06/19             106,574.39           06/28                                137,264.78
06/11                                                 103,113.82         06/20             122,303.39           06/29                                    37,629.78

j SERVICE CHARGE SUMMARY                                                         I___ ___ ___ ____
You were not charged a monthly service fee this month. Your monthly service fee can continue to be waived in
                                                                                                                five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $108,464.00. OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship balance
          was $110,726.00. OR
•         Link a qualifying personal checking account to your Chase BusinessSelect Checking account Your Premier
          Plus personal checking account is linked. OR
•         Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
•         Pay at least $50.00 in qualifying checking--related services or fees. You paid $47.00.

See your Account Rules and Regulations or stop in to see a banker today to find out more.
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       CHAS EO                                                                                       June 01, 20181hrough June 29, 2018
                                                                                                 AccountNumber:       ~


ISERVICE CHARGE SUMMARY,                                      _(c_on_tin_ued_1 _ _ _ _ _ _ _ _ _ _ __
TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                                   NUMSER OF TRANSACTIONS
Checks Paid / Debits
                                                                                                                                             32
Deposits / Credits
                                                                                                                                             15
Deposited Items
                                                                                                                                              5
Transaction Total
                                                                                                                                             52
SERVICE FEE CALCULATION
                                                                                                                                       AMOUNT
Service Fee
                                                                                                                                        $15.00
Service Fee Credit                                                                                                                     -$15.00
Net Service Fee
                                                                                                                                         $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                         $0.00
Total Service Fees
                                                                                                                                         $0.00
CASH PROCESSING
                                                                                                                                       AMOUNT
Cash Deposits Immediate Verification                                                                                                $1,500.00
Cash Deposits Post Verification/Night Drop
                                                                                                                                        $0.00
Cash Deposits Total                                                                                                                 $1,500.00
Cash Deposits Allowed
                                                                                                                                    $7,500.0~-
Excess Cash Deposits                                                                                                                    $0.00




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) Immediately if you think your statement
                                                                                                                                       or receipt iS
incorrect or if you need more information about a transfer listed oo the statement or receipt.
For personal ac.counts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which
                                                                                                                                the problem or error
appeared. Be prepared to give us the following infotmation:
        •      Your name and account number
        •      The dollar amount of the suspected error
        •      A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will Investigate your complaint and w!H correct a~ error promptlv. lfwe take more than 10 business days {or 20 business da~
accounts) to do this, we will credit your account for the amount you fhink is in error so that you will have use of the money            for new
us to complete our investigation                                                                                               during the time ii lakes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if
incorrect or if~ need more information about ~l!Y non-electronic transactions (checks or deposits}                         your statement is
                                                                                                    on this statement. rf any such error appears,
vou must notity the bank in writing no later than 30 days after the statement was made ava~able to you. For  more complete
Account Rules and Regulations or other apDlicable account agreement that governs your account. Deposit products and         details, see the
JPMorgan Chase BanK, N.A. Member FDIC                                                                                    services are offered by
                                                                                                              ·

                                                                                             ~       JPMorgan Chase Bank, N.A. Member FDIC
                                                                                               ND
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         CHASE                                                                          June 30, 2018throughJuly 31. 2018
         JPMorgan Chase Bank. NA
         PO Box 182051                                                            Account Number     ~290
         Columbus. OH 43216-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                              Website:                            Chase.com
                                                                              Service Center:                 1-800-242-7338
        00028396 DRE 201 142 21318 NNNNNNNNNNN T 1 000000000 60 0000          Deaf and Hard of Hearing:       1-800-242-7383
        HfBA ENTERTAINMENT INC                                                Para Espanol:                   1-888-622-4273       ~

        3020 BIG TOWN BlVD                                                                                                         ~




                                                                                                                                   =
                                                                              International Calls:            1-713-262-1679
        MESQUITE TX 75150-2412
                                                                                                                                   ~

                                                                                                                                   -
                                                                                                                                   .




                                                                                                                                   -
                                                                                                                                   ~




 ICHECKING SUMMARY I                          Chase BusinessSelect Checking
                                                  INSTANCES                   AMOUNT
  Beginning Balance                                                       $37,629.78
  Deposits and Additions                                  12               68,264.00
  Checks Paid                                             3               -40,745.00
  ATM & Debit Card Withdrawals                           27                -2,531.04
  Electronic Withdrawals                                  9               -34, 126.46
  Other Withdrawals                                       1               -10,000.00
  Fees                                                    5                  -145.75
  Ending Balance                                         57               $18,345.53

The monthly service fee for this account was waived because you used at leas! $50.00 in other checking services during
the statement period.


IDEPOSITS AND ADDITIONS!
 DATE          DESCRIPTION                                                                                             AMOUNT
  07102       Deposit    1796433753                                                                $7,806.00
  07/02       Remote Online Deposit                                                                 2,500.00
_0_7_/0_2_____ e!!'ote Online Deposit
               R_.                               1                                                    570.00
  07/05       Deposit     969218874                                                                20,000.00
 07/09        Card Purchase Return 07/06 C::heaptix•73640459876 Www.Ctix.lnfo WA Card 4378             58.04
 07/09        Card Purchase Return 07106 Cheaetix.73640459876 Www.Ctix.lnfo WA Card 43"78~_ _ _ _ _ _2_9_.9_6
  07116       Deposit     988478400                                                                 5,000.00
 07117        Deposit     971481737                                                                 5,000.00
_0_7_f1_8_~_D_e.._pos_lt  980029591                                                                 1,500.00
 07/19        Quickpay With Zelle PaYl'l'!E;~I From Guy G Cannon7326022985                            300.00
 07125        Deposit    1725781662                                                                 9,000.00
 07131        Deposit    1799465557                                                                16,500.00
 Total Deposits and Additions                                                                     $68,264.00
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                CHAS EO                                                                     June 30. 2018throughJuly 31, 2018
                                                                                         Account Number: ~ 9 0



      'CHECK S PAIDI
       CHECK NO.                                                                                           DATE
                           DESCRIPTION                                                                     PAID                  AMOUNT
       1045 "                                                                                             07/02              $2,100.00
       1048 ""                                                                                            07/02              35,000.00
       1049 "                                                                                             07/19               3,645.00
       Total Checks Paid
                                                                                                                           $40,745.00
       If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
       not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
       " All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
         one of your previous statements.
       " An image of this check may be available for you to view on Chase.com.


      jATM & DEBIT CARD WITHDRAWALS!
       DATE      DeSCRIPTION
                                                                                                                                 AMOUNT
        07/02 Card Purchase        06/30 Apl.. llunes.Com/Bill 800-275-2273 CA caret 4378                                         $0.99
        07/02 Recurring Card Purchase 07/01 Sprint *Wireless 800-639-6111 KS Card 4378                                           136.60
        07/05 Card Purchase With Pin 07/03 Racetrac 93 Allen TX Card 4378                                                         45.11
        07/06 Card Purchase       07/06 Cheaptbc"73640459876 Www.Ctix.lnfo WA Card 4378                                           88.00
        07/06 Card Purchase        07/06 Cheaptix*73640459876 Www.Ctix.lnfo WA Card 4378                                          29.96
        07/09 Card Purchase       07/05 United       016712057 800-932-2732 TX Card 4378                                         602.40
       07/09  Card Purchase       07/05 United       016712057 800-932-2732 TX Card 4378                                         602.40
       07/09  Card Purchase       07/06 Brinkster Brinkster B 480-388--3777 AZ. Card 4378                                         30.06
       07/09  Card Purchase       07/06 American Air00121983119 Fort Worth TX Card 4378                                          500.40
       07109  Card Purchase       07/06 American Air00106277318 Fort Worth TX Card 4378                                           35.00
       07/09  Card Purchase       07/06 Dallas FT. Worth Airpo Dfw Airport TX Card 4378                                            9.20
       07/09  Card Purchase With Pin 07/09 Racetrac 93 Allen TX card 4378
                                                                                                                                  15.59
       07/17  Card Purchase       07/17 Apl*ltunes.Com/Bill 800-275-2273 CA Card 4378                                              5.40
       07/18  Card Purchase       07/17 Alamo Rent Acar Tolls 677-8601284 NY Card 4378                                             6.20
       07/20  Card Purchase With Pin 07/20 Wm Superc Wat-Mart Sup Lucas TX Card 4378
                                                                                                                                  79.33
       07/20  Card Purchase With Pin 07/20 Wm Superc Wal-Mart Sup Lucas TX Card 4378
                                                                                                                                   1.45
       07/23  Card Purchase       07/20 Sq •Kabobi Fresh Medite Richardson TX Card 4378                                           42.45
       07/23  Card Purchase With Pin 07/21 Racetrac 93 Allen TX Card 4378                                                         17.86 v"
       07/23  Card Purchase With Pin 07/21 Quiktrip Plano TX Card 4378
       07/24  Card Purchase With Pin 07/24 Racetrac 93 Allen TX card 4378
                                                                                                                                  61.94   V
                                                                                                                                  27.87
f\     07/25  Recurring Card Purchase 07/25 Adobe *Acropro Subs 800-833--6687 CA Card 4378                                        16.23
     '07/26   Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                         13.14
       07/26  Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                         15.46
       07/26  Card Purchase With Pin 07/26 Racetrac 93 Allen TX caret 4378                                                        14.46
       07127  Card Purchase       07/27 Apl*ltunes.Com/Bill 800-275-2273 GA Card 4378                                              2.15
       07/31  Card Purchase       07/30 Apf*ltunes.Com/Bill 800-275-2273 CA Card 4378                                              0.99
       07131  Recurring Card Purchase 07/31 Sprint *Wireless 800-639-6111 KS Card 4378                                           130.40
      Total ATM & Debit Card Withdrawals                                                                                    $2,531.04


     IATM & DEBIT CARD SUMMARY!I - - - - - - - - - - - - - -
      Muhammad Siddiqi Card 4378
                               Tatar ATM Withdrawals & Debits                                                                  $0.00
                               Total Card Purchases                                                                        $2.531.04
                               Total Card Deposits & Credits                                                                  $88.00


                                                                                                                   Page 2 of 4
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              CHAS EO
                                                                                         June 30, 2 0 1 8 1 ~ ~ ~ - -
                                                                                      Account Number: ~ . a A J


     ATM & Debit Card Totals
                               Total ATM Withdrawals & Debits                                                      $0.00
                               Total Card Purchases                                                            $2,531.04
                               Total Card Deposits & Credits                                                      $88.00
                                                                                                                                      ---
                                                                                                                                      ~




                                                                                                                                      -
     !ELECTRONIC WITHDRAWALSj                                                                                                         all!!!E=
                                                                                                                                      ~
      DATc     DESCRIPTION                                                                                                            ~
                                                                                                                 AMOUNT


'\
      07/02
      07/02
              Paymentech
              Paymentech
                               Chargeback 6241464
                               Deposit 6241464
                                                         CCD ID: 1020401225
                                                      CCO 10: 1020401225
                                                                                                               $4,000.00
                                                                                                                4,000.00
                                                                                                                                      .........
                                                                                                                                      ~
      07/02   Paymentech       Fee     6241464       CCD 10: 1020401225                                           568.80              ~

      07/06   07/06 Domestic Wire Transfer Via: Tib Dallas/111010170 A/C: Grand Ridge National Bank Ref:       16,200.00              iiii5
                                                                                                                                      ~
              Fct: Vibrant Media Group LLC; Account# 0020008413 lmad: 0706B1Qgc07C001666 Trn:
              6384800186Es                                                                                                            """""""'
                                                                                                                                      ~
     07/09    Paymentech     Chargeback6241464   CCD ID: 1020401225                                             2,500.00
     07/11    Paymentech     Chargeback 6241464  CCO 10: 1020401225                                             2,650.00
     07/17    Paymentech     Chargeback 6241464  CCD ID: 1020401225                                             1,000.00
     07118    Simmons Bank - L Tel Pmts V8l7    Tel ID: 1710162300                                              2,647.42
     07/25    U.S. Bank N.A. Pa ment 000000515313653 Tel ID: 5551540853                                           560.24
     Total Electronic Withdrawals                                                                             $34,126.46

 !OTHER WITHDRAWALS!
      DATE    DESCRIPTION
     07/25    07/25 Withdrawal
                                                                                                                 AMOUNT        ..k7
                                                                                                              $10,000.00       7
     Total Other Withdrawals                                                                                  $10,000.00

 I FEES,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      DATE    DESCRIPTION                                                                                        AMOUNT
     07/06    Domestic Wire Fee                                                                                   $35.00
     07111    Insufficient Funds Fee For A $2,650.00 Item - Details: Paymentech      Chargeback 6241464            34.00
              CCD ID: 1020401225
     07/24    Official Checks Charge                                                                                8.00
     07/25    Official Checks Charge                                                                                8.00
     07/31    Cash Depasil Immediate                                                                               60.75
     Total Fees                                                                                                  $145.75


 IDAILY ENDING BALANCE I - - - - - - - - - - - - - -
     9"'IE                     ~our-.r          .. DATE __ .               AMOUNT             _D~~   -            AMQl,Jl'ff
 07/02                       $2,699.39          07/17                      8.404.87          07/24               3,667.35
 07/05                       22,654.28          07/18                      7,251.25          07/25               2,082.88
 07/06                        6,301.32          07/19                     3,906.25           07/26               2,039.82
 07/09                        2,094.27          07/20                     3,825.47           07/27               2,037.67
 07/11                           -589.73        07/23                     3,703.22           07/31              18,345.53
 07116                       4,410.27
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       CHAS EO                                                                                       June 30, 2018through July 31. 2018
                                                                                                Account Number:      ■■■■■Ir~

ISERVICE CHARGE SUMMARY I___ ___ ___ ____
TRANSACTIONS FOR SERVICE FEE CALCULATION
                                                                                                                  NUMBER OF TRANSACTIONS
Checks Paid / Debits                                                                                                                        40
Deposits I Credits
                                                                                                                                              7
Deposited Items                                                                                                                               8
Transaction Total
                                                                                                                                            55
SER\llCE FEE CALCULATION
                                                                                                                                      AMOUNT
Service Fee
                                                                                                                                        $0.00
Service Fee Credit
                                                                                                                                        $0.00
Net Service Fee
                                                                                                                                        $0.00
Excessive Transaction Fees (Above 200)
                                                                                                                                        $0.00
Total Service Fees
                                                                                                                                        $0.00
CASH PROCESSING
                                                                                                                                      AMOUNT
cash Deposits Immediate Verification                                                                                             $31,800.00
Cash Deposits Post Verification/Night Drop                                                                                            $0.00
Cash Deposits Total                                                                                                              $31,800.00
Cash Deposits Allowed                                                                                                             $7,500.00
Excess Cash Deposits                                                                                                             $24,300.00
Excess Immediate ($24,300 At $2.501$1,000}                                                                                            $60.75
Total Cash Deposit And Change Order Fees
                                                                                                                                      $60.75



IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262
                                                                                                                                or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement
                                                                                                                                       or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which
                                                                                                                               the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of why you believe it is an error. or why you need more information.
We will investigate your complaint and will correct any error prompUy. If we take more than 10 business days (or 20 business
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money      days for new
us to complete our investigation                                                                                              during the lime ii takes

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immedialelv if
incorrect or if_you need more information about any non-electronic transactions (checks or deposits) on this your statement is
YCJU must nolity the bank in writing no later than 30 days after the statement was made available to you. Forstatement. rt any such error appears,
Account Rules and                                                                                             more complete details, see the
                Regulations or other aPOllcable account agreement that governs your account. Deposit products and services are offered
JPMorgan Chase Bani<. N.A, Member FOlC                                                                                                 by


                                                                                            t1J      JPMorgan Chase Bank, N.A. Member FDIC
                          Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                       Desc
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                   CHASEO
                   JPMorgan Chase Bank. N.A.
                   PO Box 182051
                   Columbus, OH 43218-2051
                                                                                           Account Number:     ··••1150290
                                                                                             August 01, 2018throughAugust 31, 2018




                                                                                         CUSTOMER SERVICE INFORMATION
                                                                                        Website:                         Chase.com
                                                                                        Service Center:              1-800-242-7338
               000280640RE20114224418NNNNNNNNNNNT 1000000000600000                      Deaf and Hard of Hearing:    1-800-242· 7383
               HIBA ENTERTAINMENT INC                                                   Para Espanol:                1-888-622-4273         ~

               3020 BIG TOWN BLVD                                                       International Calls:                                ~
                                                                                                                     1-713--262-1679        -====
               MESQUITE TX 75150-2412
                                                                                                                                            -=
                                                                                                                                            iiiia
                                                                                                                                            ===
                                                                                                                                            ---=
                                                                                                                                            i iiii

       ICHECKING SUMMARY I                           Chase BusinessSelect Checking
                                                         INSTANCES                     AMOUNT
           Beginning Balance                                                        $18,345.53
           ATM & Debit Card Withdrawals                          1                      -30.06
           Electronic Withdrawals                                1                  -16,500.00
           Other Withdrawals                                     2                   -1,780.47
           Fees                                                  1                      -35.00
           Ending Balance                                        5



      IATM & DEBIT CARD WITHDRAWALS!
/')        DATE       DESCRIPTION                                                                                              AMOUNT
  t        08/07      Card Purchase        08/06 Brinkster Brinkster B 480-388-3777 AZ. Card 4378                              $30.06
      " Total ATM & Debit Card Withdrawals                                                                                     $30.06


       1   ATM & DEBIT CARD SUMMARY                              t - - 1- - - - - - - - - - - -




       Muhammad Siddiqi Card 4378
                                      Total ATM Withdrawals & Debits                                                            $0.00
                                      Total Card Purchases                                                                     $30.06
                                      Total Card Deposits & Credits                                                             $0.00
       ATM & Debit Card Totals
                                      Total ATM Withdrawals & Debits                                                            $0.00
                                      Total Card Purchases                                                                     $30.06
                                      Total Card Deposits & Credits                                                             $0.00

      !ELECTRONIC WITHDRAWALS!
           DATE      DESCRIPTION
           08/01     08/01 Domestic Wire Transfer Via: Tlb Dallas/111010170 A/C: Grand Ridge National Bank Ref:
                     For Further Creditr To:Vibrant Media Group LLC1069 W Golf Rdhoffman Es Tates, IL
                                                                                                                              AMOUNT
                                                                                                                           s1s.soo.oo   v
                     69169Account # 0020008413 lmad: 0801B1Qgc08C03391 7 Tm: 6686000213Es
       Total Electronic Withdrawals                                                                                        $16,500.00
                Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                          Desc
                         Exhibit L Defendants Document Production Page 112 of 333

        CHASE                                                                                    August 01, 2018through August 31, 2018
                                                                                              Account Number.     ~290



IOTHER WITHDRAWALS1-I- - - - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                                  AMOUNT
08/08     Pa     ent To Chase Card Endin IN 3191                                                                                     $500,00
08/13     Debit DDA - Check Charge                                                                                                   1,280.47
Total Other Withdrawals                                                                                                             $1,780.47

IFEES I
 DATE     DESCRIPTION                                                                                                                  AMOUNT
08/01   Domestic Wire Fee                                                                                                              $35.00
Total Fees                                                                                                                             $35.00

IDAily ENDING BALANCE, _ _ _ _ _ _ _ _ _ _ _ _ _ __
OATE                                                                 AMOUNT
08101                                                             $1,810.53
08/07                                                              1,780.47
08/08                                                              1,280.47
08/13                                                                  0.00

ISERVICE CHARGE SUMMARY I_______ _______
ffiANSACTIONS FOR SERVICE     FEE CALCULATION                                                                  NUMBER OF TRANSACTIONS
Checks Paid / Debits                                                                                                                      2
Deposits I Credits                                                                                                                        0
Deposited Items                                                                                                                           0
Transaction Total                                                                                                                         2
SERVICE FEE CALCULATION
Service Fee
Service Fee Credit
Net Service Fee                                                                                                                      $0.00
Excessive Transaction Fees (Above 200)                                                                                               $0.00_
Total Service Fees                                                                                                                   $0.00




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at lhe
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the foUowing information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •                                                           whr
               A description of the error or transfer you are unsure of,    you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompUv. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you fhink is in error so that you wm have use ofthe money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement 1s
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears.
you must notiry the bank in writing no later than 30 days after the statement was made available to you, For more cc,mplele details, see tiie
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit produds and services are offered by
JPMorgan Chase Bank, NA Member FDIC


                                                                                           0
                                                                                           LEH'imf
                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC
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                              3.
            Amended
            Schedules
                       Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                         Desc
                                Exhibit L Defendants Document Production Page 114 of 333
 Fill in this information to identify your case and this filing:

 Debtor 1                    Muhammad Nasir Siddiqi
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                     EASTERN DISTRICT OF TEXAS
                                                             ---------------------------
 Case number            19-42834                                                                                                                            D    Check if this is an
                       -----------------------
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   D No. Go to Part 2.
   ■ Yes. Where is the property?



 1.1                                                                            What is the property? Check all that apply
        6701 Haven Hurst                                                          ■    Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                  □    Condominium or cooperative
                                                                                                                                  Creditors Who Have Claims Secured by Property.

                                                                                  □
                                                                                  D    Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Allen                             TX         75002-0000                   D    Land                                       entire property?           portion you own?
        City                              State              ZIP Code             D    Investment property                               $735,000.00                 $735,000.00
                                                                                  D    Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                  D    Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                  ■ Debtor 1 only
        Collin                                                                    D    Debtor 2 only
        County                                                                    D    Debtor 1 and Debtor 2 only
                                                                                                                                  D    Check if this is community property
                                                                                  D    At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
       pages you have attached for Part 1. Write that number here ...........................................................................=>                   $735,000.00




Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                                                    Best Case Bankruptcy
                   Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc
                            Exhibit L Defendants Document Production Page 115 of 333
 Debtor 1         Muhammad Nasir Siddiqi                             Case number (if known) 19-42834
                                                                                            ------------
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   □ No
   ■ Yes

                    Ford                                                                                                      Do not deduct secured claims or exemptions. Put
  3.1    Make:                                                Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Tahoe                                     ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2016                                      D Debtor 2 only                                                 Current value of the     Current value of the
         Approximate mileage:                  20000          D Debtor 1 and Debtor 2 only                                    entire property?         portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $20,000.00                 $20,000.00
                                                                    (see instructions)



                    Ford                                                                                                      Do not deduct secured claims or exemptions. Put
  3.2    Make:                                                Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Tahoe                                     ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2016                                      D Debtor 2 only                                                 Current value of the     Current value of the
         Approximate mileage:                  20000          D Debtor 1 and Debtor 2 only                                    entire property?         portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $20,000.00                 $20,000.00
                                                                    (see instructions)



  3.3    Make:      Ford                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Super Duty                                ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2015                                      D Debtor 2 only                                                 Current value of the     Current value of the
         Approximate mileage:                  50000          D Debtor 1 and Debtor 2 only                                    entire property?         portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $30,000.00                 $30,000.00
                                                                    (see instructions)



  3.4    Make:      Lincoln                                                                                                   Do not deduct secured claims or exemptions. Put
                                                              Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:     Navigator                                 ■     Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
         Year:      2019                                      D Debtor 2 only                                                 Current value of the     Current value of the
         Approximate mileage:                  10000          D Debtor 1 and Debtor 2 only                                    entire property?         portion you own?
         Other information:                                   D At least one of the debtors and another

                                                              D Check if this is community property                                   $90,000.00                 $90,000.00
                                                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ■ No
   □ Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here .............................................................................=>               $160,000.00

          Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.



Official Form 106A/B                                                      Schedule A/B: Property                                                                          page 2
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 Debtor 1       Muhammad Nasir Siddiqi                             Case number (if known) 19-42834
                                                                                          -----------
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   □ No
    ■ Yes. Describe .....

                                    sofa (300), 3 televisiosn (1,000), 14 chairs (700), 2 love seats
                                    (1,000), dining room table (1000), 3 beds (1500), 3 drerssers
                                    (1500), 2 rugs, (500) kitchen table (500), other household items
                                    (1000)                                                                                                       $10,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    ■ No
    D Yes.     Describe .....

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
    ■ No
    D Yes.     Describe .....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
              musical instruments
    ■ No
    D Yes.     Describe .....

10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    □ No
    ■ Yes. Describe .....

                                   , 1 pistol                                                                                                       $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    □ No
    ■ Yes. Describe .....

                                   I clothes                                                                                                      $1,000.00


12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    □ No
    ■ Yes. Describe .....

                                    watch (200) , wifes jewelry (bangles (2500), rings (2500), necklaces
                                     1500 , earrin s 1000 other ·ewel     1000                                                                  $10,000.00


13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    D Yes.     Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
    ■ No
    D Yes.     Give specific information .....



Official Form 106NB                                                 Schedule NB: Property                                                               page 3
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Debtor 1          Muhammad Nasir Siddiqi                                                                                           Case number (if known)   19-42834
                                                                                                                                                            -----------


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here ............................................................................. .                                               $21,400.00




Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   ■ No
   □ Yes ................................................................................................................

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   □ No
                                                                                                Institution name:
   ■ Yes ....................... .


                                              17.1.                                             Chase bank - frozen                                                        Unknown



                                              17.2.                                             Texans Credit Union                                                           $300.00



                                              17.3.                                             Chase Accounts -wifes                                                         $300.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
   □ Yes ................. .                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
   □ No
   ■ Yes. Give specific information about them .................. .
                                                  Name of entity:                                                                   % of ownership:

                                                  Hiba Entertainment, Inc. - out of business                                             100          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    ■ No
    D Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    D Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    ■ No
    □ Yes ..................... .                                                                Institution name or individual:


Official Form 106A/B                                                                     Schedule A/B: Property                                                                   page 4
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                   Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                         Desc
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Debtor 1        Muhammad Nasir Siddiqi                                                                   Case number (if known)      19-42834
                                                                                                                                     -----------
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   ■ No
   □ Yes ............ .        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
   ■ No
   D Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   ■ No
   D Yes.     Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ■ No
   D Yes.     Give specific information about them ...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ■ No
   D Yes.     Give specific information about them ...

Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ■ No
   D Yes. Give specific information about them, including whether you already filed the returns and the tax years ...... .

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ■ No
   D Yes. Give specific information ......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
    ■ No
   D Yes.     Give specific information ..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    ■ No
   D Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                           Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    ■ No
    D Yes.     Give specific information ..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ■ No
    D Yes.     Describe each claim ........ .



Official Form 106A/B                                               Schedule A/B: Property                                                                  page 5
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                        Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                  Desc
                                 Exhibit L Defendants Document Production Page 119 of 333
    Debtor 1         Muhammad Nasir Siddiqi                                                                                                Case number (if known)   19-42834
                                                                                                                                                                    -----------

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       ■ No
       D Yes.       Describe each claim ........ .

35. Any financial assets you did not already list
       ■ No
       D Yes.      Give specific information ..


    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here .....................................................................................................................                   $600.00

               Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      ■ No. Go to Part 6.
      D Yes.     Go to line 38.



               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          ■ No.Go to Part 7.
          D Yes.     Go to line 47.



                     Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       ■ No
       D   Yes. Give specific information ........ .


    54. Add the dollar value of all of your entries from Part 7. Write that number here                                                                                               $0.00


-                   List the Totals of Each Part of this Form

    55. Part 1: Total real estate, line 2 ......................................................................................................................                 $735,000.00
    56. Part 2: Total vehicles, line 5                                                                         $160,000.00
    57. Part 3: Total personal and household items, line 15                                                      $21,400.00
    58. Part 4: Total financial assets, line 36                                                                       $600.00
    59. Part 5: Total business-related property, line 45                                                                  $0.00
    60. Part 6: Total farm- and fishing-related property, line 52                                                         $0.00
    61. Part 7: Total other property not listed, line 54                                             +                    $0.00

    62. Total personal property. Add lines 56 through 61 ...                                                    $182,000.00              Copy personal property total            $182,000.00

    63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $917,000.00




Official Form 106A/B                                                                  Schedule A/B: Property                                                                               page 6
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                4.
            Car Titles
                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                      Desc
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              Upon sale of this vehicle, the purchaser must apply for a new title within 30 days unless the vehicle is
              purchased by a dealer. Until a new title is Issued, the vehicle record will continue to reflect the owner's




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    To contact SUNTRUST BANK                                 about this account, call 972-270-5441             This contract is
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    Texas 78705-4207; (BOO) 538-1579;www.occcstale.tx.us, and can be contacted relative to any Inquiries or complaints.


   The Annual Percentage Rate may be negot;sble 'Mth the Seller. The Seller may assign this contract
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         Exhibit L Defendants Document Production Page 124 of 333




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         Exhibit L Defendants Document Production Page 125 of 333
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
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        6.
Final Judgement
  in the Ropal
   Lawsuite
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                         Desc
         Exhibit L Defendants Document Production Page 129 of 333




                                           Cause No. DC-18-09276


ROPAL ENTERTAINMENT, LLC,                                §             IN THE DISTRICT COURT
                                                         §
Plaintiff,                                               §
                                                         §
V.                                                       §
                                                         §
HIBA ENTERTAINMENT, INC,                                 §             DALLASCOUNTY,TEXAS
MOHAMMAD NASIR SIDDIQI, and                              §
AZHAR QASMI,                                             §
                                                         §
Defendants.                                              §             193 rd JUDICIAL DISTRICT


                      FINAL JUDGMENT ON AWARD OF ARBITRATOR


        On     ~1                ,   2019, the Court held a hearing on the Application for Order

Confirming Award of Arbitrator and Final Judgment filed by Ropal Entertainment, LLC. Counsel

for Ropal Entertainment appeared in person; Hiba Entertainment, Inc. appeared/did not appear

through counsel; Mohammad Nasir Siddiqi appeared/did not appear in person or through counsel;

and Azhar Qasmi appeared/did not appear in person or through counsel. Upon consideration of the

Application and the arguments of counsel, the Court granted the Application, and entered an Order

Confirming Award of Arbitrator. Based on that Application and Order, the Court makes and enters

this Final Judgment.

        It is ORDERED, ADJUDGED AND DECREED that Ropal Entertainment, LLC, shall

recover of and from Hiba Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly

and severally, the sum of $375,000.00.

FINAL JUDGMENT ON A WARD OF ARBITRATOR ~ Page l
Rapa/ Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
Dallas County, Texas
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                         Desc
         Exhibit L Defendants Document Production Page 130 of 333




         It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

Entertainment, Inc. and Azhar Qasmi, jointly and severally, the additional sum of $37,500.00.

         It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the sum

of $94,516.50, for attorney's fees incurred through entry of the Final Award of Arbitrator.

         It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the sum

of $18,250.00 in administrative fees and costs and Arbitrator compensation incurred in the

arbitration.

         It is further ORDERED that Ropal Entertainment, LLC, shall recover of and from Hiba

Entertainment, Inc., Mohammad Nasir Siddiqi, and Azhar Qasmi, jointly and severally, the

additional sum of $307.00, as costs expended or incurred in connection with this Application for

Final Judgment Confirming Award of Arbitrator, as provided by CPRC §171.092.

        It is further ORDERED that all amounts awarded by this Final Judgment shall bear post-

judgment interest at the rate of 5% per annum from the date this Final Judgment is signed until the

date the amounts awarded hereby are paid in full.

        It is further ORDERED that all writs and processes necessary for the collection or

enforcement of the Award of Arbitrator and this Final Judgment Confirming Award of Arbitrator

shall issue as are necessary.

        This is a final judgment intended to dispose of all issues between all parties. All relief

requested by any party which is not specifically granted by this Final Judgment is specifically
FINAL JUDGMENT ON AW ARD OF ARBITRATOR - Page 2
Rapa! Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
Dallas County, Texas
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    denied. This Final Judgment is appealable.




             Signed-..p:... ::\M.~1_,, 2019.                   D"Z-----
                                                          Honorable Judge Presiding




    FINAL JUDGMENT ON A WARD OF ARBITRATOR - Page 3
    Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
    Dallas County, Texas
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      7.
Divorce Decree
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                                          NO. 10-09628

  IN THE MATTER OF                                  *        IN THE DISTRICT COURT
  THE MARRIAGE OF

  JAMELA SIDDIQI                                    *        OF DALLAS COUNTY TEXAS
  AND

  MUHAMMAD N. SIDDIQI                               *        303 rd JUDICIAL         DISTRICT



                                FINAL DECREE OF DIVORCE

         On this day, this matter came on to be heard.

         Petitioner, JAMELA SIDDIQI, appeared in person and by attorney, and

 announced ready.

         Respondent, MUHAMMAD N. SIDDIQI, waived issuance of citation by waiver

 duly filed and has indicated his agreement to the terms of this decree, to the extent

 permitted by law, through his signature at the end of this decree.

         The record of testimony was duly reported by the Court Reporter of the .) 0            5 r j_
District Court.

        The Court finds that the pleadings of the parties are in due form and contain all

the allegations, information, and prerequisites required by law. The Court, after receiving

evidence, finds that it has jurisdiction over this cause of action and the parties and that at

least 60 days have elapsed since the date this suit was filed.            The Court finds that
Petitioner has been a domiciliary of this state for at least a six-month period preceding the

filing of this action and a resident of the county in which this suit is filed for at least a 90-

day period preceding the filing of this action.         All persons entitled to citation were
properly cited.
                                                I
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           A jury was waived, and all questions of fact and of law were submitted to the

 Court.

           It is ORDERED AND DECREED that JAMELA SIDDIQI, Petitioner, and

 MUHAMMAD N. SIDDIQI, Respondent, are divorced and that the marriage between

 them is dissolved.

          The Court finds that there is no child of this marriage and that none is expected.

                           DIVISION OF COMMUNITY ESTATE

          The Court finds that the following is a just and right division of the parties'

marital estate, having due regard for the rights of each party.

          It is ORDERED AND DECREED that the estate of the parties is divided as

follows:

          Petitioner is awarded the following as Petitioner's sole and separate property, and

Respondent is divested of all right, title, interest, and claim in and to such property:

          The following real property, including but not limited to escrow funds,
          prepaid insurance, utility deposits, keys, house plans, warranties and
          service contracts, and title and closing documents: house and lot at 14411
          Tanglewood Drive, Farmers Branch, Texas 75234, and more particularly
          described as Lot 14, Block 3, of Brookhaven Hills Addition, an Addition
          to the City of Farmers Branch, Dallas County, Texas, according to the Plat
          thereof recorded in Volume 51, Page 207, of the Map Records of Dallas
          County, Texas.

          All household furniture, furnishings, fixtures, goods, appliances, and
          equipment in the possession of or subject to Petitioner's sole control.

          All clothing, jewelry, and other personal effects in the possession of or
          subject to Petitioner's sole control.

       Any and all sums of cash in the possession or subject to the sole control of
       Petitioner, including money on account in banks, savings institutions, or
       other financial institutions, which accounts stand in Petitioner's sole name
       or from which Petitioner has the sole right to withdraw funds or which are
       subject to Petitioner's sole control.
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         Any and all sums, whether matured or unmatured, accrued or unaccrued,
         vested or otherwise, together with all increases thereof, the proceeds
         therefrom, and any other rights related to any profit-sharing plan,
         retirement plan, pension plan, employee stock option plan, employee
         savings plan, accrued unpaid bonuses, or other benefit program existing by
         reason of Petitioner's past, present or future employment.

        Any and all individual retirement accounts, simplified employee pensions,
        annuities, and variable annuity life insurance benefits in Petitioner's name.

        All brokerage accounts, stocks, bonds, mutual funds, and securities
        registered in Petitioner's name, together with all dividends, splits, and
        other rights and privileges in connection with them.

        Any and all benefits arising out of union memberships in Petitioner's
        name.

        Any and all policies of life insurance insuring Petitioner's life.

        Respondent is awarded the following as Respondent's sole and separate property,

 and Petitioner is hereby divested of all right, title, interest, and claim in and to such

 property:

        The following real property, including but not limited to escrow funds,
        prepaid insurance, utility deposits, keys, house plans, warranties and
        service contracts, and title and closing documents: house and lot at 1109
        Lak:estream Drive, Plano, Texas 75075, and being more particularly
        described as BEING Lot 3, in Block B, of CREEKBEND ESTATES,
        PHASE 1, an addition to the City of Plano, Collin County, Texas,
        according to the Map thereof recorded in Volume H, page 24 7, of the Map
        Records of Collin County, Texas.

        All household furniture, furnishings, fixtures, goods, appliances, and
        equipment in the possession of or subject to Respondent's sole control.

        All clothing, jewelry, and other personal effects in the possession of or
        subject to Respondent's sole control.

       Any and all sums of cash in the possession or subject to the sole control of
       Respondent, including money on account in banks, savings institutions, or
       other financial institutions, which accounts stand in Respondent's sole
       name or from which Respondent has the sole right to withdraw funds or
       which are subject to Respondent's sole control.

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        Any and all sums, whether matured or unmatured, accrued or unaccrued,
        vested or otherwise, together with all increases thereof, the proceeds
        therefrom, and any other rights related to any profit-sharing plan,
        retirement plan, pension plan, employee stock option plan, employee
        savings plan, accrued unpaid bonuses, or other benefit program existing by
        reason of Respondent's past, present or future employment.

        Any and all individual retirement accounts, simplified employee pensions,
        annuities, and variable annuity life insurance benefits in Respondent's
        name.

        All brokerage accounts, stocks, bonds, mutual funds, and secunties
        registered in Respondent's name, together with all dividends, splits, and
        other rights and privileges in connection with them.

        Any and all benefits arising out of union memberships in Respondent's
        name.

        Any and all policies of life insurance insuring the life of Respondent.

        The Respondent's motor vehicle together with all prepaid insurance, keys
        and title documents.

        It is further ORDERED AND DECREED that Petitioner and Respondent, and

each of them, execute any and all documents necessary and proper to fulfill the division

of property above awarded, and further have any writs, executions and process, as many

and as often as necessary, to fulfill the provisions of this Decree.

       It is ORDERED AND DECREED that Petitioner shall pay, as a part of the

division of the estate of the parties, the following debts and obligations and shall

indemnify and hold Respondent and Respondent's property harmless from any failure

to do so and discharge these debts and obligations:

       The balance due, incJuding principal, interest, tax, and insurance escrow,
       on that certain promissory note, dated April 19, 2002, executed by
       Muhammad Siddiqi, payable to SEBRING CAPITAL CORPORATION,
       and secured by deed of trust on the real property herein awarded to
       Petitioner and recorded in the Deed of Trust records of Dallas County,
       Texas.

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         Any and all debts, charges, liabilities, and other obligations standing
         solely in Petitioner's name and those incurred solely by Petitioner from
         and after October 1, 2007, unless express provision is made in this decree
         to the contrary.

         All encumbrances, ad valorem taxes, liens, assessments, or other charges
         due or to become due on the real and personal property awarded to
         Petitioner in this decree unless express provision is made herein to the
         contrary.

         It is ORDERED AND DECREED that Respondent shall pay, as a part of the

 division of the estate of the parties, the following debts and obligations and shall

 indemnify and hold Petitioner and Petitioner's property harmless from any failure to do

 so and discharge these debts and obligations:

        The balance due, including principal, interest, tax, and insurance escrow,
        on that certain promissory note, dated August 7, 2008, executed by Jamela
        Siddiqi and spouse Muhammad Siddiqi, payable to WACHOVIA
        MORTGAGE, FSB, in the original principal amount of$218,250.00, and
        secured by deed of trust on the real property herein awarded to
        Respondent and recorded in the Deed of Trust records of Collin County,
        Texas.

        Any and all debts, charges, liabilities and other obligations standing solely
        in Respondent's incurred solely by Respondent from and after October 1,
        2007 unless express provision is made in this decree to the contrary.

        All encumbrances, ad valorem taxes, liens, assessments, or other charges
        due or to become due on the real and personal property awarded to
        Respondent in this decree unless express provision is made herein to the
        contrary.

        It is further ORDERED AND DECREED that each party shall keep and preserve

 for a period of four years from the date of divorce all financial records relating to the

 community estate, and each party is ORDERED AND DECREED to allow the other

party access to these records in the event of any tax audits.




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         It is ORDERED AND DECREED that each party shall furnish to the other party
  all financial records relating to acquisition dates, basis, and recapture information
 concerning property in which the community has had an interest.
         It is ORDERED AND DECREED, as a part of the division of the estate of the

 parties, that any community property or its value not otherwise awarded by this decree is

 subject to future division as provided by the Texas Family Code.

         It is further ORDERED AND DECREED, as a part of the division of the estate of

 the parties, that any community liability not expressly assumed by a party under this

 decree is to be paid by the party incurring the liability.

         It is ORDERED AND DECREED that each party shall send to the other party

 within five days of its receipt, a copy of any correspondence from a creditor or taxing

 authority concerning any potential liability of the other party.

        This decree shall serve as a muniment of title to transfer ownership of all

 property awarded to any party in this decree.

        It is ORDERED AND DECREED that the following property is confirmed as

 Petitioner's separate property and estate:      real property located at I 917 Crosby Road,

 Carrollton, Texas 75006, 2000 Ford Explorer, and the business known as "EAGLE

PROTECTIVE GROUP DBA EAGLE PROTECTIVE GROUP, INC.," including but not

limited to all furniture, fixtures, machinery, equipment, inventory, cash, receivables,

contracts, accounts, goods, and supplies; all personal property used in connection with

the operation of the business; and all rights and privileges, past, present, or future, arising

out of or in connection with the operation of the business.

        It is ORDERED AND DECREED that Petitioner's name is restored to JAMELA

MOONAN.
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         Each party is ORDERED to be solely responsible for and pay all attorney's fees

 incurred by that party in this cause.

         Costs of Court are to be borne by the party by whom incurred.

        Without affecting the finality of this Decree of Divorce, this Court expressly

 reserves the right to make orders necessary to clarify and enforce this decree.

        It is ORDERED AND DECREED that all relief requested in this cause and not



        SIGNED on    n
 expressly granted is denied.

                                   '2, ,;,        , 2010.




                                                      JUDGE PRESIDING



 APPROVED AS TO FORM ONLY:


 AA'.&"< J l ~
 MARIAN. STEI~GER
SBN: 19126450
Attorney for Petitioner



APPROVED AS TO BOTH FORM AND SUBSTANCE:


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'- ~IDDI~etitione r



~ sIDDiQ1,                      Respondent




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       8.
Ba nk Statements
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         Exhibit L Defendants
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                                                        New Balance
                                                                                           CHASE ULTIMATE REWARDS ®
     SMTWTFS                                            $16,162.34
                                                        Minimum Payment Due
                                                                                           SUMMARY
     29   30      1          2   3        4      5                                          Pnwloull points llllanc!t· ..•· ·.
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     ■ 21        22       23     24       25     26                                                                                                                    6,800
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  Late Payment Warning: If we do not receive your minimum
  payment by the due date, you may have to pay up to a $39 late fee.
  Minimum Paymm1t Warning: Enroll in Auto-Pay and avoid missing
  a payment. To enroll, call lhe number on the back of your card or go
  to the web site listed above.



  ACCOUNT SUMMARY
  AccountNlllllllw: - 1 1 9 1
  Prevlou, Balance                    •        ·. ..                  $14,71J.TT
 Paymen~ Crecllta ..                                                            $0.00
  Purch~s         ·•·····.
                                                                     ·+$1,217.54
 Cash Adi/a~~ .••                                                               $1).00
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 Fees Charged                                                             +$39.00
 lnte1'91!1 ptuug8!I ·•                                                 ~
 NewBlllnce                                                           $18,112.34
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 Available Credit                                                               $0
 Cash.Aooesa Une                                                           $:i,200
 Av~lor.~·.                                                                        $0
  Paet Due Amount
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                                                                         $182.34




 YOUR ACCOUNT MESSAGE S
 You are over your credit linEll'credlt access line by $162.34. You can pay down your balance faster by Including this amount with
                                                                                                                                   your
 payment.




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  WILMINGTON, DE 19850-5123
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                                                       amount of $339.00 Is
                                                                                         Payment Due Date:
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                HIBA ENTERTAINMENT INC
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                MESQUITE TX 75150-2412
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           CHASEO                                                                 October 23, 2019through November 19, 2019
           JPMorgan Chase Bank, NA
           PO Box 182051                                                          Account Number:   -1773
           Columbus, OH 43218-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                        Chase.com
                                                                               Service Center:              1-800-935-9935
        00004032 DRE 201 142 32419 NNNNNNNNNNN T 3 000000000 35 0000           Deaf and Hard of Hearing:    1-800-242-7383
        MUHAMMAD N SIDDIQI                                                     Para Espanol:                1-877-312-4273
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        3020 BIGTOWN BLVD
        MESQUITE TX 75150-2412
                                                                               International Calls:         1-713-262-1679
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We want to remind you about the overdraft service options that are available for your personal
checking account(s)

We've included information on the last page of this statement to remind you of our overdraft services and associated fees.
You can find more information about these services and ways to avoid overdraft fees at chase.com/overdraft-services.

If you have questions, please call us at the number on your statement.


I   CHECKING SUMMARY 1_ch_a_se_P_r_em_i_er_P_lu_s_C_he_c_kin_g_ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                                              AMOUNT
    Beginning Balance                                                       -$291.59
    Deposits and Additions                                                    325.59
    Fees                                                                       -34.00
    Ending Balance                                                              $0.00

    Annual Percentage Yield Earned This Period                                0.00%
    Interest Paid Year-to-Date                                                 $0.17


IDEPOSITS AND ADDITIONS!
DATE            DESCRIPTION                                                                                              AMOUNT
11/19           Overdraft Write-Off Please Contact Bank                                                                  $325.59
Total Deposits and Additions                                                                                             $325.59


1FEES 11---------- ----------
    DATE     DESCRIPTION                                                                                                 AMOUNT
11/05        Returned Item Fee For An Unpaid $199.00 Item - Details: Nfm        Payment                                   $34.00
             PPD ID: 1490000027
Total Fees                                                                                                                $34.00




                                                                                                           Page 1 of 4
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       CHASEO                                                                                  October 23, 2019through November 19, 2019
                                                                                               Account Number:                             1773



!OVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                          Total for                      Total
                                                                                                       This Period                Year-to-date
Total Overdraft Fees*                                                                                         $.00                         $476.00
Total Returned Item Fees                                                                                    $34.00                         $680.00
* Total Overdraft Fees includes Insufficient Funds Fees. and Extended Overdraft Fees




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, wh'( you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. ff any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, N.A. Member FDIC


                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




                                                                                                                             Page 2 of 4
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      CHASEO                                                                            October 23, 2019through November 19, 2019
                                                                                        Account Number:    -1773




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
                                                                                                                                         ===
                                                                                                                                         ===
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:                                                                                        -===
                                                                                                                                        -
         1.   We have standard overdraft practices that come with your account.
         2.   We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
              than our standard overdraft practices. You can contact us to learn more.
                                                                                                                                        =-
                                                                                                                                        ~




This notice explains our standard overdraft practices.


              What are the standard overdraft practices that come with my account?
              We do authorize and pay overdrafts for the following types of transactions:
                   •   Checks and other transactions made using your checking account number
                   •   Recurring debit card transactions


               We do not authorize and pay overdrafts for the following types of transactions, unless you ask us to
               (see below):
               •        Everyday debit card transactions


               We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
               any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


               What fees will I be charged if Chase pays my overdraft?
               Under our standard overdraft practices:
               •       If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                       account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
               •       We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


              We waive fees for some account types:

                       For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                       iterns(s) are presented or withdrawal request(s) are made against an account with insufficient funds on four
                       or fewer business days in the past 12 months.

                       For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


              What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
              If you or a joint account owner would like to change your selection, sign in to chase.corn to update your account
              settings, or call us at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a Chase branch.
              We accept operator relay calls.




                                                                                                                   Page 3 of 4
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CHASEO                                                      October 23, 2019through November 19, 2019
                                                            Account Number:                        1773




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         CHASEO                                                                    September 24, 2019through October 22, 2019
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                    Primary Account: ■■■■■11773
      Columbus, OH 43218- 2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Web site:                          Chase.com
                                                                                Service Center:               1-800-935-9935
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     MUHAMMAD N SIDDIQI                                                         Para Espanol:                 1-877-312-4273              ~
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     3020 BIGTOWN BLVD                                                          International Calls:          1-713-262-1679              ~
     MESQUITE TX 75150-2412                                                                                                               ~
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Good news I We're making it easier to get a replacement account number if your account is
compromised.
Starting November 17, 2019, if your account is compromised, we can simply issue you a replacement account number
without the hassle of closing your existing account and opening a new one. This will allow you to continue using your existing
debit card.

We've updated our Deposit Account Agreement to explain this change:

         We can assign and transfer your account information and documentation to a replacement account number at our
         discretion. We may make this assignment when your account is reported compromised by you or any signer. If we
         issue you a replacement account number, this Deposit Account Agreement governing you and your account will
         continue to apply, without interruption, as if you retained the discontinued account number.

Please call us at the number at the top of this statement if you have any questions.




 ASSETS
 Checking & Savings                                            ACCOUNT                       BEGINNING BALANCE        ENDING BALANCE
                                                                                                    THIS PERIOD           THIS PERIOD
 Chase Premier Plus Checking                                                                            -$62.59              -$291.59
 Chase Plus Savings                                                                                       32.60                   32.60
 Total                                                                                                   -$29.99             -$258.99


 TOTAL ASSETS                                                                                           -$29.99              -$258.99




                                                                                                             Page 1 of 4
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                         Exhibit L Defendants Document Production Page 148 of 333
        CHASEO                                                                  September 24, 2019through October 22, 2019
                                                                                   Primary Account:~1773




                                                                                                                             773



ICHECKING SUMMARY I
                                                                             AMOUNT
 Beginning Balance                                                           -$62.59
 Fees                                                                        -229.00
 Ending Balance                                                             -$291.59

 Annual Percentage Yield Earned This Period                                  0.00%
 Interest Paid Year-to-Date                                                   $0.17


I FEES I
 DATE    DESCRIPTION                                                                                                     AMOUNT
09/26    Returned Item Fee For An Unpaid $373.04 Item - Details: Grayson-Collin Elec Paymt                                $34.00
         PPD ID: 1750300645
10/03    Returned Item Fee For An Unpaid $199.00 Item - Details: Nfm         Payment                                       34.00
         PPD ID: 1490000027
10/07    Returned Item Fee For An Unpaid $439.00 Item - Details: Discover      Payments 5319                               34.00
         WeblD:3510020270
10/16    Returned Item Fee For An Unpaid $47.85 Item - Details: Atmos Energy Rcr UTIL Pymt                                 34.00
         PPD ID: 9000000091
10/17    Returned Item Fee For An Unpaid $86.97 Item - Details: Citi Autopay Retry Pymt                                    34.00
         083090547222778 Tel ID: Citicardap
10/21    Returned Item Fee For An Unpaid $500.00 Item - Details: American Express Retry Pymt                               34.00
         PPD ID: 9493560001
10/22    Monthly Service Fee                                                                                               25.00
Total Fees                                                                                                               $229.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
    statement period.
    (Your average qualifying deposit and investment balance was -$114.00)

   Talk to a banker about transferring your balances to Chase today!

    OR. authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
    (You do not have a qualifying Chase mortgage)

    Talk to   a banker about a Chase mortgage!
Stop in today and explore all Chase has to offer.




                                                                                                           Page 2 of 4
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       CHASEO                                                                                    September 24, 2019through October 22, 2019
                                                                                                         Primary Account:                  1773




jOVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                                                                         =
                                                                                                                                                         ==-a

                                                                                                                                                         ===
                                                                                                                                                         ====
Total Overdraft Fees*
Total Returned Item Fees
                                                                                                                  Total for
                                                                                                               This Period
                                                                                                                     $.00
                                                                                                                  $204.00
                                                                                                                                            Total
                                                                                                                                     Year-to-date
                                                                                                                                               $476.00
                                                                                                                                               $646.00
                                                                                                                                                         =
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees
                                                                                                                                                         -
                                                                                                                                                         ~
                                                                                                                                                         =====




   SAVINGS SUMMARY
                                                                                          AMOUNT
 Beginning Balance                                                                         $32.60
 Ending Balance                                                                            $32.60

 Annual Percentage Yield Earned This Period                                                0.00%
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. ff any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC

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                                                                                                              JPMorgan Chase Bank, N.A. Member FDIC
                                                                                             LENDER




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CHASEO                                                      September 24, 2019through October 22, 2019
                                                              Primary   Account: ■■■■■11773




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            CHASEO                                                              August 22, 2019through September 23, 2019
         JPMorgan Chase Bank, N.A.
         PO Box 182051                                                                Primary Account: ■■■■■ 773
         Columbus, OH 43218- 2051

                                                                              CUSTOMER SERVICE INFORMATION
                                                                              Web site:                         Chase.com
                                                                              Service Center:              1-800-935-9935
        00001036 DRE 201142 26719 NNNNNNNNNNN T 1 000000000 35 0000           Deaf and Hard of Hearing:    1-800-242-7383
        MUHAMMAD N SIDDIQI                                                    Para Espanol:                1-877-312-4273              .............
        3020 BIGTOWN BLVD
        MESQUITE TX 75150-2412
                                                                              International Calls:         1-713-262-1679
                                                                                                                                       =
                                                                                                                                       ~




                                                                                                                                       -
                                                                                                                                       -=

    ASSETS
    Checking & Savings                                           ACCOUNT                   BEGINNING BALANCE       ENDING BALANCE
                                                                                                  THIS PERIOD           THIS PERIOD
    Chase Premier Plus Checking                                                                    $1,846.16                -$62.59
    Chase Plus Savings                                                                                 32.60                   32.60
    Total                                                                                          $1,878.76                -$29.99


    TOTAL ASSETS                                                                                   $1,878.76                -$29.99




                                                                                                                            773


I   CHECKING SUMMARY                       1 - I- - - - - - - - - - - - - - -


                                                                             AMOUNT
    Beginning Balance                                                      $1,846.16
    Deposits and Additions                                                  9,182.77
    Checks Paid                                                              -100.00
    Electronic Withdrawals                                                 -8,564.75
    Other Withdrawals                                                      -2,129.77
    Fees                                                                     -297.00
    Ending Balance                                                           -$62.59

    Annual Percentage Yield Earned This Period                               0.01%
    Interest Paid This Period                                                 $0.01
    Interest Paid Year-to-Date                                                $0.17




                                                                                                          Page 1 of 4
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            CHASEO                                                                     August 22, 2019through September 23, 2019
                                                                                         Primary Account:                  1773




IDEPOSITS AND ADDITIONS!
    DATE           DESCRIPTION                                                                                                 AMOUNT
    08/22          Eagle Protective Direct Dep           PPD ID: 9111111101                                               $2,641.38
    08/26          ATM Check Deposit        08/24 819 S Allen Heights DR Allen TX Card 3110                                3,400.00
    08/26          ATM Cash Deposit        08/24 819 S Allen Heights DR Allen TX Card 3110                                   500.00
    09/05          Eagle Protective Direct Dep           PPD ID: 9111111101                                                2,641.38
    09/23          Interest Payment                                                                                            0.01
    Total Deposits and Additions                                                                                          $9,182.77


ICHECKS PAID I
                                                                                                        DATE
    CHECK NO.                DESCRIPTION                                                                PAID                   AMOUNT
    1576    A                                                                                           08/22                  $100.00
    Total Checks Paid                                                                                                          $100.00
    If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    11 An image of this check may be available for you to view on Chase.com.




!ELECTRONIC WITHDRAWALS!
     DATE       DESCRIPTION                                                                                                    AMOUNT
    08/26       Affiliated Bank 1 Time Oft 0073249344   Web ID: 9Redep                                                    $7,818.19
    08/26       Grayson-Collin Elec Paymt            PPD ID: 1750300645                                                      297.61
    08/26       Paypal         Inst Xfer Benbarrick Web ID: Paypalsi77                                                         7.95
    09/03       Discover        E-Payment 5319        Web ID: 2510020270                                                     441.00
    Total Electronic Withdrawals                                                                                          $8,564.75


!OTHER WITHDRAWALS!
    DATE        DESCRIPTION                                                                                                    AMOUNT
    09/09       Coal-29Aug 19-1376                                                                                        $2,129.77
    Total Other Withdrawals                                                                                               $2,129.77


I    FEES         1 - - I-   -     -       -   -   -     -     -     -     -     -      -     -     -       -    -       -       -



    DATE        DESCRIPTION                                                                                                    AMOUNT
    08/30       Returned Item Fee For An Unpaid $3,846.07 Item - Details: Affiliated Bank 1 Time Oft                            $34.00
                0073249344       Web ID:9Redep
    09/03       Insufficient Funds Fee For A $441.00 Item - Details: Discover      E-Payment 5319                                34.00
                WeblD:2510020270
    09/09       Returned Item Fee For An Unpaid $32.10 Item - Details: Atmos Energy Rcr UTIL Pymt                                34.00
                PPDID:9000000091
    09/09       Returned Item Fee For An Unpaid $21.00 Item - Details: Coserv Od Cw Aw Bill Pay                                  34.00
                12091550611      Web ID: 7529027011
    09/11       Returned Item Fee For An Unpaid $89.14 Item - Details: Citi Autopay Payment                                      34.00
                083064627280546 Tel ID: Citicardap
    09/16       Returned Item Fee For An Unpaid $500.00 Item - Details: American Express ACH Pmt                                 34.00
                PPD ID: 9493560001




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         CHASEO                                                                           August 22, 2019through September 23, 2019
                                                                                               Primary Account                1773




  FEES       I(continued)
                                                                                                                                            ~
                                                                                                                                            ~
 DATE
 09/17
          DESCRIPTION
          Returned Item Fee For An Unpaid $39.95 Item - Details: Nafmd     Phonecheck
                                                                                                                                  AMOUNT
                                                                                                                                    34.00
                                                                                                                                            ==
                                                                                                                                            =
          Tel ID: 3383693141                                                                                                                ~
                                                                                                                                            iiiiiii
 09/23
 09/23
          Returned Item Fee For An Unpaid Check #1228 IN The Amount of $35.19
          Monthly Service Fee
                                                                                                                                    34.00
                                                                                                                                    25.00   -
                                                                                                                                            ~

Total Fees                                                                                                                        $297.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?
                                                                                                                                            ~
A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $929.00)

    Talk to a banker about transferring your balances to Chase today!

     OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYJ
                                                                                                      Total for                Total
                                                                                                   This Period          Year-to-date
Total Overdraft Fees*                                                                                  $34.00               $476.00
Total Returned Item Fees                                                                              $238.00               $442.00

• Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




   SAVINGS SUMMARY
                                                                                       AMOUNT
 Beginning Balance                                                                     $32.60
 Ending Balance                                                                        $32.60

 Annual Percentage Yield Earned This Period                                            0.00%
 Interest Paid Year-to-Date                                                            $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.



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      CHASEO                                                                                   August 22, 2019through September 23, 2019
                                                                                                  Primary Accoun                           773


You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDIC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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         CHASEO                                                                            July 23, 2019throughAugust 21, 2019
        JPMorgan Chase Bank, N.A.
        PO Box 182051                                                                      Primary Account:■■■■-1773
        Columbus, OH 43218-2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                           Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001062 DRE 20114223419 NNNNNNNNNNN T 100000000035 0000                      Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD                                                             International Calls:            1-713-262-1679
     MESQUITE TX 75150-2412




 ASSETS
 Checking & Savings                                           ACCOUNT                            BEGINNING BALANCE         ENDING BALANCE
                                                                                                        THIS PERIOD            THIS PERIOD
 Chase Premier Plus Checking                                      1773                                     $1,499.43             $1,846.16
 Chase Plus Savings                                                                                            32.60                   32.60
 Total                                                                                                     $1,532.03             $1,878.76


 TOTAL ASSETS                                                                                              $1,532.03             $1,878.76




                                                                                                                                   773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,499.43
 Deposits and Additions                                                      20,282.77
 Checks Paid                                                                  -1,899.34
 ATM & Debit Card Withdrawals                                                 -2,306.46
 Electronic Withdrawals                                                     -15,229.24
 Fees                                                                             -501.00
 Ending Balance                                                              $1,846.16

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                         $0.01
 Interest Paid Year-to-Date                                                        $0.16

Your account ending in 5037 is linked to this account for overdraft protection.




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        CHASEO                                                                        July 23, 2019throughAugust 21, 2019
                                                                                     Primary Account                   1773




IDEPOSITS AND ADDITIONS!
 DATE               DESCRIPTION                                                                                             AMOUNT
07/25               Eagle Protective Direct Dep        PPD ID: 9111111101                                             $2,641.38
08/02               Remote Online Deposit         1                                                                    5,000.00
08/08               Remote Online Deposit         1                                                                    5,000.00
08/08               Eagle Protective Direct Dep        PPD ID: 9111111101                                              2,641.38
08/19               Remote Online Deposit         1                                                                    5,000.00
08/21               Interest Payment                                                                                       0.01
Total Deposits and Additions                                                                                        $20,282.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.                 DESCRIPTION                                                               PAID                    AMOUNT
916    11                                                                                           08/13                  $500.00
1136    *   11                                                                                      08/21                    28.66
1308    *   11                                                                                      07/23                    30.68
1756    *   11                                                                                      07/29                   320.00
1783    *   11                                                                                      08/12                   130.00
1787    *   11                                                                                      08/20                   890.00
Total Checks Paid                                                                                                     $1,899.34
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
• All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
11 An image of this check may be available for you to view on Chase.com.




IATM & DEBIT CARD WITHDRAWALS!,__- ----------
 DATE            DESCRIPTION                                                                                                AMOUNT
07/26            Card Purchase       07/25 Att Ford 1X 800-331-0500 TX Card 3110                                           $267.24
07/26            Non-Chase ATM Withdraw 07/26 820 N Fitzhugh Ave Dallas TX Card 3110                                         62.50
07/29            Card Purchase       07/25 NM Last Call #51 214-5131527 TX Card 3110                                        147.76
07/29            Card Purchase       07/25 NM Last Call #51 214-5131527 TX Card 3110                                         63.65
07/29            Card Purchase With Pin 07/29 Mgi # 10 1621 N Centra Richardson TX Card 3110                                815.07
07/29            Card Purchase With Pin 07/29 Wm Supercenter # Lucas TX Card 3110                                           212.16
07/30            Non-Chase ATM Withdraw 07/30 2340 West Nw Hwy. Dallas TX Card 3110                                         132.00
07/31            Card Purchase       07/30 Tmc Restaurant of Dall 214-9568800 TX Card 3110                                  167.46
08/05            Card Purchase       08/03 Dallas Food & Beverage Dallas TX Card 3110                                       438.62
Total ATM & Debit Card Withdrawals                                                                                    $2,306.46


IELECTRONIC WITHDRAWALS!
 DATE            DESCRIPTION                                                                                                AMOUNT
07/23            U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853                                                  $560.24
07/23            Grayson-Collin Elec Paymt          PPD ID: 1750300645                                                       249.40
07/31            Capital One    Phone Pymt 921139860006470 Tel ID: 9541719986                                              1,000.00
08/05            Cadence Bank ACH         713-871-4012 Tel ID: 1640156695                                                  3,418.18
08/05            Discover      Payments 5319        Web ID: 3510020270                                                       445.00
08/05            Nfm         Payment            PPD ID: 1490000027                                                           199.00

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        CHASEO                                                                 July 23, 2019 through August 21, 2019
                                                                              Primary Account:■■■■■ 1773




!ELECTRONIC WITHDRAWALSl_(c_on_tin_ue_d)_ _ _ _ _ _ _ _ _ _ _ __
DATE    DESCRIPTION                                                                                                    AMOUNT
                                                                                                                                 ====
08/06
08/09
        TD Auto Finance Web Pay 0001102822336 Web ID: 5202614244
        Pace Web ACH 9Stdactach 121643          Web ID: 5135562314
                                                                                                                      1,360.80
                                                                                                                      7,000.00
                                                                                                                                 ==
                                                                                                                                 =
                                                                                                                                 iiE
08/09   Atmos Energy Rcr UTIL Pymt          PPD ID: 9000000091                                                           34.56
08/12   Chase Credit Crd Autopay         PPD ID: 4760039224                                                             163.00
08/12
08/13
        Coserv Od Cw Aw Bill Pay 12033459161     Web ID: 7529027011
        Citi Autopay Payment 083039629880985 Tel ID: Citicardap
                                                                                                                         25.00
                                                                                                                         83.80
                                                                                                                                 -
                                                                                                                                 ~
08/16   American Express ACH Pmt            PPD ID: 9493560001                                                          500.00
08/16   Nafmd        Phonecheck         Tel ID: 3383693141                                                               39.95
08/21   Neiman Marcus Online Pmt 000001939936178 Web ID: 9541719427                                                     150.31
Total Electronic Withdrawals                                                                                    $15,229.24


I FEES I i - - - - - - - - - - - - - - - - - - - -
DATE    DESCRIPTION                                                                                                    AMOUNT
07/24   Returned Item Fee For An Unpaid $4,046.07 Item - Details: Affiliated Bank 1 Time Dft                           $34.00
        0073249344       Web1D:9Redep
08/06   Insufficient Funds Fee For A $1,360.80 Item - Details: TD Auto Finance Web Pay                                  34.00
        0001102822336 Web ID: 5202614244
08/07   Returned Item Fee For An Unpaid $1,707.09 Item - Details: Cadence Bank ACH                                      34.00
        713-871-4012 Tel ID: 1640156695
08/09   Insufficient Funds Fee For A $7,000.00 Item - Details: Pace Web ACH 9Stdactach 121643                           34.00
        WeblD:5135562314
08/09   Insufficient Funds Fee For A $34.56 Item - Details: Atmos Energy Rcr UTIL Pymt                                  34.00
        PPD ID: 9000000091
08/12   Insufficient Funds Fee For Check #1783 IN The Amount of $130.00                                                 34.00
08/12   Insufficient Funds Fee For A $25.00 Item - Details: Coserv Od Cw Aw Bill Pay 12033459161                        34.00
        WeblD:7529027011
08/13   Insufficient Funds Fee For Check #916 IN The Amount of $500.00                                                  34.00
08/13   Insufficient Funds Fee For A $83.80 Item - Details: Citi Autopay Payment                                        34.00
        083039629880985 Tel ID: Citicardap
08/14   Returned Item Fee For An Unpaid Check #1782 IN The Amount of $865.00                                            34.00
08/16   Insufficient Funds Fee For A $500.00 Item - Details: American Express ACH Pmt                                   34.00
        PPD ID: 9493560001
08/16   Returned Item Fee For An Unpaid $141.59 Item - Details: City of Parker Parker                                   34.00
        PPD ID: 751382954
08/16   Insufficient Funds Fee For A $39.95 Item - Details: Nafmd        Phonecheck          Tel                        34.00
        ID:3383693141
08/21   Returned Item Fee For An Unpaid $7,818.19 Item - Details: Affiliated Bank 1 Time Oft                            34.00
        0073249344       Web ID:9Dft4
08/21   Monthly Service Fee                                                                                             25.00
Total Fees                                                                                                            $501.00




                                                                                                        Page 3 of 6
                Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                      Desc
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       CHASEO                                                                                   July 23, 2019through August 21, 2019
                                                                                            Primary Account                           773




WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $1,092.00)

    Talk to a banker about transferring your balances to Chase today!

    QR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYj
                                                                                                      Total for                    Total
                                                                                                   This Period              Year-to-date
Total Overdraft Fees •                                                                                $306.00                   $442.00.
Total Returned Item Fees                                                                               $170.00                        $204.00 \

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




   SAVINGS SUMMARY
                                                                                       AMOUNT
 Beginning Balance                                                                     $32.60
 Ending Balance                                                                        $32.60

 Annual Percentage Yield Earned This Period                                            0.00%
 Interest Paid Year-to-Date                                                             $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




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                Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                          Desc
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      CHASEO                                                                                      July 23, 2019through August 21, 2019
                                                                                                  Primary Accoun                      1773




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IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDlC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                      July 23, 2019through August 21, 2019
                                                            Primary Account                       773




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               Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                 Desc
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         CHASEO                                                                             June 22, 2019through July 22, 2019
        JPMorgan Chase Bank, N.A.
        PO Box 182051                                                                   Primary Account                         773
        Columbus, OH 43218-2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                           Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001056 DRE 201 142 20419 NNNNNNNNNNN T 1 000000000 35 0000                  Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD
     MESQUITE TX 75150-2412
                                                                                   International Calls:            1-713-262-1679              =
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 ASSETS
 Checking & Savings                                            ACCOUNT                            BEGINNING BALANCE        ENDING BALANCE
                                                                                                         THIS PERIOD           THIS PERIOD
 Chase Premier Plus Checking                                        1773                                     $223.62              $1,499.43
 Chase Plus Savings                                                 5037                                        32.60                  32.60
 Total                                                                                                       $256.22              $1,532.03


 TOTAL ASSETS                                                                                                $256.22              $1,532.03




 MUHAMMAD N SIDDIQI                                                                          Account Number:    -1773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                                $223.62
 Deposits and Additions                                                      19,803.77
 Checks Paid                                                                      -680.00
 ATM & Debit Card Withdrawals                                                     -213.65
 Electronic Withdrawals                                                       -5, 191.31
 Other Withdrawals                                                          -12,350.00
 Fees                                                                              -93.00
 Ending Balance                                                              $1,499.43

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                        $0.01
 Interest Paid Year-to-Date                                                        $0.15

Your account ending in 5037 is linked to this account for overdraft protection.




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        CHASEO                                                                         June 22, 2019throughJuly 22, 2019
                                                                                     Primary Account■■■■■ 1773




IDEPOSITS AND ADDITIONS!
 DATE          DESCRIPTION                                                                                                 AMOUNT
06/25          ATM Cash Deposit        06/24161 W Spring Creek Pkwy Plano TX Card 3110                                     $500.00
06/27          Deposit     1860836432                                                                                       525.00
06/27          Eagle Protective Direct Dep         PPD ID: 9111111101                                                     2,641.38
07/08          Quickpay With Zelle Payment From Arlene Moonan Wfct06Hpcqp9                                                1,000.00
07/11          Deposit     1054972605                                                                                     8,496.00
07/11          Deposit     1054972547                                                                                     4,000.00
07/11          Eagle Protective Direct Dep         PPD ID: 9111111101                                                     2,641.38
07/22          Interest Payment                                                                                               0.01
Total Deposits and Additions                                                                                        $19,803.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.              DESCRIPTION                                                                  PAID                   AMOUNT
915 II                                                                                              07/15                 $500.00
1573 * II                                                                                           06/27                   50.00
1776 * II                                                                                           07/15                  130.00
Total Checks Paid                                                                                                         $680.00
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
11 An image of this check may be available for you to view on Chase.com.




IATM & DEBIT CARD WITHDRAWALS!
 DATE       DESCRIPTION                                                                                                    AMOUNT
06/24       Card   Purchase With   Pin 06/22 7-Eleven 32723 Plano TX Card 3110                                             $49.99
06/24       Card   Purchase         06/22 Cheeky Monkey Fairview Fairview TX Card 3110                                       8.65
06/25       Card   Purchase With   Pin 06/25 Specs #128 15055 lnwoo Addison TX Card 3110                                   112.02
06/26       Card   Purchase         06/24 Qt 926     08009268 Allen TX Card 3110                                             6.10
06/27       Card   Purchase With   Pin 06/27 Wal-Mart #5672 Lucas TX Card 3110                                              36.89
Total ATM & Debit Card Withdrawals                                                                                        $213.65


!ELECTRONIC WITHDRAWALS!
 DATE       DESCRIPTION                                                                                                   AMOUNT
06/25       Grayson-Collin Elec Paymt           PPD ID: 1750300645                                                        $167.72
06/25       A.R.M. Solutions Preauthpmt Pns* Arm Soluti Tel ID: 1273535182                                                 147.03
06/26       U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853                                                      560.24
07/03       Nfm          Payment            PPD ID: 1490000027                                                             199.00
07/09       Atmos Energy Rcr UTIL Pymt            PPD ID: 9000000091                                                        28.82
07/09       Coserv Od Cw Aw Bill Pay 11971282441 Web ID: 7529027011                                                         21.00
07/11       Neiman Marcus Online Pmt 000001931176888 Web ID: 9541719427                                                    200.00
07/11       Chase Credit Crd Autopay 000000000245719 PPD ID: 4760039224                                                    168.00
07/11       Citi Autopay Payment 083011059041736 Tel ID: Citicardap                                                        118.96
07/12       Quickpay With Zelle Payment To Guy Cannon 8426092861                                                           200.00
07/16       Quickpay With Zelle Payment To Guy Cannon 8438698515                                                           200.00

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                    Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                   Desc
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             CHASEO                                                                             June 22, 2019through July 22, 2019
                                                                                               Primary A c c o u n t : - 7 7 3




!ELECTRONIC WITHDRAWALSl_(c_on_tin_u_ed_1_ _ _ _ _ _ _ _ _ _ _ __
     DATE     DESCRIPTION                                                                                                               AMOUNT
    07/16     American Express ACH Pmt              PPD ID: 9493560001                                                                   500.00
    07/16     City of Parker Parker           PPD ID: 751382954                                                                          141.59
    07/16
    07/17
              Nafmd         Phonecheck          Tel ID: 3383693141
              Quickpay With Zelle Payment To Guy Cannon 8441353969
                                                                                                                                          39.95
                                                                                                                                         100.00
                                                                                                                                                  ---
    07 /17    American Express ACH Pmt W6794            Web ID: 2005032111                                                             2,000.00
    07/18     Quickpay With Zelle Payment To Guy Cannon 8443436515                                                                       399.00   ====
    Total Electronic Withdrawals                                                                                                  $5,191.31


IOTHER WITHDRAWALS,__!_ _ _ _ _ _ _ _ _ _ _ _ _ __
     DATE     DESCRIPTION                                                                                                               AMOUNT
    06/27     06/27 Withdrawal                                                                                                    $2,350.00
    07/11     07/11 Withdrawal                                                                                                    10,000.00
    Total Other Withdrawals                                                                                                     $12,350.00


I    FEES        1 - - I-   -     -      -     -      -      -      -      -      -        -   -   -      -       -    -         -        -




     DATE     DESCRIPTION                                                                                                               AMOUNT
    06/26     Insufficient Funds Fee For A $560.24 Item - Details: U.S. Bank N.A. Payment                                               $34.00
              000000515313653 Tel ID: 5551540853
    07/19     Returned Item Fee For An Unpaid $4,046.07 Item - Details: Affiliated Bank 1 Time Dft                                       34.00
              0073249344       WeblD:9Dft4
    07 /22    Monthly Service Fee                                                                                                        25.00
    Total Fees                                                                                                                          $93.00

    WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

    A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
    this fee during any statement period.
          Have an average qualifying deposit and investment balance of at least $15,000.00 during your
          statement period.
          (Your average qualifying deposit and investment balance was $1,539.00)

        Talk to a banker about transferring your balances to Chase today!

        OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
        (You do not have a qualifying Chase mortgage)

         Talk to a banker about a Chase morlgage!

    Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMAR~
                                                                                                      Total for                   Total
                                                                                                   This Period             Year-to-date
    Total Overdraft Fees *                                                                             $34.00                  $136.00
    Total Returned Item Fees                                                                           $34.00                   $34.00

    * Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




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      CHASEO                                                                                              June 22, 2019through July 22, 2019
                                                                                                     Primary Accoun                            773




 MUHAMMAD N SIDDIQI                                                                                        Account Number:    -037



   SAVINGS SUMMARY
                                                                                          AMOUNT
 Beginning Balance                                                                         $32.60
 Ending Balance                                                                            $32.60

 Annual Percentage Yield Earned This Period                                                0.00%
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
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For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
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        •      Your name and account number
        •      The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whf you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
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you must notiry the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDIC

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         CHASEO                                                                             May 22, 2019through June 21, 2019
        JPMorgan Chase Bank, NA
        PO Box 182051                                                                   Primary Account:                    1773
        Columbus, OH 43218- 2051

                                                                                   CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                            Chase.com
                                                                                   Service Center:                 1-800-935-9935
     00001054 DRE 201 14217319 NNNNNNNNNNN T 1 000000000 35 0000                   Deaf and Hard of Hearing:       1-800-242-7383
     MUHAMMAD N SIDDIQI                                                            Para Espanol:                   1-877-312-4273
     3020 BIGTOWN BLVD
     MESQUITE TX 75150-2412
                                                                                   International Calls:            1-713-262-1679              -
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 ASSETS
 Checking & Savings                                           ACCOUNT                             BEGINNING BALANCE        ENDING BALANCE
                                                                                                          THIS PERIOD           THIS PERIOD
 Chase Premier Plus Checking                                       1773                                    $2,680.47               $223.62
 Chase Plus Savings                                                5037                                        32.60                   32.60
 Total                                                                                                     $2,713.07               $256.22


 TOTAL ASSETS                                                                                              $2,713.07               $256.22




 MUHAMMAD N SIDDIQI                                                                          Account Number: - 1 7 7 3



I CHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $2,680.47
 Deposits and Additions                                                      14,099.77
 Checks Paid                                                                  -3,777.64
 ATM & Debit Card Withdrawals                                                     -432.90
 Electronic Withdrawals                                                     -12,075.08
 Other Withdrawals                                                                -178.00
 Fees                                                                              -93.00
 Ending Balance                                                                   $223.62

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                         $0.01
 Interest Paid Year-to-Date                                                        $0.14

Your account ending in 5037 is linked to this account for overdraft protection.




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        CHASEO                                                                         May 22, 2019throughJune 21, 2019
                                                                                     Primary Account: ■■■■■ 1773




IDEPOSITS AND ADDITIONS!
 DATE           DESCRIPTION                                                                                                 AMOUNT
05/30           Eagle Protective Direct Dep           PPD ID: 9111111101                                              $2,641.38
06/10           Deposit     1041940977                                                                                   500.00
06/10           Quickpay With Zelle Payment From Guy G Cannon 8319297455                                                 860.00
06/10           Quickpay With Zelle Payment From Guy G Cannon 8319291758                                                  12.00
06/13           Eagle Protective Direct Dep          PPD ID: 9111111101                                                2,641.38
06/17           Deposit     1047937514                                                                                 6,445.00
06/21           ATM Cash Deposit        06/21 819 S Allen Heights DR Allen TX Card 3110                                1,000.00
06/21           Interest Payment                                                                                           O.Q1
Total Deposits and Additions                                                                                        $14,099.77


ICHECKS PAID I
                                                                                                    DATE
CHECK NO.               DESCRIPTION                                                                 PAID                    AMOUNT
914 "                                                                                               06/13                  $500.00
1109 *   A                                                                                          06/21                     27.64
1574    *"                                                                                          06/07                  1,000.00
1763    *"                                                                                          05/30                  2,000.00
1780    *"                                                                                          06/17                    250.00
Total Checks Paid                                                                                                     $3,777.64
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
"An image of this check may be available for you to view on Chase.com.


IATM & DEBIT CARD WITHDRAWALS!
 DATE        DESCRIPTION                                                                                                    AMOUNT
05/22        Card   Purchase With   Pin 05/22 Wm Supercenter # Lucas TX Card 3110                                           $17.38
05/28        Card   Purchase         05/24 Gt Distributors Dallas Dallas TX Card 3110                                       281.44
05/30        Card   Purchase         05/29 Furrs 234 Dallas TX Card 3110                                                     18.17
06/03        Card   Purchase         06/02 Subway        00032631 Garland TX Card 3110                                        8.43
06/04        Card   Purchase         06/03 Qt 926      08009268 Allen TX Card 3110                                            5.22
06/04        Card   Purchase With   Pin 06/04 Gamestop #540 3112 NJ Garland TX Card 3110                                      6.48
06/05        Card   Purchase         06/04 Gamestop #540 Garland TX Card 3110                                                 6.48
06/06        Card   Purchase         06/05 Taco Bueno Addison 1 Addison TX Card 3110                                          4.52
06/12        Card   Purchase With   Pin 06/11 Wm Supercenter # Lucas TX Card 3110                                            23.66
06/13        Card   Purchase With   Pin 06/13 Shell Service Station Addison TX Card 3110                                     13.58
06/14        Card   Purchase         06/13 Chipotle 2816 Dallas TX Card 3110                                                  7.52
06/17        Card   Purchase         06/15 Chevron 0210336 Carrollton TX Card 3110                                            9.99
06/17        Card   Purchase         06/15 Taco Bell #32187 Allen TX Card 3110                                               19.12
06/19        Card   Purchase         06/18 Taco Bell 035435 Plano TX Card 3110                                               10.91
Total ATM & Debit Card Withdrawals                                                                                         $432.90




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            CHASEO                                                                 May 22, 2019throughJune 21, 2019
                                                                                  Primary Account:-1773




!ELECTRONIC WITHDRAWALS!
    DATE
    05/22
            DESCRIPTION
            Quickpay With Zelle Payment To Tovar Frankarlos 8255394727
                                                                                                                        AMOUNT
                                                                                                                        $250.00
                                                                                                                                  -
    05/23
    05/30
            Grayson-Collin Elec Paymt            PPD ID: 1750300645
            U.S. Bank N.A. Payment 000000515313653 Tel ID: 5551540853
                                                                                                                         137.34
                                                                                                                         560.24
                                                                                                                                  ==
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    05/31   Paypal         Echeck 5Exj2Arxe5Rma Web ID: Paypalec88                                                        24.95
    06/04
    06/04
            Discover
            Nfm
                           E-Payment 5319
                          Payment
                                                  Web ID: 2510020270
                                             PPD ID: 1490000027
                                                                                                                         700.00
                                                                                                                         199.00
                                                                                                                                  ===
                                                                                                                                  =
    06/07   Atmos Energy Rcr UTIL Pymt             PPD ID: 9000000091                                                     36.08   =
    06/10   Coserv Od Cw Aw Bill Pay 11907580321         Web ID: 7529027011                                               58.00
    06/11   Quickpay With Zelle Payment To Guy Cannon 8321144745                                                         593.00
    06/11   Citi Autopay Payment 082985140620981 Tel ID: Citicardap                                                      208.50
    06/11   Chase Credit Crd Autopay 000000000239931 PPD ID: 4760039224                                                  165.00
    06/17   American Express ACH Pmt               PPD ID: 9493560001                                                    500.00
    06/17   Discover       E-Payment 5319         Web ID: 2510020270                                                     419.00
    06/17   City of Parker Parker             PPD ID: 751382954                                                          148.41
    06/18   Simmons Bank - L Tel Pmts Ykb8           Tel ID: 1710162300                                                2,418.74
    06/18   Nafmd          Phonecheck          Tel ID: 3383693141                                                         39.95
    06/19   Affiliated Bank 1 Time Oft 0073249344    Web ID: 9Dft4                                                     4,046.07
    06/19   Discover       E-Payment 5319         Web ID: 2510020270                                                     970.80
    06/19 . Neiman Marcus Online Pmt 000001913122494 Web ID: 9541719427                                                  100.00
    06/21   American Express ACH Pmt W8962             Web ID: 2005032111                                                500.00
    Total Electronic Withdrawals                                                                                $12,075.08


IOTHER W I T H D R A W A L S l 1 - - - - - - - - - - - - - - - -
    DATE    DESCRIPTION                                                                                                 AMOUNT
    06/10   06/10 Withdrawal                                                                                           $178.00
    Total Other Withdrawals                                                                                            $178.00


I   FEES         1 - - I-   -   -   -   -     -     -    -     -     -     -     -     -      -   -    -        -         -




    DATE    DESCRIPTION                                                                                                 AMOUNT
    06/19   Insufficient Funds Fee For A $970.80 Item - Details: Discover    E-Payment 5319                             $34.00
            WeblD:2510020270
    06/19   Insufficient Funds Fee For A $100.00 Item - Details: Neiman Marcus Online Pmt                                34.00
            000001913122494 Web ID: 9541719427
    06/21   Monthly Service Fee                                                                                          25.00
    Total Fees                                                                                                          $93.00




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           CHASEO                                                                                   May 22, 2019throughJune 21, 2019
                                                                                                Primary Accoun                    1773




    WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

    A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
    this fee during any statement period.
          Have an average qualifying deposit and investment balance of at least $15,000.00 during your
          statement period.
         (Your average qualifying deposit and investment balance was $1,874.00)

        Talk to a banker about transferring your balances to Chase today!

        OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
        (You do not have a qualifying Chase mortgage)

         Talk to a banker about a Chase mortgage!

    Stop in today and explore all Chase has to offer.


IOVERDRAFT AND RETURNED ITEM FEE SUMMARY]
                                                                                                         Total for                   Total
                                                                                                      This Period             Year-to-date
, Total Overdraft Fees*                                                                                   $68.00                  $102.00
i   Total Returned Item Fees                                                                                 $.00                       $.00

    * Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                                                         037


       SAVINGS SUMMARY
                                                                                           AMOUNT
     Beginning Balance                                                                     $32.60
     Ending Balance                                                                        $32.60

     Annual Percentage Yield Earned This Period                                            0.00%
     Interest Paid Year-to-Date                                                             $0.04

    The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

    You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
    qualifying Chase Premier Plus Checking account.




                                                                                                                          Page 4 of6
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      CHASEO                                                                                       May 22, 2019throughJune 21, 2019
                                                                                                  Primary Account:                    1773




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
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                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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CHASEO                                                       May 22, 2019throughJune 21, 2019
                                                            Primary Accoun                  1773




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         CHASEO                                                                        April 20, 2019through May 21, 2019
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                   Primary Account:                       1773
      Columbus, OH 43218-2051

                                                                                 CUSTOMER SERVICE INFORMATION
                                                                                 Web site:                          Chase.com
                                                                                 Service Center:                1-800-935-9935
     00001119 DRE 201 14214219 NNNNNNNNNNN T 1 000000000 35 0000                 Deaf and Hard of Hearing:      1-800-242-7383
     MUHAMMAD N SIDDIQI                                                          Para Espanol:                  1-877-312-4273
     3020 BIGTOWN BLVD                                                           International Calls:           1-713-262-1679
     MESQUITE TX 75150-2412
                                                                                                                                             ==
                                                                                                                                             ===
                                                                                                                                             ==
                                                                                                                                              -
                                                                                                                                             -=-====

We want to remind you about the overdraft service options that are available for your personal
checking account(s)
We've included information on the last page of this statement to remind you about our overdraft services and associated
fees. You can find more information about these services and ways to avoid overdraft fees at
chase.com/overdraft-services .

If you have questions, please call us anytime at the number on your statement.




 ASSETS
 Checking & Savings                                           ACCOUNT                        BEGINNING BALANCE          ENDING BALANCE
                                                                                                    THIS PERIOD             THIS PERIOD
 Chase Premier Plus Checking                                       773                                   $1,667.52              $2,680.47
 Chase Plus Savings                                                037                                       32.60                   32.60
 Total                                                                                                   $1,700.12              $2,713.07


 TOTAL ASSETS                                                                                            $1,700.12              $2,713.07




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        CHASEO                                                                             April 20, 2019through May 21, 2019
                                                                                       Primary Account:-1773




                                                                                                                                   773



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,667.52
 Deposits and Additions                                                      21,517.03
 Checks Paid                                                                  -4,673.15
 A TM & Debit Card Withdrawals                                                -1,290.16
 Electronic Withdrawals                                                       -9,715.77
 Other Withdrawals                                                            -4,800.00
 Fees                                                                             -25.00
 Ending Balance                                                              $2,680.47

 Annual Percentage Yield Earned This Period                                       0.01%
 Interest Paid This Period                                                        $0.02
 Interest Paid Year-to-Date                                                       $0.13

Your account ending in 5037 is linked to this account for overdraft protection.


IDEPOSITS AND ADDITIONS!
DATE         DESCRIPTION                                                                                                        AMOUNT
04/23        Remote Online Deposit           1                                                                             $1,428.00
04/23        Deposit     1021537007                                                                                             4.25
04/25        Remote Online Deposit           1                                                                              3,925.00
05/02        Eagle Protective Direct Dep          PPD ID: 9111111101                                                        2,641.38
05/06        QuickpayWith Zelle Payment From Guy G Cannon 8205273519                                                          225.00
05/16        Eagle Protective Direct Dep          PPD ID: 9111111101                                                        2,641.38
05/20        ATM Cash Deposit        05/19 161 W Spring Creek Pkwy Plano TX Card           3110                             2,500.00
05/20        Remote Online Deposit           1                                                                              3,212.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21161 W Spring Creek Pkwy Plano TX Card           3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                600.00
05/21        ATM Cash Deposit        05/21161 W Spring Creek Pkwy Plano TX Card           3110                                580.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                520.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                460.00
05/21        ATM Cash Deposit        05/21 161 W Spring Creek Pkwy Plano TX Card          3110                                380.00
05/21        Interest Payment                                                                                                   0.02
Total Deposits and Additions                                                                                             $21,517.03




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        CHASEO                                                                        April 20, 2019through May 21, 2019
                                                                                     Primary Accoun                   1773




ICHECKS PAIDI
CHECK NO.               DESCRIPTION
                                                                                                    DATE
                                                                                                    PAID                      AMOUNT
                                                                                                                                        -====
913
1030
       {\



        *"
                                                                                                    05/13
                                                                                                    05/21
                                                                                                                              $500.00
                                                                                                                                26.48
                                                                                                                                        ==
                                                                                                                                        -
1084    *"                                                                                          04/23                       25.00
1754 *"                                                                                             04/29                      370.00   ~
1773 *"                                                                                             05/08                       65.00   ~
1774 h                                                                                              04/24                    1,150.00   =
1775 A                                                                                              04/25                    2,471.67
1778 * A                                                                                            05/20                       65.00
Total Checks Paid                                                                                                       $4,673.15
If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
" An image of this check may be available for you to view on Chase.com.


jATM & DEBIT CARD WITHDRAWALS!
DATE         DESCRIPTION                                                                                                      AMOUNT
04/22        Card   Purchase         04/20 Sayyad Mediterranean Ki Richardson TX Card 3110                                    $26.63
04/29        Card   Purchase         04/28 Sq *Elegance By Monika Plano TX Card 3110                                           43.30
04/29        Card   Purchase With   Pin 04/28 Wal Wal-Mart Super 552 Lucas TX Card 3110                                       117.79
04/29        Card   Purchase         04/29 Wal-Mart #5672 Lucas TX Card 3110                                                   17.28
05/03        Card   Purchase With   Pin 05/03 Racetrac 93 Allen TX Card 3110                                                   20.79
05/06        Card   Purchase With   Pin 05/04 Wal Wal-Mart Super 241 Lucas TX Card 3110                                       233.17
05/13        Card   Purchase         05/12 Kebab N Kurry, Inc Plano TX Card 3110                                              237.61
05/17        Card   Purchase With   Pin 05/17 Bananarepublic US 8559 Frisco TX Card 3110                                      106.09
05/20        Card   Purchase         05/17 Nordstrom #0724 Frisco TX Card 3110                                                355.06
05/20        Card   Purchase         05/17 Nordstrom #0724 Frisco TX Card 3110                                                 95.26
05/20        Card   Purchase         05/17 Panda Express #1951 Frisco TX Card 3110                                             18.84
05/20        Card   Purchase         05/17 Auntie Anne's TX174 Frisco TX Card 3110                                              6.36
05/20        Card   Purchase         05/19 Taco Bell 035444 Dallas TX Card 3110                                                11.98
Total ATM & Debit Card Withdrawals                                                                                      $1,290.16


!ELECTRONIC WITHDRAWALS!
DATE         DESCRIPTION                                                                                                      AMOUNT
04/22        Quickpay With Zelle Payment To Guy Cannon 8157227765                                                            $300.00
04/24        Grayson-Collin Elec Paymt           PPD ID: 1750300645                                                           122.21
04/29        Quickpay With Zelle Payment To Tovar Frankarlos 8175356839                                                         1.00
04/29        Quickpay With Zelle Payment To Tovar Frankarlos 8175360053                                                       500.00
04/29        Discover      E-Payment 5319        Web ID: 2510020270                                                           134.07
05/03        U.S. Bank NA Payment 000000515313653 Tel ID: 5551540853                                                          588.25
05/03        Nfm         Payment             PPD ID: 1490000027                                                               199.00
05/09        Atmos Energy Rcr UTIL Pymt            PPD ID: 9000000091                                                          44.14
05/10        Coserv Od Cw Aw Bill Pay 11849479441 Web ID: 7529027011                                                           78.00
05/13        Quickpay With Zelle Payment To Tovar Frankarlos 8220515871                                                       100.00
05/13        Citi Autopay Payment 082958354771892 Tel ID: Citicardap                                                          198.03

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         CHASEO                                                                         April 20, 2019through May 21, 2019
                                                                                       Primary Account:                 1773




!ELECTRONIC WITHDRAWALSj_(c_on_tin_u_ed_1- - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                         AMOUNT
05/13     Chase Credit Crd Autopay             PPDID:4760039224                                                            169.00
05/16     Simmons Bank - L Tel Pmts Tr88          Tel ID: 1710162300                                                     2,418.74
05/16     American Express ACH Pmt               PPD ID: 9493560001                                                        500.00
05/16     City of Parker Parker             PPD ID: 751382954                                                              139.31
05/16     Nafmd          Phonecheck          Tel ID: 3383693141                                                             39.95
05/20     Neiman Marcus Online Pmt 000001907736345 Web ID: 9541719427                                                      100.00
05/20     Nordstrom       Payment 043000096069368 Web ID: 9044022131                                                        38.00
05/21     Affiliated Bank 1 Time Dft 0073249344    Web ID: 9Dft4                                                         4,046.07
Total Electronic Withdrawals                                                                                            $9,715.77


!OTHER W I T H D R A W A L S - I - - - - - - - - - - - - - - -
 DATE     DESCRIPTION                                                                                                         AMOUNT
04/23     04/23 Withdrawal                                                                                                    $300.00
05/20     05/20 Withdrawal                                                                                                   4,500.00
Total Other Withdrawals                                                                                                 $4,800.00


I FEES I
 DA TE    DESCRIPTION                                                                                                         AMOUNT
05/21     Monthly Service Fee                                                                                                 $25.00
Total Fees                                                                                                                    $25.00

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
this fee during any statement period.
      Have an average qualifying deposit and investment balance of at least $15,000.00 during your
      statement period.
     (Your average qualifying deposit and investment balance was $2,337.00)

    Talk to a banker about transferring your balances to Chase today!

    OR, authorize us to make automatic payments to your qualifying Chase mortgage from your Chase account.
    (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMAR~
                                                                                              Total for                   Total
                                                                                           This Period             Year-to-date
Total Overdraft Fees *                                                                            $.00                  $34.00
Total Returned Item Fees                                                                          $.00                     $.00,

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




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      CHASEO                                                                                        April 20, 2019through May 21, 2019
                                                                                                  Primary Account:                         773




                                                                                                                                                         -=
   SAVINGS SUMMARY
                                                                                          AMOUNT
                                                                                                                                                         =
                                                                                                                                                         ~

 Beginning Balance                                                                         $32.60
                                                                                                                                                         ~
 Ending Balance                                                                            $32.60
                                                                                                                                                         ~
 Annual Percentage Yield Earned This Period                                                0.00%                                                         ===
 Interest Paid Year-to-Date                                                                 $0.04

The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.

You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
qualifying Chase Premier Plus Checking account.




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement {non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
        •      Your name and account number
        •      The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whf you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time ii takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, NA Member FDIC

                                                                                                     JPMorgan Chase Bank, N.A. Member FDIC




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      CHASEO                                                                                   April 20, 2019through May 21, 2019
                                                                                              Primary A c c o u n t : ~ n 3




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:
            1.    We have standard overdraft practices that come with your account.
         2.      We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
                 than our standard overdraft practices. You can contact us to learn more.


This notice explains our standard overdraft practices.


        •        What are the standard overdraft practices that come with my account?
                 We do authorize and pay overdrafts for the following types of transactions:
                      •   Checks and other transactions made using your checking account number
                      •   Recurring debit card transactions
                     We do not authorize and pay overdrafts for the following types of transactions. unless you ask us to
                     (see below):
                           Everyday debit card transactions
                     We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
                     any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


                  What fees will I be charged if Chase pays my overdraft?
                     Under our standard overdraft practices:
                  •       If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                          account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
                  •       We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


                 We waive fees for some account types:

                 •        For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                          you've had four or fewer Insufficient Funds or Returned Item occurrences in the past 12 months.

                 •        For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


                 What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
                 If you or a joint account owner would like to change your selection, sign in to chase.com to update your account
                 settings, or call us anytime at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a
                 Chase branch.




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                                                                                                   Page 1 of 3
          P.O. Box 853912                                              Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                ~     Phone         972.348.2000
                                                                      Toll-Free     800.843.5295
                                                                      Auto-Access   972.348.2001
                                                                                    800.843.6426

                                                                '1J   Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BLVD                                             i:8J Mail           P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                           Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BALANCE
My Texans Checking           XXXXXX8631       $338.14
Consumer Shares (Savings)    XXXXXX2750     $1,574.68
Certificate of Deposit(s)    1 Account(s)   $1,242.70
Total Current Value                         $3,155.52
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

Change of address, phone number, email address: You may log into online banking, call us at the phone number on the front of this
statement or visit your local branch to update your information.

Membership account agreement: Current copies of the membership account agreement and deposit account disclosure (fee schedule) may
be obtained on our website at www.texanscu.org or at your local branch.

Electronic transfers: In case of errors or questions about your electronic transfers: If you think your statement or receipt is wrong or you need
more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals, point-of-sale transactions) on the
statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
         complete our investigation.

Loans: In case of errors or questions about line-of-credit loans: If you think your statement is wrong or you need more information about
your loan, write us at the address listed on the front of this statement as soon as you can. We must hear from you no later than 60 days
after we sent you the FIRST statement on which the error or problem appeared. You can call us, but doing so will not preserve your rights.

         You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your
         statement that are not in question. While we investigate your question, we cannot report you as delinquent or take any action
         to collect the amount in question.

For either type of error or question:
          • Tell us your name and account number.
          • Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
            you need more information.
          • Tell us the dollar amount of the suspected error.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our investigation.

Direct deposits: To confirm pre-authorized credits (direct deposits, e.g.) were deposited as scheduled, you may call us at the phone number
on the front of this statement, review your on line banking activity or visit your local branch.

Reporting other problems: You must examine your statement carefully and promptly. You are in the best position to discover errors and
unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized transaction within
the time period specified in the deposit agreement (which periods are no more than 60 days after we make the statement available to you
and in some cases are 30 days or less), we are not liable to you for, and you agree to not make a claim against us for the problems or
unauthorized transactions.

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
be reflected in your credit report.

You have the right to dispute the accuracy of information that Texans Credit Union has furnished to a consumer reporting agency by writing
to us at the address on the front of your statement. Please describe the specific information that is inaccurate or in dispute and the basis for
the dispute along with supporting documentation. If you believe the information furnished is the result of identity theft, please provide us
with an identity theft report.


                        Texans Credit Union is federally insured by the National Credit Union Association.




✓ Balance your checking account: Visit www.texanscu.org/balance for a printable version of the How to Balance Your Account Worksheet.
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                                                                                                        XXXXXX8631

BEGINNING BALANCE                 DEPOSITS        DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES      ENDING BALANCE
338.14                                0.00               0.00            0.00          0.00                    338.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                   338.14
            No Activity This Period

                                                                                                        XXXXXX2750

BEGINNING BALANCE                DEPOSITS         DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES      ENDING BALANCE
3,483.70                              0.00               0.07          1,909.09        0.00                  1,574.68

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                 3,483.70
04/04       External Withdrawal CADENCE BANK - ACH                                    -1,909.09              1,574.61
04/30       Credit Dividends                                                                         0.07    1,574.68
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.22

 ill Momtfi letlific:ate                                                                                     XX5350

BEGINNING BALANCE                DEPOSITS         INTEREST EARNED    WITHDRAWALS   SERVICE FEES      ENDING BALANCE
1,242.39                              0.00               0.31           0.00           0.00                  1,242.70

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS   BALANCE
04/01       Starting Balance                                                                                 1,242.39
04/30       Credit Dividends                                                                         0.31    1,242.70
The Annual Percentage Yield Earned for this account is 0.30%
Interest Paid in 2019 for this account is 1.24
The Certificate Maturity date for this account is 05/18/19
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                                                                                                              Page 1 of 3
          P.O. Box 853912                                                              Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                                  ~   Phone         972.348.2000
                                                                                      Toll-Free     800.843.5295
                                                                                      Auto-Access   972.348.2001
                                                                                                    800.843.6426

                                                                                 J[lj Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                                             ~    Mail          P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                                           Richardson, TX 75085-3912




Statement Summary                                       Important Information
ACCOUNT TYPE                 NUMBER         BALANCE     We've Updated Your Consumer Membership Account
My Texans Checking           XXXXXX8631       $332.14   Agreement (Agreement) - Effective immediately
Consumer Shares (Savings)    XXXXXX2750     $1,665.67
Certificate of Deposit(s)    1 Account(s)   $1,243.59   Your Agreement has been updated to clarify the following General
Total Current Value                         $3,241.40   Terms and Conditions: 7. Transactions from our Account(s). a)
                                                        Payment Order of Your Transactions, 15. Courtesy Pay, Overdraft,
                                                        and Overdraft Protection Plan, and 27. Telephone Requests;
                                                        Recording Communications and Consent to Communications from
                                                        the Credit Union. Our funds availability policy Special Rules for
                                                        New Accounts section has been updated. Your continued use of your
                                                        account( s) is your acceptance of the revisions. You can obtain a copy
                                                        of the revised Agreement by VIS!tmg our website at
                                                        www.TexansCU.org/disclosures, at any branch location or by calling
                                                        us at 972.348.2000.
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IMPORTANT INFORMATION ON YOUR TEXANS ACCOUNTS:

Change of address, phone number, email address: You may log into online banking, call us at the phone number on the front of this
statement or visit your local branch to update your information.

Membership account agreement: Current copies of the membership account agreement and deposit account disclosure (fee schedule) may
be obtained on our website at www.texanscu.org or at your local branch.

Electronic transfers: In case of errors or questions about your electronic transfers: If you think your statement or receipt is wrong or you need
more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals, point-of-sale transactions) on the
statement or receipt, call or write us at the address and number listed on the front of this statement as soon as you can. We must hear from
you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.

         For consumer accounts used primanJy for personal, family or household purposes, we will investigate your complaint and will
         correct any error promptly. If we take more than 10 business days (or 20 business days for new accounts) to do this, we will
         credit your account for the amount you think is in error so that you will have use of the money during the time it will take to
         complete our investigation.

Loans: In case of errors or questions about line-of-credit loans: If you think your statement is wrong or you need more information about
your loan, write us at the address listed on the front of this statement as soon as you can. We must hear from you no later than 60 days
after we sent you the FIRST statement on which the error or problem appeared. You can call us, but doing so will not preserve your rights.

         You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your
         statement that are not in question. While we investigate your question, we cannot report you as delinquent or take any action
         to collect the amount in question.

For either type of error or question:
          • Tell us your name and account number.
          • Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
            you need more information.
          • Tell us the dollar amount of the suspected error.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our investigation.

Direct deposits: To confirm pre-authorized credits (direct deposits, e.g.) were deposited as scheduled, you may call us at the phone number
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                                                                                                         XXXXXX8631

BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
338.14                            0.00                       0.00        0.00          6.00                    332.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TR.t1NSACTION                                                DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                    338.14
05/31       Inactivity Fee                                                                -6.00                 332.14

                                                                                                         XXXXXX2750

BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,574.68                        2,000.00                 0.08          1,909.09        0.00                   1,665.67

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRM~SACTION                                                  DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                  1,574.68
05/02       Deposit                                                                               2,000.00    3,574.68
05/06       External Withdrawal CADENCE BANK • ACH                                    -1,909.09               1,665.59
05/31       Credit Dividends                                                                         0.08     1,665.67
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.30

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,242.70                          0.00                   0.89           0.00           0.00                   1,243.59

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
05/01       Starting Balance                                                                                  1,242.70
05/17       Credit Dividends                                                                         0.17     1,242.87
05/31       Credit Dividends                                                                         0.72     1,243.59
The Annual Percentage Yield Earned for this account is 0.85%
Interest Paid in 2019 for this account is 2.13
The Certificate Maturity date for this account is 05/18/21
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                                                                                                    Page 1 of 3
          P.O. Box 853912                                                  Member Number: XXXXXXX2000
     Richardson, 1X 75085-3912




                                                                ~         Phone         972.348.2000
                                                                          Toll-Free     800.843.5295
                                                                          Auto-Access   972.348.2001
                                                                                        800.843.6426

                                                                -1J       Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BLVD                                             C?::.s1   Mail          P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                               Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BALANCE
My Texans Checking           XXXXXX8631       $326.14
Consumer Shares (Savings)    XXXXXX2750     $1,824.69
Certificate of Deposit(s)    1 Account(s)   $1,245.12
Total Current Value                         $3,395.95
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                                                                                                             XXXXXX8631
BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
332.14                            0.00                       0.00            0.00          6.00                     326.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                        332.14
06/30       Inactivity Fee                                                                    -6.00                 326.14

                                                                                                             XXXXXX2750
BEGINNING BALANCE               DEPOSITS          DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,665.67                        2,068.00                     0.11          1,909.09        0.00                   1,824.69

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                      1,665.67
06/02       Deposit Shared Branch Mobile          Richardson        TX                                 640.00     2,305.67
06/02       Deposit Shared Branch Mobile          Richardson        TX                                1,428.00    3,733.67
06/04       External Withdrawal CADENCE BANK • ACH                                        -1,909.09               1,824.58
06/04       External Withdrawal CADENCE BANK - ACH (Returned)                                         1,909.09    3,733.67
06/17       External Withdrawal CADENCE BANK - ACH                                        -1,909.09               1,824.58
06/30       Credit Dividends                                                                             0.11     1,824.69
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.41

                                                                                                                  XX5350
BEGINNING BALANCE              DEPOSITS           INTEREST EARNED        WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,243.59                          0.00                       1.53           0.00           0.00                   1,245.12

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
06/01       Starting Balance                                                                                      1,243.59
06/30       Credit Dividends                                                                             1.53     1,245.12
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 3.66
The Certificate Maturity date for this account is 05/18/21
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                                                                         Activity From 07/01/19-07/31/19
                                                                                              Page 1 of 3
          P.O. Box 853912                                               Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                                ~      Phone         972.348.2000
                                                                       Toll-Free     800.843.5295
                                                                       Auto-Access   972.348.2001
                                                                                     800.843.6426

                                                                -1eJ   Online        www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                            [8'J Mail            P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                            Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BAU\NCE
My Texans Checking           XXXXXX8631       $320.14
Consumer Shares (Savings)    XXXXXX2750     $1,824.77
Certificate of Deposit(s)    1 Account(s)   $1,246.71
Total Current Value                         $3,391.62
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                                                                                                         XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
326.14                            0.00                   0.00           0.00           6.00                     320.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                    326.14
07/31       Inactivity Fee                                                                -6.00                 320.14

                                                                                                         XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,824.69                          0.00                   0.08           0.00           0.00                   1,824.77

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                  1,824.69
07/05       External Withdrawal CADENCE BANK - ACH                                    -1,909.09
07/05       External Withdrawal CADENCE BANK - ACH (Returned)                                     1,909.09    1,824.69
07/31       Credit Dividends                                                                         0.08     1,824.77
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.49

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,245.12                          0.00                       1.59       0.00           0.00                   1,246.71

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
07/01       Starting Balance                                                                                  1,245.12
07 /31      Credit Dividends                                                                          1.59    1,246.71
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 5.25
The Certificate Maturity date for this account is 05/18/21
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                                                                                            Page 1 of 3
          P.O. Box 853912                                            Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                               ~ Phone           972.348.2000
                                                                   Toll-Free     800.843.5295
                                                                   Auto-Access   972.348.2001
                                                                                 800.843.6426

                                                               -'e) Online       www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                           C8J Mail          P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                        Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BALANCE
My Texans Checking           XXXXXX8631       $314.14
Consumer Shares (Savings)    XXXXXX2750     $3,572.85
Certificate of Deposit(s)    1 Account(s)   $1,248.30
Total Current Value                         $5,135.29
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                                                                                                             XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       ENDING BALANCE
320.14                            0.00                   0.00                0.00          6.00                     314.14

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                        320.14
08/31       Inactivity Fee                                                                    -6.00                 314.14

                                                                                                             XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED       WITHDRAWALS   SERVICE FEES       Ef\JDING BALANCE
1,824.77                        1,748.00                 0.08                0.00          0.00                   3,572.85

Transactions for Consumer Shares {Savings)
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                      1,824.77
08/30       Deposit Shared Branch Mobile          Richardson        TX                                1,748.00    3,572.77
08/31       Credit Dividends                                                                             0.08     3,572.85
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.57

                                                                                                                  XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED        WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,246.71                          0.00                       1.59           0.00           0.00                   1,248.30

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                      DEBITS    CREDITS    BALANCE
08/01       Starting Balance                                                                                      1,246.71
08/31       Credit Dividends                                                                              1.59    1,248.30
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 6.84
The Certificate Maturity date for this account is 05/18/21
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                                                                                             Page 1 of 3
          P.O. Box 853912                                           Member Number: XXXXXXX2000
     Richardson, TX 75085-3912




                                                               ~   Phone         972.348.2000
                                                                   Toll-Free     800.843.5295
                                                                   Auto-Access   972.348.2001
                                                                                 800.843 .6426

                                                              4:) Online         www.TexansCU.org
 MUHAMMAD N SIDDIQI
 3020 BIG TOWN BL VD                                          l23l Mail          P.O. Box 853912
 MESQUITE TX 75150 - 2412                                                        Richardson, TX 75085-3912




Statement Summary
ACCOUNT TYPE                 NUMBER         BALANCE
My Texans Checking           XXXXXX8631     $824.88
Consumer Shares (Savings)    XXXXXX2750     $154.69
Certificate of Deposit(s)    1 Account(s)     $0.00
Total Current Value                         $979.57
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Reporting other problems: You must examine your statement carefully and promptly. You are in the best position to discover errors and
unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized transaction within
the time period specified in the deposit agreement (which periods are no more than 60 days after we make the statement available to you
and in some cases are 30 days or less), we are not liable to you for, and you agree to not make a claim against us for the problems or
unauthorized transactions.

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
be reflected in your credit report.

You have the right to dispute the accuracy of information that Texans Credit Union has furnished to a consumer reporting agency by writing
to us at the address on the front of your statement. Please describe the specific information that is inaccurate or in dispute and the basis for
the dispute along with supporting documentation. If you believe the information furnished is the result of identity theft, please provide us
with an identity theft report.


                        Texans Credit Union is federally insured by the National Credit Union Association.




✓ Balance your checking account: Visit www.texasncu.org/balance for a printable version of the How to Balance Your Account Worksheet.
      Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc
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               Exhibit L Defendants Document Production Activity
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                                                                                                         XXXXXX8631

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
314.14                          4,356.81                 0.00          3,846.07        0.00                    824.88

Transactions for My Texans Checking
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
09/01       Starting Balance                                                                                    314.14
09/24       Deposit                                                                               2,641.38    2,955.52
09/24       Deposit                                                                               1,215.43    4,170.95
09/24       Deposit                                                                                 500.00    4,670.95
09/24       Withdrawal                                                                -3,846.07                 824.88

                                                                                                         XXXXXX2750

BEGINNING BALANCE              DEPOSITS           DIVIDENDS EARNED   WITHDRAWALS   SERVICE FEES       ENDING BALANCE
3,572.85                          0.00                   0.02          3,418.18        0.00                    154.69

Transactions for Consumer Shares (Savings)
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
 09/01    Starting Balance                                                                                    3,572.85
 09/04    External Withdrawal CADENCE BANK - ACH                                      -3.418.18                 154.67
 09/30    Credit Dividends                                                                            0.02      154.69
The Annual Percentage Yield Earned for this account is 0.05%
Dividends Paid in 2019 for this account is 0.59

                                                                                                              XX5350

BEGINNING BALANCE              DEPOSITS           INTEREST EARNED    WITHDRAWALS   SERVICE FEES       ENDING BALANCE
1,248.30                          0.00                       1.18      1,224.48       25.00                       0.00

Transactions for 24 Month Certificate
DATE        DESCRIPTION OF TRANSACTION                                                  DEBITS    CREDITS    BALANCE
09/01     Starting Balance                                                                                    1,248.30
09/24     CD Early Withdrawal Fee                                                        -25.00               1,223.30
 09/24    Closeout Withdrawal                                                         -1,215.43                   7.87
 09/24    Credit Dividends                                                                            1.18        9.05
 09/24    Penalty                                                                         -9.05                  -0.00
The Annual Percentage Yield Earned for this account is 1.51 %
Interest Paid in 2019 for this account is 8.02
The Certificate Maturity date for this account is 05/18/21
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        CHASEO                                                                   October 22, 2019through November 21, 2019
      JPMorgan Chase Bank, N.A.
      PO Box 182051                                                                 Primary A c c o u n t - . , 6 8 5
      Columbus, OH 43218-2051

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                        Chase.com
                                                                               Service Center:              1-800-935-9935
     00006725 DRE 201 21032619 NNNNNNNNNNN 1 000000000 34 0000                 Deaf and Hard of Hearing:    1-800-242-7383
                                                                               Para Espanol:                1-877-312-4273
     FATIMA ALI
                                                                               International Calls:         1-713-262-1679
                                                                                                                                      ==

                                                                                                                                      ==
     1901 EASTFORK LN


                                                                                                                                      ==
     WYLIE TX 75098-7754

                                                                                                                                      -
                                                                                                                                      -=
                                                                                                                                      --=

We want to remind you about the overdraft service options that are available for your personal
checking account(s)
We've included information on the last page of this statement to remind you of our overdraft services and associated fees.
You can find more information about these services and ways to avoid overdraft fees at chase.com/overdraft-services.

If you have questions, please call us at the number on your statement.




 ASSETS
 Checking & Savings                                          ACCOUNT                       BEGINNING BALANCE       ENDING BALANCE
                                                                                                  THIS PERIOD          THIS PERIOD
 Chase Total Checking                                            685                                   $91.53                $35.66
 Chase Savings                                                    172                                   25.17                 30.17
 Total                                                                                                $116.70                $65.83


 TOTAL ASSETS                                                                                         $116.70                $65.83




ICHECKING SUMMARY I                                                           AMOUNT
 Beginning Balance                                                            $91.53
 Deposits and Additions                                                     4,730.67
 ATM & Debit Card Withdrawals                                                 -909.91
 Electronic Withdrawals                                                     -3,864.63
 Fees                                                                          -12.00
 Ending Balance                                                               $35.66




                                                                                                           Page 1 of6
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        CHASEO                                                                    October 22, 2019through November 21, 2019
                                                                                    Primary Accoun                     4685




Your account ending in 4172 is linked to this account for overdraft protection.


ITRANSACTION DETAIL!
DATE       DESCRIPTION                                                                               AMOUNT                 BALANCE
             Beginning Balance                                                                                               $91.53
10/22      Card Purchase         10/20 Aldi 75046 Wilie TX Card 4822                                   -7.47                  84.06
10/24      Recurring Card Purchase 10/24 Molina Healthcare Inc 888-560-2025 TX                        -39.73                  44.33
           Card 4822
10/25      ATM Cash Deposit        10/25 1204 Anael Pkwy Allen TX Card 4822                          500.00                  544.33
10/25      Quickeai With Zelle Payment To Naazi Khana Jpm284859212                                    -15.00                 529.33
10/28      Paipal       Transfer             PPD ID: Paypalsd11                                        30.67                 560.00
10/28      Card Purchase         10/26 Kr~er 0578 Wylie TX Card 4822                                  -35.06                 524.94
10/28      Wan Xina Ke Ji J lat Paypal 1006983210793 Web ID: 770510487C                               -37.83                 487.11
10/28      Paieal       Inst Xfer Adobe Inc     Web ID: Paipalsi77                                    -10.81                 476.30
10/29      Card Purchase         10/28 Grayson-Collin Elect Graysoncollin TX Card                    -365.52                 110.78
           4822
10/29      Paieal        Inst Xfer 2Checkoutco Web ID: Paypalsi77                                     -64.25                  46.53
11/01      ATM Cash Deposit         11/01 190 E Staci Rd Allen TX Card 4822                          700.00                  746.53
11/01      lga Foundation D ACH Debit 5230375964          WeblD:9200502236                           -515.00                 231.53
11/04      Card Purchase          11/01 Taraet      00025163 Allen TX Card 4822                        -2.88                 228.65
11/04      Card Purchase          11/01 Chick-Fil-A #02354 Allen TX Card 4822                          -5.52                 223.13
11/04      Card Purchase          11/02 Apple.Com/Bill 866-712-7753 CA Card 4822                       -3.24                 219.89
11/04      Card Purchase          11/02 Chick-Fil-A #02354 Allen TX Card 4822                          -9.09                 210.80
11/04      Card Purchase          11/03 Amzn Mktp US*Kc2Rc8W Amzn.Com/Bill WA                         -32.46                 178.34
           Card 4822
11/04      Card Purchase          11/03 Taco Bell# '032187 Allen TX Card 4822                          -5.61                 172.73
11/04      Card Purchase With Pin 11/03 Old Navi US 3389 Garland TX Card 4822                         -27.70                 145.03
11/04      Card Purchase          11/03 Kr~er 0578 Wilie TX Card 4822                                  -8.77                 136.26
11/04      Card Purchase          11/03 Taco Bell# '032187 Allen TX Card 4822                          -3.67                 132.59
11/04      Recurring Card Purchase 11/01 Cts*Frontier Onlinepa 800-921-8101 CT                        -67.91                  64.68
           Card 4822
11/05      Deposit     1905681932                                                                 3,000.00              3,064.68
11/05      Card Purchase          11/04 Wendts #11493 Lucas TX Card 4822                             -5.49              3,059.19
11/05      11/05 Online Payment 8829394433 To Mr Cooper New Morta9e 2019                         -1,800.00              1,259.19
11/05      Capital One     Online Pmt 930939910430677 Web ID: 9279744991                           -200.00              1,059.19
11/05      Best Bui       Auto Pymt 723085241260063 Web ID: Citiautfdr                              -28.00              1,031.19
11/06      Card Purchase          11/05 TJmaxx #0258 Plano TX Card 4822                             -87.38                943.81
11/06      Card Purchase          11/05 Ta!:aet     00025163 Allen TX Card 4822                     -59.47                884.34
11/06      Card Purchase          11/05 Wendy's #11493 Lucas TX Card 4822                            -9.50                874.84
11/07      11/07 Online Paiment 8731520719 To Best Bui                                              -50.00                824.84
11/12      Chase Credit Crd Autoeai                PPDID:4760039224                                -100.00                724.84
11/12      Recurring Card Purchase 11/09 Fsi*Coserv 800-274-4014 TX Card 4822                       -43.00                681.84
11/14      Card Purchase          11/13 Amzn Mktp US*Km2285E Amzn.Com/Bill WA                       -23.95                657.89
           Card 4822
11/14      Best Bui       Paiment 203118873565734 Tel ID: Citiaeufdr                                 -261.00                 396.89
11/15      11/15 Transfer To Sav Xxxxx4172                                                             -5.00                 391.89
11/15      Capital One     Crcardpmt 931830180185622 Web ID: 9541719018                               -50.00                 341.89
11/18      ATM Cash Deposit         11/18 161 W Spring Creek Pkwy Plano TX Card                      500.00                  841.89
           4822
11/18      Quickpay With Zelle Paiment To Cleaning 8873376112                                        -220.00                 621.89
11/18      City of Parker Parker                PPD ID: 751382954                                    -507.74                 114.15

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        CHASEO                                                                            October 22, 2019throughNovember21, 2019
                                                                                            Primary A c c o u n t : -




!TRANSACTION                 DETAILj_~_co_nt_inu_e_dJ_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

DATE         DESCRIPTION                                                                                    AMOUNT                BALANCE
11/19        Card Purchase With Pin 11/19 Wm Superc Wal-Mart Sup Lucas TX Card                                  -65.41              48.74
             4822
                                                                                                                                               ="'
11/19        Card Purchase With Pin 11 /19 Wal-Mart #5672 Lucas TX Card 4822                                     -1.08                 47.66   = "'
                                                                                                                                               ====8
                                                                                                                                                   §
11/21        Monthly Service Fee
               Ending Balance

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?
                                                                                                                -12.00                 35.66
                                                                                                                                      $35.66
                                                                                                                                               __
                                                                                                                                               ====~
                                                                                                                                               ====~
                                                                                                                                               ====~...,
                                                                                                                                               =r--
                                                                                                                                               = 8
                                                                                                                                               ~~
A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (Your total direct deposits this period were $30.67. Note: some deposits may be listed on your previous statement)

•      OR, keep a minimum daily balance in this checking account of $1,500.00 or more.
       (Your minimum daily balance was $44.33)

•      OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
       (Your average daily balance of qualifying linked deposits and investments was $422.68)

       Talk to a banker about transferring your balances to Chase today!

Stop in today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARYj
                                                                                                    Total for                      Total
                                                                                                 This Period                Year-to-date
Total Overdraft Fees *                                                                                  $.00                     $34.00
Total Returned Item Fees                                                                                $.00                           $.00

• Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




                                                                                                                                         172



     SAVINGS SUMMARY
                                                                                       AMOUNT
    Beginning Balance                                                                   $25.17
    Deposits and Additions                                                               5.00
    Ending Balance                                                                     $30.17

    Annual Percentage Yield Earned This Period                                         0.00%




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        CHASEO                                                                                 October 22, 2019through November 21, 2019
                                                                                                  Primary Account:                            685



ITRANSACTION DETAIL!
DATE        DESCRIPTION                                                                                              AMOUNT                   BALANCE
              Beginning Balance                                                                                                                $25.17
11/15       Transfer From Chk Xxxxx4685                                                                                5.00                     30.17
              Ending Balance                                                                                                                   $30.17




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompUy. I we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notity the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bani<, N.A. Member FDlC


                                                                                            '5l      JPMorgan Chase Bank, N.A. Member FDIC




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      CHASEO                                                                        October 22, 2019through November 21, 2019
                                                                                       Primary A c c o u n ~




Overdraft and Overdraft Fee Information for Your Chase Checking Account

What You Need to Know About Overdrafts and Overdraft Fees
                                                                                                                                      ====
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:
                                                                                                                                      -=
                                                                                                                                      --
         1.
         2.
              We have standard overdraft practices that come with your account.
              We also offer overdraft protection through a link to a Chase savings account, which may be less expensive
                                                                                                                                      =
                                                                                                                                      =
              than our standard overdraft practices. You can contact us to learn more.


This notice explains our standard overdraft practices.


              What are the standard overdraft practices that come with my account?
              We do authorize and pay overdrafts for the following types of transactions:
               •   Checks and other transactions made using your checking account number
               •   Recurring debit card transactions


               We do not authorize and pay overdrafts for the following types of transactions, unless you ask us to
               (see below):
                    Everyday debit card transactions


               We pay overdrafts at our discretion, which means we do not guarantee that we will always authorize and pay
               any type of transaction. If we do not authorize and pay an overdraft, your transaction will be declined.


               What fees will I be charged if Chase pays my overdraft?
               Under our standard overdraft practices:
               •   If we pay an item, we'll charge you a $34 Insufficient Funds Fee per item. This fee is not charged if your
                   account balance at the end of the business day is overdrawn by $5 or less, or for items that are $5 or less.
               •   We won't charge more than three Insufficient Funds Fees per day, for a total of $102.


              We waive fees for some account types:

                   For Chase Sapphire SM Checking accounts, we waive the Insufficient Funds and Returned Item fees if
                   items(s) are presented or withdrawal request(s) are made against an account with insufficient funds on four
                   or fewer business days in the past 12 months.

                   For Chase Private Client Checking SM accounts, we waive the Chase overdraft fees.


              What if I want Chase to authorize and pay overdrafts on my everyday debit card transactions?
              If you or a joint account owner would like to change your selection, sign in to chase.com to update your account
              settings, or call us at 1-800-935-9935 (or collect at 1-713-262-1679 if outside the U.S.), or visit a Chase branch.
              We accept operator relay calls.




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CHASEO                                                     October 22 , 2019through November 21, 2019
                                                                                              4685
                                                             Primary A c c o u n t : -




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      CHASEO                                                                      September 21, 2 0 1 ~ ~ • 2019
      JPMorgan Chase Bank, NA
      PO Box 182051                                                                    Primary Accoun~685
      Columbus, OH 43218-2051

                                                                                CUSTOMER SERVICE INFORMATION
                                                                                Website:                           Chase.com
                                                                                Service Center:              1-800-935-9935
     00006722 DRE 201 210 29519 NNNNNNNNNNN 1 000000000 34 0000                 Deaf and Hard of Hearing:    1-800-242-7383
     FATIMA ALI                                                                 Para Espanol:                1-877-312-4273
     1901 EASTFORK LN                                                           International Calls:         1-713-262-1679
     WYLIE TX 75098-7754




Good news! We're making it easier to get a replacement account number if your account is
compromised.
Starting November 17, 2019, if your account is compromised, we can simply issue you a replacement account number
without the hassle of closing your existing account and opening a new one. This will allow you to continue using your existing
debit carcl.

We've updated our Deposit Account Agreement to explain this change:

         We can assign and transfer your account information and documentation to a replacement account number at our
         discretion. We may make this assignment when your account is reported compromised by you or any signer. If we
         issue you a replacement account number, this Deposit Account Agreement governing you and your account will
         continue to apply, without interruption, as if you retained the discontinued account number.

Please call us at the number at the top of this statement if you have any questions.




 ASSETS
 Checking & Savings                                           ACCOUNT                        BEGINNING BALANCE        ENDING BALANCE
                                                                                                    THIS PERIOD           THIS PERIOD
 Chase Total Checking                                              685                               $1,087.89                $91.53
 Chase Savings                                                     172                                    20.17                  25.17
 Total                                                                                               $1,108.06               $116.70


 TOTAL ASSETS                                                                                        $1,108.06               $116.70




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        CHASEO                                                                      September 21, 2019through October 21, 2019
                                                                                       Primary A c c o u n t : ~ 8 5




                                                                                                                                685


ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                           $1,087.89
 Deposits and Additions                                                        5,396.66
 Checks Paid                                                                  -1,065.49
 ATM & Debit Carel Withdrawals                                                -1,643.43
 Electronic Withdrawals                                                       -3,672.10
 Fees                                                                            -12.00
 Ending Balance                                                                   $91.53


Your account ending in 4172 is linked to this account for overdraft protection.


ICHECKS PAIDI
CHECK NUMBER                      DATE                                      AMOUNT
                                  PAID
256 A                             09/24                                     $265.49
296 * A                           10/18                                      400.00
346 * A                           09/23                                      400.00
Total Checks Paid                                                        $1,065.49
If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
" An image of this check may be available for you to view on Chase.com.


!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE       DESCRIPTION                                                                                AMOUNT                BALANCE
             Beginning Balance                                                                                         $1,087.89
09/23      Card Purchase         09/20 Nordstrom #0724 Frisco TX Card 4822                              -4.32           1,083.57
09/23      Card Purchase        09/20 Nordstrom #0724 Frisco TX Carel 4822                              -1.08           1,082.49
09/23      Card Purchase        09/20 Subway       00346163 Frisco TX Card 4822                         -7.57           1,074.92
09/23      Check                 #346                                                                 -400.00             674.92
09/23      Recurring Carel Purchase 09/22 Netflix.Com Netflix.Com CA Card 4822                         -14.06             660.86
09/23      Paypal       Inst Xfer 360Training Web ID: Paypalsi77                                        -7.00             653.86
09/24      Check                 #256                                                                 -265.49             388.37
09/24      Recurring Carel Purchase 09/24 Molina Healthcare Inc 888-560-2025 TX                        -39.73             348.64
           Card 4822
09/24      Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                                       -38.97                309.67
09/25      Card Purchase         09/24 Murphy Express 8722 Allen TX Card 4822                           -3.23                306.44
09/25      Card Purchase         09/24 Murphy Express 8722 Allen TX Card 4822                          -60.72                245.72
09/25      Quickpay With Zelle Payment To Sani 8681479518                                             -100.00                145.72

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        CHASEO                                                             September 21, 2019through October 21, 2019
                                                                             Primary A c c o u n -




!TRANSACTION           DETAILl_~_co_nt,_·nu_ed_~----------------
DATE     DESCRIPTION                                                                         AMOUNT                 BALANCE
09/26    Card Purchase With Pin 09/26 Wm Superc Wal-Mart Sup Lucas TX Card                      -8.58                137.14
         4822                                                                                                                 =
09/27    Card Purchase         09/26 Whataburger 975 Murphy TX Card 4822                       -2.91              134.23
                                                                                                                              =..,
                                                                                                                              =CPg
09/27    Card Purchase         09/26 Wendy's #11493 Lucas TX Card 4822                         -8.41              125.82      =o
                                                                                                                              ====8
09/27    Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                                -27.06               98.76      ====~
                                                                                                                              ~g
09/30    ATM Cash Deposit        09/30 819 S Allen Heights DR Allen TX Card 4822            3,000.00            3,098.76      ===~
                                                                                                                              --"'
                                                                                                                              =   ...
09/30    Card Purchase
         Card 4822
                               09/29 Amzn Mktp US*B49T357 Amzn.Com/Bill WA                    -13.95            3,084.81      ====~
                                                                                                                              ~ ~

09/30    Card Purchase         09/29 Wendy's #11493 Lucas TX Card 4822                         -9.06            3,075.75
10/02    Card Purchase         09/30 Kroger 0578 Wylie TX Card 4822                           -65.61            3,010.14
10/02    Card Purchase         10/01 Apl*ltunes.Com/Bill 866-712-7753 CA Card                  -5.39            3,004.75
         4822
10/02    Card Purchase         10/01 Panera Bread #601404 Allen TX Card 4822                  -14.08            2,990.67
10/02    lqa Foundation DACH Debit 5227429311          Web ID: 9200502236                    -515.00            2,475.67
10/03    10/02 Online Payment 8709609765 To Kohls                                             -30.00            2,445.67
10/03    10/02 Online Payment 8709610328 To Mr Cooper New Mortage 2019                     -1,900.00              545.67
10/03    Card Purchase         10/03 Amzn Mktp US*N53Ux4U Amzn.Com/Bill WA                     -9.21              536.46
         Card 4822
10/03    Card Purchase         10/03 Audible US*Un7Fp1Jy3 888-283-5051 NJ Card                -16.18                 520.28
         4822
10/03    Card Purchase With Pin 10/03 Wm Superc Wal-Mart Sup Lucas TX Card                    -48.94                 471.34
         4822
10/03    Card Purchase With Pin 10/03 Racetrac 79 Murphy TX Card 4822                         -52.60                 418.74
10/04    Card Purchase         10/03 Party City 219 Plano TX Card 4822                        -20.37                 398.37
10/04    Card Purchase         10/03 Cts*Frontier Onlinepa 800-921-8101 CT Card               -78.62                 319.75
         4822
10/04    Card Purchase         10/03 Sonrisa Dental Clinic Irving TX Card 4822                -60.00              259.75
10/07    Card Purchase         10/06 Wendy's #11493 Lucas TX Card 4822                        -30.13              229.62
10/07    Card Purchase         10/06 Qt 926      08009268 Allen TX Card 4822                  -11.73              217.89
10/07    Best Buy      Auto Pymt 723059320570124 Web ID: Citiautfdr                           -28.00              189.89
10/08    Card Purchase Return 10/07 Journeys 080270 Allen TX Card 4822                         97.41              287.30
10/08    Remote Online Deposit           1                                                    850.00            1,137.30
10/08    Card Purchase         10/07 India Bazaar Plano Plano TX Card 4822                    -28.02            1,109.28
10/08    Card Purchase         10/07 Journeys 080270 Allen TX Card 4822                       -16.24            1,093.04
10/08    Card Purchase         10/07 Coca Cola Buckner Dallas TX Card 4822                     -1.75            1,091.29
10/09    Card Purchase         10/07 Chick-Fil-A #02354 Allen TX Card 4822                    -21.55            1,069.74
10/09    Card Purchase         10/08 Target      00025502 Wylie TX Card 4822                 -117.37              952.37
10/09    Card Purchase         10/08 Target      00025502 Wylie TX Card 4822                  -13.51              938.86
10/09    10/09 Online Payment 862584641 OTo Best Buy                                          -50.00              888.86
10/09    Card Purchase With Pin 10/09 Desi Bazaar Allen TX Card 4822                          -19.59              869.27
10/10    Card Purchase         10/09 Spice Thai Cafe 214-383-3366 TX Card 4822                -25.28              843.99
10/11    Card Purchase         10/10 Wendy's #11493 Lucas TX Card 4822                          -7.23             836.76
10/15    Card Purchase Return 10/14 Kroger Fuel Ctr 1578 Wylie TX Card 4822                     1.00              837.76
10/15    Card Purchase         10/11 Grayson-Collin Elect Graysoncollin TX Card              -408.04              429.72
         4822
10/15    Card Purchase         10/11 Fsi*Coserv 800-274-4014 TX Card 4822                     -68.00                 361.72
10/15    Card Purchase         10/11 Wholefds Fvw 10358 Fairview TX Card 4822                 -24.99                 336.73
10/15    Card Purchase         10/11 Sally Beauty #2922 Allen TX Card 4822                    -16.40                 320.33
10/15    Card Purchase         10/11 Wendy's #11493 Lucas TX Card 4822                         -3.88                 316.45
10/15    Card Purchase         10/12 Asia Salon Murphy TX Card 4822                           -11.00                 305.45
                                                                                                        Page 3of6
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           CHASEO                                                                     September 21, 2019through October 21, 2019
                                                                                        Primary Account:                          685




!TRANSACTION DETAILl_f_co_nt,_·nu_ed_)_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    DATE      DESCRIPTION                                                                                  AMOUNT                 BALANCE
10/15        Card Purchase         10/13 Amzn Mktp US*Sj0J44G Amzn.Com/Bill WA                             -18.36                  287.09
             Card 4822
10/15        Card Purchase         10/13 Apl* ltunes.Com/Bill 866-712-7753 CA Card                          -6.46                  280.63
             4822
10/15        Card Purchase         10/13 Kroger 0578 Wylie TX Card 4822                                  -55.29                     225.34
10/15        Card Purchase         10/13 Kroger Fuel Ctr 1578 Wylie TX Card 4822                         -51.79                     173.55
10/15        10/15 Transfer To Sav Xxxxx4172                                                               -5.00                    168.55
10/15        Chase Credit Crd Autopay               PPD ID: 4760039224                                  -100.00                      68.55
10/15        Capital One    Crcardpmt 928730180342256 Web ID: 9541719018                                 -50.00                      18.55
10/16        Deposit    1905631523                                                                     1,400.00                   1,418.55
10/17        Card Purchase         10/16 Wendy's #11493 Lucas TX Card 4822                                -5.06                   1,413.49
10/18        10/17 Online Payment 8761879337 To Best Buy                                                -300.00                   1,113.49
10/18        10/17 Online Payment 8761880709 To Capital One                                             -300.00                     813.49
10/18        Check                 # 296                                                                -400.00                     413.49
10/18        T-Mobile      Handset 7770980           WeblD:0000450304                                   -150.67                     262.82
10/21        Card Purchase Return 10/18 Target         00025502 Wylie TX Card 4822                        48.25                     311.07
10/21        Card Purchase         10/18 Target      00025502 Wylie TX Card 4822                         -51.84                     259.23
10/21        Card Purchase         10/18 Kroger 0578 Wylie TX Card 4822                                  -34.60                     224.63
10/21        Card Purchase         10/19 Taco Bell# '032187 Allen TX Card 4822                           -10.10                     214.53
10/21        Card Purchase         10/21 Apl*ltunes.Com/Bill 866-712-7753 CA Card                         -5.39                     209.14
             4822
10/21        Card Purchase         10/20 Dollar Tree Wylie TX Card 4822                                    -25.98                  183.16
10/21        Card Purchase         10/20 Target      00025502 Wylie TX Card 4822                             -2.05                 181.11
10/21        Card Purchase         10/20 Target      00025502 Wylie TX Card 4822                            -7.18                  173.93
10/21        Maryam Yasin     lat Paypal 1006900520701 Web ID: 770510487C                                  -35.40                  138.53
10/21        Chase Credit Crd Autopay               PPD ID: 4760039224                                     -35.00                  103.53
10/21        Monthly Service Fee                                                                           -12.00                   91.53
              Ending Balance                                                                                                       $91.53

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (You did not have a direct deposit this statement period)

       One of our bankers can help you set up direct deposit in just a few minutes.

•     OR, keep a minimum daily balance in this checking account of $1,500.00 or more.
      (Your minimum daily balance was $18.55)

•     OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
      (Your average daily balance of qualifying linked deposits and investments was $815.07)

       Talk to a banker about transferring your balances to Chase today!

Stop in today and explore all Chase has to offer.




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        CHASEO                                                                                September 21, 2019through October 21, 2019
                                                                                                  Primary Account:■■■■■■685




!OVERDRAFT AND RETURNED ITEM FEE SUMMARY!
                                                                                                           Total for
                                                                                                        This Period
                                                                                                                                        Total
                                                                                                                                 Year-to-date
                                                                                                                                                        -
                                                                                                                                                        =
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                                                                                                                                                        -~
Total Overdraft Fees*                                                                                          $.00                    $34.00           -8
Total Returned Item Fees                                                                                       $.00                      $.00           -§
                                                                                                                                                        -       §
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees

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                                                                                                                                             4172



   SAVINGS SUMMARY
                                                                                         AMOUNT
 Beginning Balance                                                                        $20.17
 Deposits and Additions                                                                      5.00
 Ending Balance                                                                           $25.17

 Annual Percentage Yield Earned This Period                                               0.00%

!TRANSACTION DETAIL!
 DATE       DESCRIPTION                                                                                            AMOUNT                 BALANCE
              Beginning Balance                                                                                                            $20.17
10/15       Transfer From Chk Xxxxx4685                                                                                5.00                 25.17
              Ending Balance                                                                                                               $25.17




IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, whr you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. I we take more than 10 business days (or 20 business days for new
accounts} to do this, we will credit your account for the amount you think is in error so that you will have use ofthe money during the time it takes
us to complete our investigation
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
 incorrect or if_you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
 JPMorgan Chase Bank, N.A. Member FDIC

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CHASEO                                                     September 21, 2019through October 21, 2019
                                                             Primary Account                  4685




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         CHASEO                                                                August 21, 2019throughSeptember 20, 2019
      JPMorgan Chase Bank, NA
      PO Box 182051                                                              Primary Account:■■■■■1685
      Columbus, OH 43218-2051

                                                                            CUSTOMER SERVICE INFORMATION
                                                                            Website:                           Chase.com
                                                                            Service Center:              1-800-935-9935
     00006770 DRE 201 21026419 NNNNNNNNNNN 1 000000000 34 0000              Deaf and Hard of Hearing:    1-800-242-7383




                                                                                                                                    -=§
     FATIMA ALI                                                             Para Espanol:                1-877-312-4273             .............
     1901 EASTFORK LN
     WYLIE TX 75098-7754
                                                                            International Calls:         1-713-262-1679
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Good news! We've made it easier to waive the $5 Monthly Service Fee for your Chase
Savings 8 M account
We now waive this fee when you make $25 or more in total Autosave or other repeating automatic transfers from your
personal Chase checking account or Chase Liquid ® Card to your Chase Savings account during each monthly statement
period.

You can set up Autosave in the Chase Mobile® app or on chase.com. To learn more about Autosave visit
chase.com/personal/checking/savings-program.

As a reminder, you won't be charged a Monthly Service Fee when you have one of the following in your Chase Savings
account during each monthly statement period:
        A balance at the beginning of each day of $300 or more in this account;
        OR, $25 or more in total Autosave or other repeating automatic transfers from your personal Chase checking
        account or Chase Liquid Card;
        OR, a Chase College Checking SM account linked to this account for Overdraft Protection
        OR, an account owner who is an individual younger than 18;
        OR, a linked Chase Better Banking® Checking, Chase Premier Checking SM, Chase Premier Plus Checking SM,
         Chase Sapphire 8 M Checking, or Chase Private Client Checking SM account.

Please call us at the number on this statement if you have any questions.

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 ASSETS
 Checking & Savings                                          ACCOUNT                    BEGINNING BALANCE         ENDING BALANCE
                                                                                               THIS PERIOD            THIS PERIOD
 Chase Total Checking                                            685                                 -$1.35            $1,087.89
 Chase Savings                                                   172                                    9.28               20.17
 Total                                                                                                $7.93            $1,108.06


 TOTAL ASSETS                                                                                        $7.93             $1,108.06




                                                                                                         Page 1 of 6
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        CHASEO                                                                       August 21, 2019through September 20, 2019
                                                                                       Primary A c c o u n t - 4 6 8 5




 FATIMAALI                                                                                 Account Number:-4685



ICHECKING SUMMARY I
                                                                                  AMOUNT
 Beginning Balance                                                                -$1.35
 Deposits and Additions                                                        7,262.18
 Checks Paid                                                                    -525.00
 ATM & Debit Card Withdrawals                                                   -789.09
 Electronic Withdrawals                                                       -4,812.85
 Fees                                                                            -46.00
 Ending Balance                                                              $1,087.89


Your account ending in 4172 is linked to this account for overdraft protection.


I CHECKS PAIDI
CHECK NUMBER                      DATE                                      AMOUNT
                                  PAID
344 /\                            08/30                                    $515.00
345 /\                            08/30                                      10.00
Total Checks Paid                                                          $525.00
If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.
/\ An image of this check may be available for you to view on Chase.com.


!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE       DESCRIPTION                                                                                 AMOUNT                  BALANCE
             Beginning Balance                                                                                                  -$1.35
08/21      ODP Transfer From Savings 000009286454172                                                      1.35                    0.00
08/26      Recurring Card Purchase 08/25 Molina Healthcare Inc 888-560-2025 TX                          -39.73                  -39.73
           Card 4822
08/26      Insufficient Funds Fee For A $39.73 Recurring Card Purchase - Details:                       -34.00                  -73.73
           0825Molina Healthcare Inc 888-560-2025 TX04347692029944822
           01
08/27      ATM Cash Deposit          08/27 206 W Fm 544 Murphy TX Card 4822                            450.00                376.27
08/28      Quickpay With Zelle Payment From Arlene Moonan Wfct06R3Fchw                                 500.00                876.27
08/29      Quickpay With Zelle Payment From Arlene Moonan Wfct06R7Bsbw                                 500.00              1,376.27
08/29      Card Purchase           08/27 Asia Salon Murphy TX Card 4822                                -15.00              1,361.27
08/29      Card Purchase           08/27 Chick-Fil-A #02493 Murphy TX Card 4822                        -11.90              1,349.37
08/29      T-Mobile        Handset 0044229           Web ID: 0000450304                               -155.31              1,194.06
08/30      Card Purchase           08/29 Target      00025502 Wylie TX Card 4822                       -58.35              1,135.71
08/30      Card Purchase           08/29 Wal-Mart #5672 Allen TX Card 4822                             -13.50              1,122.21
08/30      Check                   #344                                                               -515.00                607.21
08/30      Paypal         Inst Xfer Lifetouchns Web ID: Paypalsi77                                     -35.72                571.49
08/30      Check                   #345                                                                -10.00                561.49
                                                                                                                 Page 2 of 6
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        CHASEO                                                              August 21, 2 0 1 9 t h r ~ 0 , 2019
                                                                              Primary Account~4685




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!TRANSACTION DETAILi-1_ < c o _ n t _ i n u _ e d _ ~ - - - - - - - - - - - - - - - -                                        ...........
 DATE    DESCRIPTION                                                                       AMOUNT                  BALANCE   ======
09/03    Card Purchase         09/02 Target      00025163 Allen TX Card 4822                 -6.37               555.12
                                                                                                                             ~
09/04    Card Purchase         09/03 Kroger 0578 Wylie TX Card 4822                         -24.61               530.51      &iii..,
                                                                                                                             --8
09/05    Best Buy      Auto Pymt 723032537100207 Web ID: Citiautfdr                         -28.00               502.51      -§
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                  -14.99               487.52      !!!!!!!!!!! §
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                  -20.00               467.52      ~I"
                                                                                                                             -     i! '
09/06    Card Purchase         09/04 Chuck E Cheese 597 Allen TX Card 4822                   -3.52               464.00      !!!!!!
                                                                                                                             _ . , _8
09/06
09/09
09/09
         Paypal
         Deposit
                      Inst Xfer Uzmazafarul Web ID: Paypalsi77
                    1888010786
         Card Purchase         09/06 Apl*ltunes.Com/Bill 866-712-7753 CA Card
                                                                                            -10.00
                                                                                          5,000.00
                                                                                             -3.24
                                                                                                                 454.00
                                                                                                               5,454.00
                                                                                                               5,450.76
                                                                                                                             --
                                                                                                                             -1o
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         4822
09/09    09/09 Online Payment 8515955149 To Best Buy                                        -50.00             5,400.76
09/09    09/09 Payment To Chase Card Ending IN 3455                                        -500.00             4,900.76
09/09    09/09 Payment To Chase Card Ending IN 3570                                        -200.00             4,700.76
09/09    09/09 Online Payment 8627118964 To Kohls                                          -100.00             4,600.76
09/09    09/09 Online Payment 8627120004 To Mr Cooper New Mortage 2019                   -1,900.00             2,700.76
09/09    09/09 Online Payment 8627123304 To Best Buy                                       -300.00             2,400.76
09/09    Capital One    Online Pmt 925239910567273 Web ID: 9279744991                      -450.00             1,950.76
09/10    Remote Online Deposit           1                                                 800.00              2,750.76
09/10    Paypal       Inst Xfer Usti Epay     Web ID: Paypalsi77                           -160.77             2,589.99
09/11    Card Purchase         09/10 Wal-Mart #5672 Allen TX Card 4822                       -1.05             2,588.94
09/11    Card Purchase         09/10 Subway       00579490 Lucas TX Card 4822                -2.17             2,586.77
09/11    Card Purchase         09/10 Ulta #1489 Wylie TX Card 4822                          -65.71             2,521.06
09/11    Chase Credit Crd Autopay 000000000167649 PPD ID: 4760039224                       -100.00             2,421.06
09/12    09/12 Payment To Chase Card Ending IN 3570                                        -202.07             2,218.99
09/12    09/12 Payment To Chase Card Ending IN 3455                                        -400.00             1,818.99
09/13    Card Purchase         09/12 Murphy Express 8722 Allen TX Card 4822                 -52.58             1,766.41
09/13    Card Purchase         09/12 Journeys 080270 Allen TX Card 4822                    -108.22             1,658.19
09/13    Card Purchase         09/12 Coca Cola Buckner Dallas TX Card 4822                   -2.00             1,656.19
09/13    Card Purchase         09/12 Coca Cola Buckner Dallas TX Card 4822                   -1.75             1,654.44
09/13    Card Purchase         09/12 Target     00025163 Allen TX Card 4822                 -31.29             1,623.15
09/13    Card Purchase         09/12 Target     00025163 Allen TX Card 4822                 -11.77             1,611.38
09/13    Card Purchase         09/12 Taco Bell #29889 Allen TX Card 4822                     -9.26             1,602.12
09/13    Paypal       Inst Xfer Ultasalonco Web ID: Paypalsi77                              -12.99             1,589.13
09/16    Card Purchase         09/13 Kroger 0578 Wylie TX Card 4822                         -19.51             1,569.62
09/16    Card Purchase        09/14 Taco Bell #027875 Mckinney TX Card 4822                 -26.78             1,542.84
09/16    Card Purchase        09/14 Taco Bell #027875 Mckinney TX Card 4822                  -1.08             1,541.76
09/16    09/16 Transfer To Sav Xxxxx4172                                                     -5.00             1,536.76
09/16    Card Purchase With Pin 09/16 Wal-Mart #6078 Wylie TX Card 4822                     -19.28             1,517.48
09/16    Capital One    Crcardpmt 925730180193522 Web ID: 9541719018                        -50.00             1,467.48
09/17    Card Purchase         09/16 India Bazaar Plano Plano TX Card 4822                  -26.66             1,440.82
09/17    Card Purchase         09/16 Oasis International Mar Plano TX Card 4822             -48.11             1,392.71
09/18    Card Purchase         09/16 Asia Salon Murphy TX Card 4822                         -15.00             1,377.71
09/18    Card Purchase         09/16 Academic Outfitters Plano TX Card 4822                 -70.37             1,307.34
09/18    Card Purchase         09/17 Agha Juice Plano TX Card 4822                          -14.58             1,292.76
09/18    Card Purchase         09/17 Apl*ltunes.Com/Bill 866-712-7753 CA Card                 -5.40            1,287.36
         4822
09/18    T-Mobile      Handset 5562882          WeblD:0000450304                           -152.99             1,134.37
09/20    Card Purchase Return 09/19 Target          00025502 Wylie TX Card 4822              10.83             1,145.20

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        CHASEO                                                                            August 21, 2019through September 20, 2019
                                                                                            Primary A c c o u n t - 4 8 8 5




!TRANSACTION DETAILj                          (continued)

 DATE        DESCRIPTION                                                                                    AMOUNT                   BALANCE
09/20        Card Purchase       09/19 Target   00025502 Wylie TX Card 4822                                    -28.81            1,116.39
09/20        Card Purchase       09/20 Amzn Mktp US*Xd24Q71 Amzn.Com/Bill WA                                   -16.50            1,099.89
             Card 4822
09/20        Monthly Service Fee                                                                               -12.00            1,087.89
              Ending Balance                                                                                                    $1,087.89

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the three ways you can avoid this
fee during any statement period.

•      Have direct deposits totaling $500.00 or more.
       (You did not have a direct deposit this statement period)

       One of our bankers can help you set up direct deposit in just a few minutes.

•      OR, keep a minimum daily balance In this checking account of $1,500.00 or more.
       (Your minimum daily balance was -$73.73)

•      OR, keep an average daily balance of qualifying linked deposits and investments of $5,000.00 or more.
       (Your average daily balance of qualifying linked deposits and investments was $859.19)

       Talk to a banker about transferring your balances to Chase today!

Stop In today and explore all Chase has to offer.


!OVERDRAFT AND RETURNED ITEM FEE SUMMARY!
                                                                                                   Total for                      Total
                                                                                                This Period                Year-to-date
Total Overdraft Fees*                                                                               $34.00                      $34.00
Total Returned Item Fees                                                                               $.00                        $.00

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees




    FATIMAAU                                                                                    Account Number:-4172



     SAVINGS SUMMARY
                                                                                       AMOUNT
    Beginning Balance                                                                   $9.28
    Deposits and Additions                                                              12.24
    Other Withdrawals                                                                   -1.35
    Ending Balance                                                                     $20.17

    Annual Percentage Yield Earned This Period                                         0.00%

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        CHASEO                                                                                 August 21, 2019through September 20, 2019
                                                                                                   Primary Account:                   4685



!TRANSACTION D E T A I L I - - - - - - - - - - - - - - - -
DATE        DESCRIPTION                                                                                               AMOUNT           BALANCE
              Beginning Balance                                                                                                             $9.28
08/21
09/03
            ODP Transfer To Checking 000004420754685
            Remote Online Deposit       1
                                                                                                                       -1.35
                                                                                                                        7.24
                                                                                                                                             7.93
                                                                                                                                            15.17
                                                                                                                                                         -====
09/16       Transfer From Chk Xxxxx4685                                                                                 5.00                20.17
              Ending Balance                                                                                                               $20.17        -ra
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IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
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incorrect or if you need more information about a transfer listed on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:
         •     Your name and account number
         •     The dollar amount of the suspected error
         •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. lfwe take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation
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incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, N.A. Member FDlC

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CHASEO                                                     August 21, 2019through September 20, 2019
                                                             Primary Account: ■■■■-4685




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        DEBTOR HAS NO
            EM LOYM NT
    AGRE MENT WITH
      AGLE PROTECTION
               GROUP, INC
              Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                        Desc
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                                            Number ~a~
                                            l984lr 0                        1                Earnings Su..,ement
                   EAGLE PROTECTIVE GROUP INC
                   PO BOX 814392                                                             Period Starting:      10/07/2019
                   DALLAS, TX 75234                                                          Period Ending:        10/20/2019
                                                                                             Pay Date:             10/31/2019




              Taxable Marital Status:      Single
              Exemptions/Allowances:          Tax Override:                                              Muhammad Siddiqi
                   Federal:    o                 Federal:   10.00Addnl
                   State:      o                 State:                                                  3020 Big Town Blvd
                    Local:     o                 Local:                                                  Mesquite, TX 75150
              Social Security Number:      XXX-XX-XXXX


  Eaminll!                  rate      hours/units           this l!!lriod       mrtodate
  Regular                                   o.oo               3500.00            77000.00
  Bonus                                                           0.00             3300.00

               Gross Pay                                   $3,500.00            $80,300.00



                    Statuto!X Deductions                    thi§ Deriod         ~rtodate
                    Federal Income                             -590.87           13543. 70
                    Social Security                            -217.00            4978.60
                    Medicare                                    -50.75            1164.35

                    Net Pay                                $2,641.38




                                                                                                    Your federal taxable wages this period are $3,500.00




                                                                                                                                                     32-2/1110
               EAGLE PROTECTIVE GROUP INC
               PO BOX 814392
               DALLAS, TX 75234
                                                                                             Payroll Check Number: 19846
                                                                                             Pay Date:             10/31/2019


Pay to the
order of:
This amount
                                                                                                                                                 $2,641.38



 CHASE                        Muhammad Siddiqi
                              3020 Big Town Blvd
                              Mesquite, TX 75150
              Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                    Desc
                       Exhibit L Defendants Document Production Page 215 of 333
                   Com~ Code         Loci... , Number ~                                  Earnings S1.acement
                   RN 7     20987851 011       ~ lofl
                   EAGLE PROTECTIVE GROUP INC
                   PO BOX 814392                                                         Period Starting:     09/23/2019
                   DALLAS, TX 75234                                                      Period Ending:       10/06/2019
                                                                                         Pay Date:            10/17/2019




              Taxable Marital Status:      Single
              Exemptions/Allowances:          Tax Override:                                          Muhammad Siddiqi
                   Federal:    o                 Federal:   10.00 Addnl
                   State:      o                 State:                                              3020 Big Town Blvd
                   Local:      o                 Local:                                              Mesquite, TX 75150
              Social Security Number:      XXX-XX-XXXX


  Eami!!i!S                 rate      hours/units           this ll!riod    leartodate
  Regular                                   0.00               3S00.00        73S00.00
  Bonus                                                           0.00         3300.00

               Gross Pay                                    $3,500.00       $76,800.00


                    Statulo!X Deductions                    this ll!!riod   leartodate
                    Federal Income                             -S90.87        129S2.83
                    Social Security                            -217.00         4761.60
                    Medicare                                    -50.75         1113.60

                    Net Pay                                 $2,641.38




                                                                                                Your federal taxable wages this period are $3,500.00




                                                                                                                                                 32-2/1110
               EAGLE PROTECTIVE GROUP INC
               PO BOX 814392
               DALLAS, TX 75234
                                                                                         Payroll Check Number: 19840
                                                                                         Pay Date:             10/17/2019


Pay to the
order of:
                                                                                                                           C
This amount
                                                                                                                                             $2,641.38



 CHASE                        Muhammad Siddiqi
                              3020 Big Town Blvd
                              Mesquite, TX 75150
              Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                      Desc
                       Exhibit L Defendants Document Production Page 216 of 333
                   Com~ Code         Loch. .L Number ~                                     Earnings Sl.acement
                   RN 1     20987851 011      19833  Ton
                   EAGLE PROTECTIVE GROUP INC
                   PO BOX 814392                                                           Period Starting:     09109/2019
                   DALLAS, TX 75234                                                        Period Ending:       09122/2019
                                                                                           Pay Date:            10103/2019




              Taxable Marital Status:     Single
              Exemptions/Allowances:         Tax Override:                                             Muhammad Siddiqi
                   Federal:    o                Federal:   10.00Addnl
                    State:     0                State:                                                 3020 Big Town Blvd
                   Local:      0                Local:                                                 Mesquite, TX 75150
              Social Security Number:     XXX-XX-XXXX


  Earnings                  rate      hours/units          this (!!!riod   :tJ!!!rlodate
  Regular                                   0.00              3500.00        70000.00
  Bonus                                                          0.00         3300.00

               Gross Pay                                  $3,500.00        $73,300.00



                    S1atuto~ Deductions                    this ~riod      l,!eartodate
                    Federal Income                            -590.87        12361.96
                    Social Security                           -217.00         4544.60
                    Medicare                                   -50.75         1062.85

                    NetPay                                $2,641.38




                                                                                                  Your federal taxable wages this period are $3,500.00




               EAGLE PROTECTIVE GROUP INC                                                                                                          32-211110
               PO BOX 814392
               DALLAS, TX 75234
                                                                                           Payroll Check Number: 19833
                                                                                           Pay Date:             10/03/2019


Pay to the
order of:         Muhammad Siddiqi
This amount
                                                                                                                                               $2,641.38



 CHASE                       Muhammad Siddiqi
                             3020 Big Town Blvd
                             Mesquite, TX 75150
              Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                       Desc
                       Exhibit L Defendants Document Production Page 217 of 333
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                   Com~ Code
                   RN/
                                     Loc.lL
                            20987851 011
                                            Number P ~e
                                            19827     1
                                                                                            Earnings Statement
                   EAGLE PROTECTIVE GROUP INC
                   PO BOX 814392                                                            Period Starting:     08/26/2019
                   DALLAS, TX 75234                                                         Period Ending:       09/08/2019
                                                                                            Pay Date:            09/19/2019




              Taxable Marital Status:       Single
              Exemptions/Allowances:           Tax Override:                                           Muhammad Siddiqi
                   Federal:    0                  Federal:   10.00Addnl
                   State:      O                  State:                                               3020 Big Town Blvd
                   Local:      o                  Local:                                               Mesquite, TX 75150
              Social Security Number:       XXX-XX-XXXX


  Eamln!I!!                 rate      hours/units            this Dellod     :z:eartodate
  Regular                                    0.00              3500.00         66500.00
  Bonus                                                           0.00          3300.00

               Gross Pay                                    $3,500.00        $69,800.00


                    Statuto~ ~!!!.liQ!!!!                    !l:!is Deriod   xeartodate
                    Federal Income                                -590.87      11771.09
                    Social Security                               -217.00       4327.60
                    Medicare                                        -50.75      1012.10

                    Net Pay                                 $2,641.38




                                                                                                   Your federal taxable wages this period are $3,500.00




                                                                                                                                                    32-2/1110
               EAGLE PROTECTIVE GROUP INC
               PO BOX 814392
               DALLAS, TX 75234
                                                                                            Payroll Check Number: 19827
                                                                                            Pay Date:             09/19/2019


Pay to the
order of:         Muhammad Siddiqi
This amount
                                                                                                                                                $2,641.38



 CHASE                         Muhammad Siddiqi
                               3020 Big Town Blvd
                               Mesquite, TX 75150
           Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                     Desc
                    Exhibit L Defendants Document Production Page 218 of 333
                                                 ·""',
                 Com~ Code
                 RN 1
                                   Loe/. .. Number fa~e
                          20987851 01/
                 EAGLE PROTECTIVE GROUP INC
                 PO BOX 814392
                                            ~        o 1
                                                                                       Earnings Slgcement
                                                                                       Period Starting:      08/12/2019
                                                                                                                                       mi?
                 DALLAS, TX 75234                                                      Period Ending:        08/25/2019
                                                                                       Pay Date:             09/05/2019




           Taxable Marital Status:      Single
           Exemptions/Allowances:          Tax Override:                                           Muhammad Siddiqi
                Federal:    o                 Federal:   10.00Addnl
                State:      O                 State:                                               3020 Big Town Blvd
                Local:      0                 Local:                                               Mesquite, TX 75150
           Social Security Number:      XXX-XX-XXXX


Earnings                 rate      hours/uni1s           this !;!!riod   Jleartodate
Regular                                  0.00               3500.00        63000.00
Bonus                                                          0.00         3300. 00

            Gross Pay                                    $3,500.00       $66,300.00

                                                                                               Deposits
                                                                                               account number                         transit/ASA         amount
                 §taM!l~ Deductions                      thi!,! oeriod   )learto!!~
                                                                                               XXXXXX.1773                           xxxxxxxxx           2641. 38
                 Federal Income                             -590.87       11180.22
                 Social Security                            -217.00        4110.60
                 Medicare                                    -50.75         961.35

                 NetPay                                  $2,641.38




                                                                                              Your federal taxable wages this period are $3,500.00




            EAGLE PROTECTIVE GROUP INC
            PO BOX 814392
            DALLAS, TX 75234
                                                                                       Pay Date:                   09/05/2019



            De    ited to the account                                                                                                                amount
            Checking DirectDeposit                                                                                                                   2641. 38




                          Muhammad Siddiqi
                          3020 Big Town Blvd
                          Mesquite, TX 75150
            Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                           Desc
                     Exhibit L Defendants Document Production Page 219 of 333

                  Com~ Code
                  RN/         20987851 01/
                                              Loo'L   •   Number
                                                          ~
                                                                     ra~e o 1
                                                                                               Earnings Slg£ement
                  EAGLE PROTECTNE GROUP INC
                  PO BOX 814392                                                                Period Starting:     07/29/2019
                  DALLAS, TX 75234                                                             Period Ending:       08/11/2019
                                                                                               Pay Date:            08122/2019




            Taxable Marital Status:         Single
            Exemptions/Allowances:             Tax Override:                                               Muhammad Siddiqi
                 Federal: o                       Federal: 10.00 Addnl
                  State:     O                    State:                                                   3020 Big Town Blvd
                  Local:     o                    Local:                                                   Mesquite, TX 75150
            Social Security Number:         XXX-XX-XXXX


Eami!!!IS                  rate     hours/units             this ~riod          ~ear to date
Regular                                      0.00              3500.00            59500.00
Bonus                                                             0.00             3300.00

             Gross Pay                                      $3,500.00           $62,800.00
                                                                                                       Deposits
                                                                                                       account number                        transit/ASA         amount
                  Statutor:x Qfi!!uelign§                   thjs oeriod         mr!Qdate
                                                                                                                                            xxxxxxxxx           2641. 38
                                                                                                       XXXXXX1773
                  Federal Income                              -590.87             10589.35
                  Social Security                             -217.00              3893.60
                  Medicare                                     -50.75               910.60

                  Net Pay                                   $2,641.38




                                                                                                      Your federal taxable wages this period are $3,500.00




             EAGLE PROTECTIVE GROUP INC
             PO BOX 814392                                                                     Pay Date:                   08/22/2019
             DALLAS, TX 75234




             De          to the account                                                                                                                      amount
             Checking DirectD_eposit                                                                                                                         2641.38




                             Muhammad Siddiqi
                             3020 Big Town Blvd
                             Mesquite, TX 75150
           Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                    Desc
                    Exhibit L Defendants Document Production Page 220 of 333
                Company Code     Loe/Dept Number Page
                RN/ WJN 20987851 01/      6411746 1 of 1
                                                                                        Earnings Statement
                EAGLE PROTECTIVE GROUP INC
                PO BOX 814392                                                           Period Starting:     06/03/2019
                DALLAS, TX 75234                                                        Period Ending:       06/16/2019
                                                                                        Pay Date:            06/27/2019




           Taxable Marital Status:      Single
           Exemptions/Allowances:          Tax Override:                                            Muhammad Siddiqi
                 Federal:   o                 Federal:   10.00 Addnl
                 State:     o                 State:                                                3020 Big Town Blvd
                 Local:     O                 Local:                                                Mesquite, TX 75150
           Social Security Number:      XXX-XX-XXXX


Earnings                 rate      hours/units            this eeriod   :tear to date
Regular                                  0.00               3500.00       45500.00
Bonus                                                          0.00        3300.00

            Gross Pay                                    $3,500.00      $48,800.00

                                                                                                Deposits
                                                                                                account number                        transit/ABA         amount
                 Statutoix Deductions                     this eeriod   ~ear to date
                                                                                                XXXXXX1773                           xxxxxxxxx            2641. 38
                 Federal Income                             -590.87        8225.87
                 Social Security                            -217.00        3025.60
                 Medicare                                    -50.75         707.60

                 Net Pay                                 $2,641.38




                                                                                              Your federal taxable wages this period are $3,500.00




           EAGLE PROTECTIVE GROUP INC
           PO BOX 814392
           DALLAS, TX 75234                                                             Pay Date:                  06/27/2019




           De   sited to the account                                                                                                                 amount
           Checking DirectDeposit                                                                                                                    2641. 38




                           Muhammad Siddiqi
                           3020 Big Town Blvd
                           Mesquite, TX 75150
           Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                    Desc
                    Exhibit L Defendants Document Production Page 221 of 333

                                                                                                                                        ~
                Company Code     LodDept Number Page
                RN/ W3N 20987851 01/     6379371 1 of 1
                                                                                        Earnings Statement
                EAGLE PROTECTIVE GROUP INC
                PO BOX 814392                                                           Period Starting:     05/20/2019
                DALLAS, TX 75234                                                        Period Ending:       06/02/2019
                                                                                        Pay Date:            06/13/2019




           Taxable Marital Status:      Single
           Exemptions/Allowances:
                 Federal:   o
                                           Tax Override:                                            Muhammad Siddiqi
                                              Federal:   10.00 Addnl
                 State:     o                 State:                                                3020 Big Town Blvd
                 Local:     O                 Local:                                                Mesquite, TX 75150
           Social Security Number:      XXX-XX-XXXX


Earnings                 rate      hours/units            this 11eriod   ~ear to date
Regular                                  0.00               3500.00       42000.00
Bonus                                                          0.00        3300.00

            Gross Pay                                    $3,500.00       $45,300.00
                                                                                                Deposits
                                                                                                account number                        transit/ABA         amount
                 Statutory Deductions                     this period    year to date
                                                                                                XXXXXX1773                           xxxxxxxxx            2641. 38
                 Federal Income                             -590.87         7635.00
                 Social Security                            -217.00         2808.60
                 Medicare                                    -50.75          656.85

                 Net Pay                                 $2,641.38




                                                                                              Your federal taxable wages this period are $3,500.00




           EAGLE PROTECTIVE GROUP INC
           PO BOX 814392
           DALLAS, TX 75234                                                             Pay Date:                  06/13/2019




           De    sited to the account                                                                                                                amount
           Checking DirectDeposit                                                                                                                    2641. 38




                           Muhammad Siddiqi
                           3020 Big Town Blvd
                           Mesquite, TX 75150
           Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                       Desc
                    Exhibit L Defendants Document Production Page 222 of 333

                                                                                                                                           ~
                 Company Code     Loe/Dept Number Page
                 RN/ W3N 20987851 01/      6341546 1 of 1
                                                                                          Earnings Statement
                 EAGLE PROTECTIVE GROUP INC
                 PO BOX 814392                                                            Period Starting:     05/06/2019
                 DALLAS, TX 75234                                                         Period Ending:       05/19/2019
                                                                                          Pay Date:            05/30/2019




           Taxable Marital Status:        Single
           Exemptions/Allowances:            Tax Override:                                            Muhammad Siddiqi
                 Federal:   0                   Federal:   10.00 Addnl
                 State:     O                   State:                                                3020 Big Town Blvd
                 Local:     o                   Local:                                                Mesquite, TX 75150
           Social Security Number:        XXX-XX-XXXX


Earnings                 rate      hours/units              this 11eriod   ~ear to date
Regular                                    0.00               3500.00        38500.00
Bonus                                                            0.00         3300.00

            Gross Pay                                      $3,500.00       $41,800.00
                                                                                                  Deposits
                                                                                                  account number                         transit/ASA         amount
                 Statuto[Y'. Deductions                     this 11eriod   xearto date
                                                                                                  XXXXXX1773                            xxxxxxxxx           2641.38
                 Federal Income                               -590.87         7044.13
                 Social Security                              -217.00         2591. 60
                 Medicare                                      -50.75          606.10

                 Net Pay                                   $2,641.38




                                                                                                 Your federal taxable wages this period are $3,500.00




            EAGLE PROTECTIVE GROUP INC
            PO BOX 814392
            DALLAS, TX 75234
                                                                                          Pay Date:                   05/30/2019




            De   sited to the account                                                                                                                   amount
            Checking DirectDeposit                                                                                                                      2641. 38




                           Muhammad Siddiqi
                           3020 Big Town Blvd
                           Mesquite, TX 75150
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
         Exhibit L Defendants Document Production Page 223 of 333




      10.
Debtors Passport
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
         Exhibit L Defendants Document Production Page 224 of 333
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
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           11.
        Formation
        Documents
    Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                   Desc
             Exhibit L Defendants Document Production Page 226 of 333



   Form 201                                                                           This space reserved for office use.
   ( revised 6/01)
                                                                                                                           FILED
  Return in Duplicate to:                                                                                      In the Office of the
  Secretary of State                                                                                       Secretary of State of Texas
   P.O. Box 13697
  Austin, TX 78711-3697
                                        Articles of Incorporation                                                   MAR 1 o2003
  FAX:512/463-5709
                                        Pursua nt to Article 3.02
                                             Texas Business                                                    Corporatioos Section
  Filing Fee: $300                          Cor ration Act
                                                    \rtide I        ( orporate i\ame
The name of the corporation is as set forth below:
EAGLE PROTEC TIVE GROUP , INC.
 The name must contain the word "corporation," "company," "incoipOraied;" or an abbreviation of one
                                                                                                            of these terms. The name must not
 be the same as. deceptively similar to or similar to that of an existing corporate, limited liability company,
                                                                                                                or limited partnership name on
 file with the         of state. A relimi       check for "name availabili ' is recommended.




0     B. The initial registered agent is an individual resident of the state whose name is set forth
                                                                                                                                  below:
First Name                                                M.I.          Last Name                                            Suffix.
JAMELA                                                                 SIDDIQI
C. The business address of the re
Street Address                                                                                                    ipCode
5001 SPRINGVALLEY RD., STE 400 E

The number of directors constituting the initial board of directors and the names and addresses of
                                                                                                    the
person or persons who are to serve as directors until the first annual meeting of shareholders or
                                                                                                  until
their successors are elected and ualified are set forth below:
Director 1: First Name                                       M.I.             Last Name                                          Suffix.
JAMELA                                                                       SIDDIQI
Street Address                                     City                             State                         Zip Code
5001 Springvalley Rd., Ste 400 E DALLAS                                            TEXAS                         75244
Director 2: First Name                                       M.I.             Last Name                                         Suffix


Street Address                                     City                             State                       Zip Code


Director 3: First Name                                       M.L             Last Name                                          Suffix


Street Address                                     City                             State                       Zip Code
     Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                    Desc
              Exhibit L Defendants Document Production Page 227 of 333



                                               \rtick 4 - ,\utho.-i,c ll Shan:'>

0 A. The total number of shares the corporation is authorized to issue is
and the par value of each of the authorized shares is $

         . The total number of s es the corporation is authorized to issue is I
        he shares shall have no arvalue.
If the shares are to be divided into classes, you must set forth the designation of each class, the number of shares of
                                                                                                                          each
class, the par value (or statement of no par value), and the preferences, limitations, and relative rights of each class
                                                                                                                         in the
    ce rovided for        lemental information on this fonn.




Text Area




(The attached addendum are incorporated herein by reference.)


                                                        lncorpora tor
The name and address of the incorporator is set forth below.
Name:
 JAMELA SIDDIQI
Street Address                          City                         State                       Zip Code
5001 Springvalley Rd., 400 E            DALLAS                       TEXAS                       75244

t/    This document will become effective when the document is filed by the secretary of state.

    This document will become effective at a later date, which is not more than ninety (90) days from
the date of its filin b the secre of state. The dela eel effective date is


The undersigned incorporator signs these articles of incorporation subject to the penalties imposed by
law for the submission of a false or fraudulent document.


Signature ofincorporator·
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
         Exhibit L Defendants Document Production Page 228 of 333




                              12.
             TIO                AN              ORD R
        OR CONT MPT IN
        ROPAL LAWSUIT
 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                         Desc                 FILE
          Exhibit L Defendants Document Production Page 229 of 333                                                    DALLAS COUNT
                                                                                                                      9/6/2019 2:40 P
                                                                                                                        FELICIA PITR
                                                                                                                      DISTRICT CLER
                                                                                                              Jeremy Jones


                                        Cause No. DC-18-09276

ROPAL ENTERTAINMENT, LLC,                               §             IN THE DISTRICT COURT
                                                        §
Plaintiff,                                              §
                                                        §
v.                                                      §
                                                        §
HIBA ENTERTAINMENT, INC,                                §             DALLASCOUNTY,TEX AS
MOHAMMAD NASIR SIDDIQI, and                             §
AZHAR QASMI,                                            §
                                                        §
Defendants.                                             §             193rd JUDICIAL DISTRICT

                               MOTION FOR CONTEMPT AGAINST
                                 MOHAMMAD NASIR SIDDIQI

        Ropal Entertainment, LLC ("Ropal") files this Motion for Contempt Against Mohammad

Nasir Siddiqi ("Siddiqi") and shows:

        1.       On March 8, 2019, Ropal obtained Final Judgment against Hiba Entertainment,

Inc .• Mohammad Nasir Siddiqi, and Azhar Qasmi. No Motion for New Trial was filed or appeal

undertaken by any of the Defendants, and the judgment obtained by Ro pal is final for all purposes.

        2.       On April 11, 2019, Ropal served post-judgment discovery requests on Siddiqi. The

time period within which Siddiqi was required to respond to Ropal's post-judgment discovery

requests has long past, and Siddiqi intentionally made no response whatsoever.

        3.       Because Siddiqi failed to comply with his legal duties to respond to Ropal's post-

judgment discovery requests as required by law, this Court entered an Order compelling Siddiqi

to respond to the post~judgment discovery requests and sanctioning Siddiqi for his non-compliance

with these duties as required by the Texas Rules of Civil Procedure. By this Order Granting Motion


MOTION l<OR CONTEMPT AGAINST MOHAMMAD NASIR SIDDIQI. Page I
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193n1 Judicial District Court,
Dallas County, Texas
 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                          Desc
          Exhibit L Defendants Document Production Page 230 of 333




to Compel and for Sanctions dated June 13, 2019, Siddiqi was required to answer discovery and

pay sanctions in the amount of $1,000.00 on or before June 23, 2019. Siddiqi was served with a

copy of the Order by email on June 13, 2019. [A true and correct cop of this email is attached as

Exhibit 1.]

        4.       Siddiqi did not comply with the Court's Order; he has provided only incomplete

responses to the discovery requests and paid only $100.00 of the ordered $1,000.00 in sanctions.

[A true and correct copy of Siddiqi's incomplete discovery responses is attached as Exhibit 2.]

        5.       Siddiqi's failure to provide written responses to discovery and failure to pay

sanctions as ordered by this Court constitutes contempt of the Court. Because Siddiqi continues

to flout the Court's authority and ignore his obligations under the Texas Rules of Civil Procedure

and the Orders of this Court, Ropal requests that Siddiqi be held in contempt so as to coerce his

compliance with the Orders of this Court and the Texas Rules of Civil Procedure. The Court is

authorized to grant this relief pursuant to Texas Government Code Section 21.002. Pursuant to

such authority, Siddiqi should be fined in an amount not to exceed One Hundred Dollars ($100.00)

and should be incarcerated in jail until such time as Siddiqi fully complies with the Court's prior

Order. Further, the Court should order that Siddiqi pay to Ropal's counsel additional sanctions in

the amount of not less than One Thousand Five Hundred Dollars ($1,500.00), necessitated to

reimburse Ropal for the bringing of this Motion for Contempt, and further order that failure to pay

such additional sanctions will constitute an additional act of contempt.




MOTION FOR CONTEMPT AGAINST MOHAMMAD NASIR SIDDIQI - Page 2
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
Dallas County, Texas
 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                       Desc
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                                            Request for Relief

       Ropal requests that the Court issue an Order to Show Cause, requiring Siddiqi to personally

appear and to show cause why he should not be held in contempt of court, fined and incarcerated.

Ropal further requests that the Court award additional sanctions for Siddiqi's continuing failure to

comply with the Court's Oder that he respond to post-judgment discovery requests and pay

sanctions, and grant it an other relief to which it is entitled.

                                                   Rpgpectfully submitted,
                                                     I   .




                                                   NEEDHAM □ VERNONE
                                                   1412 Main Street, Suite 1400
                                                   Dallas, Texas 75202
                                                   Telephone: (214) 741-7447
                                                   Facsimile: (214) 761-1910
                                                   Email: mvernone@earthlink.com

                                                   ATTORNEYS FOR RO PAL
                                                   ENTERTAINMENT, LLC

                                       Order Setting Hearing Date
                                                                                                rd
        The foregoing Motion for Contempt is hereby set for hearing in the Courtroom of the 193
Judicial District Court, Dallas County, Texas, at _ _ _ _ _ _ _                  .m. o'clock on
- - - - - - - - ' 2019.

        Signed this _ _ _ _ _ _ _ _ ., 2019.



                                                    Honorable Judge Presiding


MOTION FOR CONTEMPT AGAINST MOHAMMAD NASIR SIDDIQI - Page 3
                                                                                        rd
Rapa/ Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 Judicial District Court,
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                                           Certificate of Sen-rice

       The undersigned certifies the foregoing Motio              r Contempt has been served on all parties
in accordance with the Texas Rules of Civil Procedu             o: Se~~,1•
                                                                 /• ' i '
                                                                                2019.
                                                                                  j . ' .\
                                                                         I               .

                                                             Michael J.Vemone
                                                                             \.




MOTION FOR CONTEMPT AGAINST MOHAMMAD NASIR SIDDIQI - Page 4
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193rd Judicial District Court,
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Michael J Vernone

From:                                       Michael J Vernone <mvernone@earthlink.net>
Sent:                                       Thursday, June 13, 2019 2:59 PM
To:                                         'Hiba Entertainment Inc usa tx'
Subject:                                    Ropal Entertainment v. Hiba Entertainment, Siddiqi and Qasmi
Attachments:                                Ropal Signed Order Granting MTC Hiba.pdf; Ropal Signed Order Granting MTC
                                            Siddiqi.pdf

Importance:                                 High



Mr. Siddiqi,

To date you have failed and refused to respond to our post-judgment discovery requests, despite your repeated
representations that you would do so.
As a result, I filed a Motion to Compel and for Sanctions. The Court held a hearing this morning, and granted the motion
in its entirety.
A copy of the Order granting the motion is attached.
Pursuant to the Order, you must fully respond to the post-judgment discovery requests on or before Monday, June 24,
2019.
Additionally, you must pay $1,000.00 in sanctions for your failure to respond to discovery. This payment is also due
within 10 days from today. Payment should be made payable to "Law Offices of Michael J. Vernone", and must be
received by me here at my office on or before Monday, June 24, 2019.
Failure to comply with the Court's Order will subject you to additional penalties for being in contempt of Court.



Michael J Vernone
Attorney
Needham -Vernone
1412 Main Street, Suite 1400
Dallas, TX 75202
Tel: 214-741-7447
Fax: 214-761-1910
mvernone@earthlin k.net


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                                         Cause No. DC-18-09276

ROPAL ENTERTAI!\'1v1ENT, LLC,                           §             IN THE DISTRICT COURT
                                                        §
Plaintiff,                                              §
                                                        §
V.                                                      §
                                                        §
HIBA ENTERTA INMENT, INC,                               §              DALLASC OUKTY,T EXAS
MOHMm AD NASIR SIDDIQI, and                             §
AZHAR QAS:MI,                                           §
                                                        §
Defendant s.                                             §             193rd JUDICIAL DISTRICT

                                 ORDER GRANTING
                  PLAINTIFF'S MOTION TO COMPEL RESPONSES FROM
                           MOHAMMAD NASIR SIDDIQI TO
                   POST-JUDGMENT DISCOVERY AND FOR SANCTIONS

        On this day the Court considered the Motion to Compel and for Sanctions filed by Ropal

Entertainment, LLC ("Ropal'') against Mohammad Nasir Siddiqi ("Siddiqi"). Upon consideration

of the Motion and the arguments of counsel, the Court finds that the Motion is well taken and

should be GRANTED.

         IT IS THEREFORE ORDERED that Siddiqi must serve upon counsel for Ropal, Michael

J. Vernonc, v,ritten responses to Ropars Post-Judgment Interrogatories and Requests for

Production within ten (10) days of the date this Order is signed.

         IT IS FURTHER ORDERD that Siddiqi must pay to Michael J. Vemonc, attorney for

Ropal> $      /Of/)~            as sanctions for his failure to timely respond to the post-discovery

requests served upon him by Ropal> necessitatin g the filing and hearing of this Motion to Compel.

 ORDER GRANTING PLAINTIFF'S MOTION TO COMPEL RESPONSES FROM MOHAMMAD NASIR
 SIDDIQI TO POST JUDGMENT DISCOVERY AND FOK SANCTIONS - Page l                             rd
 Rapa/ Entertainment, /.LC. v. Hiba Entertainment, Inc .• et al; Cause No. DC-18-09276; 193 Judicial District Court,
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        IT IS FURTHER ORDERED that this payment must be made by Siddiqi such that it is

received by Michael J. Vcmone on or before the expiration of ten (10) days from the date this

Order is signed.

        Signed June 13, 2019.




 ORDER GRANTING PLAINTIFF'S MOTION TO COMPEL RESPONSES FROM MOHAMMAD NASIR
 SIDDIQI TO POST JUDGMENT DISCOVERY AND FOR SANCTIONS - Page 2                           rd
 Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 Judicial District Court,
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                                          Cause No. DC-18-09276

ROPAL ENTERTAIN MENT, LLC,                               §             IN THE DISTRICT COURT
                                                         §
Plaintiff,                                               §
                                                         §
v.                                                       §
                                                         §
HIBA ENTERTAIN MENT, INC,                                §             DALLAS COUNTY, TEXAS
MOHAMMAD NASIR SIDDIQI, and                              §
AZHAR QASMI,                                             §
                                                         §
Defendants.                                              §             193rd JUDICIAL DISTRICT
                           POST-JUDGMENT INTERROGATORIES TO
                                 MOHAMMAD NASIR SIDDIQI

TO:     Mohammad Nasir Siddiqi, pro se, 14411 Tanglewood Drive, Farmers Branch, Texas
        75234.

        Pursuant to Texas Rules for Civil Procedure 196 and 621a, Ropal Entertainment, LLC

("Ropal"), Plaintiff, serves these Post-Judgment Interrogatories on Mohammad Nasir Siddiqi

("Siddiqi"), Defendant. Siddiqi is required to serve a sworn written response on Ropal within

thirty (30) days after the service of these Interrogatories.

                                                   Definitions
        1.       "You", "Your" or "Siddiqi" shall mean and include Mohammad Nasir Siddiqi, his

attorneys, agents or other persons or entities acting or purporting to act on his behalf.

        2.       "Ropal" means Ropal Entertainment, LLC.

        3.       "Identify" means to provide any and all information necessary, useful or helpful in

identifying what any asset or debt is, where it is located, the persons or entities having physical

possession of the asset or debt, its origin, and/or its value, both at time of acquisition and as of the


POST JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI· 1                                                  Page 1.
Ropal Entertainment, LLC, v. Hiba Entertainment, inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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 date of responding to these Post-judgment Interrogatories; "identify " shall include but not be

 limited to provision of account numbers, serial numbers, policy numbers, descriptions of size and

 weight, color, and any and all identifying features; "identify" shall also include a statemen
                                                                                              t as to
 correct value, balance owed or owing, or face value; as to a person or entity, "identify
                                                                                          " means to
provide the full legal name, any aliases or nicknames, any trade names, current residenc
                                                                                         e and
 business address, all telephon e numbers, all email addresses, all web sites, and all social media

contact information; as to a docume nt, "identify " means to state its date of creation, subject
                                                                                                             matter,
length in pages, medium of creation and transmission, and to identify all persons or
                                                                                     entities
involved in its creation or authorsh ip, its transmissions, or who received it.




POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQ I·
                                                                                       2
Ropal Entertainment, LLC, v. Hiba Entertainment, inc., et al; Cause No. DC-I 8-09276; 193 rd
                                                                                             Judicial District   Court,
Dallas County, TeXW!
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                                                     Interrogatories



 INTERROGATORY NO. I:

 Please state your full legal name, any aliases used by you or by which you
                                                                            have been known,
 residence and business addresses, telephone nwnbers, fax numbers, email
                                                                         addresses, web
 site/addresses/URLs, social media accounts, driver's license number, state ID
                                                                               card number, social
 security number, and passpo rt number and country of issuance.

         RESPO NSE:                     iVl ( tiil i v1///' .1.1 Ji   _A.j,.f JI f]




INTERROGATORY NO. 2:

Please state the name and address of your current employer, business address
                                                                            , your job title and
responsibilities; if you are self-employed, so state and identify all businesses and
                                                                                                business ventures
in which you are engage d, stating the nature of your involvement and duties in each
                                                                                                    such business
                     EA 4L £- (::,~ 07€C11 t/8- ofr2ov ()                          l f-' C-
or venture.                /f1 Nl'J4            [)6-g)M....:::f M{i-f vf , ( f{- fZ_     j
         RESPO NSE:            :Pl~         t-a:r f?eet..s0::_,                .
                                ..pMA f /-f-1- ~{?5 2---J <-t
                             ( .£t;c.,0t/<.!1'( j1u.f'Sr'f!S'S)

INTERROGATORY NO. 3:

Identify each bank account owned by you or as to which you have or had signatory authori
                                                                                                          ty which
was o~n at~y time from January 1, 2014 to present, whether each accoun t is
                                                                            now open or closed,
C WM r              8,.-:A-r-f t<'...     { L     lo~~ ) /l.ttt~ tJe-¼1
 C~G                 bPrN\J......          (_
POST-JUDGMENT INTERROGATORIES TO MOHAM MAD NASIR
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Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276;
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 and state its highest, lowest and current balance as of your date of Response to
                                                                                  these
 Interrogatories.




INTERROGATORY NO. 4:
                                                                                                A   .J3'1.J./
                                                                                                  c k f~ fa t,      fi c c.r
Identify each bank account owned by your spouse or domestic partner which was open at any
                                                                                                                time
from January 1, 2014 to present, whether each account is now open or closed, and state its highest,

lowest and current balance as of your date of Response to these Interrogatories.

         RESPONSE:




INTERROGATORY NO. 5:

Identify each insuranc e policy of any and every kind and nature, includin g but not limited
                                                                                             to life,
homeowners, business and auto (with all schedules, riders, supplements and endorsements),
                                                                                          on
which you paid any premium from January I, 2014 to present or of which you were or
                                                                                   are the
owner or beneficiary of the policy.

        RESPONSE:                   uJt5t.JE-




POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI -
                                                          4
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09 276; 193 rd Judicial
                                                                                                      District Court,
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 INTERROGATORY NO. 6:

 Identify each insurance policy of any and every kind and nature, including but not limited to life,

 homeowners, business and auto (with all schedules, riders, supplements and endorsements), on

 which your spouse or domestic partner paid any premium from January I. 2014 to present
                                                                                        or of
 which your spouse or domestic partner was or is the owner or beneficiary of the policy.

         RESPONSE:            j:('lSu f.1+1v✓cE FoZ                              C;rHZ._
                               !Jo l,lf- r

INTERROGATORY NO. 7:

Identify all United States Income Tax returns filed by you, including information returns
                                                                                          and
declarations of estimated tax, for the tax years 2014 through 2018, inclusive.

         RESPONSE:




INTERROGATORY NO. 8:

Identify all United States Income Tax returns filed by your spouse or domestic partner, including

information returns and declarations of estimated tax, for the tax years 2015 through
                                                                                      2018,
inclusive.

         RESPONSE:




POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI -
                                                                                      S
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INTERRO GATORY NO.                2:
Identify each parcel, tract or interest in real estate in which you have or have had any legal or

equitable interest from January 1, 2014, to the present.

         RESPONSE:




INTERRO GATORY NO. 10:

Identify each parcel, tract or interest in real estate in which your spouse or domestic partner has or

has had any legal or equitable interest from January 1, 2014, to the present.

         RESPONSE:




INTERRO GATORY N0.11:

Identify each certificate of common or preferred capital stock or other security or ownership

interest of or in any corporation, limited liability company, limited liability partnership, limited

partnership, partnership, mutual fund, bond fund, investment trust and/or franchise or franchise

agreement in which you have any legal or equitable interest from January I, 2014, to the present.

        RESPONSE:               Hfht-   €f.J1t:f_J/HfJ fY/&.f( (i.Jc.-
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Ropa/ Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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 INTERR OGATO RYNO.1 2:

 Identify each certificate of common or preferred capital stock or other security or ownership

interest of    any corporation, limited liability company, limited liability partnership, limited

partnership, partnersh ip, mutual fund, bond fund, investmen t trust and/or franchise or franchise

agreement in which your spouse or domestic partner has any legal or equitable interest from

January I, 2014, to the present.

         RESPONSE:




INTERROGATORY NO. 13;

Identify each appraisal done within the preceding sixty (60) months on any real or personal

property in which you own any legal or equitable interest, and each appraisal ever done with

respect to any real or personal property currently owned or possessed by you.

        RESPONSE:
                                                   NI Pr-
INTERROGATORY NO. 14:

Identify each appraisal done within the preceding sixty (60) months on any real or personal

property in which your spouse or domestic partner owns any legal or equitable interest, and each

appraisal ever done with respect to any real or personal property currently owned or possessed by

your spouse or domestic partner.



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        RESPONSE:



                                               ti/I+
INTERROGATORY NO. 15:

Identify each lease of real or personal property or other executory contract of whatever kind or

nature to which you are a party or in which you have any current or future legal or equitable

interest.

        RESPONSE:




INTERROGATORY NO. 16:

Identify each lease of real or personal property or other executory contract of whatever kind or

nature to which your spouse or domestic partner is a party or in which your spouse or domestic

partner has any current or future legal or equitable interest.

        RESPONSE:




INTERROGATORY N0.17:

Identify each note, security document, guaranty, credit account, charge account and any other

indebtedness owed by you to any other person or entity.




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         RESPONSE:




INTERROGATORY NO. 18:

Identify each note, security document, guaranty, credit account, charge account and any other

indebtedness owed by your spouse or domestic partner to any other person or entity.

         RESPONSE:
                                         rlloNE

INTERROGATORY NO. 19:

Identify each note, security document, guaranty, open account, invoice, and any other indebtedness

owed to you by any other person or entity.

         RESPONSE:




INTERROGATORY NO. 20:

Identify each note, security document, guaranty, open account, invoice, and any other indebtedness

owed to your spouse or domestic partner by any other person or entity.

        RESPONSE:




POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI - 9
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 INTERROGATORY NO. 21:

 Identify each financia l statemen t issued by you or on your behalf to any entity, includin
                                                                                             g any
 financial institution, from January 1, 2014. to the present.
                                                       /le. · hr-/ - ·{1 A-,J1(_
         RESPONSE:                          C +/Mt-·r /~'1' rvu~
                                                                               1-




INTERROGATORY NO. 22:

Identify each financia l statemen t issued by your spouse or domesti c partner to any entity,
                                                                                                          includin g
any financial institutio n, from January 1, 2014, to the present.

         RESPONSE:




INTERR OGATO RY NO. 23:

Identify each stock brokerag e or other investme nt or retireme nt account in which you
                                                                                                       own or have
owned any legal or equitable interest from January I, 2014, to the present.

         RESPONSE:




INTERROGATORY NO. 24:

Identify each stock brokerage or other investment or retirement account in which your spouse or

domestic partner owns or has owned any legal or equitable interest from January 1, 2014, to the

                                              ~/\Jr
POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQ I.
                                                                                      10
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276;
                                                                                     193 rd Judicial   District Court,
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 present.

         RESPONSE:




INTERROGATORY NO. 25:

Identify each financial statement, including balance sheets, profit and loss statements and

statements of changes in financial position issued since January 1, 2014, by any business in which
                                                                                 ..,..... -       '

you own or have owned any legal or equitable interest.                   -    (+4i_btL 6JJEN4f/c. h'\\Y
         RESPON SE:                Cffrr-J G- f?-1+-rS lC.                                    .




INTERROGATORY NO. 26:

Identify each financial statement, including balance sheets, profit and loss statements and

statements of changes in financial position issued since January 1, 2014, by any business in which

your spouse or domestic partner owns or has owned any legal or equitable interest.

         RESPONSE:




INTERROGATORY NO. 27:

Identify each sole proprietorship, limited liability company, limited liability partnership, joint

venture, limited partnership, general partnership, and/or any other business in which you own or

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POST-JUDGMENT INTERRO GATORIE S TO MOHAMMAD NASIR SIDDIQI - 11
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District
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have owned any legal or equitable interest from January 1, 2014 to the present.




INTERROGATORY NO. 28:

Identify each sole proprietorship, limited liability company, limited liability partnership, joint

venture, limited partnership, general partnership, and/or any other business in which your spouse

or domestic partner owns or has owned any legal or equitable interest from January 1, 2014 to the

present.

         RESPONSE:




INTERROGATORY NO. 29:

Identify each motorcycle, automobile, truck, cab, motor home, mobile home, boat, airplane, or

livestock in which you own any legal or equitable interest.

        RESPONSE:                  y:_ 'pl/) Nor                      6 {IrJ
                                  ~          T/Zuc-/4 .

INTERROGATO RY NO. 30:

Identify each motorcycle, automobile, truck, cab, motor home, mobile home, boat, airplane, or

livestock in which your spouse or domestic partner owns any legal or equitable interest.



POST..JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI - 12
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         RESPONSE:




INTERROGATORY NO. 31:

Identify each United States Gift Tax return filed by you or on your behalf within the last ten (10)

years.

         RESPONSE:




INTERROGA TORY NO. 32:

Identify each United States Gift Tax return filed by your spouse or domestic partner, or on their

behalf, within the last ten ( 10) years.


                                        ~
         RESPONSE:




INTERROGA TORY NO. 33:

Identify each Last Will and Testament and/or Codicil related thereto executed by you.

         RESPONSE:




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INTERROGATORY NO. 34:

Identify each Last Will and Testament and/or Codicil related thereto executed by your spouse or

domestic partner.

         RESPONSE:




INTERROGATORY NO. 35:

Identify each Last Will and Testament and/or Codicil related thereto under which you stand to

receive any property of any kind in any capacity.

         RESPONSE:




INTERROGATORY NO. 36:

Identify each Last Will and Testament and/or Codicil related thereto under which your spouse or

domestic partner stands to receive any property of any kind in any capacity.

        RESPONSE:




INTERROGATORY NO. 37:

Identify each piece of jewelry, including watches, having a value of $100.00 or greater, in which

you own any legal or equitable interest.        ~ [,J,4- -f[:J-/
                                                (7     4 ((()7) ~
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          RESPONSE:




 INTERROGATORY NO. 38:

 Identify each piece of jewelry, including watches, having a value of $100.00
                                                                              or greater, in which
 your spouse or domest ic partner owns any legal or equitable interest.

          RESPONSE:
                                           f/6N C-

 INTERROGATORY NO. 39:

 Identify each precious or semiprecious gemsto ne having a value in excess of
                                                                                           $100.00 in which you
own any legal or equitable interest.

         RESPONSE:




INTERROGATORY NO. 40:

Identify each precious or semiprecious gemstone having a value in excess
                                                                         of $100.00 in which
your spouse or domest ic partner owns any legal or equitable interest.


                                     /for/if

POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQ
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        RESPONSE:




INTERROGATORY NO. 41:
Identify each item made or consisting of precious metals of any sort, and whether in raw, cast or

jewelry form, having a value of greater than $100.00 (whether singularly or collectively as in the

case of coins, ingots, or other collections), in which you own any legal or equitable interest.

        RESPONSE:




INTERROGATORY NO. 42:

Identify each item made or consisting of precious metals of any sort, and whether in raw, cast or

jewelry form, having a value of greater than $ I 00.00 (whether singularly or collectively as in the

case of coins, ingots, or other collections), in which your spouse or domestic partner owns any

legal or equitable interest.

        RESPONSE:




INTERROGATORY NO. 43:

Identify each work of art (painting, sculpture, lithograph, serigraph, or other) having a value of

greater than $100.00 in which you own any iegal or equitable interest.



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          RESPONSE:




 INTERROGATORY NO. 44:

 Identify each work of art (painting, sculpture, lithograph, serigraph, or other)
                                                                                  having a value of
 greater than $100.00 in which your spouse or domestic partner own any legal or equitab
                                                                                                              le interest.
         RESPONSE:




INTERROGATORY NO. 45:

Identify each article of clothin g having original purchase price or fair market
                                                                                 value in excess of
$100.00 in which you own any legal or equitable interest.            ?     ..
                                                                --- ~ Uftl}'-.£
         RESPONSE:
                            .
                                f 1tuJt" ·-            ·. :
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INTERROGATORY NO. 46:

Identify each article of clothin g having original purchase price or fair market
                                                                                 value in excess of
$100.00 in which your spouse or domestic partner owns any legal or equitable interest
                                                                                                          .
         RESPONSE:




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 INTERR OGATO RY NO. 47:

 Identify each electrical appliance, including compute rs and related equipment, telephon
                                                                                          es, cell

 phones, etc., having an original purchase price or original fair market value in excess of $100.00

 in which you own any legal or equitable interest.
          RESPO NSE:            CJ   t,re"        .LL1J·.-rrt
                                               l--R-
                                                                      '{f~' L/ {?;        ,pv-
                                                ptft/Tvb- }t                   2,c>-P--     d)




 INTER ROGAT ORY NO. 48:

Identify each electrical appliance, including compute rs and related equipment, telephon
                                                                                         es, cell
phones, etc., having an original purchase price or original fair market value in excess of
                                                                                           $100.00
in which your spouse or domestic partner owns any legal or equitable interest.

         RESPONSE:




INTER ROGAT ORY NO. 49:

Identify each driver's license and/or government issued identification issued to you
                                                                                     in the
preceding ten (10) years providing driver's license number or identification number, state
                                                                                           of
issuance, name in which it was held, and residence or other address identified thereon.

         RESPO NSE:            () (I/  C/ #:               !X]J G           /l)t- tt:XM
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INTERROGATORY NO. SO:

Please state your United States Social Security Number.

        RESPONSE:




INTERROGATORY NO. 51:

Identify each location of residence or business maintained by you for a period of more than one

month at any time during the period from January 1, 2014 to present.

        RESPONSE:             1-f{hvt,,          ~~7A/NM ,:,J1 ·



INTERROGATORY NO. 52:

Identify each employer and any other person or entity who has paid you monetary or non-monetary

compensation for labor or personal services, whether or not such person or entity provided you

with a Form W-2, Form 1099 or other statement of wages paid or taxes withheld for the period

January 1, 2014, to present.                                            ,   .   G//!...OU f
        RESPONSE:             e/tqif f f<..DrectrVE


INTERROGATORY NO. 53:

Identify each employer and any other person or entity who has paid your spouse or domestic


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partner monetary or non-monetary compensation for labor or personal services, whether or not

such person or entity provided your spouse or domestic partner with a Form W-2, Form 1099 or

other statement of wages paid or taxes withheld for the period January 1, 2014, to present.

         RESPONSE:




INTERROGATORY NO. 54:

Identify each person or entity having possession of any real or personal property in which you own

a legal or beneficial interest.

         RESPONSE:




INTERROGATORY NO. 55:

Identify each person or entity having possession of any real or personal property in which your

spouse or domestic partner owns a legal or beneficial interest.

         RESPONSE:




INTERROGATORY NO, 56:

Identify each safety deposit box, safe or vault in which is located any personal property in which

you own any legal or equitable interest, and identify the contents of each such safety deposit box,


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safe or vault.

        RESPONSE:
                               CJ-/1tS E [5A-NK-
                    {j)           _tA-rE-7'j Bo.A
INTERROGATORY NO. 57:

Identify each safety deposit box, safe or vault in which is located any personal property in which

your spouse or domestic partner owns any legal or equitable interest.

        RESPONSE:




INTERROGATORY NO. 58:

State your country of birth, country of citizenship, and identify any and all papers, permits, or

documents which authorize your presence and/or residence within the United States of America,

including but not limited to dates of issuance and dates of expiration of each such paper, permit,

or document.

        RESPONSE:              f-/ff2J-f.A-,,i (,fo~u)                       '
                              USit C I -rrze=,J~fl7'f

INTERROGATORY NO. 59:

Identify each claim of copyright, patent, trademark or other claim of intellectual property, whether

registered or not, in which you have or have had a legal or beneficial interest since January 1, 2014



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to the present.

        RESPONSE:
                                          (!JoNE-
INTERROGATORY NO. 60:

Identify each claim of copyright, patent, trademark or other claim of intellectual property, whether

registered or not, in which your spouse or domestic partner has or has had a legal or beneficial

interest since January 1. 2014 to the present.

        RESPONSE:
                                                Nowr
INTERROGATORY NO. 61:

Identify each article, essay, book, manuscript, manual, song lyric or melody, recording, or other

work of the written or spoken word, whether published or not, in which you have or have had a

legal or beneficial interest since January 1, 2014 to the present.

        RESPONSE:




INTERROGATORY NO.                62:
Identify each article, essay, book, manuscript, manual, song lyric or melody, recording, or other

work of the written or spoken word, whether published or not, in which your spouse or domestic



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partner has or has had a legal or beneficial interest since January 1, 2014 to the present.

         RESPONSE:




INTERROGATORY NO. 63:

Please state the amount of all wages or any other compensation and provide a full description of

how all other compensation is computed and paid to you (whether commission, bonus, etc.) from

any employment, venture, contractor relationship and the like for each year from 2014 to the

present, including year-to-date for the current year.

         RESPONSE:




INTERROGATORY NO. 64:

Please state the amount of all wages or any other compensation and provide a full description of

how all other compensation is computed and paid to your spouse or domestic partner (whether

commission, bonus, etc.) from any employment, venture, contractor relationship and the like for

each year from 2014 to the present, including year-to-date for the current year.

         RESPONSE:




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 INTERROGATORY NO. 65:

 Please state the full name and address of all businesses in which you have
                                                                            had any owners hip
 interest since January 1, 2014, together with a description of the business ~d
                                                                                your interest therein.
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          RESPONSE:            TT      V'-'     v,-,-n   -A •
                                                             ::.vi-~




 INTERROGATORY NO. 66:

 Please state the full name and address of all businesses in which your spouse or domest
                                                                                         ic partner
 has had any owners hip interest since January 1, 2014, together with a descrip
                                                                                tion of the business
 and your spouse or domest ic partner 's interest therein.

         RESPONSE:




INTERROGATORY NO. 67:

Describe all income (whether monetary or in-kind) received by you from any and every
                                                                                     source
other than wages, stating the amount, source, name of payor, and the basis
                                                                           for such paymen t or
transfer, from January 1, 2014, to the present.

         RESPONSE:

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INTERROGATORY NO. 68:

Describe all income (whether monetary or in-kind) received by your spouse or domestic partner

from every source other than wages, stating the amount, source, name of payor, and the basis for

such payment or transfer, from January 1, 2014, to the present,

         RESPONSE:




INTERROGATORY NO. 69:

If you have authority to sign checks or other instruments on any bank, institutional or other account

not identified in Response to Interrogatory No. 3, please identify the bank or institution, account

number, and owner of the account.

         RESPONSE:




INTERROGATORY NO. 70:

If your spouse or domestic partner has authority to sign checks or other instruments on any bank,
institutional or other account not identified in Response to Interrogatory No. 3, please identify the

bank or institution, account number, and owner of the account.

        RESPONSE:




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INTERROGATORY NO. 71:

Itemize in detail all assets, whether tangible or intangible, having a fair market value in excess of

$100.00 owned by you, stating a description of the asset, its fair market value, and location.

        RESPONSE:

                                                        tJolVf--
INTERROGATORY NO. 72:

Identify in detail all assets, whether tangible or intangible, having a fair market value in excess of

$100.00 owned by your spouse or domestic partner, stating a description of the asset, its fair market

value, and location.

        RESPONSE:




INTERROGATORY NO. 73:

Identify all commodities, stock and other securities owned by you; please state: the number of

shares, the name of the entity, present location, description of certificates or other evidence of

ownership, serial or identifying nwnber of each, and current market value.

        RESPONSE:




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  INTE RRO GAT ORY NO. 74:

  Identify all commodities, stock and other securities owne
                                                            d by your spouse or domestic partner;
  please state: the number of shares, the name of the entity,
                                                              present location, description of
  certificates or other evidence of ownership, serial or identi
                                                               fying number of each, and current
 market value.

          RESPONSE:




 INTE RRO GAT ORY NO. 75:

 Identify all jewelry, antiques or other collectibles owned
                                                            by you, including a full description, the
 fair market value and location of each.

         RESPONSE:                      @ ·{j) &1uA- .
                                         v,-c#-- !JJ/rllLH
INTE RRO GAT ORY NO. 76:

Identify all jewelry, antiques or other collectibles owne
                                                             d by your spouse or domestic partner,
including a full description, the fair mark et value and locati
                                                                on of each.
         RESPONSE:
                                                fJo,ve-


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INTERROGATORY NO. 77:

Identify each a boat, motor vehicle, trailer, airplane, gun or animal in which you own a legal or

any beneficial interest; please state the purchase price, current indebtedness, location, serial or

model number of each, and a complete description of each item.

        RESPONSE:                              ONIS"             Ct ol'J
                                                  :t- 5of1J

INTERROGATORY NO. 78:

Identify each boat, motor vehicle, trailer, airplane, gun or animal in which your spouse or domestic

partner owns any legal or beneficial interest; please state the purchase price, current indebtedness,

location, serial or model number of each, and a complete description of each item.

        RESPONSE:




INTERROGATORY NO. 79:

Identify each person who owes you money, including name and address of debtor, the basis of the

indebtedness and amount owed, and identify each document evidencing such indebtedness.

        RESPONSE:
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                              ~~ &.Mml                                              4 ~ 60 0



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INTERROGATORY NO. 80:

Identify each person who owes your spouse or domestic partner money, including name and

address of debtor. the basis of the indebtedness and amount owed, and identify each document

evidencing such indebtedness.

         RESPONSE:




INTERROGATORY NO. 81:

Identify all mortgages, liens, promissory notes or other encumbrances held by you, or attach a

copy of each to your Answers; include in your Answer all amounts still owing to you and when

the obligation is anticipated to be retired.

         RESPONSE:




INTERROGATORY NO. 82:

Identify all mortgages, liens, promissory notes or other encumbrances held by your spouse or

domestic partner, or attach a copy of each to your Answers; include in your Answer all amounts

still owing to your spouse or domestic partner and when the obligation is anticipated to be retired.

         RESPONSE:




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 INTERROGATORY NO. 83:

 Identify each policy of insurance you have had since January 1, 2014, and state the name of each

 carrier, policy number, term and current cash value,

         RESPONSE:




 INTERROGATORY NO. 84:

Identify each policy ofinsurance your spouse or domestic partner has had in the past five (5) years,

and state the name of each carrier, policy nwnber, term and current cash value.

         RESPONSE:
                                          NoN E

INTERR OGATO RY NO. 85:

Identify any money owed or due to you from any governmental agency, and state the name of the

entity from which you are entitled to this money, the amount owed or due, and the circumstances

surrom1ding such entitlement.

         RESPONSE:




INTERR OGATO RY NO. 86:

Identify any money owed or due to your spouse or domestic partner from any governmental


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 agency, and state the name of the entity from which your spouse or domestic partner
                                                                                     is entitled to
 this money, the amount owed and due, and the circums tances surroun ding such
                                                                               entitlement.

          RESPONSE:




 INTERROGATORY NO. 87:

 Identify each financial statement prepare d or issued by you or on your behalf
                                                                                since January 1,
 2014; attach a copy of each such financial statement to your Answers of these
                                                                               Interrogatories or
 set forth the contents of such verbatim.

         RESPONSE:




INTERROGATORY NO. 88:

Identify each financia l stateme nt prepare d or issued by your spouse or domest
                                                                                 ic partner or on their
behalf since January I, 2014; attach a copy of each such financial statement to
                                                                                your Answers of
these Interrogatories or set forth the contents of such verbatim.

         RESPONSE:




INTERROGATORY NO. 89:

Set forth verbatim the contents of your income tax returns for years 2014 -
                                                                            2018, inclusive, or


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attach a photocopy of each such return.

        RESPONSE;




INTERROGATORY NO. 90:

Set forth verbatim the contents of your spouse or domestic partner's income tax returns for years

2014 - 2018, inclusive, or attach a photocopy of each such return.

        RESPONSE:




INTERROGATORY NO. 91:

If since January 1, 2014 any of your accounts receivable or other assets valued at more than

$100.00 have been assigned or conveyed to another person or entity, please identify the account

or item assigned, date of assignment, the name and address of each assignee and the consideration

received therefor.

        RESPONSE:                           /V6Af€-

INTERROGATORY NO, 92:

If since January 1, 2014 any of your spouse or domestic partner's accounts receivable or other

assets valued at more than $100.00 have been assigned or conveyed to another person or entity,



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 please identify the account or item assigned, date of assignm ent, the name and address
                                                                                         of each
 assignee and the consider ation received therefor.

         RESPONSE:




 INTERR OGATO RY NO. 93:

 If since January 1, 2014, you have been a beneficiary of, or contributed to, any trust, identify the

 trust, and state: when the trust was created, the name and address of each trustee and benefici
                                                                                                 ary,
and the property contribu ted to the trust.

         RESPONSE:                         f/C> Nlr



INTERR OGATO RY NO. 94:

If since January 1, 2014, your spouse or domestic partner has been a beneficiary of, or contribu
                                                                                                 ted
to, any trust, identify the trust, and state: when the trust was created, the name and address
                                                                                               of each
trustee and beneficiary, and the property contributed to the trust.

         RESPONSE:




INTERROGATORY NO. 95:

If you are a benefici ary under the terms of the Will of any person now deceased, identify the


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 decedent and identify the state, court, and proceeding concerning the administration of the

 decedent's estate.

         RESPONSE:




INTERROGATORY NO. 96:

If your spouse or domestic partner is a beneficiary under the terms of the Will of any person now

deceased, identify the decedent, and identify the state, court, and proceedings concerning the

administration of the decedent's estate.

         RESPONSE:




INTERROGATORY NO. 97:

If you have received any property or money by way of inheritanc e, identify the decedent and the

court having jurisdiction the decedent's estate, and identify any distribution made to you.

         RESPONSE:




INTERR OGATOR Y NO. 98:

If your spouse or domestic partner has received any property or money by way of inheritance,

identify the decedent and the court having jurisdiction of the decedent's estate, and identify any


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  distribution made to your spouse or domestic partner.

          RESI1 0NSE :




 INTE RROG ATOR Y NO. 99:

 If, since January 1, 2014, you have entered into any transaction
                                                                  with your spouse or domestic
 partner or any other relative or other person involving the transf
                                                                   er of any of your real or personal
 property, identify the transaction and the property transferred,
                                                                  and state the consideration
 paid/received for such property, if any.

          RESPONSE:




INTE RROG ATOR Y NO. 100:

If, since January 1, 2014, your spous e or domestic partner has
                                                                entered into any transaction with
any other relative or other person involving the transfer of any of your
                                                                                   spouse or domestic partne r's
real or personal property, identify the transaction and the prope
                                                                  rty transferred, and state the
consideration paid/received for such property, if any.

         RESPONSE:




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INTERROGATORY NO. 101:

If since January l, 2014 you have received a court settlement or judgment in your behalf, or have

lawsuits pending, identify each by court and cause number, giving the amount sued for and the

amount received, if any; if the suit is pending, state the status thereof.

           RESPONSE:             /<....<1 f kL /3/'ITE/<._TA-l~ Mfulf.
                                        CA-l<te- ;Jo 7::>c 18 ~· oq;J...1b

INTERROGATORY NO. 102:

If since January 1, 2014 your spouse or domestic partner has ever received a court settlement or

judgment on their behalf, or have lawsuits pending, identify each by court and cause number,

giving the amount sued for and the amount received, if any; if the suit is pending, state the status

thereof.

         RESPONSE:




INTERROGATORY NO. 103:
Identify your spouse, and any former spouses.
                                                                           ·-   ,7:''   •



        RESPONSE:               ~:.)l4rv/ c· r_ il           -'~; 1 l'.)   J) i l\ l

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INTERROGATORY NO. 104:

Identify each of your children.

         RESPONS E:




INTERRO GATORY NO. 105:

Identify your parents.

         RESPONSE:                          N/tAE1N C1bDt& I
                                            IZqj re.__ s: I I:SD I (J}i
INTERRO GATORY NO. 106:

Identify Hiba Entertainment, Inc. and each and every person associated with Hiba Entertainment,

Inc. (including, but not limited to, owners, investors, directors, officers, employees, agents, and

representatives) with whom you have had any contact since January 1, 2014.

        RESPONSE:




INTERRO GATORY NO. 107:

Identify Tasacom Technologies, Inc. and each and every person associated with Tasacom

Technologies, Inc. (including, but not limited to, owners, investors, directors, officers, employees,

agents, and representatives) with whom you have had any contact since January 1, 2014.



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          RESPO NSE:




 INTERR OGATO RY NO. 108:

 Identify Molabs Media, LLC and each and every person associated with Molabs Media,
                                                                                    LLC
 (including, but not limited to, owners, investors, directors, officers, employees, agents,
                                                                                            and
representatives) with whom you have had any contact since January 1, 2014.

         RESPO NSE:             /VIC l-A--B .S            !Vh:i) ) 1-1 ,- {      t(


INTER ROGAT ORY NO.109 :

Identify EK Nazar and each and every person associated with EK Nazar (including, but not
                                                                                                            limited
to, owners, investors, directors, officers, employees, agents, and representatives) with whom
                                                                                              you
have had any contact since January 1, 2014.

         RESPONSE:




INTER ROGAT ORY NO. 110:

Identify Ticket Hungama and each and every person associated with Ticket Hungama (includin
                                                                                          g,
but not limited to, owners, investors, directors, officers, employees, agents, and represen
                                                                                            tatives)
with whom you have had any contact since January 1, 2014.



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          RESPONSE:
                                                       I
                                             I
                                                   /




 INTERUOGATORY NO. 111:

 Identify Mera Box Office and each and every person associated with
                                                                    Ticket Hungam.a (including,
 but not limited to, owner s, investors, directors, officers, emplo yees,
                                                                          agents, and representatives)
 with whom you have had any contac t since January 1, 2014. . .
                                        .-             ~ ..,..rt'J ,.,       ,._.,,.._~,.....            r,./.,._'i.~,;:·<::._
         RESPONSE:                  (\/ ,·
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 INTERROGATORY N0.11 2:

Identify Sulekha and Sulekha.com and each and every person
                                                           associated with Sulekha and
Sulekha.com, (including, but not limited to, owners, investors, directo
                                                                        rs, officers, employees,
agents, and representatives) with whom you have had any contac t since
                                                                       Januar y 1, 2014.
         RESPONSE:




INTERROGATORY NO: 113:

Identify Mera Ticket and each and every person associated with Mera
                                                                    Ticket, (including, but not
limited to, owners, investo rs, directors, officers, emplo yees, agents
                                                                        , and representatives) with
whom you have had any contac t since January 1, 2014.



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Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause
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         RESPONSE:
                                        I                       I/ l) r,        -
                                   {
                                    /
                                        i
                                                                f----./ vL      l_.




INTERROGATORY NO. 114:

Identify Az & Hiba Entertainment and each and every person associated with Az & Hiba

Entertainment (including, but not limited to, owners, investors, directors, officers, employees,

agents, and representatives) with whom you have had any contact since January 1, 2014.

         RESPONSE:




INTERROGATORY NO. 115:

Identify Hussain Ajani and fully describe your relationship with this person.

         RESPONSE:




INTERR OGATO RYN0.11 6:

Identify Mohammad Abbas and fully describe your relationship with this person.

         RESPONSE:                               c-r .; p
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POST-JUD GMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQI - 40
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District
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  INTERROGATORY NO. 117:

  Identify Ajay Mittal and fully describe your relationship with this
                                                                      person.
           RESPONSE: __ .
                            f··(Y ~~~ 11cf


 INTERROGATORY NO. 118:

 Identify Surinder Masse y and fully describe your relationship
                                                                           with this person.
          RESPONSE:




 INTERROGATORY NO. 119:

 Identify Shreyans Jain and fully describe your relationship with
                                                                             this person.
         RESPONSE:




INTERROGATORY NO. 120:

Identify each music, concert, entertainment, or similar event
                                                              in which you have had any
participation, whether as owner. producer, organizer, invest
                                                             or, director, officer, employee,
contractor, agent, or representative, from January 1, 2014 to the
                                                                  present.


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POST-JUDGMENT INTERROGATORIES TO MOHAMMAD
                                                                    NASIR SIDDI QI· 41
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al;
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 INTERROGATORY N0.121:
 Identify each person employ ed by or in any way representing or associated with
                                                                                                     American Airline s
 Center or Center Operat ing Compa ny with whom you have had any contact from
                                                                                                     January 15, 2014,
 to the present.

         RESPONSE:




 INTERROGATORY NO. 122:

Identify each person employ ed by or in any way representing or associated with
                                                                                Curtis Culwel l
Center with whom you have had any contact from January 15, 2014, to the
                                                                        present.
         RESPONSE:




INTERROGATORY NO. 123:

Identify each person or entity who has invested or sponsored in any way any music,
                                                                                   concert,
entertainment, or other event with which you have been associated as
                                                                     an owner, producer,
organizer, investor, employ ee, director, officer, agent, or representative, from
                                                                                  January 1, 2014, to
the present.
                 --f#    _<:/25/J 5ti~-t.~1)          (7th::'.lt       l5'/~1. :{ 'f     )
                         / /\h..:(:=J 1r1'}.J!--,..,,?" {__   /V/'-'1-#(rYll'..'1 l,]l '/H]t~.f:i}
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POST-JUDGMENT INTERROGATORIES TO MOHAMMAD NASIR SIDDIQ
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Ropal Entertainment, LLC, v. Hiba Entertainmenr, Inc., et al; Cause No. DC-18-0
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         RESPONSE:




                                                     NEEDHAM □          VERNONE
                                                     1412 Main Street, Suite 1400
                                                     Dallas, Texas 75202
                                                     Telephone: (214) 741-7447
                                                     Facsimile; (214) 761-1910

                                                     AITORNEYS FOR PLAINTIFF
                                                     ROPAL ENTERTAIN MENT, INC.

                                             Certificate of Service

       The undersigned certifies         thz
                                  this docum t
Rules of Civil Procedure on AprilZ.       , 201 .




POST-JUDGMENT INTERROGAT ORIES TO MOHAMMAD NASIR SIDDIQI - 43                                  .
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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                                        Cause No. DC-18-09276

ROPAL ENTERTAINMENT, LLC,                               §             IN THE DISTRICT COURT
                                                        §
Plaintiff,                                              §
                                                        §
v.                                                      §
                                                        §
HIBA ENTERTAINMENT, INC,                                §              DALLAS COUNTY, TEXAS
MOHAMMA D NASIR SIDDIQI, and                            §
AZHAR QASMI,                                             §
                                                         §
Defendants.                                              §             193rd JUDICIAL DISTRICT

                                 POST-JUDGMENT REQUEST FOR
                                PRODUCTION OF DOCUMENTS TO
                                    MOHAMMAD NASIR SIDDIQI

TO:     Mohammad Nasir Siddiqi, pro se, 14411 Tanglewood Drive, Farmers Branch, Texas
        75234.

        Pursuant to Texas Rules for Civil Procedure 196 and 621 a, Ropal Entertainment ("Ropal"),

Plaintiff, serves this Post-Judgmen t Request for Production of Documents on Mohammad Nasir

Siddiqi ("Siddiqi"), Defendant, and requests Siddiqi produce for inspection, copying, and

reproduction the documents hereinafter designated. Siddiqi is required to serve a written response

on Ropal within thirty (30) days after the service of the request.                     Ropal requests that the

documents be produced in the offices of Needham Vemone, 1412 Main Street, Suite 1400, Dallas,

Texas 75202, or at such other time and place as may be agreed upon by the parties.

                                                   Definitions

         1.       "Document" as used herein shall mean any kind of written, recorded, or graphic

 matter however produced or reproduced, of any kind or description, whether sent or received or



 POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI                                  · 1
                                                                                      193 rd Judicial District Court,
 Ropal Entertainmem,  LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276;
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neither, including originals, non-identical copies (whether different from the originals because of

marginal notes, or other material inserted therein or attached thereto, or otherwise), and drafts and

both sides thereof, including, but not limited to: papers; books; letters; correspondence; telegrams;

cables; telex messages; memoranda; notes; notations; work papers; transcripts; minutes; reports

and recordings of telephone or other conversations, or other interviews, or conferences or other

meetings; affidavits; pleadings; summaries; opinions; reports; stays; analyses; evaluations;

contracts; agreements; ledgers; journals; statistical records; desk calendars; appointment books;

diaries; lists; tabulations; sound recordings; computer print-outs; data processing records;

microfilm; photographs; maps; charts; all records kept by electronic, photographic, or mechanical

means; and all other things similar to any of the foregoing, however denominated.

        2.       "Persons" shall mean and include individuals and every type of entity,

whether formed for business purposes or not.

        3.       "You", "Your" or "Siddiqi" shall mean and include Mohammad Nasir

Siddiqi, his attorneys, agents or other persons or entities acting or purporting to act

on his behalf.

        4.       "Ropal" refers to Ropal Entertainment LLC.

                                                  Instructions

        1.       You are instructed to produce any and all documents which are in your possession,

custody or control.     Possession, custody or control includes constructive possession whereby you

have the right to compel the production of a document from a third party (including any agency,

authority or representative).


POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 2
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., er al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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       2.       To the extent the location of any document called for by this request is unknown to

you, so state. If an estimate can reasonably be made as to the location of such a document,

describe the document with sufficient particularity so that it can be identified, set forth your best

estimate of the document's location, and describe the basis upon which the estimate is made.

        3.      If any document requested herein is withheld on the basis of any claim of privilege

or any other ground, such document shall be identified by a written statement naming the name

and position or title of the person who prepared or authored the document and, if applicable, the

name and position or title of the person to whom the document was sent or shown; furthermore,

specify the date on which the document was prepared or transmitted; identify the subject matter of

the document; describe the nature of the document (e.g., letter, telegram); specify the number of

pages, attachments or appendices, all persons to whom the document was distributed, including

those who received indicated or blind copies; and specify the exact basis for your claim that such

document need not be disclosed with such specificity as will permit the Court to determine the

legal sufficiency of your objection or position; identify the paragraphs of this request to which the

document relates; and the identity of the present custodian.

        4.       If any document requested has been lost or destroyed, such document shall be

identified by a written statement naming the name and position or title of the person who prepared

or authored the document and, if applicable, the name and position or title of the person to whom

 the document was sent or shown; furthermore, specify the date on which the document was

 prepared or transmitted; identify the subject matter of the document~ describe the nature of the

 document (e.g., letter, telegram); specify the number of pages, attachments or appendices, all


 POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI~ 3
                                                                                         rd
 Ropal Entertainment, LLC, v. Hiba Entertainment, inc., et al; Cause No. DC-18-09276; 193 Judicial District Court,
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persons to whom the document was distributed, including those who received indicated or blind

copies; and specify the exact basis for your claim that such document need not be disclosed with

such specificity as will permit the Court to determine the legal sufficiency of your objection or

position; identify the paragraphs of this request to which the document relates; and the identity of

the present custodian.




POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI. 4
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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                                         Documents to be Produced



REQUEST FOR PRODUCTIO N NO. 1:

All bank statements, cancelled checks, deposit slips and check registers from any and all bank

accounts in which you have or have had an ownership interest or signatory authority in from



          RESPONSE:

                                                                                               fYJe


REQUEST FOR PRODUCTIO N NO. 2:

All bank statements, cancelled checks, deposit slips and check registers from any and all bank

accounts in which your spouse or domestic partner has or had an ownership interest or signatory

authority in from Januaryl, 2014, through the present, whether said accounts are now open or

closed.

          RESPONSE:




REQUEST FOR PRODUCTIO N NO. 3:

All insurance policies of every kind and nature, including but not limited to life, homeowner,

business and auto (with all schedules, riders, supplements and endorsements), on which you paid

any premium from January I, 2014 to the present or of which you are the owner or beneficiary of


POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SlDDIQI - 5
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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the policy.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 4:

All insurance policies of every kind and nature, including but not limited to life, homeowner,

business and auto (with all schedules, riders, supplements and endorsements), on which your

spouse or domestic partner paid any premium from January 1, 2014 to the present, or of which

your spouse or domestic partner is the owner or beneficiary of the policy.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 5:

All United States Income Tax returns filed by you, including related work sheets, information

returns and declarations of estimated tax, for the tax years, 2014 through 2018, inclusive.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 6:

All United States Income Tax returns filed by your spouse or domestic partner, including related

work sheets, information returns and declarations of estimated tax, for the tax years, 2014 through

                                     ;Jt IL.'l~··.
POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 6
Ropal Entertainment, LLC. v. Hiba Entertainment. Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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2018, inclusive.

            RESPONSE:




REQUEST FOR PRODUCT ION NO. 7:

All deeds and documents of title for all real estate in which you have any legal or equitable interest.

            RESPONSE:




REQUEST FOR PRODUCTION NO. 8:

All deeds and documents of title for all real estate in which your spouse or domestic partner has

any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUCT ION NO. 9:

All certificates of common or preferred capital stock, membershi p interest, partnership interest. or

other security in any corporation , limited liability company, limited liability partnership, limited

partnership, mutual fund, bond fund or investment trust in which you own any legal or equitable

interest.




POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMA D NASIR SIDDIQI. 7
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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        RESPONSE:




REQUEST FOR PRODUCTION NO. 10:

All certificates of common or preferred capital stock, membership interest, partnership interest or

other security in any corporation, limited liability company, limited liability partnership, limited

partnership, mutual fund, bond fund or investment trust in which-your spouse or domestic partner

owns any legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 11:

All appraisals done from January 1, 2014 to the present on any real or personal property in which

you own or have owned any legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 12:

All appraisals done from January 1, 2014 to the present on any real or personal property in which

your spouse or domestic partner owns or has owned any legal or equitable interest.




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Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC• I 8-09276; 193 rd Judicial District Court,
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       RESPONSE:




REQUEST FOR PRODUCTION NO. 13:

All leases of real or personal property or other executory contracts of whatever kind or nature to

which you are a party or in which you have any current or future legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 14:

All leases of real or personal property or other executory contracts of whatever kind or nature to

which your spouse or domestic partner is a party or in which your spouse or domestic partner has

any current or future legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 15:

All notes, security documents, guaranties and any other documents evidencing any indebtedness,

including charge and credit accounts, owed by you to any person or entity.




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Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC•l8-09276; 193 rd Judicial District Court,
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             RESPONSE:




  REQUEST FOR PRODUCTION NO. 16:

  All notes, security documents, guaranties and any othe
                                                        r documents evidencing any indebtedness,
  including charge and cred it accounts, owed by
                                                 your spouse or domestic partner to any person or
  entity.

            RESPONSE:




 REQUEST FOR PRODUCTION NO. 17:

 All notes, security docu men ts, guaranties, and
                                                  any othe r documents evidencing any indebtedne
                                                                                                ss
 owed to you by any person or entity, including, but
                                                     not limited to, credit or charge card clearing
 houses, PayPal, Veruno, eBay, Craigslist and Ama
                                                  zon.
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                                                        '-




REQUEST FOR PRODUCTION NO. 18:

All notes, security documents, guaranties, and any othe
                                                       r documents evidencing any indebtedness
owed to your spouse or domestic partner by any perso
                                                        n or entity, including, but not limited to,
credit or charge card clearing houses, PayPal, Venm
                                                    o, eBay, Craigslist and Amazon.


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                                                    .• et al; Cause No. DC-18-09276; 193 rd Judicial Distri
Dallas County, Texas                                                                                        ct Court,
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         RESPONSE:
                                                                      .   )•:·--
                                                                    ,\../ __..... ---- ··'



 REQUEST FOR PRODUC TION NO. 19:

All financial statements prepared or issued by you or on your behalf to any entity, including any

financial institution, from January 1, 2014 to the present.



         RESPONSE:




REQUEST FOR PRODUC TION NO. 20:

All financial statements prepared or issued by your spouse or domestic partner, or on their behalf,

to any entity, including any financial institution, from January 1, 2014 to the present.

         RESPONSE:




REQUEST FOR PRODUC TION NO. 21:

All statements of all stock brokerage or other investment or retirement accounts in which you own

or have owned a legal or equitable interest or to which you have made any contribution from

January 1, 2014 to the present.




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Ropal Entertainment, LLC. v. Hiba Entertainment, Inc., et al; Cause No. DC-18-092 76; 193 rd Judicial
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         RESPONSE:




REQUEST FOR PRODUCTION NO. 22:

All statements of all stock brokerage or other investment or retirement accounts in which your

spouse or domestic partner owns or has owned a legal or equitable interest or to which they have

made any contribution from January I, 2014 to the present.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 23:

All financial statements, including balance sheets. profit and loss statements and statements of

changes in financial position, prepared or issued since January 1, 2014, by or on behalf of any

business in which you own or have owned any legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO, 24:

All financial statements, including balance sheets, profit and loss statements and statements of

changes in financial position, prepared or issued since January 1, 2014, by or on behalf of any

business in which your spouse or domestic partner ov-.'lls or has owned any legal or equitable



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Ropal Entertainment, LLC, v. Hiba Entertainment. Inc., et al; Cause No. DC-18-09276; 193rd Judicial District Court,
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   interest.

            RESPONSE:




  REQUEST FOR PRO DUC TIO N NO. 25:

  All limited liability com pany certificates
                                                of orga niza tion , agreements and regulatio
                                                                                              ns, limited
  liability partnership certi ficat es of organiza
                                                   tion, agre eme nts and regulations, join t
                                                                                                  venture
  agreements, limited partnership agreements,
                                                 certificates of organization of limited partnersh
                                                                                                   ip, and
  general partnership agre eme nts executed by
                                                  you, or relating to any entity in which you
                                                                                                  own or
  have own ed any legal or equi table interest from
                                                     January 1, 2014 to the present.
          RESPONSE:




 REQUEST FOR PRO DUC TIO N NO. 26:

 All limited liability com pany certificates of orga
                                                     niza tion , agreements and regulations, limi
                                                                                                  ted
liability partnership certi ficat es of organiza
                                                 tion, agre eme nts and regulations, join t
                                                                                                  venture
agreements, limi ted part ners hip agreements,
                                               certi ficat es of organization of limited partnersh
                                                                                                   ip, and
general partnership agreements executed by
                                                your spou se or domestic partner, or relating to
                                                                                                       any
entity in which your spouse or domestic partner
                                                owns or has owned any legal or equitable interest
from January 1, 2014 to the present.




POST JUD   GMENT REQ UES T FOR PRODUCTION
                                                         TO MOH AMM AD NASIR SIDDIQI - 13
Ropal Entertainment, LLC, v. Hiba Entertainment,
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           RESPONSE:




REQUEST FOR PRODUCTION NO. 27:

All certificates of title, licenses, or registration documents for any motorcycles, automobiles,

trucks, cabs, motor homes, mobile homes, boats, airplanes, and livestock naming you as owner,
operator or lien holder.          f!.__,/? t1~~.(,: ;).:>1-// t'•1 .;   J) c'   (_C ( · i/..J t-:;'••/.C ·

           RESPONSE:




REQUEST FOR PRODUC TION NO. 28:

All certificates of title, licenses, or registration documents for any motorcycles, automobiles,
trucks, cabs, motor homes, mobile homes, boats, airplanes, and livestock naming your spouse or

domestic partner as owner, operator or lien holder.

         RESPONSE:




REQUEST FOR PRODUC TION NO. 29:

All United States Gift Tax. returns filed by you or on your behalf from January 1, 2014 to the

present.




POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 14
Ropal Enterlainment, LLC, v. Hiba Entertainment, inc., et al; Cause No. DC-18·092 76; 193n1 Judicial District
                                                                                                              Court,
Dallas County, Texas
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                       Desc
         Exhibit L Defendants Document Production Page 295 of 333




       RESPONSE:




REQUEST FOR PRODUCTION NO. 30:

All United States Gift Tax returns filed by your spouse or domestic partner, or on their behalf,

from January 1, 2014 to the present.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 31:

Any Last Will and Testament and all Codicils related thereto executed by you.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 32:

Any Last Will and Testament and all Codicils related thereto executed by your spouse or domestic

partner.

         RESPONSE:




 POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 15
                                                                                         rd
 Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 Judicial District Court,
 Dallas County, Texas
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   REQUEST FOR PRODUCTION NO. 33:

   All documents, including photographs, illustratio
                                                     ns and appraisals, relating to each piece of
   jewelry or watch, having a value of $100.00 or
                                                  greater, in which you own any legal or equitable

   interest.

           RESPONSE:




  REQUEST FOR PRO DUC TIO N NO. 34:

 All documents, including photographs. illustratio
                                                     ns and appraisals, relating to each piece of
 jewelry or watch, havi ng a value of $100.00 or
                                                 greater, in which your spouse or domestic partn
                                                                                                 er
 owns any legal or equitable interest.

          RESPONSE:




 REQUEST FOR PRODUCTION NO. 35:

All documents, including photographs, illust
                                                rations and appraisals, relating to precious
                                                                                             or
semiprecious stone havi ng a value in excess of
                                                $100.00 in which you own any legal or equitable
interest.

         RESPONSE:




POST JUDGMENT REQ UEST FOR PRODUC
                                                 TION TO MOH AMM AD NASIR SIDDIQI -
Rapa/ Entertainment, LLC, v. Hiba Entertainment,                                                    J6
                                                 Inc., et al; Cause No. DC-18-09276; 193 rd Judic
Dallas County, Texas                                                                              ial District Court,
 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                          Desc
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 REQUEST FOR PRODUCTION NO. 36:

 All documents, including photographs, illustrations and appraisals, relating to precious or

 semiprecious stone having a value in excess of $100 .00 in which your spouse or domestic partner

 owns any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 37:

All documents, including photographs, illustrations and appraisals, relating to each item consisting

of precious metals of any sort, and whether in raw, cast or jewelry form, having a value of greater

than $100.00 (whether singularly or collectively as in the case of coins, ingots, or other

collections), in which you own any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUC TION NO. 38:

All documents, including photographs, illustrations and appraisals, relating to each item consisting

of precious metals of any sort, and whether in raw, cast or jewelry form, having a value of greater

than $100.00 (whether singularly or collectively as in the ca,;;e of coins, ingots, or other

collections), in which your spouse or domestic partner owns any legal or equitable interest.




POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI. 17
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District
                                                                                                                Court,
Dallas County, Texas
  Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                        Desc
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         RESPONSE:




 REQUEST FOR PRODUCTION NO. 39:

 All documents, including photographs, illustrations and appraisals, relating
                                                                              to each work of art
 (painting. sculpture, lithograph, serigraph, or other) having a value of greater
                                                                                  than $100.00 in
 which you own any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 40:

All documents, including photog raphs, illustrations and appraisals, relating
                                                                              to each work of art
(painting, sculpture, lithograph, serigraph, or other) having a value of greater than
                                                                                      $100.00 in
which your spouse or domest ic partner owns any legal or equitable interest.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 41:

All documents, including photog raphs, illustrations and appraisals, relating
                                                                              to clothing having
original purchase price or fair market value in excess of $100.00 in which you own
                                                                                   any legal or
equitable interest.



POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR
                                                       SIDDIQI - 18
Ropal Entertain
              ment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193rd
                                                                                          Judicial District Court,
Dallas County, Texas
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           RESPONSE:




  REQUEST FOR PRODUCTION NO. 42:

 All documents, including photographs, illustrations and
                                                             appraisals, relating to clothing having
 original purchase price or fair market value in excess of $100.
                                                                 00 in which your spouse or domestic
 partner owns any legal or equitable interest.

          RESPONSE:




 REQ UEST FOR PRODUCTION NO. 43:

 All documents, including photographs, illustrations and appra
                                                                   isals, relating to each electrical
 appliance, including, but not limited to, computers and related equip
                                                                      ment, telephones, cell phones,
 etc., having an original purchase price or original fair mark
                                                               et value in excess of $100.00 in which
you own any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 44:
All documents, including photographs, illustrations and appra
                                                              isals, relating to each electrical
appliance, including, but not limited to, computers and relate
                                                                        d equipment, telephones, cell phones,


POST JUDGMENT REQUEST FOR PRODUCTION TO
                                                              MOHAMMAD NASIR SIDDIQI - 19
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al;
                                                              Cause No. DC-18-09276; 193 rd Judicial District Court,
Dallas County, Texas
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   etc., having an original purc hase price or original fair
                                                                    market value in excess of $100.00 in whic h
   your spouse or dom estic part ner own s any
                                               legal or equi table interest.
            RESPONSE:




  REQUEST FOR PRO DUC TIO N NO. 45:

  Each driver's license or gove rnm ent issue d iden
                                                     tific ation card or docu men t which you have
                                                                                                   held
  since January 1, 2009 .

           RESPONSE:




 REQUEST FOR PRO DUC TIO N NO. 46:

 You r Unit ed States Soci al Secu rity Card ,
                                               and your spou se's or dom estic partner's Unit
                                                                                              ed States
 Social Security Card .

          RESPONSE:




REQUEST FOR PRO DUC TIO N NO. 47:

All docu men ts relat ing to own ersh ip, lease
                                                g or rental of each loca tion of resid ence or
                                                                                               business
maintained by you for a period of more than one mon
                                                   th from                January 1, 2014 through the present.



POST JUDGMENT REQ UES T FOR PRO
                                           DUCTION TO MOHAMMAD NASIR SIDD
Ropal Entertainment, LLC, v. Hiba Entertainm                                                 IQI - 20
                                             ent, Inc., et al; Cause No. DC-18-09276; 193 rd
Dallas Count)', Texas                                                                        Judicial District Court,
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            RESPONSE:




   REQ UES T FOR PRODUCTION NO. 48:

  All documents relating to ownership. lease
                                             or rental of each location of residence or busi
                                                                                             ness
  maintained by your spouse or domestic partn
                                              er for a period of more than one month for
                                                                                           from
  January I, 2014 through the present.

           RESPONSE:




 REQUEST FOR PRODUCTION NO. 49:

 All docwnents evidencing or relating to all wag
                                                           es or compensation, or any other income rece
                                                                                                       ived
 by you, including Forms W•2, Forms I 099 or
                                             other statements of amounts paid or taxes                     withheld,
 for the period January 1, 2014 to pres ent.

          RESPONSE:




REQUEST FOR PRODUCTION NO. 50:

All documents evidencing or relating to all wag
                                                 es or compensation, or any other income recei
                                                                                              ved
by your spouse or domestic partner, including
                                                  Forms W•2, Forms 1099 or other statements
                                                                                               of
amounts paid or taxes withheld, for the peri
                                             od January 1, 2014 to present.


POST JUDGMENT REQUEST FOR PRO
                                           DUC TION TO MOHAMMAD NASIR SIDD
Ropal Entertainment, LLC, v. Hiba Entertainm                                                 IQI - 21
                                             ent, Inc.. et al; Cause No. DC-18-09276; l 93"l
Dallas County, Texa s                                                                        Judicial District Court,
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          RESPONSE:




 REQUEST FOR PRODUCTION NO. 51:

 All docwne nts evidenc ing or identifying the name, address and telephone number
                                                                                  of each person
 or entity having possess ion of any item of real or personal property in which
                                                                                you own a legal or
 beneficial interest.

         RESPONSE:




REQUEST FOR PROD UCTIO N NO. 52:

All docwne nts evidenc ing or identifying the name, address and telephone number
                                                                                 of each person
or entity having possess ion of any item of real or personal property in which
                                                                               your spouse or
domestic partner owns a legal or beneficial interest.

         RESPONSE:




REQUEST FOR PROD UCTIO N NO. 53:

All docume nts identify ing or relating to each safety deposit box, safe or vault
                                                                                  in which is located
any personal property in which you own any legal or equitable interest, and/or identify or
                                                                                                           relating
to the contents of such safety deposit box, safe, or vault.



POST JUDGMENT REQUE ST FOR PRODUCTION TO MOHAMMAD
                                                  NASIR SIDDIQI -                                 22
Ropal Entertainment, LLC, v, Hiba Entertainment, Inc., et al; Cause No. DC-18-09276;
                                                                                     193 rd Judicial District Court,
Dallas County, Texas
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          RESPONSE:




 REQUEST FOR PRODUCTION NO. 54:

 All documents identify ing or relating to each safety deposit box, safe or vault
                                                                                  in which is located
 any persona] propert y in which your spouse or domestic partner owns any
                                                                          legal or equitable
 interest, and/or identify or relating to the contents of such safety deposit box,
                                                                                   safe, or vault.
         RESPONSE:




REQUEST FOR PROD UCTIO N NO. 55:

Your Birth Certificate, all passports, and any and all papers, permits or docume
                                                                                              nts which authorize
your presence and/or residen ce within the United States of America, or any
                                                                            other country.
         RESPO NSE:            .:z:_. D6N ( ffev<2_ ~ j611?/t. c:e v4f //'~
                              / ttl, ff~                lf- r~
REQUEST FOR PROD UCTIO N NO. 56:

The Birth Certificate, all passports, and any and all papers, permits or docume
                                                                                nts which authorize
your spouse or domest ic partner 's presence and/or residence within the United States
                                                                                                      of Americ a,
or any other country.




POST JUDGMENT REQUE ST FOR PRODUCTION TO MOHAM MAD
                                                                             NASIR SIDDIQI - 23
Ropal Entertainment. LLC, v. Hiba Entertainment. Inc., et al; Cause No. DC-18-0
                                                                                9276; 193 rd Judicial District Court,
Dallas County, Texas
 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                           Desc
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            RESPONSE:




REQUEST FOR PRODUCTION NO. 57:

All documents evidencing or relating to any claim of copyright, patent, trademark, trade name or

other intellectual property, whether registered or not, in which you own or have owned any legal

or equitable interest.

            RESPONSE:




REQUEST FOR PRODUCTION NO. 58:

All documents evidencing or relating to any claim of copyright, patent, trademark, trade name or

other intellectual property, whether registered or not, in which your spouse or domestic partner

owns or has any legal or equitable interest.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 59:

All documents evidencing or relating to any book, manuscript, article or any other expression in

written or spoken word, whether published or not, in which you own or have any legal or equitable

interest.



POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 24
Rapa! Entertainment, LLC, v. Hiba Entertainment, Inc.. et al; Cause No. DC-18-09276 ; 193 rd Judicial District Court,
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            RESPONSE:




   RE QU EST FOR PRO DU CT ION NO
                                                  . 60:
  All documents evidencing or relating to any
                                              book, manuscript, article or any other express
                                                                                            ion in
  written or spoken word, whether published
                                            or not, in which your spouse or domestic part
                                                                                         ner owns
  or has any legal or equitable interest.

           RESPONSE:




  REQ UES T FO R PRO DU CT ION NO
                                                 . 61:
  All documents, including any photograph
                                             s, illustrations and appraisals, evidencing
                                                                                         or relating to
 any other tangible or intangible personal prop
                                                erty having an original purchase price of a
                                                                                            fair market
 value in excess of $100.00 in which you
                                               own any legal or equ itab le inte rest not prod
                                                                                                uced in
 response to any other Request for Production
                                                .
          RESPONSE:




RE QU EST FO R PRO DU CT ION NO
                                                . 62:
All documents, including any photograph
                                            s, illustrations and appraisals, evidencing
                                                                                        or relating to
any other tangible or intangible personal prop
                                               erty having an original purchase price of a
                                                                                           fair market

POST JUDGMENT REQUEST FOR
                                      PRO
Rapa! Entertainment, LLC, v. Hiba Entertain DUCTION TO MOHAMMAD NASIR SIDDIQI • 25
                                           ment, Inc.• et al; Cause No. OC-18-09276;
Dallas County, Texas                                                                 193 rd Judicial District Court,
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  value in excess of $100. 00 in which your spouse or domestic
                                                               partner owns any legal or equitable
  interest not produ ced in respon se to any other Reque st for Produ
                                                                      ction.

          RESPONSE:




 REQUEST FOR PROD UCTI ON NO. 63:

 All documents evide ncing or relating to any incom e or compe
                                                               nsation, whether monetary, in-kind,
 or otherwise, receiv ed by you from Janua ry 1, 2014, to the presen
                                                                     t not produced in response to any
 other Request for Produ ction.

          RESPONSE:




 REQUEST FOR PROD UCTI ON NO. 64:

All documents evide ncing or relating to any incom e or compe
                                                              nsation, whether monetary, in-kind,
or otherwise, receiv ed by your spouse or domes tic partne r from
                                                                            Janua ry 1, 2014, to the presen t not
produced in respon se to any other Reque st for Production.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 65:

All documents evide ncing or relating to any amou nt of mone y or
                                                                  property owed to you by any


POST JUDGMENT REQU EST FOR PRODUCTION TO
                                                              MOHAMMAD NASIR SIDDIQI · 26
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al;
                                                              Cause No. DC-18-09276; 193 rd Judicial District Court,
Dallas County, Texas
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   person or entity not prod uced in resp onse to
                                                  any other Request for Productio              n.
            RESPONSE:




  REQUEST FOR PRO DUC TIO N NO. 66:

  All documents evidencing or relating to any
                                              amount of mon               ey or prop erty owed to your spouse or
  domestic partner by any pers on or entity
                                            not produced in response to any other Requ
                                                                                       est for
  Production.

          RESPONSE:




 REQUEST FOR PRO DUC TIO N NO. 67:

 All documents identifying or relat ing to any
                                               client, customer or cont racto r of yours or a
                                                                                              business
 owned or controlled by you for the perio
                                              d of January 1, 2014 to the present, inclu
                                                                                              ding all
 documents evidencing any amo unts paid and
                                                 all amounts owe d by such persons to you
                                                                                                or the
 business.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 68:

All documents identifying or relat ing to any
                                              client, cust ome r or cont racto r of your spou
                                                                                              se or


POST JUDGMENT REQ UES T FOR PRO
                                           DUCTION TO MOHAMMAD NASIR SIDD
Ropal Entertainment, LLC. v. Hiba Entertainm                                                 IQI - 27
                                             ent, Inc., et al; Cause No. DC-18-09276; 193 rd
Dallas Coun ty, Texas                                                                        Judicial District Court,
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    domestic partner or a business own
                                        ed or controlled by your spouse or
                                                                           domestic partner for the
    period of January I, 2014 to the pre
                                        sent, including all documents evidenc
                                                                              ing any amounts paid
    and all amounts owed by such persons
                                          to your spouse or domestic partner or
                                                                                the business.
            RESPONSE:




   REQUEST FOR PRODUCTION NO
                            . 69:
  All docwnents identifying or rela
                                     ting to any account with PayPal,
                                                                         Venmo, eBay, Craigslist,
  Amazon or any online seller or pur
                                      chaser of goods or services, or acc
                                                                          ount with any credit card
  clearing house in which you ow n any
                                        legal or equitable interest.
                                          ·,..__J...,.- .-~
           RESPONSE:
                                            I
                                             f   L>


 RE QU EST FO R PR OD UC TIO
                             N NO . 70:
 All documents identifying or rela
                                   ting to any account with PayPal,
                                                                       Venrno, eBay, Craigslist,
 Amazon or any online seller or pur
                                    chaser of goods or services, or acc
                                                                        ount wit h any credit card
 clearing house in which your spouse
                                     or domestic panner owns any legal
                                                                         or equitable interest.
         RESPONSE:




POST JUDGMENT REQUEST FOR
                                      PRODUCTION TO MOHAMMA
Ropal Entertainment. LLC, v. Hiba                                         D NASIR SID DIQ I• 28
                                  Entertainment, Inc., et al; Cause No.
Dallas County, Texas                                                    DC-18-09276; 193 rd Judicial District
                                                                                                              Court,
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    REQUEST FOR PRODUCTION NO
                             . 71:
    All docwnents identifying or relating to any
                                                         inc om e received by you from any
                                                                                                  source for the period
    January 1, 2014 to the present.

             RESPONSE:




   REOUESI FOR PRODUCTION NO. 72:
   All documents ide ntif yin g or rela
                                        ting     to any income received by you r spo
                                                                                     use or domestic par tne r
   from any source for the per iod Januar
                                                y 1, 2014 to the present.
           RESPONSE:




  REQUEST FOR PR OD UC TIO N
                                              NO. 73:
 All documents ide ntif yin g or rela
                                      ting to any asset wit h a fair mar ket
                                                                               value of$ 100.00 or more
 which you hav e sold, giv en awa y or
                                        otherwise con vey ed to any oth er per
                                                                               son or entity from Jan uar y
 1, 2014 to the present.

          RESPONSE:




REQUEST FOR PR OD UC TIO N
                                             NO. 74:
All documents ide ntif yin g or rela
                                     ting to any asset with a fair mar ket
                                                                           val ue of $100.00 or more


POST JUDGMENT REQ UES T
                                 FOR PRODUCTION TO MO HA
Ropal Entertainment, LLC, v. Hiba                                    MM AD NAS IR SIDDIQI - 29
                                  Entertainment, Inc., et al; Cause No.
Dallas County, Texas                                                    DC- 18-0 927 6: 193 rd Judicial District
                                                                                                                 Court,
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 which your spouse or domestic partner has sold, given away or otherwise conveyed to any other

 person or entity from January 1, 2014 to the present.

         RESPONSE:



 REQUEST FOR PRODUC TION NO. 75:

All documents evidencing or relating to any governmental report or filing prepared and filed by

you or on your behalf with any federal, state, or local authority, including but not limited to

franchise tax, sales tax, employment tax reports.

         RESPONSE:




REQUEST FOR PRODUC TION NO. 76:

All documents evidencing or relating to any governmental report or filing prepared and filed by

your spouse or domestic partner or on their behalf with any federal, state, or local authority,

including but not limited to franchise tax, sales tax, employment tax reports.

         RESPONSE:




POST JUDGMENT REQUEST FOR PRODUCTION TO MOHAMMAD NASIR SIDDIQI - 30
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc .• et al; Cause No. DC-18-09276; 193 rd Judicial District
                                                                                                               Court,
Dallas County, Texas
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                                                       NEEDHAM □          VERNONE
                                                       1412 Main Street, Suite 1400
                                                       Dallas. Texas 75202
                                                       Telephone: (214) 741-7447
                                                       Facsimile: (214) 761-1910

                                                      ATTORNEY FOR PLAINTIFF
                                                      ROPAL ENTERTAINMENT LLC


                                             Certificate of Service

        The undersigned certifies a copy o is document was served in accord
                                                                            ance with the Texas
 Rules of Civil Procedure on April - - - = - i F - - ~ - - ' 2019.




POST JUDGMENT REQUE ST FOR PRODUCTION TO MOHA
                                                                     MMAD NASIR SIDDIQI - 31
Ropal Entertainment, LLC. v. Hiba Entertainment, Inc., et al; Cause
                                                                    No. DC~JS-09276; 193 rd Judicial District Court,
Dallas County, Texas
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                                                              Cause No. DC-18-09276

ROPAL ENTERTAINMENT, LLC,                                §             IN THE DISTRICT COURT
                                                         §
Plaintiff,                                               §
                                                         §
V.                                                       §
                                                         §
HIBAENTERTAINMENT, INC,                                  §             DALLASCOUNTY,TEXAS
MOHAMMAD NASIR SIDDIQI, and                              §
AZHAR QASMI,                                             §
                                                         §
Defendants.                                              §             193rd JUDICIAL DISTRICT

                                  ORDER OF CONTEMPT AGAINST
                                   HIBA ENTERTAINMENT, INC.

        On this day the Court held a hearing on the Motion for Contempt filed by Plaintiff Ropal

Entertainment, Inc. ("Ropal"), against Defendant Hiba Entertainment, Inc. ("Hiba"). Ropal

appeared through its counsel ofrecord and Hiba did/did not appeared through its Registered Agent.

The court cautioned Hiba as to Wnight tocotinsel. Upon considetatioh of the evidence and the

arguments of counsel and Hiba, the Court finds that Hiba has willfully failed to answer post-

judgment discovery as required by the Texas Rules of Procedure, and further, has willfully failed

to comply with this Court's Order Granting Motion to Compel and for Sanctions, dated June 13,

2019, which required Hiba to answer discovery and pay sanctions in the amount of $1,000.00 on

or before June 23,2019. Hiba's failure to provide written responses to discovery and failure to pay

sanctions as ordered by this Court constitute acts of contempt of the Court. The Court finds that

Hiba must be held in contempt so as to secure its compliance with the Orders of the Court and the

Texas Rules of Civil Procedure.


ORDER ON MOTION FOR CONTEMPT AGAINST HIBA ENTERAINMENT, INC. - Page I
Ropal Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
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               IT IS THEREFORE ORDERED that Hiba be and is hereby fined in the amount of $100.00;

               IT IS FURTHER ORDERED that Hiba must pay counsel for Ropal an additional $1,500.00

      in sanctions necessitp.t.eq tw-~~burse Ropa\ fort~ bri~ing of the Motion £ r ContW)p\.,, ~                             ~A ",_
       ~wA..Wti-fJJLt\ L l,CfOtiV'¼, J?IJc. 'v~U pwt to Co                                        ~tl--tOriit,w~ t>Y-~,
               IT IS FURTHER ORDERED that Hilid shall be incarcerat                      . t e c~nty jail until such

                                                                                   on to Compel and for Sanctions,

      dated June 13, 2019, by                                                     previously propounded upon him




                                     ~_b.t/
               Signed, t h i s - ~ - ' __t_J.....__,




      ORDER ON MOTION FOR CONTEMPT AGAINST HIBA ENTERAINMENT, INC. . Page 2
      Rapa/ Entertainment, LLC, v. Hiba Entertainment, Inc., et al; Cause No. DC-18-09276; 193 rd Judicial District Court,
      Dallas County, Texas
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                               13.
                   L PRO                         CTIV
      G OUP 2019 FIND
                       REPORT
                                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                        Desc
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2:46 PM                                                            Eagle Protective Group, Inc.
12/10/19                                                                    Find Report
Accrual Basis                                                               All Transactions

                          Type         Date      Num         Name            Memo               Account           Cir      Split     Amount       Balance


                        Check      12/04/2019   Debit   TD Auto   Finance   Octob ...   Chase   New Account. ..         Automobile   -1, 159.42      -1, 159.42
                        Check      09/18/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile     -579.71       -1,739.13
                        Check      09/03/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile   -1,188.41       -2,927.54
                        Check      06/24/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile     -579.71       -3,507.25
                        Check      05/30/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile     -579.71       -4,086.96
                        Check      04/23/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile     -579.71       -4,666.67
                        Check      04/10/2019   Debit   TD Auto   Finance               Chase   New Account...    X     Automobile     -608.70       -5,275.37

                Total                                                                                                                -5,275.37       -5,275.37




                                                                                                                                                                  Page 1
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06    Desc
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                               14.
                    DISCOVER
             ST TEMENTS
                         Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                         Desc
                                  Exhibit L Defendants Document Production Page 317 of 333
      DISC                                                                                                                                                         Discover® Mort;® Card
                                                                                                                                                                  Account number ending in 3190
                                                                                                 _   .                                            Open Dote: Jun 6, 2018- Close t>ate: Jul 5, 2018
                                                                                                                                                                        Cardmembe r Since 2008

                                                                                                                                                                                                   Page 1 of 6
       ACCOUNT SUMMARY                                                                          PAYMENT INFORMATION
 .      Previous Balance                                                   $16,866.03                    New Balance                                                                $16,997 .11
 .
'-I

'°
        Payments and Credits
        Purchases                                          +
                                                                            $1,963.41
                                                                            $1,926.82
                                                                                                         Minimum Payment Due                                                                      $340.00
                                                                                                         Payment Due Dote                                                               August 4, 2018
        Balance Transfers                                 +                     $0.00
        Cash Advances                                     +                     $0.00                Late Payment Warning: If we do not receive your minimum payment by the
        Fees Charged                                      +                     $0.00                date listed above, you may have to pay a late fee of up to $37.00 and your
        Interest Charged                                  +                  $167.67                 purchase and balance transfer APRs for new transactions may be increased up to
                                                                                                     the Penalty APR of 17. 99% variable.
        New Balance                                                        $16,997.11
                                                                                                     Minimum Payment Warning: If you make only the minimum payment each
         See Interest Charge Calculation section following the                                       period, you will pay more in interest and it will toke you longer to pay off your
         Transactions section for detailed APR information                                           balance. For example:
        Credit line                                                            $22,000
        Credit Line Available                                                    $5,002
       Cash Advance Credit Line                                                  $2,500
       Cash Advance Credit Line Available                                        $2,500
       You may be able to ovoid interest on Purchases.
       See reverse for details.                                                                      If you would like information about credit counseling services, coll 1-800-347-1 121.



                                                        FICO                                    REWARDS
                                                         697
                                       Your FICO® Credit Score on 6/29/18
                                                                                                     Cashback Bonus®
                                                                                                     Opening Balance
                                                                                                                                                                                  Anniversary Month
                                                                                                                                                                                            October
                                                                                                                                                                             $               235.12
               FICD' Score Mlll9r
                                                                                                     New CashbackBo nus This Period
      Track recent scores on the FICO page in this statement                                           Everywhere Else                                                    +$                         5.55
                                                                                                     Redeemed This Period                                                 -$                         0.00
      Thank you for your continued enrollment in DirectPoy
      automatic payments. Your next automatic payment of
                                                                                                 ,Cashback Bonus Balance                                                    $               240.67
      $1,000.00 will be on July 16, 2018. See "Information For                                   To learn more, log in at Discover.com
      You" section for additional details.




      NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                                          Make Check payable to Discover. Do Not Send Cash.
                                                                                                                  Please fold on the perforation below, detach and return with your payment.


        Payment Coupon                                                  Pay Online
        Please do not fold, dip or staple.                              Discover.com


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       11 11111Iii111111 111 111 11
                                                                                                              .      \)
        000004500 01 AV
       MUHAMMAD N SIDDIQI
       3020 BIG TOWN BLVD
       MESQUITE TX 75150-2412
                                    0.375 T4           05 SDS5RA01              21




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                                                                                                             --:o 1/"        I.OBOX 790213
                                                                                                                                  ~T. LOUIS, MO 63179-0213

         Phone and Internet payments must be received by 5PM ET to be credited as of the same dcy.                           11 111 11 11II I• 111 11III1111I1 11111111111, 11 III I11Ill III11111111 Ii II
         Address, e-mail or telephone changed? Note changes on reverse side.


         00 □□□ 1986452612 □ 94614169971100375 □□ 0034 □ 00
                          Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                          Desc
                                   Exhibit L Defendants Document Production Page 318 of 333
           DISCttVER.                                                                                                                   Discover® More® Card
                                                                                                                                            Account number ending in 3190
                                                                                                                           Open Dote: Jun 6, 2018 - Close Date: Jul 5, 2018
                                                                                                                                                                 Page 3 of 6

            CONTACT US
                       Web                             Mobile                             Phone                              Inquiry                  Mail Payments
                       Access your                     Mpnage your                        1-800-DISCOVER                     Discover                 Discover
                       account securely                account anytime,                   (1-800-347-2683)                   PO Box30943              PO Box 6103
                       ot Discover.com                 anywhere ot                        TDD 1-800-347-7449                 Salt Lake City           Carol Stream
                                                       m.Discover.com                                                        UT 84130                 IL 60197-6103
           Transactions
                                              Trans. Dc;ite     Post Date
           Payments and Credits               Jun 14            Jun 14       TRANSFER BALANCE                                                          $              -963.41
                                              Jun 16            Jun 16        DIRECTPAY FIXED PAYMENT                                                               -1,000.00
           Other/Miscellaneous                Jul 4             Jul4         TRANSFER BALANCE                                                          $               963.41
                                              Jul4              Jul4         TRANSFER BALANCE                                                                         963.41
           Fees                                                              TOTAL FEES FOR THIS PERIOD                                                $                 0.00


    ---
           Interest Charged                                                  INTEREST CHARGE ON PURCHASES                                             $               167.67
                                                                             INTEREST CHARGE ON CASH ADVANCES                                                           0.00
                                                                             INTEREST CHARGE ON BALANCE TRANSFERS                                                       0.00
                                                                             TOTAL INTEREST FOR THIS PERIOD


  --====
                                                                                                                                                                      167.67



~ ---·     2018 Totals Year-to-Date
                                                                             TOTAL FEES CHARGED IN 2018                                               $                 0,00

--=        Interest Charge Calculation
                                                                             TOTAL INTEREST CHARGED IN 2018

           Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                                                                      $             1,168.60



           Current Billing Period: 30 days
                                                         ANNUAL PERCENTAGE                PROMO APR                      BALANCE SUBJECT TO             INTEREST
           TYPE OF BALANCE
-          Purchases
           Cash Advances
                                                         AATE (APR)*
                                                         12.99% V
                                                         25.74% V
                                                                                          EXPIRATION DATE**
                                                                                          N/A
                                                                                          N/A
                                                                                                                         INTEREST RATE
                                                                                                                         $15,703.77
                                                                                                                         $0.00
                                                                                                                                                       CHARGE
                                                                                                                                                       $167.67
                                                                                                                                                        $0.00
           V=Variable Rate
           * If your account is currently enrolled in a special program or is placed into one during the term of the offer, you will receive the benefit of the lower rote
               while the special program is in effect. This includes, if applicable, any lower rotes as authorized under the Servicemembers Civil Relief Act.
           •• This is the dote your promotional rate expires and the remaining balance will be moved to your standard APR disclosed when you accepted the offer.
               Please note: Changing your payment due dote may change your Promo APR Expiration Dote.
           ••• For more information, please coll us at 1-800-347-2683.



           Information For You

           Your next automatic fixed amount payrrient of $1,000.00 will be on July 16, 2018. Any payments mode prior to this date and any credits applied to
           your Account for the billing cycle reflected on this statement may lower your statement balance due and thus the scheduled DirectPoy amount.




                                                                                                    NOTICE; SEE REVERSE SIDE FOR IMPORTANT INFORMATION
                               Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                          Desc
                                        Exhibit L Defendants Document Production Page 319 of 333
                 DISC                                                                                                                          Discover® More® Card
                                                                                                                                                   Account number ending in 3190
                                                                                                                                   Open Dote: Jun 6 1 2018- Close Dote: Jul 5, 2018
                                                                                                                                                          Cordm ember Since 2008

                                                                                                                                                                      Page 5 of 6

                    Muh amm ad, your FICO® Cred it Score is 697 as of
                                                                            06/2 9/20 18
                    Good News! Your FICO® Credit Score indicates to lende
                                                                          rs that you are a good borrower.


                                               Your FICO® Credit Score History

                               Exceptional
                                800- 850


                               Very Good
                                 740-799                    723
                                                                       707        704        708       713       716
                                    Good                                                                                                                      697
                                 670-739

                                    Fair
                                580-66 9


                                     Poor
                               300- 579


                                                        08/17     09/17      10/17      11/17      12/17     01/18     02/18   03/18   04/18    05/18    06/18    07/18

                                    Important Information:


--
                                    • We may not olwoys receive o score for you eoch month,
                                                                                                 so there moy be months with no scores.
                                    - For questions on the ovoilobility of your score go to the
                                                                                                "Information For You' section of this statement.

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                   This chart will be shown in every Jan, Apr, Jul and
                                                                       Oct statement when you have up to 12 months
                    of scores. Log in to Discover.com/FICO any-time
                                                                     to see key factors that help explain your scores.



                             FICO ®Cre dit .Scores consi der the follow ing for the
                                                                                    gene ral popu lation :

                                                     35% Payment History
                                                                                                                                       30% Amounts Owed



                                                          10% New Credit

                                                           10% Credit Mix                                                              15% length of Credit


                 See FICO® Credit Score Terms on the 'lnformotion For You'
                                                                           section of this statement

                 © 2017 Discover Bonk, Member FDIC
                                                                                                                                                         CODE_SUM_0317
                                     Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                           Desc
                                              Exhibit L Defendants Document Production Page 320 of 333
                   DISC                                                                                                                                           Discover® More® Card
                                                                                                                                                                  Account number ending in 4813
                                                                                                                                                  Open Date; Jun 6, 2018- Close Dote; Jul 5, 2018
                                                                                                                                                                        Cordmem ber Since 2008

                                                                                                                                                                                                 Poge 1 of 4
                   ACCOUNT SUMMARY                                                                      PAYMENT INFORMATION
          .         Previous Balance
                    Payments and Credits                              -
                                                                                            $0.00         New Balance                                                                          $0.00
          *                                                                             $1,926.8 2       Minimum Payment Due
                    Purchases                                         +                 $1,926.8 2                                                                                             $0.00
                                                                                                         Payment Due Date
                    Balance Transfers                                 +                     $0.00                                                                                     August 4, 2018
                    Cash Advances                                     +                     $0.00        Late Payment Warning : lf we do not receive your minimum payment by
                                                                                                                                                                                  the
                    Fees Charged                                      +                     $0.00        dote listed above, you moy hove to poy o late fee of up to $37.00 and your
                    Interest Charged                                  +                     $0.00        purchase and balance transfer APRs for new transactions may be increased up
                                                                                                                                                                                      to
                                                                                                         the Penalty APR of 17.99% variable.
                    New Balance                                                                $0.00
                      See Interest Charge Calculation section following the
                      Transactions section for detailed APR information
                                                                                                        REWARDS
                    Credit Line                                                           $22,000
                                                                                                         Cashback Bonus®                                                         Anniversary Month

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.;;;;;;;;;;;;;.

.;;;;;;;;;;;;;.
                    Credit Line Available
                    Cash Advance Credit Line                                                $2,500
                                                                                                   $0
                                                                                                         Opening Balance                                                    $
                                                                                                                                                                                           October
                                                                                                                                                                                              0.00
===
~
                   Cash Advance Credit Line Available                                             $0
                                                                                                         New Cashbock Bonus This Period
                                                                                                         Redeemed This Period
                                                                                                                                                                         +$
                                                                                                                                                                         -$
                                                                                                                                                                                              0.00
                                                                                                                                                                                              0.00
-                    You may be able to avoid interest on Purchases.                                     Cashback Bonus Balance                                           $                    0.00
-   ·             '- See reverse for details.


                       Contact Us                 Discove r.com
                                                                                                         To learn more, log in at Discover.com



                                                  1-800-347-2683




                  NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                              Make Check payable to Discover. Do Not Send Cash.
                                                                                                                  Please fold on the perforatio n below, detach and retum with your payment.

                    Payment Coupon                                                Pay Online              Pay by Phone
                    Please do not fold, clip or staple.                           Discover.com            1-800-34 7-2683


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                    000004479 01 AV             0.375 T3          05 SDS5RA01             21
                   MUHAMMAD N SIDDIQI
                   3020 BIG TOWN BLVD
                   MESQUITE TX 75150-2412



                                                                                                                                 PO BOX 790213
                                                                                                                                 ST. LOUIS, MO 63179-0213

                     Phone end Internet payments mvst be received by 5PM ET to be credited cs of the
                                                                                                     same day.              111h•1111111111111, 11 •I11• 1111 ,11 Ipl 1111 •1II• I11111 II 11111 I•I 11
                     Address, e-mail or telephone changed? Note changes on reverse side.

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                                 Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                            Desc
                                          Exhibit L Defendants Document Production Page 321 of 333
                  DISCeVER.                                                                                                                       Discover® More® Card
                                                                                                                                                     Account number ending in 4813
                                                                                                                                    Open Dote: Jun 6, 2018 • Close Dote: Jul 5, 2018
                                                                                                                                                                            Page 3 of 4

                   CONTACT US
                              Web                             Mobile                              Phone                               Inquiry
                              Access your
                              account securely
                              ot Discover.com
                                                              Mpnage your
                                                              ac;count anytime,
                                                              anywhere ot
                                                                                                  1-800-DISCOVER
                                                                                                  (1-800-347 -2683)
                                                                                                  TDD 1-800-347 -7449
                                                                                                                                      Discover
                                                                                                                                      PO B.ox 30943
                                                                                                                                      Solt Lake City
                                                                                                                                                        C       Moil Payments
                                                                                                                                                                Discover
                                                                                                                                                                PO Box6103
                                                                                                                                                                Carol Stream
                                                              m.Discovet.com                                                          UT 84130                  IL 60197-610 3
                  Transactions
                                                      Trans, Dc;ite     Post Date
                  Payments and Credits               Jul4              Jul 4          TRANSFER BALANCE                                                          $                -963.41
                                                     Ju14              Jul 4          TRANSFER BALANCE
                                                                                                                                                                                 -963.41
                  Merchandise                        Jan 17            Jun 8          LAMPS PLUS • 44 PLANO TX                                                  $                963.41
                                                                                      REVERSAL OF TEMPORARY CREDIT

 --
  ~
                 Other/Miscellaneous                 Jun 14            Jun 14        TRANSFER BALANCE                                                           $                963.41

 -~
                 Fees

                 Interest Charged
                                                                                     TOTAL FEES FOR THIS PERIOD

                                                                                     TOTAL INTEREST FOR THIS PERIOD
                                                                                                                                                                $

                                                                                                                                                                $
                                                                                                                                                                                   0.00

                                                                                                                                                                                   0.00

                 2018 Totals Year-to -Date
                                                                                     TOTAL FEES CHARGED IN 2018                                                 $                  0.00
                                                                                     TOTAL INTEREST CHARGED IN 2018                                             $                  0.00
                 Interest Charge Calculation
                 Your Annual Percentage Rote {APR) is the annual interest rote on your account.
                 Current Billing Period: 30 days
                                                               ~NNUAL PERCENTAGE                PROMO APR                       BALANCE SUBJECT TO
                 TYPE OF BALANCE                                                                                                                                  INTEREST
                                                               AATE (APR)*                      EXPIRATION DATE**               INTEREST RATE                     CHARGE

--
;;;;;;;;;;;;;.
                 Purchases
                 Cash Advances
                 V=Variabl e Rate
                                                               12.99% V
                                                               25.74% V
                                                                                                N/A
                                                                                                N/A
                                                                                                                                $0.00
                                                                                                                                $0.00
                                                                                                                                                                  $0.00
                                                                                                                                                                 $0.00

-
~
;;;;;;;;;;;;;.
                 • If your account is currently enrolled in a special program or is placed into one during
                                                                                                               the term of the offer, you will receive the benefit of the lower rate
                     while the special program is in effect. This includes, if applicable, ony lower rotes as authorized
                 •• This is the dote your promotional rote expires and the remaining balance will be moved
                                                                                                                         under the Servicemembers Civil Relief Act.
                                                                                                                 to your standard APR disclosed when you accepted the offer.
                     Please note: Changing your payment due date may change your Promo APR Expiration
                                                                                                                 Dote.
                 ••• For more information, please call us at 1-800-347 -2683.



                 Information For You

                 Availability of FICO® Credit Score
                 As on active cardmemb er, you may see your FICO® Credit Score on your monthly statement
                                                                                                         or online. Reasons why you may not see your FICO® Credit
                 Score include: if you opt out; if you havekey information that is mismatche d or missing, as one example, an address change that
                 Discover or TransUnion®; if your credit histpry is too new; if your account status is abandoned                                         has not been updated with
                                                                                                                  , bankrupt, fraud, lost or stolen, closed, revoked, or charged
                 off; if you hove a foreign address. Your FICO® Score is disclosed on statements when
                                                                                                          your statement is available. You may not receive a statement if you
                 have no account activity such as no purchase transaction s, fees, interest, or payments
                                                                                                          for approximately 30 days.
                 FICO is a registered trademark of the Fair Isaac Corporatio n in the United States and
                                                                                                        other countries.

                 We are investigating your disputed transactions. Credits will be issued for the disputed
                                                                                                          transactions while we conduct our investigation. Please submit
                 your monthly payment for the undisputed amount.
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                               15.
T                        RANCHI ET X
                            Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc
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                                    XT885068
                                     Exhibit L Defendants Document Production Page 323 of 333000031812
  \fE)';;;;:'     (Rev.9-16/18)


  Texas Notice of Forfeiture of Registration                                                                   Date of notice                                Date of forfeiture

                                                                                                                     03 06 2020                                          02 28 2020
   Taxpayer name                                                                                                                                           Taxpayer number
            DFW INVESTIGATION                        &   PROTECTION        INC.                                                                                    32059409733
                                               Your entity's registration has been forfeited
                      because state records show the entity has failed to meet the franchise tax requirements shown below.
      Reason for                     Long Form, EZ, or No Tax Due Report, Not Filed
      Forfeiture:                    Complete, Signed Public Information Report, Form 05-102, Not Filed

                                     REPORT YEAR:                                                                         2019 ANNUAL




   Date of forfeiture: The entity's right to transact business in Texas was forfeited on 09/27/2019 for failure to comply with franchise tax
                                                                                                                                              requirements
   prescribed by Texas franchise tax law. The Secretary of State has now advised this office that the registration was forfeited effective 02/28/2020
   because its right to transact business was not revived as required by law. For more information call 1-800-252-7942.
   What you need to do to resolve the franchise tax delinquency:
   • Visit our website, www.comptroller.texas.gov/taxes/franchise/notices.php, to find detailed information about the reason your entity's registration
                                                                                                                                                         was
     forfeited (see "Reason for Forfeiture" above) and how to resolve it.
   • Beginning with reports originally due after Sept. 30, 2011, a $50 penalty will be assessed when a franchise tax report is filed late. The penalty
                                                                                                                                                       will be
     assessed even if you subsequently file the report or whether any taxes are due. The $50 penalty is due in addition to any other penalties assessed
                                                                                                                                                              for
     the reporting period.
   • If you received this notice and your entity is a member of a combined group, it may be that the reporting entity for the group failed to meet
                                                                                                                                                   franchise
     tax requirements. The Texas registration for all members of the combined group will be forfeited unless the reporting entity meets franchise
                                                                                                                                                     tax
     requirements. Please contact the reporting entity for your group to resolve the issue. (Tex. Tax Code Ann. Sec. 171.1014)

   What you need to do to reinstate the entity's registration: See the back of this notice, "Want to Reinstate Your Registration?"
   Note to Texas companies: If you do not reinstate the registration, the underlying organization may also be responsible for franchise tax if you
                                                                                                                                                   continue to
   operate the business. Most legal entities, except sole proprietorships and general partnerships owned directly and completely by natural
                                                                                                                                                     persons,
   are subject to the franchise tax. Submit a Texas Business Questionnaire, available at www.comptroller.texas.gov/forms/ap-224.pdf, so we
                                                                                                                                                 can create a
   franchise tax account for the new entity, and any necessary permits can be issued in the name of the new entity.

                     File and pay electronically using WebFile at                                        Franchise tax information, forms and instructions for filing
                                                                                                                           are available online at
                      www.comptrol/er,texas.gov;taxestfile-pay/.                                         www.comptroller.texas.gov;faxestfranchise /.
      You will need the 6-digit xr number located at the top of this notice to access                        You can also contact the Comptroller's field office
      WebFile. You can use WebFile to file a franchise tax report or make a payment.                               in your area or call 1-800-252-7942.
                                  ff you are not required to_pa_y electronically, return the _bottom pc,rtion of t/Jis notice with your payment.


                                                                          vvvv
                                                                                                             ■
                 05-213
                 (Rev.9-16/18)

Texas Notice of                                                                                                           IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIIIII Ill lllll lllll lllll 111111111111111111
                                                                                                                            *115213111                                     R1l91618•

Forfeiture of Registration                                                                                               Do not write in the space above.
a. Type of tax/fee                                                                                                                 c. Date of notice

                                                                                                                                                             03 06 2020

                                                                                                                                                      d.

                                                                                                                                                     Ill


DFW INVESTIGATION & PROTECTION, INC.
3020 BIG TOWN BLVD
MESQUITE TX 75150-2412                                                                                , Amount       $
                                                                                                     . Paid - -
                                                                                                     I
                   *TP                          *FP                                                                      *FILE
13050              32059409733                  19                                              0                        0802376707                                5                   2
                             Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc
   ~ : " ' 05-213
                                     XT6021
                                      Exhibit L59Defendants Document Production Page 324 of 333□□□□□ 5595
   v:..eEJ '='     (Rev.9-16/18)


   Texas Notice of Forfeiture of Registration                                                                  Date of notice                                  Date of forfeiture

                                                                                                                     03 06 2020                                             02 28 2020
   Taxpayer name
                                                                                                                                                            Taxpayer number
             HIBA ENTERTAINMENT INC.                                                                                                                                 32002130 386
                                        Your entity's registration has been forfeited
               because state records show the entity has failed to meet the franchise tax requirements shown
                                                                                                             below.
      Reason for      Long Form, EZ, or No Tax Due Report, Not Filed
      Forfeiture:     complet e, Signed Public Informa tion Report, Form                                                  05-102, Not Filed
                                     REPORT YEAR:                                                                         2019 ANNUAL




   Date of forfeiture: The entity's right to transact business in Texas was forfeited on 09/27/20
                                                                                                    19 for failure to comply with franchise tax requirements
   prescribed by Texas franchise tax law. The Secretary of State has now advised this office that
                                                                                                  the registration was forfeited effective 02/28/20 20
   because its right to transact business was not revived as required by law. For more information
                                                                                                   call 1-800-252-7942.
    What you need to do to resolve the franchise tax delinquency:
    • Visit our website, www.comptroller.texas.gov/taxes/franchise/notices.php, to find detailed information
                                                                                                              about the reason your entity's registration was
      forfeited (see "Reason for Forfeiture" above) and how to resolve it.
    • Beginning with reports originally due after Sept. 30, 2011, a $50 penalty will be assessed when
                                                                                                        a franchise tax report is filed late. The penalty will be
      assessed even if you subsequently file the report or whether any taxes are due. The $50 penalty
                                                                                                          is due in addition to any other penalties assessed for
      the reporting period.
    • If you received this notice and your entity is a member of a combined group, ii may be that
                                                                                                   the reporting entity for the group failed to meet franchise
      tax requirements. The Texas registration for all members of the combined group will be forfeited
                                                                                                         unless the reporting entity meets franchise tax
      requirements. Please contact the reporting entity for your group to resolve the issue. (Tex. Tax
                                                                                                       Code Ann. Sec. 171.1014)
   What you need to do to reinstate the entity's registration: See the back of this notice, "Want
                                                                                                   to Reinstate Your Registration?"
   Note to Texas companies: If you do not reinstate the registration, the underlying organization
                                                                                                  may also be responsible for franchise tax if you continue to
   operate the business. Most legal entities, except sole proprietorships and general partnership
                                                                                                      s owned directly and completely by natural persons,
   are subject to the franchise tax. Submit a Texas Business Questionnaire, available at www.comptr
                                                                                                       oller.texas.gov/forms/ap-224.pdf, so we can create a
   franchise tax account for the new entity, and any necessary permits can be issued in the name
                                                                                                  of the new entity.

                      File and pay electronic ally using WebFi/e at                                      Franchise tax information, forms and instructions for filing
                                                                                                                           are available online at
                       www.comptroller.texas.govtaxes Jfi/e-pay/.                                        www.comptroller.texas.govAaxesJfranchise/.
      You will need the 6-digit XT number located at the top of this notice to access
                                                                                                             You can also contact the Comptroller's field office
      WebFile. You can use WebFile to file a franchise tax report or make a payment.
                                                                                                                   in your area or call 1-800-252-7942.
                                  ff you are not required to pay electronically, return the bottom portion of this notice with your
                                                                                                                                    payment.




                                                                                                             ■
                 05-213
                 (Rev .9-16/18)                                         vvvv
 Texas Notice of                                                                                                          IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIIIII Ill lllll lllll lllll lllll lllll llll llll
                                                                                                                            *115213111R119                                                      1618*
 Forfeiture of Registration                                                                                             Do not write in the space above.
a. Type of lax/fee
                                                                                                                                   c. Date of notice
       FRANCHISE TAX                                                                                                                                         03 06 2020

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                              e. Taxpayer name and mailing address
                                                                                                                                                      d.



 HIBA ENTERTAINMENT INC.
 3020 BIG TOWN BLVD
 MESQUITE TX 75150-24 12                                                                              t.Amount $
                                                                                                     . Paid _ -
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                                                                                             ,',AM

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                Exhibit L Defendants Document Production Page 325 of 333



                             TEXAS COMPTROLLER OF PUBLIC ACCOUNTS

                                           Comptroller.Texas.Gov



                                                                                   Taxpayer number
                                                                                                 32002130386
                                                                                   Rlenumber

                                                                                                 0156693400
HIBA ENTERTAINMENT INC.                                                            WebRle number
3020 BIG TOWN BLVD                                                                               XT602159
MESQUITE TX 75150-2412                                                             Report year
                                                                                        2020
                                                                                                      IDue date
                                                                                                          05/15/2020



Texas Franchise Taxpayers: Your Annual Report Is Due
Your annual franchise tax report is due on the date shown in the box in the upper right corner of this
letter. Even if you have no tax due or no activity to report, Texas tax law requires that you file a franchise
tax report and information report each year.
Choose a Reporting Option
There are three reporting options: No Tax Due Report, E-Z Computation Report and the Long Form
report. You will need to choose the best report for your situation.
Taxable entities that are part of a combined group engaged in a unitary business must file a combined
group report. A passive entity or a new veteran-owned business cannot be included in a combined group
report.
You can file a No Tax Due Report if your business:
 • is an entity or a combined group with annualized total revenue less than or equal to the
   no tax due threshold;
 • has zero Texas receipts; or
 • meets the statutory requirements for a passive entity, a real estate investment trust or a new
   veteran-owned business.
You must file an original No Tax Due Report electronically. You can file free through the Comptroller's
Webfile system at www.comptroller.texas.gov/taxes/file-pay/.
You can file an E-Z Computation Report if your business is an entity or a combined group with
annualized total revenue of $20 million or less.
If you choose this option, your business cannot:
  • take any margin deductions (including cost of goods sold or compensation),
  • take any franchise tax credits, or
  • carry over that report year's temporary credit for business loss carryforward to a future period.
You must file a Long Form report if you:
 • are not eligible to file either the No Tax Due Report or the E-Z Computation Report, or
 • will take franchise tax credits.
Request an Extension
A $50 penalty is due on a report filed after the due date, even if no tax is due. If you need more time to
file, request an extension by the due date to avoid the penalty. A combined group must include the
Texas Franchise Tax Affiliate List with its first extension request.
Save Time and File Online!
With the Comptroller's secure online system, Webfile (www.comptroller.texas.gov/taxes/file-pay/), you
can file a franchise tax report, pay tax due or request an extension. First-time users will need the Webfile
number in the box in the upper right corner of this letter to get started. (Note: Your tax preparer may need
your Webfile number to file your report electronically.)
Form 05-285 (Rev .1-18/15)                                                                           continued on back
                                                                                                                  ni;e=;no?e=;
Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                  Desc
         Exhibit L Defendants Document Production Page 326 of 333
                          Hiba Entertainment, Inc
                       Credit Card Authorization Form
In order for Hiba Entertainment to accept a credit card as a method of payment
for services, the following information must be completed in full and signed by
the cardholder.

Authorized User Name
 Billing Address


Phone Number
                          i,- .••

 Fax Number
Email                     ~;f0ii~I/Jme?J~"Avfrn::t// C1on1-
Name Listed on Card       f@f/;7ro-        1rf;,yl\EP°-- "
Credit Card Number
                                                       -3?1_9_             _,
Expiration Date               0'?- z,./
eve and Zip Code
Total Due:
By my signature below, I agree to authorize, and do hereby authorize, Hiba
Entertainment, Inc. to charge to the above amount. I understand and agree a
4% credit card processing fees will be added.

 ALL SALES ARE FINAL AND NO REFUND WILL BE
 ISSUED.

Cardholder Signature
Date                                B/f/19




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Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                  Desc
         Exhibit L Defendants Document Production Page 327 of 333
                          Hiba Entertainment, Inc
                       Credit Card Authorization Form
In order for Hiba Entertainment to accept a credit card as a method of payment
for services, the following information must be completed in full and signed by
the cardholder.

Authorized User Name
Billing Address


Phone Number
Fax Number
Email
                                              n

Name Listed on Card
Credit Card Number
Expiration Date
eve and Zip Code
Total Due:
By my signature below, I agree to authorize, and do hereby authorize, Hiba
Entertainment, Inc. to charge to the above amount. I understand and agree a
4% credit card processing fees will be added.

ALL SALES ARE FINAL AND NO REFUND WILL BE
ISSUED.

Cardholder Signature
Date
                          Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06 Desc
  ~~: 05-211
                                  XT156050
                                   Exhibit L Defendants Document Production Page 328 of 333000039163                                                                                                      1111
  "\!E) '='
        (Rev.9-16/23)



  Texas Notice of Intent to Forfeit Right to Transact Business                                                                                        Date of notice

                                                                                                                                                                     11 20 2020
   Taxpayer name                                                                                                                                      Taxpayer number
           AZ        &   HIBA ENTERTAINMENT                INC.                                                                                               32068379711
       Your entity's franchise tax account is not current. This may result in the forfeiture of the entity's right to transact
                       business in Texa.s. This information will appear on the Comptroller's public website.
    Problems with               Complete, Signed Public Information Report, Form 05-102, Not Filed
    the account:
                                REPORT YEAR:                                                                        2020 ANNUAL




                              For a detailed explanation of the problems with the account listed above, see "Franchise Tax Notices"
                                                    at www.comptroller.texas.gov,taxes/ranchisethotices.php.


     Texas law requires the Comptroller to forfeit an entity's right to transact business in Texas if the entity does not file a missing franchise tax
     report form(s) or pay franchise tax or penalty due within 45 days of the date this notice is mailed. This notice is given in accordance with Texas
     Tax Code Sections 171.251, 171.2515 and 171.256. These provisions do not apply to banking corporations or savings and loan associations.

     If you are a member of a combined group, you may be receiving this notice because the reporting entity for this group has failed to meet the franchise
     tax requirement shown above. All members of the combined group are subject to forfeiture of their right to transact business in Texas. Please contact
     the reporting entity to resolve this issue. (Texas Tax Code Section 171.1014)

      If the entity's right to transact business in Texas is forfeited:

           • the entity's status will be shown as "right to transact business forfeited" on the Comptroller's public website at
             https://ourcpa.cpa.state.tx.us/coa/; and
           • the entity will be denied the right to sue or defend in a Texas court (except for the right to defend in a suit to terminate the entity's
             registration with the Texas Secretary of State); and
           • each officer, director, partner, member or owner is liable for the debts of the entity (including taxes, penalties and interest) that are created
             or incurred after the due date of the report and before the privileges are revived. (Texas Tax Code Sections 171.252, 171.253, 171.254
             and 171.255)


                          See the back of this notice for information about electronic reporting, ending the franchise tax responsibility
                                   of the entity, collection actions we may take and confirming the account status of the entity.


              T      ff you are not required to pay electronically, you can return the bottom portion of this notice with your mailed payment.                                          T
              05-211
              (Rev.9-16/23)                                           vvvv
 Texas Notice of Intent to Forfeit                                                                                   IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIIIII Ill lllll lllll lllll lllll lllll llll llll
                                                                                                                       •'QS211'Q1 R'Q91623•

 Right to Transact Business                                                                                         Do not write in the space above.
a. Type of tax/fee                                                                                                            c. Date of notice

       FRANCHISE TAX                                                                                                                                    11 20 2020


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                                                                                                                                                 d.

                           e. Taxpayer name and mailing address                                                                                 Ill


 AZ & HIBA ENTERTAINMENT, INC.                                                            UD
 13349 N CENTRAL EXPY
 DALLAS TX 75243-1103                                                                                 t.Amount $
                                                                                                     _ Paid - - .
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                               16.
  CA ENCE BANK 2018
  MORTGAGE INTREST
             STATEMENTS
                         Case 21-04077 Doc 16-12 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                                                         Desc
    TO WHOM PAID                  Exhibit L Defendants Document Production Page 330 of 333
                                                                  DIRECT INQUIRIES TO:         80 0-63 6-762 2                                         Recipient's FedWclf Identifying number                          2 Outstanding mortgage principal
                                                                                                                                                                                                                          as of 1/1/2016

                        CADENCE BANK                                                                                                                          64-01 5669 5
                        PO BOX 43467                                                                                                                                                                                                229,0 90.08
                        BIRMIN GHAM, AL 35243-0 467                                                                                                    Payer's social security number                                  3 Mortgage origination date

                        Temp-R eturn Service Requested                                                                                                       xxx-x x-222 2                                                 2016 -01-0 7
                                                                                                                                                       1 Mortgage Interest received from                              4 Refund of overpaid Interest
                                                                                                                                                         payer(s)/borrower(s)'

                                                                                                CORRECTED (if checked)                    □                                     12,71 7.04
   BY WHOM PAID

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                                       ' ---                           II 1111 1III1 11 I11 •f11 111 III1 11•1111 111 11111111 1•1 111 11 11• I I hi I' I I                                                           5 Mortgage Insurance premiums

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                                       =-                             MUHAM MAD NASIR SIDDIQI
                                       ,-;-a,
                                       g=i                            6701 HAVENHURST CT
                                                                      ALLEN, TX 75002-3 028                                                                                                                           6 Points paid on purchase of principal
                                     *-                                                                                                                                                                                 residence



                                                                                                                                                                                                                      7 If address of property securing
                                                                                                                                                                                                                        mortgage is the same as
                                                                                                                                                                                                                        PAYER'S/BORROWER"S address,
                                                                                                                                                                                                                        the box is checked, or the          ~
                                               8 Address or desaiption of property securing mortgage ( see
                                                                                                           instructions )                                                                                               address or description is           X
                                                                                                                                                                                                                        entered 1n box 8.

                                                                                                                                                                                                                      'Caution: The amount shown may not
                                                                                                                                                                                                                      be fully deductible by you. Limits based
                                                                                                                                                                                                                      on the loan amount and the cost and
                                                                                                                                                                                                                      value of the secured property may apply.
                                                                                                                                                                                                                      Also, you may only deduct interest to the
                                                                                                                                                                                                                      extent It was incurred by you, actually
                                                                                                                                                                                                                      paid by you, and not reimbursed by
                                                                                                                                                                                                                      another penson.
   Account number (see instructions)          10 Other
                                              TAXES PAID FROM ESCROW
                                                                                                          The information"' boxes 1 through        e
                                                                                                                                                is important tax information and is t,e;r,g
                                                                                                          the lntemaf Revenue SeNice. tf you are teQUired to file a return, a negflgence furnished to                9 Number of properties securing the
                                                                                                          sanction may be imposed on you if the IRS determines that an underpaymen penalty or other                    mortgage
    xxxxxxxxxxxxxxxx8302                                                                                  because you oversta1ed a deduction for this mortgage interest or for             t of tax resutts
                                                                                                                                                                                  these pokrts. reported ln
                                                                       .00                                boxes 1 and 6; or because you didn't rei,ort tiie refund of interest (box
                                                                                                                                                                                    4); or because you
                                                                                                          ciaimed a non~lte m-
                                            Keep this copy for your records.
                                                                                                                          www.irs.gov/form1098                               Departm ent of the Treasury • Internal Revenue Service

  TO WHOM PAID                                                   DIRECT INQUIRIE S TO:                                                             Recipient's Federal identifying number                            2 Oubtandlng mortgage principal
                                                                                                                                                                                                                       aso/1/1/20 18




                                                                                                                                                  Payer's social security number                                  3 Mortgage origination date




                                                                                                                                                  1 Mortgage interest received from                              4 Refund of overpaid Interest
                                                                                                                                                       payer(s)lbor rower(s)'


                                                                                              CORRECTED (if checked)                   □
 BYWHOMPAID



                                                                                                                                                                                                                 5 Mortgage Insurance premiums




                                                                                                                                                                                                                 6 Points paid on purchase of principal
                                        THIS SECTION HAS BEEN LEFT BLANK INTENTIONALLY.                                                                                                                               residence




                                                                                                                                                                                                                 7 If address of property securing
                                                                                                                                                                                                                      mortgage is the same as
                                                                                                                                                                                                                      ~~Y;_~•i~!~~e~~~~:: address.
                                           8 Address or desc.ription of property securing mortg~e (see
                                                                                                       instructions )                                                                                                 address or description is
                                                                                                                                                                                                                      entered in box 8.

                                                                                                                                                                                                                 'Caution: The amount shown may not
                                                                                                                                                                                                                                                      0
                                                                                                                                                                                                                 be fully deductible by you. Limits based
                                                                                                                                                                                                                 on the loan amount and the cost and
                                                                                                                                                                                                                 value of the secured property may apply.
                                                                                                                                                                                                                 Also, you may only deduct interest to the
                                                                                                                                                                                                                 extent it was Incurred by you, actually
                                                                                                                                                                                                                 paid by you, and not reimbursed by
                                                                                                                                                                                                                 another person,
 Account number (see instructions)                                                                      The tnformatlon ln boxes 1 through 9 ls Important tax information
                                                                                                        the Internal Revenue Service. If you are required to file p. return, a
                                                                                                        sanction may be Imposed on you Jf the IRS detenninee- that an
                                                                                                                                                                                and Is being furnished to
                                                                                                                                                                               negligence penalty or other
                                                                                                                                                                                                                 9    %'&'iltfi~f properties securing the
                                                                                                                                                                            underpaymen t of 1ax results
                                                                                                        because YoU overstated a deduction for this     mortgage•-
                                                                                                        boxes 1 and 6; or beCaUse you didn't report the refund of interest  or for these J)CHfl1s. reported in
                                                                                                                                                                               (box 4); or because you
                                                                                                        claimed a non--deductibfe Item.
l.2·1098                                Keep this copy for your rec<>rd&.
                                                                                                                      www.irs.gov/form1098                                Departm ent of the Treasury • Internal Revenue Service


    Page 1 of 1
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                              17.
  HIBA 2018 EXPENSES
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